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                         UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION

BAPTIST HEALTHCARE SYSTEM,
INC. d/b/a BAPTIST HEALTH CORBIN,
BAPTIST HEALTH LA GRANGE,
BAPTIST HEALTH LEXINGTON,           COMPLAINT
BAPTIST HEALTH LOUISVILLE,
BAPTIST HEALTH PADUCAH, and                   3:18-cv-558-CHB
                                    CASE NO. _______________________
BAPTIST HEALTH FLOYD;

and
                                    JURY TRIAL DEMANDED
BAPTIST HEALTH MADISONVILLE,
INC. d/b/a BAPTIST HEALTH
MADISONVILLE;                              This Action Relates to:
                                           Case No. 1:17-MD-2804
and                                        Hon. Dan A. Polster

BAPTIST HEALTH RICHMOND, INC.
d/b/a BAPTIST HEALTH RICHMOND;      Under:

and
                                    Organized Crime Control Act of 1970, IX,
BOWLING GREEN WARREN COUNTY         Racketeer Influenced and Corrupt
COMMUNITY HOSPITAL                  Organizations Act, P.L. No. 91-452, 84
CORPORATION d/b/a THE MEDICAL       State. 922 (1970), (codified at 18 U.S.C. §§
CENTER AT BOWLING GREEN, THE        1961-1967 (2012) (“RICO”)
MEDICAL CENTER AT CAVERNA,
AND THE MEDICAL CENTER AT           Breach of Implied Warranty of Fitness for
SCOTTSVILLE;                        a Particular Purpose, KRS 355.2-315

and                                 Kentucky Consumer Protection Act, KRS
                                    367.170
THE MEDICAL CENTER AT CLINTON       Negligence
COUNTY, INC. d/b/a THE MEDICAL
CENTER AT ALBANY                    Wanton Negligence
and                                 Negligence Per Se
THE MEDICAL CENTER AT               Negligent Marketing
FRANKLIN, INC. d/b/a THE MEDICAL
CENTER AT FRANKLIN                  Negligent Distribution
      Plaintiffs,                   Nuisance
v.                                  Unjust Enrichment
AMERISOURCEBERGEN DRUG
CORPORATION;
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CARDINAL HEALTH, INC.;
MCKESSON CORPORATION;
PURDUE PHARMA L.P.;
PURDUE PHARMA, INC.;
THE PURDUE FREDERICK
COMPANY, INC.;
TEVA PHARMACEUTICAL
INDUSTRIES, LTD.;
TEVA PHARMACEUTICALS USA,
INC.;
CEPHALON, INC.;
JOHNSON & JOHNSON;
JANSSEN PHARMACEUTICALS, INC.;
ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.;
JANSSEN PHARMACEUTICAL INC.
n/k/a JANSSEN PHARMACEUTICALS,
INC.;
NORAMCO, INC.;
ENDO HEALTH SOLUTIONS INC.;
ENDO PHARMACEUTICALS, INC.;
INSYS THERAPEUTICS, INC.;
ALLERGAN PLC f/k/a ACTAVIS PLS;
WATSON PHARMACEUTICALS, INC.
n/k/a ACTAVIS, INC.; WATSON
LABORATORIES, INC.;
ACTAVIS LLC;
ACTAVIS PHARMA, INC. f/k/a
WATSON PHARMA, INC.;
MALLINCKRODT PLC;
MALLINCKRODT LLC;
CVS HEALTH CORPORATION;
WALGREENS BOOTS ALLIANCE,
INC.;
WAL-MART, INC.; and
MIAMI-LUKEN, INC.

     Defendants.
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         The decade of the 1990s was the era of the blockbuster drug, the billion-dollar pill,
         and a pharmaceutical sales force arms race was part of the excess of the time . . . A
         pharmaceutical Wild West emerged. Salespeople stampeded into offices. They
         made claims that helped sell the drugs to besieged doctors. Those claims also led
         years later to blockbuster lawsuits and criminal cases against their companies.1

                                           COMPLAINT

           Come now the Plaintiffs, Baptist Healthcare System, Inc. d/b/a Baptist Health Corbin,

    Baptist Health La Grange, Baptist Health Lexington, Baptist Health Louisville, Baptist Health

    Paducah, and Baptist Health Floyd; Baptist Health Madisonville, Inc. d/b/a Baptist Health

    Madisonville; Baptist Health Richmond, Inc. d/b/a Baptist Health Richmond; Bowling Green

    Warren County Community Hospital Corporation d/b/a The Medical Center at Bowling Green;

    The Medical Center at Clinton County, Inc. d/b/a The Medical Center at Albany; and The

    Medical Center at Franklin, Inc. d/b/a The Medical Center at Franklin, by counsel, and for their

    claims against the Defendants, AmerisourceBergen Drug Corporation; Cardinal Health, Inc.;

    McKesson Corporation; Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick

    Company, Inc.; Teva Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA, Inc.;

    Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceutica, Inc.; Ortho-McNeil-Janssen

    Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutical Inc. n/k/a

    Janssen Pharmaceuticals, Inc.; Noramco, Inc.; Endo Health Solutions Inc.; Endo

    Pharmaceuticals, Inc.; Insys Therapeutics, Inc.; Allergan plc f/k/a Actavis PLS; Watson

    Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.; Actavis LLC; Actavis

    Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt Plc; Mallinckrodt LLC.; CVS Health

    Corp.; Walgreens Boots Alliance, Inc.; Wal-Mart, Inc.; and Miami-Luken, Inc. (collectively


1
 Sam Quinones, Dreamland: The True Tale of America’s Opiate Epidemic at 133 (Bloomsbury Press 2015)
(hereinafter referred to as “Dreamland”).

                                                  1
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     “Defendants”), under the Organized Crime Control Act of 1970, IX, Racketeer Influenced and

     Corrupt Organizations Act, P.L. No. 91-452, 84 Stat. 922 (1970), (codified at 18 U.S.C. §§

     1961-1967 (2012) (“RICO”); Controlled Substances Act of 1970, 84 Stat. 1236, 1242 (codified

     at 29 U.S.C. § 801, et seq.) (2012); Breach of Implied Warranty of Fitness for a Particular

     Purpose, KRS 355.2-315; Kentucky Consumer Protection Act, KRS 367.170; Negligence;

     Wanton Negligence; Negligence Per Se; Negligent Marketing; Negligent Distribution;

     Nuisance; and Unjust Enrichment, state as follows.

I.       INTRODUCTION

         A.      THE OPIOID CRISIS

         1.      Hospitals in Kentucky and elsewhere encounter patients with opioid-related

conditions daily. On one end, hospitals must deal with patients who have serious medical

conditions that require extra care and expense because the patient is opioid addicted, and on the

other, hospitals must utilize their resources to handle the “pill seekers.” Take for example this

situation: Two very pregnant women present themselves for treatment – a healthy one and an

opioid-addicted one. Both are admitted. Regardless of whether either patient can pay, they both

must be admitted under prevailing federal and state law for medical and possible psychiatric care,

even though the hospital knows it may not be compensated in full, or perhaps at all for its medical

services. Both women give birth. The opioid-addicted mother has an opioid-addicted child, who

enters this world kicking and screaming as he or she goes through the addiction withdrawal

process. That baby is taken to a neonatal intensive care unit, often referred to as the “NICU,” with

sophisticated medical equipment, supplies and staff specially trained to treat the needs of opioid-

addicted babies. The healthy mother’s and her child’s stay in the hospital are completed in two or

three days and cost a few thousand dollars, which is likely paid by an insurer. The opioid-addicted

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mother and her addicted baby each require special treatment and attention for opioid withdrawal,

which likely is uncompensated or undercompensated even if the mother has insurance. The mother

stays as long as is necessary to stabilize her condition, but because of her opioid addiction her new

baby may spend months in the hospital receiving around-the-clock care. Ultimately, the hospital

has a duty to treat both new mothers and their babies, yet the cost to the hospital for this duty is

much greater for the opioid-addicted mother and baby, which results in higher uncompensated

costs to that hospital.

        2.      These two very different encounters play out daily at Plaintiffs’ hospitals. One

Kentucky hospital alone, a Plaintiff herein, documented 335 total cases of drug-addicted newborns

at seven of its locations between January 2012 and April 2014.2 Throughout Kentucky, in the year

2000, fewer than 30 infants were diagnosed with Neonatal Abstinence Syndrome (NAS) in

Kentucky hospitals resulting from the mother’s drug usage. For the year 2013, more than 950

newborns were diagnosed with and treated for NAS in Kentucky hospitals.3

        3.      Kentucky hospitals, of course, are not unique in dealing with the opioid epidemic.

Hospitals across the United States are the front-line treatment for victims of the opioid epidemic.

Hospitals – legally and morally – are compelled to treat patients with opioid-related conditions

and, as a result, have been directly damaged by the epidemic. In addition to the cost of the opioid

drugs themselves, hospitals have and continue to incur millions of dollars in damages for the costs

of uncompensated care as a result of the unlawful marketing, distribution and sale of opioids.



2
  Boyd, Terry, Addicted Babies Testing the Limits of Louisville’s Neonatology Units, INSIDER LOUISVILLE
(July 3, 2014), https://insiderlouisville.com/uncategorized/addicted-babies-testing-limits-louisvilles-
neonatology-units/.
3
    Health Collaborative to Look at Best Practices for Neonatal                Abstinence   Syndrome,
http://migration.kentucky.gov/newsroom/chfs/NAS%20program.htm.

                                                  3
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        4.      The United States is in the midst of an opioid epidemic caused by Defendants’

unlawful marketing, sales, and distribution of prescription opioids that have resulted in addiction,

criminal activity, serious health issues, and loss of life. 4 According to the Centers for Disease

Control (“CDC”), from 1999 to 2014, the sales of prescription opioids in the U.S. nearly

quadrupled, but there was no overall change in the amount of pain that Americans reported.5

        5.      A particular tragedy of the opioid epidemic is that it has turned law-abiding citizens,

who experience routine injuries, into drug addicts and, in some cases, it has ruined their lives. The

impact of opioid abuse and dependence on the lives of people from all segments of society is the

subject of Beth Macy’s Dopesick, Little, Brown and Company (August 2018).

        6.      Across the nation, hospitals are struggling from the relentless and crushing financial

burdens resulting from the epidemic of opioid addiction and abuse. Every day, more than 115

Americans lose their lives after overdosing on opioids.6 The effects of the opioid epidemic on

hospitals may soon become even worse. The coverage rules under the Affordable Care Act (ACA)

are in transition, thus creating the possibility of increased costs for hospitals for treatment of

opioid-addicted patients admitted under the Emergency Medical Treatment and Labor Act

(“EMTALA”), 42 U.S.C. § 1395dd.7



4
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic,
and semi-synthetic opiates.

5
    Centers for Disease Control and Prevention, Prescribing Data,                           available     at
https://www.cdc.gov/drugoverdose/data/prescribing.html, (last accessed April 30, 2018).
6
    Opioid Overdose Crisis, National Institute on Drug Abuse (revised March 2018),
https://www.drugabuse.gov/drugs-abuse/opioids/opioid-overdose-crisis#one. (“Opioid Crisis, NIH”).
7
    American Hospital Association, AHA Priorities to Address the Opioid Crisis,
https://www.aha.org/guidesreports/2018-03-02-aha-priorities-address-opioid-crisis, (last accessed April
28, 2018).

                                                     4
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           7.      According to the CDC, opioid overdoses killed more than 45,000 people in the 12

months that ended in September 2017. It is already the deadliest drug epidemic in American

history.8 If trends continue, lost lives from opioid overdoses will soon represent the vast majority

of all drug overdose deaths in the United States.




Note: Drug overdose data available since 1999. Source: Centers for Disease Control and
Prevention | By THE NEW YORK TIMES.9

           8.      Opioid-related deaths alone increased fourfold between the start of the century and

the year 2016. Over 65% of that increase occurred between 2013 and 2016.10




8
      The    Editorial   Board,    An     Opioid     Crisis      Foretold,     (Apr.    21,     2018),
https://www.nytimes.com/2018/04/21/opinion/an-opioid-crisis-foretold.html.
9
    Id.
10
     Alex Brill, supra, n. 17.

                                                    5
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       9.      The opioid epidemic is killing scores of individuals each day. With regard to the

claims herein, it is also having a drastic impact on the total price tag for hospital care.

       10.     The opioid epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”11 In many cases, heroin abuse starts with opioid abuse.12 A

review of several studies concluded that four out of five new heroin users had a prior addiction to

prescription opioids.13

       11.     According to the CDC, the United States is currently seeing the highest overdose




11
  See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med.
1480 (2016), doi: 10.1056/NEJMsr1601307, http://www.nejm.org/doi/full/10.1056/NEJMsr1601307.
12
   Cicero, Theodore J., Matthew S. Ellis, Hilary L. Surratt, and Steven P. Kurtz (2014). “The Changing
Face of Heroin Use in the United States,” JAMA Psychiatry, 71(7), 821–826.
13
   Jones CM. Heroin use and heroin use risk behaviors among nonmedical users of prescription opioid pain
relievers - United States, 2002-2004 and 2008-2010. Drug Alcohol Depend. 2013 Sep 1;132(1-2):95-100.
doi: 10.1016/j.drugalcdep.2013.01.007. Epub 2013 Feb 12.

                                                   6
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death rates ever recorded. 14 As opioid related deaths increase, the life expectancy in the United

States has decreased.15 And the costs of combating the opioid epidemic and ameliorating its effects

on opioid-related victims has vastly accelerated, with Kentucky ranking seventh among all states

in its opioid-related costs per capita each year (expending $2,271 per person).16

        12.     More than any other institution, hospitals directly bear the brunt of the opioid crisis.

The Centers for Disease Control (CDC) reports that there are more than 1,000 emergency room

visits every day for patients being treated for the misuse of prescription opioids (CDC 2017a) and

that emergency room overdose visits jumped 30 percent from July 2016 to September 2017 in a

sample of 52 jurisdictions across 45 states (CDC 2018).17

        13.     In 2015, the Director of the CDC estimated from 2010 data “that for every opioid

overdose death, there were 15 admissions into treatment for substance use disorders, 26 emergency

room visits, 115 people who use or are dependent, and 733 non-medical users, resulting in more

than $4.3 million in health care costs.”18


14
  Jessica Glenza, Opioid crisis: overdoes increased by a third across US in 14 months, says CDC, THE
GUARDIAN (March 6, 2018), https://www.theguardian.com/us-news/2018/mar/06/opioid-crisis-overdoses-
increased-by-a-third-across-us-in-14-months-says-cdc.
15
       National    Center     for      Health    Statistics,    Life    Expectancy,      available     at
https://www.cdc.gov/nchs/fastats/life-expectancy.htm, (last accessed April 30, 2018); Centers for Disease
Control and Prevention, U.S. drug overdose deaths continue to rise; increase fueled by synthetic opioids,
(March 18, 2018), https://www.cdc.gov/media/releases/2018/p0329-drug-overdose-deaths.html.
16
   “New State-Level Estimates of the economic burden of the Opioid Epidemic,” American Enterprise
Institute for Public Policy Research, avialable at aei.org (Jan. 26, 2018).
17
   Alex Brill, The Geographic Variation in the Cost of the Opioid Crisis, American Enterprise Institute,
https://www.aei.org/wp-content/uploads/2018/03/Geographic_Variation_in_Cost_of_Opioid_Crisis.pdf
(March 2018).
18
  “Opioid Misuse, Overdose, and Death: A National Public Health Emergency,” American Institutes for
Research, p. 1, Oct. 2017, https://www.air.org/sites/default/files/downloads/report/Opioid-Abuse-
brochure-July-2017.pdf

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       14.     Hospital costs are rising not only due to the explosion in NAS cases and ED visits,

but also due to infectious disease cases related to opioid abuse/dependence. The number of these

hospitalizations increased from 301,707 in 2002 to 520,275 in 2012, with a nearly 100% increase

in hospitalizations for opioid-related infections.19        Inpatient charges for both types of

hospitalizations almost quadrupled over the same time period, reaching nearly $15 billion for

hospitalizations related to opioid abuse/dependence and more than $700 million for those related

to associated infection in 2012.20

       15.     On October 28, 2017, the President declared the opioid crisis a public health

emergency.21

       16.     This suit takes aim at a primary cause of the opioid crisis: A False Narrative

marketing scheme in which members of the supply chain joined and conspired in the false and

deceptive marketing of prescription opioids, designed to dramatically increase the demand for and

sale of opioids and opioid prescriptions.

       17.     On the demand side, the crisis was precipitated by the Defendants who

manufacture, sell, and market prescription opioid painkillers (“Marketing Defendants”). The

opioids manufactured, sold and marketed by the Marketing Defendants have numerous brand

names and generic names, nearly all of which are classified as Schedule II narcotics:




19
  Ronan, Matthew V. and Shoshana J. Herzing, Hospitalizations Related To Opioid Abuse/Dependence
And Associated Serious Infections Increased Sharply, 2002–12, Health Affairs VOL. 35, NO. 5 (May
2016).
20
   Id.
21
  Julie Hirschfeld Davis, Trump Declares Opioid Crisis a ‘Health Emergency’ but Requests No Funds, The
New York Times (Oct. 26, 2017), https://www.nytimes.com/2017/10/26/us/politics/trump-opioid-
crisis.html

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Manufacturer           Drug Name                           Chemical Name

   Purdue               OxyContin               Oxycodone hydrochloride extended release

   Purdue               MS Contin                   Morphine sulfate extended release

   Purdue                Dilaudid                    Hydromorphone hydrochloride

   Purdue              Dilaudid-HP                   Hydromorphone hydrochloride

   Purdue                Butrans                              Byprenorpine

   Purdue               Hysingla ER                       Hydrocodone bitrate

   Purdue               Targiniq ER      Oxycodone hydrochloride and naloxone Hydrochloride


  Cephalon                 Actiq                             Fentanyl citrate

  Cephalon                Fentora                            Fentanyl citrate


   Janssen               Duragesic                              Fentanyl

   Janssen               Nucynta                       Tapentadol extended release

   Janssen              Nucynta ER                             Tapentadol


    Endo                 Opana ER              Oxymorphone hydrochloride extended release

    Endo                  Opana                       Oxymorphone hydrochloride

    Endo                 Percodan                Oxymorphone hydrochloride and aspirin

    Endo                 Percocet          Oxymorphone hydrochloride and acetaminophen

    Endo                  Zydone                    Hydrocodone and acetaminophen


 Mallinckrodt             Exalgo                  Hydromorphone HCI extended release

 Mallinckrodt           Roxycodone                      Oxycodone hydrochloride


   Actavis                Kadian                    Morphine sulfate extended release

   Actavis                Norco                 Hydrocodone bitartrate and acetaminophen


    Insys                 Subsys                        Fentanyl sublingual spray



      18.       Through a massive marketing campaign premised on false and incomplete

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information, the Marketing Defendants engineered a dramatic shift in how and when opioids are

prescribed by the medical community and used by patients. The Marketing Defendants relentlessly

and methodically, but untruthfully, asserted that the risk of addiction was low when opioids were

used to treat chronic pain. They overstated the benefits and trivialized the risk of the long-term

use of opioids.

       19.        The Marketing Defendants’ goal was simple: to dramatically increase sales by

convincing doctors to prescribe opioids not only for the kind of severe pain associated with cancer

or short-term post-operative pain, but also for common chronic pain, such as back pain and

arthritis. They did this even though they knew that opioids were addictive and subject to abuse,

and that their other claims regarding the risks, benefits, and superiority of opioids for long-term

use were untrue and unfounded.

       20.        The Supply Chain Defendants – Distributor Defendants and National Retail

Pharmacy Defendants – saw the profit potential in opioid sales, participated in the conspiracy by

ignoring their legal responsibilities under the Controlled Substances Act, and flooded affected

areas with opioids knowing full well that they were contributing to, for profits’ sake, widespread

addiction and human misery.

       21.        And succeed they did. Opioid abuse has quickly become one of the nation’s most

pressing health management issues, not only because of its toll on patients, but increasingly

because of the financial impact on hospitals and the rest of the healthcare system.22

       22.        The Marketing Defendants and Supply Chain Defendants extract billions of dollars



22
  Jennifer Bresnick, Hospitals Face Higher Costs, More ED Visits from Opioid Abuse, HealthIT Analytics
(Dec. 21, 2016), https://healthitanalytics.com/news/hospitals-face-higher-costs-more-ed-visits-from-
opioid-abuse, (last accessed on April 26, 2018).

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of revenue from the addicted American public while untold millions of dollars of injury are caused

to hospitals as the reasonably foreseeable consequences of the prescription opioid addiction

epidemic. Indeed, Defendants depended on the hospitals to mitigate the health consequences of

their illegal activities – at no cost to the Defendants – thereby permitting them to perpetuate their

scheme. The Defendants knew that but for the hospitals providing at least some degree of a safety

net, the number of overdose deaths and other related health consequences arising from opioid

addictions would have been even far greater than actually occurred, and the public outcry and

political backlash threatening their profitmaking activities would have come far more swiftly and

far more certain.

           23.   The statistics are startling. Adult hospitalizations due to opioid misuse or

dependence doubled from 2000 to 2012. From 2005 to 2014, emergency department visits

exhibited a 99.4% cumulative increase.23

           24.   Between 2005 and 2014 there was a dramatic increase nationally in hospitalizations

involving opioids: the rate of opioid-related inpatient stays increased 64 percent, and the rate of

opioid-related emergency department (ED) visits nearly doubled.24

           25.   The average health care costs for opioid abusers were eight times higher than those

of non-abusers.25




23
     Id.
24
   Audrey J. Weiss, et al, Patient Characteristics of Opioid-Related Inpatient Stays and Emergency
Department Visits Nationally and by State, 2014 (June 2017), https://www.hcup-
us.ahrq.gov/reports/statbriefs/sb224-Patient-Characteristics-Opioid-Hospital-Stays-ED-Visits-by-
State.pdf.
25
  Alen G. White, PhD, et al., Direct Costs of Opioid Abuse in an Insured Population in the United States,
published in Journal of Managed Care Pharmacy, Vol. 11, No. 6 July/August 2005, at 469.

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           26.   The cost to hospitalize those with opioid abuse or dependence problems has more

than tripled in a decade, up to nearly $15 billion in 2012. Similarly, the number of patients

hospitalized for the effects of these drugs surged by more than 72% in 2012, although overall

hospitalizations during that time stayed relatively flat.26

           27.   Private insurance is only covering a portion of that. The burden is carried out by

hospitals, patients and government programs.27 In 2012, hospitals provided almost $15 billion for

opioid related inpatient care, more than double than what they billed in 2002.28 A substantial

portion of these costs were under-insured or not reimbursed at all.

           28.   In 2012, an average hospital stay for an opioid patient cost about $28,000, and only

about 20% of the discharges related to those incidents were covered by private insurance. The

number increased to $107,000 if there was an associated infection, with merely 14% covered by

insurance.29

           29.   Patients with complex opioid-related histories (medically and psychosocially) often

cannot get treatment at skilled nursing facilities when discharged from hospitals. As a result, they

wind up staying longer in hospitals with increased cost of care.30

           30.   The cost of treating opioid overdose victims in hospital intensive care units jumped


26
   Marty Stempniak, Opioids Add to a Sharp Rise in Hospitalizations, Costs, (May 5, 2016),
https://www.hhnmag.com/articles/7231-opioids-contribute-to-a-sharp-rise-in-hospitalizations-health-care-
costs, (last accessed on April 28, 2018).
27
     Id.
28
  Shefali Luthra, Opioid Epidemic Fueling Hospitalizations, Hospital Costs, KAISER HEALTH NEWS (May
2, 2016), https://khn.org/news/opioid-epidemic-fueling-hospitalizations-hospital-costs/.
29
     Id.
30
  https://khn.org/news/opioid-epidemic-fueling-hospitalizations-hospital-costs/ last accessed on April 25,
2018.

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58% in a seven-year span. Between 2009 and 2015, the average cost of care per opioid admission

increased from $58,000 to $92,400. This was during a period when the overall medical cost

escalation was about 19%. This cost increase also highlights a troubling trend: overdose patients

are arriving in worse shape, requiring longer stays, and needing a higher level of treatment.31

          B.      IMPACT OF OPIOIDS ON KENTUCKY HOSPITALS

          31.     Due to the Defendants’ conduct described in this Complaint, opioid patients are

placing an increasing strain on an overmatched health care system throughout Kentucky.

          32.     Despite knowing that their conduct has caused and/or is continuing to cause a

national, state, and local opioid epidemic, Defendants have continued their wrongful, intentional,

and unlawful conduct.

          33.     The most devastating effect of Defendants’ conduct is the growing number of

deaths due to opioid usage and addiction. Every day, more than 115 Americans die from opioid

overdoses, which includes fatalities due to a combination of prescription opioids and heroin.32

Deaths from prescription opioids have more than quadrupled since 1999.33 Opioid overdose deaths

have been steadily on the rise in Kentucky for years, at a rate that is increasing much faster than

that of the rest of the country.




31
  Casey Ross, The Cost of Treating Opioid Overdose Victims is Skyrocketing, STAT NEWS (August 11,
2017), https://www.statnews.com/2017/08/11/opioid-overdose-costs/.
32
     www.safemedsonline.org, Reports and Studies, The Center for Safe Internet Pharmacies (“CSiP”).
33
  CDC, Wide-Ranging Online Data for Epidemiologic Research (WONDER). Atlanta, GA: CDC,
National Center for Health Statistics; 2016. Available at http://wonder.cdc.gov.

                                                    13
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        34.     “Most of the rapid increase in overdose deaths since 2010 can be attributed to

opioids.”34 Louisville, where one of the Plaintiff hospitals is located, has seen a significant

increase in the number of drug overdose deaths from opioids or a combination of heroin and

opioids, a documented “gateway to heroin” use.35 Between January and April 2017, there were 86

opioid-related overdose deaths in Louisville compared to 46 opioid-related overdose deaths for the

same period in 2016.36




34
  Federal Reserve Bank of Cleveland, The Opioid Epidemic and the Labor Market (September 29, 2017),
https://www.clevelandfed.org/newsroom-and-events/publications/economic-commentary/2017-economic-
commentaries/ec-201715-opioids.aspx?hootPostID=ac377fdebaf3cc3367ef6f02bfed47d2.
35
  Id., referencing Cicero, Theodore J., Matthew S. Ellis, Hilary L. Surratt, and Steven P. Kurtz (2014).
“The Changing Face of Heroin Use in the United States,” JAMA Psychiatry, 71(7), 821–826.
36
   Gaita, Paul, Opioid Overdoses, Death Rate Skyrocket in Louisville, THE FIX (Apr. 14, 2017)
https://www.thefix.com/opioid-overdoses-death-rate-skyrocket-louisville.
                                                 14
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          35.     Of course, statistics of opioid overdose deaths do not tell the whole story of how

opioids have ravaged Kentucky or the impact of the opioid epidemic on Kentucky hospitals. For

every 1 prescription or illicit opioid overdose death in 2015 there were: 18 people who had a

substance abuse disorder involving heroin; 62 people who had a substance abuse disorder

involving prescription opioids; 377 people who misused prescription opioids in that year; and

2,946 people who used prescription opioids in that year.37

          36.     In 2014, 2015 and 2016, the Centers for Disease Control ranked each state

according to volume of opioid prescriptions per 100 residents. Due to the volume of prescription

opioids flooding the Commonwealth of Kentucky, among all the states it ranked 7th in 2014 and

2015 and 5th in 2016.38

          37.     No state has been hit harder by the opioid epidemic than Kentucky.39 Thus, hospital

systems in Kentucky are at the front line of the opioid crisis.

          38.     Hospitalizations related to opioid misuse and dependence have increased

dramatically nationwide, with the rate of adult hospital inpatient stays per 100,000 population

nearly doubling between 2000 and 2012.40 In one of the Plaintiff hospitals, 582 patients were

admitted for opioid-related overdoses in 2016 and 2017.41


37
    Rudd RA, Seth P, David F, Scholl L. MMWR. 2016; 65: 1445-52.            Available at:
https://www.kyha.com/assets/docs/EventDocs/2018/Convention/OYLER_CHANG_KHA.pdf.
38
   CDC, National Center for Injury Prevention and Control, U.S. State Prescribing Rates, 2014 – 2016,
https://www.cdc.gov/drugoverdose/maps/rxrate-maps.html.
39
     Confronting the Opioid Epidemic, UNIVERSITY OF KENTUCKY, http://www.uky.edu/president/opioid.
40
  Agency for Healthcare Research and Quality, Healthcare Cost and Utilization Project, Statistical Brief
#219, Opioid-Related Inpatient Stays and Emergency Department Visits by State, 2009-2014, p. 1
(December 2016; Revised January 2017),
https://kyha.memberclicks.net/assets/docs/opioidhospitalstaysedvisitsbystate.pdf.
41
     Statistics provided by The Medical Center.
                                                   15
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           39.   In 2014, the rate of opioid-related inpatient stays in Kentucky was 280.4 per

100,000 population.42 In that year, Kentucky ranked 15th out of the 44 states (and the District of

Columbia) which reported data on the rate of opioid-related inpatient stays.43 Between 2009 and

2014, the cumulative percent change in the rate of opioid-related inpatient stays in Kentucky

increased by 24.2%.44

           40.   In 2014, the rate of opioid-related emergency department visits in Kentucky was

219.7 per 100,000 population.45 In that year, Kentucky ranked 7th out of the 30 states which

reported data on the rate of opioid-related emergency room visits.46 Between 2009 and 2014, the

cumulative percent change in the rate of opioid-related emergency room visits in Kentucky

increased by 65.6%.47




42
  Agency for Healthcare Research and Quality, Healthcare Cost and Utilization Project, Statistical Brief
#219, Opioid-Related Inpatient Stays and Emergency Department Visits by State, 2009-2014, p. 4
(December 2016; Revised January 2017),
https://kyha.memberclicks.net/assets/docs/opioidhospitalstaysedvisitsbystate.pdf.
43
     Id.
44
  Agency for Healthcare Research and Quality, Healthcare Cost and Utilization Project, Statistical Brief
#219, Opioid-Related Inpatient Stays and Emergency Department Visits by State, 2009-2014, p. 6
(December 2016; Revised January 2017),
https://kyha.memberclicks.net/assets/docs/opioidhospitalstaysedvisitsbystate.pdf
45
  Agency for Healthcare Research and Quality, Healthcare Cost and Utilization Project, Statistical Brief
#219, Opioid-Related Inpatient Stays and Emergency Department Visits by State, 2009-2014, p. 8
(December 2016; Revised January 2017),
https://kyha.memberclicks.net/assets/docs/opioidhospitalstaysedvisitsbystate.pdf.
46
     Id.
47
  Agency for Healthcare Research and Quality, Healthcare Cost and Utilization Project, Statistical Brief
#219, Opioid-Related Inpatient Stays and Emergency Department Visits by State, 2009-2014, p. 9
(December 2016; Revised January 2017),
https://kyha.memberclicks.net/assets/docs/opioidhospitalstaysedvisitsbystate.pdf.

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           41.   In 2014, heroin was the most commonly abused drug leading to an emergency

department visit in Kentucky. In 2014, there were 1,638 drug overdose emergency department

visits involving heroin, 895 involving pharmaceutical opioids, and 1,005 involving

benzodiazepines.48

           42.   From 2003 to 2012, the number of babies born dependent on drugs grew nearly

fivefold in the United States. Opioids are the main culprit, and Kentucky has been particularly

hard-hit: 15 of every 1,000 infants in the Commonwealth are born dependent on opioids.49

           43.   Babies with severe withdrawal symptoms are often taken from their mothers and,

at great expense, transported to hospitals by ambulance, where they occupy beds intended for

newborns with serious health problems of their own, such as heart defects.50 Usually, treatment

for drug-dependent babies is expensive and can last for months.

           44.   Nationally, hospitalization costs for treating these drug-dependent babies increased

to $1.5 billion in 2012, from $732 million in 2009, according to researchers at Vanderbilt

University.51 These are largely low-income parents, and Medicaid only covers about 80% of the

hospital charges.52 Otherwise simple tasks, such as feeding from a bottle, can be difficult for a



48
  David Akers, Svetla Slavova, and Terry L. Brunn, Kentucky Injury Prevention and Research Center,
Drug Overdose Emergency Department Visits in Kentucky, 2008-2014 (January 2016),
http://www.mc.uky.edu/kiprc/programs/kdopp/reports/Drug%20Overdose%20ED%20Visits%20in%20K
entucky,%202008-2014.pdf.
49
  Catherine Saint Louis, A Tide of Opioid-Dependent Newborns Forces Doctors to Rethink Treatment, The
New York Times (July 13, 2017), https://www.nytimes.com/2017/07/13/health/opioid-addiction-
babies.html.
50
     Id.
51
     Id.

52
     Id.

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baby suffering symptoms of withdrawal: “You give them a bottle, and they are frantic,” said

Chandra Wells, a nurse at University of Kentucky Children’s Hospital.53 “They can’t form a tight

suck.”54

           45.   The number of babies treated for Neonatal Abstinence Syndrome (“NAS”) has

increased significantly. In 2000, throughout Kentucky, there were fewer than 30 infants diagnosed

with NAS in Kentucky hospitals. However, between January 2012 and April 2014, there were 335

babies treated for NAS at one of the Plaintiff’s Western and West-Central Kentucky hospital

facilities alone.55

           46.   Defendants were aware of federal laws which required hospitals to admit and treat

opioid-addicted patients when they engaged in their marketing scheme.

           47.   The impact of Defendants’ conduct foreseeably includes America’s hospitals.

Under EMTALA, hospitals are not only required to “provide medical screening examination for

individuals” that visit their emergency departments for any emergency medical condition, but also

to provide treatment to stabilize the medical condition, or appropriately transfer the individual to

another hospital. 42 U.S.C. §§ 1395dd (a) & (b).

           48.   Under EMTALA, “emergency medical condition” means – (A) a medical condition

manifesting itself by acute symptoms of sufficient severity (including severe pain) such that the

absence of immediate medical attention could reasonably be expected to result in—(i) placing the

health of the individual (or, with respect to a pregnant woman, the health of the woman or her


53
     Id.
54
     Id.
55
   Boyd, Terry, Addicted Babies Testing the Limits of Louisville’s Neonatology Units, INSIDER
LOUISVILLE (July 3, 2014), https://insiderlouisville.com/uncategorized/addicted-babies-testing-limits-
louisvilles-neonatology-units/.

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unborn child) in serious jeopardy, (ii) serious impairment to bodily functions, or (iii) serious

dysfunction of any bodily organ or part; or (B) with respect to a pregnant woman who is having

contractions— (i) that there is inadequate time to effect a safe transfer to another hospital before

delivery, or (ii) that transfer may pose a threat to the health or safety of the woman or the unborn

child. 42 USC § 1395dd(e)(1).

        49.       As a result of this federal statute, hospitals in Kentucky must admit opioid addicts,

who present themselves in need of intensive care. In addition, if an opioid addict is pregnant, and

presents herself for treatment, hospitals also have to provide care for both the opioid-addicted

mother and her opioid-addicted baby.

        50.       As a result of the opioid addiction epidemic in the areas which Plaintiffs serve,

opioid-addicted patients routinely occupy beds in their facilities. Opioid-addicted mothers

routinely present themselves and their babies for admission at Plaintiffs’ Emergency Departments

and occupy beds in their NICUs. Many of those patients have no insurance and no means of paying

for their care.

        C.        FINANCIAL IMPACT OF DEFENDANTS’ ACTIVITIES ON
                  PLAINTIFFS

        51.       Plaintiffs have purchased and continue to purchase and administer opioids

marketed and sold by Defendants.

        52.       Plaintiffs have treated, and continue to treat, numerous patients for opioid-related

conditions, including: (1) opioid overdose; (2) opioid addiction; (3) neonatal treatment in their

NICUs for babies born opioid-addicted, for which treatment is specialized, intensive, complex,

and lengthy; and (4) psychiatric and related treatment for opioid users in need of mental health

treatment programs.

        53.       Plaintiffs have incurred and continue to incur substantial unreimbursed charges for
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their treatment of patients with opioid conditions. These patients with opioid-related conditions

presented for treatment to Plaintiffs as a proximate result of the opioid epidemic created and

engineered by Defendants. As a result, Plaintiffs’ monetary losses with respect to treatment of

these patients were foreseeable to Defendants and are the proximate result of Defendants’ acts and

omissions described herein.

       54.     Plaintiffs have also incurred and continue to incur operational costs in the form of

surgical procedures and other care that have been and are more complex and expensive than would

otherwise be the case if the patients were not opioid addicts. Surgical procedures on opioid addicts

have been and are more complicated and costly and require special protective measures and related

prescription drugs.

       55.     Additionally, opioid users have presented and continue to present themselves to

Plaintiffs claiming to have illnesses and medical problems, which are actually pretexts for

obtaining opioids to satisfy their cravings. Plaintiffs have incurred and continue to incur

operational costs related to the time and expenses in diagnosing, testing, and otherwise dealing

with “pill seekers” before their true status can be determined and they can be rejected as patients.

       56.     The costs incurred by these hospitals are the direct and proximate result of the

opioid epidemic created and engineered by Defendants.

       57.     Because opioids are dangerous and highly addictive drugs, it was foreseeable to

Defendants that the opioid epidemic would result in a corresponding epidemic of patients with

opioid-related conditions presenting at Plaintiffs’ hospitals for treatment. Also, because hospitals

are on the front-line of treatment for these patients and must bear the additional costs of treating

them, it was foreseeable to Defendants that Plaintiffs would suffer, and will continue to suffer,

substantial monetary losses resulting from the opioid epidemic.

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       58.     It was also foreseeable that Defendants would face claims from hospitals for their

costs of treating opioid-related illnesses.

       59.     The Defendants have marketed and continue to market their opiate products directly

to Plaintiffs and other hospitals, and to doctors on staff at those hospitals, and thus Plaintiffs were

and are direct customers and victims of the Defendants’ false, deceptive and unfair marketing of

opioids described hereafter.

       60.     As a direct and proximate result of Defendants’ misconduct, Plaintiffs have

purchased opiates from the Defendants, and used them as falsely and deceptively marketed by

Defendants, and suffered damages as a direct and proximate cause of Defendants’ acts as described

in this Complaint.

       61.     Plaintiffs bring this civil action to recover monetary losses that have been incurred

as a direct and proximate result of Defendants’ false, deceptive, and unfair marketing of

prescription opioids. Such economic damages were foreseeable to Defendants and were sustained

because of Defendants’ unlawful actions and omissions.

       62.     Plaintiffs bring this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded hospitals and their doctors to purchase and

prescribe highly addictive, dangerous opioids, and turned patients into drug addicts for their own

corporate profit. Such actions were unlawful.

       63.     Plaintiffs also bring this suit against the wholesale distributors and retailers of these

highly addictive drugs. The distributors and manufacturers unlawfully breached their legal duties

under federal law to monitor, detect, investigate, and report suspicious orders of prescription

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opiates which allowed the manufacturers’ deceptive advertising to result in sales of their products

to hospitals, including the Plaintiff hospitals.

        D.      THE ROLES OF DEFENDANTS IN CAUSING AND PERPETUATING
                THE OPIOID CRISIS

        64.     The Marketing Defendants’ push to increase opioid sales worked. Through their

publications and websites, endless stream of sales representatives, “education” programs, and

other means, Marketing Defendants dramatically increased their sales of prescription opioids and

reaped billions of dollars of profit as a result. Since 1999, the amount of prescription opioids sold

in the U.S. nearly quadrupled. In 2016, 289 million prescriptions for opioids were filled in the U.S.

– enough to medicate every adult in America around the clock for a month.

        65.     On the supply side, the crisis was fueled and sustained by those involved in the

supply chain of opioids, including manufacturers, distributors, and pharmacies, which failed to

maintain effective controls over the distribution of prescription opioids, and which instead have

actively sought to evade such controls. Defendants have contributed substantially to the opioid

crisis by selling and distributing far greater quantities of prescription opioids than they know

should be necessary for legitimate medical uses, while failing to report, and to take steps to halt

suspicious orders when they were identified, thereby exacerbating the oversupply of such drugs

and fueling an illegal secondary market.

        66.     From the day they made the pills to the day those pills were consumed in each

community, these manufacturers had control over the information regarding addiction they chose

to spread and emphasize as part of their massive marketing campaign. By providing misleading

information to doctors about addiction being rare and opioids being safe even in high doses, then

pressuring them into prescribing their products by arguing, among other things, that no one should

be in pain, the Marketing Defendants created a population of addicted patients who sought opioids
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at never-before-seen rates. The scheme worked, and through it the Marketing Defendants caused

their profits to soar as more and more people became dependent on opioids.

       67.     Opioid manufacturing and distributing companies systematically and repeatedly

disregarded the health and safety of their customers and the public. Charged by law to monitor and

report dangerous behavior, they failed to do so in favor of maximizing corporate profits and

increasing their market share.

       68.      Corporate greed and callous indifference to known, serious potential for human

suffering have caused this public health crisis. Defendants unleashed a healthcare crisis that has

had far-reaching financial, social, and deadly consequences in this country.

       69.     The Marketing Defendants falsely and misleadingly, and contrary to the language

of their drugs’ labels: (1) downplayed the serious risk of addiction; (2) promoted the concept of

“pseudo addiction” and thus advocated that the signs of addiction should be treated with more

opioids; (3) exaggerated the effectiveness of screening tools in preventing addiction; (4) claimed

that opioid dependence and withdrawal are easily managed; (5) denied the risks of higher opioid

dosages; (6) promoted the falsehood that long-term opioid use improves functioning; (7)

misrepresented the effectiveness of time-released dosing, and, in particular, the effectiveness of a

version of OxyContin that purportedly provided twelve hours of pain relief; (8) exaggerated the

effectiveness of “abuse-deterrent” opioid formulations to prevent abuse and addiction.

       70.     The Marketing Defendants disseminated these common messages to reverse the

popular and medical understanding of opioids. They disseminated these messages directly, through

their sales representatives, and in speaker groups led by physicians who were recruited by and paid

by the Marketing Defendants for their support of the Marketing Defendants’ marketing messages.

       71.     The Marketing Defendants also worked through third parties they controlled by: (a)

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funding, assisting, encouraging, and directing doctors, known as “key opinion leaders” (“KOLs”)

and (b) creating, funding, assisting, directing, and/or encouraging seemingly neutral and credible

professional societies and patient advocacy groups (referred to hereinafter as “Front Groups”). The

Marketing Defendants then worked together with those KOLs and Front Groups to taint the

sources that doctors and patients relied on for ostensibly “neutral” guidance, such as treatment

guidelines, Continuing Medical Education (“CME”) programs, medical conferences and seminars,

and scientific articles. Thus, working individually and collectively, and through these Front Groups

and KOLs, the Marketing Defendants persuaded doctors and patients that what they had long

known – that opioids are addictive drugs, unsafe in most circumstances for long-term use – was

untrue, and quite the opposite, that the compassionate treatment of pain required opioids.

       72.     Each Marketing Defendant knew that its misrepresentations of the risks and

benefits of opioids were not supported by or were directly contrary to the scientific evidence.

Indeed, the falsity of each Defendant’s misrepresentations has been confirmed by the U.S. Food

and Drug Administration (“FDA”) and the CDC, including by CDC’s Guideline for Prescribing

Opioids for Chronic Pain, issued in 2016 and approved by the FDA.56

       73.     In an open letter to the nation’s physicians in August 2016, the then U.S. Surgeon

General expressly connected this “urgent health crisis” to “heavy marketing of opioids to doctors

. . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive when




56
   See Centers for Disease Control and Prevention, Guideline for Prescribing Opioids For Chronic Pain,
https://www.cdc.gov/drugoverdose/pdf/guidelines_factsheet-a.pdf (last accessed April 12, 2018); Pat
Anson, FDA Endorses CDC Opioid Guidelines, PAIN NEWS NETWORK (Feb. 4, 2016),
https://www.painnewsnetwork.org/stories/2016/2/4/fda-endorses-cdc-opioid-guidelines.

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prescribed for legitimate pain.”57

II.     JURISDICTION AND VENUE

        74.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 based on the federal claims asserted under the Racketeer Influenced and Corrupt

Organizations Act, 18 U.S.C. § 1961, et seq. (“RICO”). This Court has supplemental jurisdiction

over Plaintiffs’ state law claims pursuant to 28 U.S.C. § 1367 because those claims are so related

to Plaintiffs’ federal claims that they form part of the same case or controversy.

        75.     The Court has personal jurisdiction over Defendants because at all relevant times

Defendants engaged in substantial business activities in Kentucky and purposefully directed their

actions toward this State, consensually submitted to the jurisdiction of this State when obtaining a

manufacturer or distributor license, and have the requisite minimum contacts with this State

necessary to constitutionally permit the Court to exercise jurisdiction.

        76.     Venue is proper in the Western District of Kentucky under 28 U.S.C. § 1391 and

18 U.S.C. § 1965 because a substantial part of the events or omissions giving rise to Plaintiffs’

claims occurred in this District and each Defendant transacted affairs and conducted activity that

gives rise to the claims for relief in this District.

III.    PARTIES

        A.      PLAINTIFFS

        77.     Plaintiff Baptist Healthcare System, Inc. d/b/a Baptist Health Corbin, Baptist

Health La Grange, Baptist Health Lexington, Baptist Health Louisville, Baptist Health Paducah,

and Baptist Health Floyd (“Baptist”) is a Kentucky nonprofit corporation located at 2701 Eastpoint



57
  Letter from Vivek H. Murthy, M.D., U.S. Surgeon General, available at http://turnthetiderx.org/ (last
accessed April 12, 2018).

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Parkway, Louisville, Jefferson County, Kentucky. Baptist is licensed for a total of 1,728 acute-

care beds and 66 psychiatric beds, serving patients in Whitley, Oldham, Fayette, Jefferson, and

McCracken Counties in Western and West-Central Kentucky, along with Floyd County, Indiana,

and surrounding areas.

       78.     Plaintiff Baptist Health Madisonville, Inc. d/b/a Baptist Health Madisonville

(“Baptist Madisonville”) is a Kentucky nonprofit corporation with its main hospital location at 900

Hospital Drive, Madisonville, Hopkins County, Kentucky. Baptist Madisonville is licensed for a

total of 348 acute-care beds and 22 psychiatric beds, serving patients in Hopkins County in

Western Kentucky and surrounding areas.

       79.     Plaintiff Baptist Health Richmond, Inc. d/b/a Baptist Health Richmond (“Baptist

Richmond”) is a Kentucky nonprofit corporation with its main hospital location at 801 Eastern

Bypass, Richmond, Madison County, Kentucky. Baptist Richmond is licensed for a total of 105

acute-care beds, serving patients in Madison County, Kentucky and surrounding areas.

       80.     Plaintiff Bowling Green Warren County Community Hospital Corporation d/b/a

The Medical Center at Bowling Green, The Medical Center at Caverna, and The Medical Center

at Scottsville (“Medical Center”) is a Kentucky nonprofit corporation located at 1101 College

Street, Bowling Green, Warren County, Kentucky. The Medical Center is licensed for a total of

313 acute-care beds, 24 psychiatric beds, and 50 critical-access beds, serving patients in Warren,

Hart, and Allen Counties in Western and Southwestern Kentucky and surrounding areas.

       81.     Plaintiff The Medical Center at Clinton County, Inc. d/b/a The Medical Center at

Albany (“Medical Center Albany”) is a Kentucky nonprofit corporation with its main hospital

location at 723 Burkesville Road, Albany, Clinton County, Kentucky. The Medical Center Albany



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is licensed for a total of 42 acute-care beds, serving patients in Clinton County, Kentucky and

surrounding areas.

       82.     Plaintiff The Medical Center at Franklin, Inc. d/b/a The Medical Center at Franklin

(“Medical Center Franklin”) is a Kentucky nonprofit corporation with its main hospital location at

1100 Brookhaven Road, Franklin, Simpson County, Kentucky. The Medical Center Franklin is

licensed for a total of 25 critical-access beds, serving patients in Simpson County in Southwestern

Kentucky and surrounding areas.

       B.      DEFENDANTS

               1. Marketing Defendants

                     a. Purdue and Associated Companies

       83.     Defendant Purdue Pharma L.P. is a limited partnership organized under the laws of

Delaware with its principal place of business in Stamford, Connecticut.

       84.     Defendant Purdue Pharma Inc. is a New York corporation with its principal place

of business in Stamford, Connecticut.

       85.     Defendant The Purdue Frederick Company, Inc. is a New York corporation with

its principal place of business in Stamford, Connecticut.

       86.     Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States,

including to Plaintiff. OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual

nationwide sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-

fold from its 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market

for analgesic drugs (painkillers).

       87.     In 2007, Purdue settled criminal and civil charges against it for misbranding

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OxyContin and agreed to pay the United States $635 million – one of the largest settlements with

a drug company for marketing misconduct. None of this stopped Purdue. In fact, Purdue continued

to create the false perception that opioids were safe and effective for long-term use, even after

being caught, by using unbranded marketing methods to circumvent the system. In short, Purdue

paid the fine when caught and then continued business as usual, deceptively marketing and selling

billions of dollars of opioids each year.

                   b. Cephalon and Associated Companies

       88.     Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

business in Frazer, Pennsylvania.

       89.     Defendant Teva Pharmaceutical Industries, Ltd. is an Israeli corporation with its

principal place of business in Petah Tikva, Israel. Teva Pharmaceuticals Ltd. acquired Cephalon

in October 2011, and Cephalon Inc. became a wholly owned subsidiary of Teva Pharmaceuticals

Ltd.

       90.     Defendant Teva Pharmaceuticals USA, Inc. (“TEVA USA”) is a Delaware

corporation with its principal place of business in North Wales, Pennsylvania and is a wholly

owned subsidiary of Teva Pharmaceutical Industries, Ltd. in Pennsylvania.

       91.     Teva USA and Cephalon, Inc. worked together to manufacture, promote, sell, and

distribute opioids such as Actiq and Fentora in the United States. Actiq has been approved by the

FDA only for the “management of breakthrough cancer pain in patients 16 years and older with

malignancies who are already receiving and who are tolerant to around-the-clock opioid therapy




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for the underlying persistent cancer pain.”58 Fentora has been approved by the FDA only for the

“management of breakthrough pain in cancer patients 18 years of age and older who are already

receiving and who are tolerant to around-the-clock opioid therapy for their underlying persistent

cancer pain.”59 In 2008, Cephalon pled guilty to a criminal violation of the Federal Food, Drug

and Cosmetic Act for its misleading promotion of Actiq and two other drugs, and agreed to pay a

$425 million fine.60

          92.      Teva USA, and Cephalon, Inc. (collectively “Cephalon”) work together closely to

market and sell Cephalon products in the United States. Since its acquisition of Cephalon in

October 2011, Teva USA has conducted all sales and marketing activities for Cephalon in the

United States, through its “specialty medicines” division. Teva USA holds out Actiq and Fentora

as Teva products to the public. The FDA-approved prescribing information and medication guide,

which is distributed with Cephalon opioids, discloses that the guide was submitted by Teva USA,

and directs physicians to contact Teva USA to report adverse events.

          93.      All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo.61 Teva USA’s parent company, Teva Pharmaceuticals Industries, Ltd.

lists Cephalon’s and Teva USA’s sales as its own on its financial reports, and its year-end report


58
   Highlights of Prescribing information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
ACTIQ PI/Med Guide, https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf
(last accessed April 12, 2018).
59
   Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf (last accessed April 12,
2018).
60
   Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million &
Enter Plea to Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.
61
     E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last accessed April 12, 2018).

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for 2012 – the year immediately following the Cephalon acquisition – attributed a 22% increase in

its specialty medicine sales to “the inclusion of a full year of Cephalon’s specialty sales,” including

inter alia sales of Fentora.62

        94.     Teva Pharmaceutical Industries, Ltd., Teva Pharmaceuticals USA, Inc., and

Cephalon, Inc. are referred to herein as “Cephalon.”

        95.     From 2000 forward, Cephalon has made thousands of payments to physicians

nationwide, including in Kentucky, many of whom were not oncologists and did not treat cancer

pain, ostensibly for activities that included participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

                    c. Janssen and Associated Companies

        96.     Defendant Johnson & Johnson (“J&J”) is a New Jersey corporation with its

principal place of business in New Brunswick, New Jersey.

        97.     Defendant Janssen Pharmaceuticals, Inc. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of J&J.

        98.     Janssen Pharmaceuticals, Inc. was formerly known as Ortho-McNeil-Janssen

Pharmaceuticals, Inc., which was formerly known as Janssen Pharmaceutica, Inc.

        99.     Defendant Noramco, Inc. is a Delaware company headquartered in Wilmington,

Delaware and was a wholly owned subsidiary of J&J until July 2016. Noramco, Inc. is or had been

part of J&J’s opium processing by making active pharmaceutical ingredients (“APIs”) for opioid

painkillers.


62
  Teva Ltd., Annual Report (Form 20-F), at 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf

                                                  30
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        100.     Johnson & Johnson is the only company that owns over 10% of Janssen

Pharmaceuticals stock. J&J controls the sale and development of Janssen Pharmaceuticals drugs

and Janssen Pharmaceuticals profits inure to J&J’s benefit.

        101.     J&J, Janssen Pharmaceuticals, Inc., Noramco, Inc., Ortho-McNeil-Janssen

Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. (collectively, “Janssen”) are or have been

in the business of manufacturing, selling, promoting, and/or distributing both brand name and

generic opioids throughout the United States.

        102.     Janssen manufactures, promotes, sells, and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1 billion

in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids Nucynta

(tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172 million in

sales in 2014.

        103.     Janssen made thousands of payments to physicians nationwide, including in

Kentucky, ostensibly for activities that included participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids. Together, Nucynta and Nucynta ER

accounted for $172 million in sales in 2014. Prior to 2009, Duragesic accounted for at least $1

billion in annual sales.

        104.     Janssen, like many other companies, has a corporate code of conduct, which

clarifies the organization’s mission, values and principles. Janssen’s employees are required to

read, understand and follow its Code of Conduct for Health Care Compliance. Johnson & Johnson




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imposes this code of conduct on Janssen as a pharmaceutical subsidiary of J&J.63 Documents

posted on J&J’s and Janssen’s websites confirm J&J’s control of the development and marketing

of opioids by Janssen. Janssen’s website “Ethical Code for the Conduct of Research and

Development,” names only J&J and does not mention Janssen anywhere within the document. The

“Ethical Code for the Conduct of Research and Development” posted on the Janssen website is

J&J’s company-wide Ethical Code, which it requires all of its subsidiaries to follow.

          105.    The “Every Day Health Care Compliance Code of Conduct” posted on Janssen’s

website is a J&J company-wide document that describes Janssen as one of the “Pharmaceutical

Companies of Johnson & Johnson” and as one of the “Johnson & Johnson Pharmaceutical

Affiliates.” It governs how “[a]ll employees of Johnson & Johnson Pharmaceutical Affiliates,”

including those of Janssen, “market, sell, promote, research, develop, inform and advertise

Johnson & Johnson Pharmaceutical Affiliates’ products.” All Janssen officers, directors,

employees, sales associates must certify that they have “read, understood and will abide by” the

code. The code governs all of the forms of marketing at issue in this case. J&J made payments to

thousands of physicians nationwide, including in Kentucky, ostensibly for activities that included

participating on speakers’ bureaus, providing consulting services, assisting in post-marketing

safety surveillance and other services, but in fact to deceptively promote and maximize the use of

opioids.

                      d. Endo and Associated Companies

          106.    Defendant Endo Health Solutions Inc. is a Delaware corporation with its principal




63
     Depomed, Inc. acquired the rights to Nucynta and Nucynta ER from Janssen in 2015.



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place of business in Malvern, Pennsylvania.

       107.     Defendant Endo Pharmaceuticals Inc. is a wholly owned subsidiary of Endo Health

Solutions Inc. and is a Delaware corporation with its principal place of business in Malvern,

Pennsylvania.

       108.     Endo Health Solutions Inc. and Endo Pharmaceuticals Inc. (collectively, “Endo”)

are or have been in the business of manufacturing, selling, promoting, and/or distributing both

brand name and generic opioids throughout the United States.

       109.     Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, generic versions of oxycodone, oxymorphone,

hydromorphine, and hydrocodone in the United States. Opioids made up roughly $403 million of

Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion in revenue from

2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012. On June 8, 2017, the

FDA requested that Endo remove Opana ER from the market because of a “serious outbreak” of

HIV and hepatitis C due to abuse of the drug after the reformulation of Opana from a nasal spray

to an injectable.64 In response to the FDA’s request, Endo removed Opana ER from the market in

July 2017.65 Endo also manufactures and sells generic opioids such as oxycodone, oxymorphone,

hydromorphone, and hydrocodone products in the United States, by itself and through its

subsidiary, Qualitest Pharmaceuticals, Inc.

       110.     Endo made thousands of payments to physicians nationwide, including in


64
  Press Release, U.S. Food & Drug Administration, FDA Requests Removal of Opana ER for Risks
Related to Abuse (June 8, 2017),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
65
   Press Release, Endo International PLC, Endo Provides update on Opana ER (July 6, 2017),
http://investor.endo.com/news-releases/news-release-details/endo-provides-update-opanar-er.

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Kentucky, ostensibly for activities that included participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

                   e. Insys Therapeutics, Inc.

       111.    Insys Therapeutics, Inc. is a Delaware corporation with its principal place of

business in Chandler, Arizona. Insys’ principal product and source of revenue is Subsys.

       112.    Insys made thousands of payments to physicians nationwide, including in

Kentucky, ostensibly for activities that included participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

       113.    Subsys is a transmucosal immediate-release formulation (TIRF) of fentanyl,

contained in a single-dose spray device intended for oral, under the tongue administration. Subsys

was approved by the FDA solely for the treatment of breakthrough cancer pain.

       114.    In 2016, Insys made approximately $330 million in net revenue from Subsys.

       115.    Insys promotes, sells, and distributes Subsys throughout the United States,

including Kentucky.

       116.    Insys’ founder and owner was recently arrested and charged, along with other Insys

executives, with multiple felonies in connection with an alleged conspiracy to bribe practitioners

to prescribe Subsys and defraud insurance companies. Other Insys executives and managers were

previously indicted.

                   f. Mallinckrodt Entities

       117.    Defendant Mallinckrodt plc is an Irish public limited company with its headquarters

in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was incorporated in January

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2013 for the purpose of holding the pharmaceuticals business of Covidien plc, which was fully

transferred to Mallinckrodt plc in June of that year. Mallinckrodt plc also operates under the

registered business name Mallinckrodt Pharmaceuticals, with its U.S. headquarters in Hazelwood,

Missouri. Defendant Mallinckrodt LLC (together with Mallinckrodt plc, “Mallinckrodt”) is a

Delaware corporation with its headquarters in Hazelwood, Missouri. Mallinckrodt manufactures,

markets, sells and distributes pharmaceutical drugs throughout the United States, including

Kentucky. Mallinckrodt is the largest U.S. supplier of opioid pain medications and among the top

ten generic pharmaceutical manufacturers in the United States, based on prescriptions.

       118.   Mallinckrodt manufactures and markets two branded opioids: Exalgo, which is

extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and Roxicodone,

which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009, Mallinckrodt Inc., a

subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The FDA approved Exalgo for

treatment of chronic pain in 2012. Mallinckrodt further expanded its branded opioid portfolio in

2012 by purchasing Roxicodone from Xanodyne Pharmaceuticals. In addition, Mallinckrodt

developed Xartemis XR, an extended-release combination of oxycodone and acetaminophen,

which the FDA approved in March 2014, and which Mallinckrodt has since discontinued.

Mallinckrodt promoted its branded opioid products with its own direct sales force.

       119.   While it has sought to develop its branded opioid products, Mallinckrodt has long

been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received

approximately 25% of the DEA’s entire annual quota for controlled substances that it

manufactures. Mallinckrodt also estimated, based on IMS Health data for the same period, that its

generics claimed an approximately 23% market share of DEA Schedules II and III opioid and oral




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solid dose medications.66 IMS Health was a company in the business of collecting and providing

health care information, such as prescription data. It is now known as IQVIA.

         120.    Mallinckrodt operates a vertically integrated business in the United States: (1)

importing raw opioid materials, (2) manufacturing generic opioid products, primarily at its facility

in Hobart, New York, and (3) marketing and selling its products to drug distributors, specialty

pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers that have

mail-order pharmacies, and hospital buying groups.

         121.    Among the drugs Mallinckrodt manufactures or has manufactured are the

following: Schedule II: Exalgo (Hydromorphone hydrochloride, extended release), Roxicodone

(Oxycodone hydrochloride), Xartemis XR (Oxycodone hydrochloride and acetaminophen),

Methadose (Methadone hydrochloride), Generic (Morphine sulfate, extended release, Morphine

sulfate oral solution, Fentanyl transdermal system, Oral transmucosal fentanyl citrate, Oxycodone

and acetaminophen, Hydrocodone bitartrate and acetaminophen, Hydromorphone hydrochloride,

Hydromorphone hydrochloride, extended release, Oxymorphone hydrochloride, Methadone

hydrochloride. Schedule III: Buprenorphine and naloxone. Unscheduled: Naltrexone

hydrochloride.

         122.    Mallinckrodt made thousands of payments to physicians nationwide, including in

Kentucky, ostensibly for activities that included participating on speakers bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids




  66
       Mallinckrodt plc 2016 Form 10-K.



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                   g. Actavis and Associated Companies

       123.    Defendant Allergan plc is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland.

       124.    Defendant Actavis plc acquired Defendant Allergan plc in March 2015, however

the combined company changed its name to Allergan plc in January 2013.

       125.    Defendant Watson Pharmaceuticals, Inc. had acquired Defendant Actavis, Inc. in

October 2012, and the combined company changed its name to Actavis, Inc. as of January 2013,

and then changed the name to Actavis plc in October 2013.

       126.    Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

place of business in Corona, California, and is a wholly-owned subsidiary of Defendant Allergan

plc (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.).

       127.    Defendant Actavis Pharma, Inc. (f/k/a Actavis, Inc.) is a Delaware corporation with

its principal place of business in New Jersey and was formerly known as Watson Pharma, Inc.

       128.    Defendant Actavis LLC is a Delaware limited liability company with its principal

place of business in Parsippany, New Jersey.

       129.    Each of these Defendants is owned by Defendant Allergan plc, which uses them to

market and sell its drugs in the United States.

       130.    Defendant Allergan plc exercises control over these marketing and sales efforts and

profits from the sale of Allergan/Actavis products ultimately inure to its benefit. Allergan plc,

Actavis plc, Actavis, Inc., Actavis LLC, Actavis Pharma, Inc., Watson Pharmaceuticals, Inc.,

Watson Pharma, Inc., and Watson Laboratories, Inc. (collectively, “Actavis”) are or have been in

the business of manufacturing, selling, promoting, and/or distributing both brand name and generic

opioids throughout the United States, including in Kentucky.

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        131.   Actavis manufactures, promotes, sells, and distributes opioids, including the

branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic

and Opana in the United States. Actavis acquired the rights to Kadian from King Pharmaceuticals,

Inc. on December 30, 2008, and began marketing Kadian in 2009.

        132.   Actavis made thousands of payments to physicians nationwide including in

Kentucky, ostensibly for activities that included participating on speakers’ bureaus, providing

consulting services, assisting in post-marketing safety surveillance and other services, but in fact

to deceptively promote and maximize the use of opioids.

        133.   Collectively, Purdue, Actavis, Cephalon, Janssen, Endo, Insys, and Mallinckrodt

are referred to as “Marketing Defendants.”

               2. Distributor Defendants

        134.   The Distributor Defendants are defined below. At all relevant times, the Distributor

Defendants have distributed, supplied, sold, and placed into the stream of commerce prescription

opioids, without fulfilling the fundamental duty of wholesale drug distributors to detect and warn

of diversion of dangerous drugs for non-medical purposes. The Distributor Defendants universally

failed to comply with federal law reporting requirements. The Distributor Defendants are engaged

in “wholesale distribution,” as defined under federal law. Plaintiffs allege the unlawful conduct by

the Distributor Defendants is a substantial cause for the volume of prescription opioids plaguing

Plaintiffs’ communities in Western, Southwestern, and West-Central Kentucky.

                   a. AmerisourceBergen Drug Corporation

        135.   Defendant AmerisourceBergen Drug Corporation (“AmerisourceBergen”) is a

wholesaler of pharmaceutical drugs that distributes opioids throughout the country, including to

Plaintiff.

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       136.    AmerisourceBergen is the eleventh largest company by revenue in the United

States, with annual revenue of $147 billion in 2016. AmerisourceBergen’s principal place of

business is located in Chesterbrook, Pennsylvania, and it is incorporated in Delaware.

       137.    According to its 2016 Annual Report, AmerisourceBergen is “one of the largest

global pharmaceutical sourcing and distribution services companies, helping both healthcare

providers and pharmaceutical and biotech manufacturers improve patient access to products and

enhance patient care.”67

                   b. Cardinal

       138.    Defendant Cardinal Health, Inc. (“Cardinal”) is an Ohio Corporation with its

principal place of business in Dublin, Ohio. In 2016, Cardinal generated revenues of $121.5 billion.

       139.    Cardinal is a global distributor of pharmaceutical drugs and medical products. It is

one of the largest distributors of opioids in the United States. It has annual resources of over $120

billion. Additionally, in December 2013, Cardinal formed a ten-year agreement with CVS

Caremark to form the largest generic drug sourcing operation in the United States. Cardinal has,

at all relevant times, had distribution centers throughout the United States, including adjacent to

Kentucky, and has distributed opioids nationwide.

                   c. McKesson Corporation

       140.    McKesson is a Delaware corporation with its principal place of business located in

San Francisco, California.

       141.    McKesson is the largest pharmaceutical distributor in North America. McKesson

delivers approximately one-third of all pharmaceuticals used in North America, including in


67
    AmerisourceBergen, 2016 Summary Annual Report, http://investor.amerisourcebergen.com/static-
files/37daf1ed-4d41-4547-bb87-86d501087dbb (last accessed April 12, 2018).

                                                 39
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Kentucky.

          142.   For fiscal year ended March 31, 2017, McKesson generated revenues of $198.5

billion

          143.   In its 2017 Annual Report, McKesson states that it “partner[s] with pharmaceutical

manufacturers, providers, pharmacies, governments and other organizations in healthcare to help

provide the right medicines, medical products and healthcare services to the right patients at the

right time, safely and cost-effectively.”68

          144.   According to its 2017 Annual Report, McKesson’s “pharmaceutical distribution

business operates and serves thousands of customer locations through a network of 27 distribution

centers, as well as a primary redistribution center, two strategic redistribution centers and two

repackaging facilities, serving all 50 states and Puerto Rico.”

          145.   McKesson Corporation (“McKesson”) is fifth on the list of Fortune 500 companies,

ranking immediately after Apple and ExxonMobil, with annual revenue of $191 billion in 2016.

McKesson is a wholesaler of pharmaceutical drugs that distributes opioids throughout the country.

          146.   In January 2017, McKesson paid a record $150 million to resolve an investigation

by the U.S. Department of Justice (“DOJ”) for failing to report suspicious orders of certain drugs,

including opioids. In addition to the monetary penalty, the DOJ required McKesson to suspend

sales of controlled substances from distribution centers in Ohio, Florida, Michigan and Colorado.

The DOJ described these “staged suspensions” as “among the most severe sanctions ever agreed

to by a [Drug Enforcement Administration] registered distributor.”



68
  McKesson, Annual Report,
http://investor.mckesson.com/sites/mckesson.investorhq.businesswire.com/files/report/file/2017_McKess
on_Annual_Report_0.pdf (last accessed April 12, 2018).

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       147.    McKesson is the largest pharmaceutical distributor in the United States.

       148.    McKesson has more than 40,000 customers nationally.

       149.    Collectively, McKesson, AmerisourceBergen, and Cardinal account for 85% of the

drug shipments in the United States. These companies together collect about $400 billion in annual

revenue.

                   d. Miami-Luken

       150.    Defendant Miami-Luken, Inc. (“Miami-Luken”) is an Ohio corporation with its

headquarters and principal place of business in Springboro, Ohio. At all times relevant to this

Complaint, Miami-Luken distributed prescription opioids throughout the United States, including

in Kentucky and the counties serviced by Plaintiffs specifically.

       151.    Cardinal, McKesson, AmerisourceBergen, and Miami-Luken are collectively

referred to as the “Distributor Defendants.”

               3. National Retail Pharmacies

                   a. CVS Health Corporation

       152.    Defendant CVS Health Corporation (“CVS”) is a Delaware corporation with its

principal place of business in Rhode Island. At all times relevant to this Complaint, CVS

distributed prescription opioids throughout the United States, including in Kentucky.

                   b. Walgreens Boots Alliance, Inc.

       153.    Defendant Walgreens Boots Alliance, Inc., also known as Walgreen Co.

(“Walgreens”) is a Delaware corporation with its principal place of business in Illinois. At all times

relevant to this Complaint, Walgreens distributed prescription opioids throughout the United

States, including in Kentucky.

                   c. Wal-Mart Inc.

       154.    Defendant Wal-Mart Inc., formerly known as Wal-Mart Stores, Inc. (“Wal- Mart”),
                                                 41
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is a Delaware corporation with its principal place of business in Arkansas. At all times relevant to

this Complaint, Wal-Mart distributed prescription opioids throughout the United States, including

in Kentucky.

       155.    Collectively, Defendants CVS, Walgreens, and Wal-Mart are referred to as

“National Retail Pharmacies.” Additionally, the Distributor Defendants and the National Retail

Pharmacies are collectively referred to as the “Supply Chain Defendants.”

       156.    Defendants include the above referenced entities as well as their predecessors,

successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

in the manufacture, promotion, distribution, sale and/or dispensing of opioids.

       C.      DEFENDANTS’ AGENTS

       157.    All of the actions described in this Complaint are part of, and in furtherance of, the

unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants’

officers, agents, employees, or other representatives while actively engaged in the management of

Defendants’ affairs within the course and scope of their duties and employment, and/or with

Defendants’ actual, apparent, and/or ostensible authority.

IV.    CONTINUING VIOLATIONS

       158.    This Complaint alleges a continuing course of conduct (including conduct within

the limitations periods), and Defendants’ unlawful conduct has inflicted continuing and

accumulating harm within the applicable statutes of limitations. Thus, Plaintiffs can recover for

damages that they incurred during any applicable limitations period.

V.     FACTUAL BACKGROUND

       A.      THE HISTORY OF OPIOIDS

       159.    The synthetic opioids manufactured and distributed by Defendants are related to


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the opium poppy, which has been used to relieve pain for centuries.

          160.    The opium poppy was a well-known symbol of the Roman Civilization, which

signified both sleep and death. The Romans used opium not only as a medicine but also as a

poison.69

          161.    During the Civil War, opioids, then known as “tinctures of laudanum,” gained

popularity among doctors and pharmacists for their ability to reduce anxiety and relieve pain on

the battlefield. They were also used in a wide variety of commercial products ranging from pain

elixirs to cough suppressants to beverages.

          162.    Since passage of the Controlled Substances Act (“CSA”) in 1970, 21 U.S.C. § 801,

et seq., opioids have been regulated as controlled substances. Controlled substances are

categorized in five schedules, ranked in order of their potential for abuse, with Schedule I being

the highest. The CSA imposes a hierarchy of restrictions on prescribing and dispensing drugs based

on their medicinal value, likelihood of addiction or abuse, and safety.

          163.    Opioids generally have been categorized as Schedule II, although some are

classified as Schedule III drugs. Schedule II drugs have a high potential for abuse, have a currently

accepted medical use, and may lead to severe psychological or physical dependence. 21 U.S.C. §

812. Schedule II drugs may not be dispensed without an original copy of a manually signed

prescription, which may not be refilled, from a doctor and filled by a pharmacist who both must

be licensed by their state and registered with the DEA. 21 U.S.C. § 829.

          164.    Opioids provide effective treatment for short-term, post-surgical and trauma-

related pain, and for palliative end-of-life care. They are approved by the FDA for use in the



69
     Martin Booth, Opium: A History, at 20 (Simon & Schuster Ltd. 1996).

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management of moderate to severe pain where use of an opioid analgesic is appropriate for more

than a few days. Defendants, however, have manufactured, promoted, marketed, and distributed

opioids for the management of chronic pain by misleading consumers and medical providers, such

as hospitals, through misrepresentations or omissions regarding the appropriate uses, risks, and

safety of opioids.

           165.   The synthetic opioid fentanyl has been a driving force behind the nation’s opioid

epidemic, killing tens of thousands of Americans in overdoses. Two states are now pushing to use

the drug’s powerful properties to execute prisoners on death row.70

           166.   In a November 2016 report, the DEA declared opioid prescription drugs, heroin,

and fentanyl as the most significant drug-related threats to the United States.71

           167.   The CDC estimates that approximately three out of four new heroin addicts in the

United States started by abusing prescription opioids.72

           168.   According to the CDC, opioids are responsible for the majority of drug overdoses

today.73 Additionally, opioid overdose have quadrupled nationally since 1999.74


70
   William Wan & Mark Berman, States to Try New Ways of Executing Prisoners. Their Latest Idea?
Opioids., THE WASHINGTON POST (Dec. 9, 2017), https://www.washingtonpost.com/national/health-
science/states-choose-new-ways-to-execute-prisoners-their-latest-idea-opioids/2017/12/09/3eb9bafa-
d539-11e7-95bf-df7c19270879_story.html?utm_term=.c7048831bfcd.
71
  Rudd et al., Centers for Disease Control and Prevention, Increases in Drug and Opioid-Involved
Overdose Deaths—United States, 2010-2015 (Dec. 30, 2016), Morbidity & Mortality Wkly. Rep. 2016;
65; 1445-1452, doi: http://dx.doi.org/10.15585/mmwr.mm655051e1, available at
https://www.cdc.gov/mmwr/volumes/65/wr/mm655051e1.htm.
72
  Centers for Disease Control and Prevention, Heroin Overdose Data,
https://www.cdc.gov/drugoverdose/data/heroin.html (last accessed April 12, 2018).
73
     Id.
74
  Centers for Disease Control and Prevention, Drug Overdose Death Data
https://www.cdc.gov/drugoverdose/data/statedeaths.html (last accessed April 12, 2018).

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          169.     Addiction is a spectrum of substance use disorders that range from misuse and

abuse of drugs to addiction. Throughout this Complaint, “addiction” refers to the entire range of

substance abuse disorders.75 Individuals suffer negative consequences wherever they fall on the

substance use disorder continuum.

          B.       THE OPIOID EPIDEMIC

          170.     Prescription opioids have become widely prescribed. In 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month.76

          171.     Despite the large number of prescriptions, recent studies have concluded that

treatment with opioids is not superior to treatment with non-opioid medications for improving

pain-related function.77 Even for patients presenting to the emergency room with acute extremity

pain, there is no significant or clinically important difference in pain reduction at 2 hours among

single-dose treatment with ibuprofen and acetaminophen or with three different opioid and

acetaminophen combination analgesics.78

          172.     In 2011, the U.S. Department of Health and Human Resources, Centers for Disease



75
     American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders (5th ed. 2013).
76
   Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription
Opioid Use and Abuse in the United States, 104 Am. J. Pub. Health e52-e59 (2014),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3935688/.
77
  Erin E. Krebs, M.D., et al., Effect of Opioid vs Nonopioid Medications on Pain-Related Function in
Patients with Chronic Back Pain or Hip or Knee Osteoarthritis Pain, 319 JAMA 872-882 (2018), doi:
10.1001/jama.2018.0899, https://jamanetwork.com/journals/jama/article-abstract/2673971?redirect=true.
78
  Andrew K. Chang, M.D., et al., Effect of a Single Dose of Oral Opioid and Nonopioid Analgesics on
Acute Extremity Pain in the Emergency Department, 318 JAMA 1661-1667 (2017), DOI:
10.1001/jama.2017.16190, https://jamanetwork.com/journals/jama/article-
abstract/2661581?widget=personalizedcontent&previousarticle=2673971&redirect=true.

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Control and Prevention, declared prescription painkiller overdoses at epidemic levels. The News

Release noted:

        a.       The death toll from overdoses of prescription painkillers has more than tripled in
                 the past decade.

        b.       More than 40 people die every day from overdoses involving narcotic pain relievers
                 like hydrocodone (Vicodin), methadone, oxycodone (OxyContin), and
                 oxymorphone (Opana).

        c.       Overdoses involving prescription painkillers are at epidemic levels and now kill
                 more Americans than heroin and cocaine combined.

        d.       The increased use of prescription painkillers for nonmedical reasons, along with
                 growing sales, has contributed to a large number of overdoses and deaths. In 2010,
                 1 in every 20 people in the United States age 12 and older—a total of 12 million
                 people—reported using prescription painkillers non-medically according to the
                 National Survey on Drug Use and Health. Based on the data from the Drug
                 Enforcement Administration, sales of these drugs to pharmacies and health care
                 providers have increased by more than 300 percent since 1999.

        e.       Prescription drug abuse is a silent epidemic that is stealing thousands of lives and
                 tearing apart communities and families across America.

        f.       Almost 5,500 people start to misuse prescription painkillers every day.79

        173.     The CDC has also identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid painkillers

are forty times more likely to be addicted to heroin.80 According to a recent study, among young

urban heroin users, 86% used opioid pain relievers prior to using heroin.81



79
  See Press Release, Centers for Disease Control and Prevention, Prescription Painkiller Overdoses at
Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
80
  See Centers for Disease Control and Prevention, Today’s Heroin Epidemic,
https://www.cdc.gov/vitalsigns/heroin/index.html (last accessed April 12, 2018).
81
  Nat’l Inst. on Drug Abuse, Prescription Opioids and Heroin (Jan. 2018),
https://d14rmgtrwzf5a.cloudfront.net/sites/default/files/19774-prescription-opioids-and-heroin.pdf.

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           174.   The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999–2014. Among the 47,055 drug overdose deaths that occurred in 2014 in the United

States, 28,647 (60.9%) involved an opioid.82

           175.   The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years.83

           176.   The National Institute on Drug Abuse identifies misuse and addiction to opioids as

“a serious national crisis that affects public health as well as social and economic welfare.” 84 The

economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs of

healthcare, lost productivity, addiction treatment, and criminal justice expenditures.85

           177.   In 2016, the President of the United States officially declared an opioid and heroin

epidemic.86




82
   See Rudd et al., Centers for Disease Control and Prevention, Increases in Drug and Opioid-Involved
Overdose Deaths—United States, 2010-2015 (Dec. 30, 2016), Morbidity & Mortality Wkly. Rep. 2016; 65;
1445-1452,         DOI:         http://dx.doi.org/10.15585/mmwr.mm655051e1,         available      at
https://www.cdc.gov/mmwr/volumes/65/wr/mm655051e1.htm.
83
   See Nora D. Volkow, M.D. & A. Thomas McLellan, M.D., Opioid Abuse in Chronic Pain –
Misconceptions and Mitigation Strategies, 374 N Engl J Med 1253-1263 (2016), DOI:
10.1056/NEJMra1507771, http://www.nejm.org/doi/full/10.1056/NEJMra1507771, (hereinafter “Volkow
and McLellan”).
84
     Id.
85
  Id. (citing at note 2, Florence CS, et al., The Economic Burden of Prescription Opioid Overdose, Abuse,
and Dependence in the United States, 2013 (Oct. 2016), 54 Med. Care 901-906 (2016), DOI:
10.1097/MLR.0000000000000625, available at https://www.ncbi.nlm.nih.gov/pubmed/27623005.
86
  See Proclamation No. 9499, 81 Fed. Reg. 65173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and
Heroin Epidemic Awareness Week”), available at https://www.gpo.gov/fdsys/pkg/FR-2016-09-
22/pdf/2016-22960.pdf.

                                                   47
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       C.      LEGISLATIVE RESPONSES TO OPIOID CRISIS

       178.    Until 2012, Kentucky had no prescription-monitoring system. Until then, any

pharmacist would fill a prescription. The result was that legally prescribed opioids were readily

available to addicted persons throughout the Commonwealth with minimal or nonexistent

government or law enforcement oversight.

       179.    In 2012, the Kentucky legislature first enacted government controls on pain

management facilities, imposed limits on Schedule II controlled substances, established

professional standards for dispensing any controlled substance containing hydrocodone, and

authorized an electronic reporting system intended to track retail distribution of controlled

substances. See KRS 218A.175. Although intended to be comprehensive, this statutory scheme

had minimal effect on opioid addiction and abuse in Kentucky due to the marketing and

distribution efforts of Defendants as described herein.

       180.    It was not until just recently (November 2017) that the Kentucky Board of Medical

Licensure, as authorized by 2017 state legislation, imposed more effective restrictions, including

a three-day restriction on prescribing Schedule II controlled substances in the treatment of acute

episodes of pain. The standards for treating chronic pain remain intact.

       181.    In response to the unabated opioid epidemic, multiple committees in the U.S. House

and Senate conducted dozens of hearings during the current congressional term. The committees

explored the issue from almost every angle, including effects on the health care system, people

and their communities, law enforcement, workplaces, schools, and the Native American

community. Two Congressional committees are taking the lead to enact legislation to address the

crisis: the House Energy and Commerce Committee and the Senate Committee on Health,

Education, Labor and Pensions (HELP). In April 2018, the HELP Committee passed a bipartisan,

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comprehensive bill to address the opioid crisis and a Subcommittee of the Energy and Commerce

Committee passed over 50 bills to combat the crisis, most on a bipartisan vote.

       D.      THE MARKETING DEFENDANTS’ FALSE, DECEPTIVE, AND UNFAIR
               MARKETING OF OPIOIDS.

       182.    The opioid epidemic did not happen by accident.

       183.    Before the 1990s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

patients’ ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

       184.    Each Marketing Defendant conducted, and has continued to conduct, a marketing

scheme designed to persuade doctors and patients that opioids can and should be used for chronic

pain, resulting in opioid treatment for a far broader group of patients who are much more likely to

become addicted and suffer other adverse effects from the long-term use of opioids. In connection

with this scheme, each Marketing Defendant spent, and continues to spend, millions of dollars on

promotional activities and materials that falsely deny or trivialize the risks of opioids while

overstating the benefits of using them for chronic pain.

       185.    The Marketing Defendants have disseminated these common messages to reverse

the popular and medical understanding of opioids and risks of opioid use. They disseminated these

messages directly, through their sales representatives, in speaker groups led by physicians that the

Marketing Defendants recruited for their support of their marketing messages, and through

unbranded marketing and industry-funded Front Groups.
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       186.    The Marketing Defendants’ efforts have been wildly successful. Opioids are now

the most prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue for drug

companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue annually

since 2009.87 In an open letter to the nation’s physicians in August 2016, the then U.S. Surgeon

General expressly connected this “urgent health crisis” to “heavy marketing of opioids to doctors

... [m]any of [whom] were even taught – incorrectly – that opioids are not addictive when

prescribed for legitimate pain.”88 This epidemic has resulted in a flood of prescription opioids

available for illicit use or sale (the supply), and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription opioids

or even non-prescription opioids, like heroin.

       187.    The Marketing Defendants intentionally continued their conduct, as alleged herein,

with knowledge that such conduct was creating the opioid nuisance and causing the harms and

damages alleged herein.

       188.    As alleged throughout this Complaint, Defendants’ conduct created a public health

crisis and a public nuisance.

       189.    The public nuisance – i.e., the opioid epidemic – created, perpetuated, and

maintained by Defendants can be abated and further recurrence of such harm can be abated by,

inter alia, (a) educating prescribers (especially primary care physicians and the most prolific


87
   See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, FORTUNE (Nov. 9, 2011),
http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers
Hooked on $10bn Opioid Habit, FINANCIAL TIMES (Aug. 10, 2016).
88
  Letter from Vivek H. Murthy, M.D., U.S. Surgeon General, available at http://turnthetiderx.org/ (last
accessed April 12, 2018).

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prescribers of opioids) and patients regarding the true risks and benefits of opioids, including the

risk of addiction, in order to prevent the next cycle of addiction; (b) providing addiction treatment

to patients who are already addicted to opioids; and (c) making naloxone widely available so that

overdoses are less frequently fatal.

       190.    Defendants have the ability to act to abate the public nuisance, and the law

recognizes that they are uniquely well positioned to do so. It is the manufacturer of a drug that has

primary responsibility to assure the safety, efficacy, and appropriateness of a drug’s labeling,

marketing, and promotion. And, all companies in the supply chain of a controlled substance are

primarily responsible for ensuring that such drugs are only distributed and dispensed to appropriate

patients and not diverted. These responsibilities exist independent of any FDA or DEA regulation,

to ensure that their products and practices meet both federal and state consumer protection laws

and regulations. As registered manufacturers and distributors of controlled substances, Defendants

are placed in a position of special trust and responsibility, and are uniquely positioned, based on

their knowledge of prescribers and orders, to act as a first line of defense.

       E.      EACH MARKETING DEFENDANT USED MULTIPLE AVENUES TO
               DISSEMINATE THEIR FALSE AND DECEPTIVE STATEMENTS
               ABOUT OPIOIDS.

       191.    The Marketing Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients throughout the United States. The

Marketing Defendants also deployed seemingly unbiased and independent third parties that they

controlled to spread their false and deceptive statements about the risks and benefits of opioids for

the treatment of chronic pain throughout the State and Plaintiffs’ communities in Western,

Southwestern, and West-Central Kentucky.

       192.    Across the pharmaceutical industry, “core message” development is funded and

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overseen on a national basis by the drug manufacturers’ corporate headquarters. This

comprehensive approach ensures that the Marketing Defendants’ messages are accurately and

consistently delivered across marketing channels – including detailing visits, speaker events, and

advertising – and in each sales territory. The Marketing Defendants consider this high level of

coordination and uniformity crucial to successfully marketing their drugs.

       193.    The Marketing Defendants ensure marketing consistency nationwide through

national and regional sales representative training; national training of local medical liaisons, the

company employees who respond to physician inquiries; centralized speaker training; single sets

of visual aids, speaker slide decks, and sales training materials; and nationally coordinated

advertising. The Marketing Defendants’ sales representatives and physician speakers were

required to stick to prescribed talking points, sales messages, and slide decks, and supervisors rode

along with them periodically to both check on their performance and compliance.

               1. Direct Marketing

       194.    The Marketing Defendants’ misrepresentations fall into the following nine

categories:

       a.      The risk of addiction from chronic opioid therapy is low;

       b.      To the extent there is a risk of addiction, it can be easily identified and
               managed;

       c.      Signs of addictive behavior are “pseudoaddiction,” requiring more opioids;

       d.      Opioid withdrawal can be avoided by tapering;

       e.      Opioid doses can be increased without limit or greater risks;

       f.      Long-term opioid use improves functioning;

       g.      Alternative forms of pain relief pose greater risks than opioids;

       h.      A version of OxyContin marketed by Purdue was effective in providing 12 hour
                                                 52
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               pain relief; and

       i.      New formulations of certain opioids successfully deter abuse.

       195.    Each of these propositions was false. The Marketing Defendants knew this, but they

nonetheless set out to convince physicians, patients, and the public at large of the truth of each of

these propositions in order to expand the market for their opioids.

       196.    The categories of misrepresentations are offered to organize the numerous

statements the Marketing Defendants made and to explain their role in the overall marketing effort,

not as a checklist for assessing each Marketing Defendant’s liability. While each Marketing

Defendant deceptively promoted their opioids specifically, and, together with other Marketing

Defendants, opioids generally, not every Marketing Defendant propagated (or needed to

propagate) each misrepresentation. Each Marketing Defendant’s conduct, and each

misrepresentation, contributed to an overall narrative that aimed to – and did – mislead doctors,

patients, and payors about the risk and benefits of opioids. While this Complaint endeavors to

document examples of each Marketing Defendant’s misrepresentations and the manner in which

they were disseminated, they are just that – examples. The Complaint is not, especially prior to

discovery, an exhaustive catalog of the nature and manner of each deceptive statement by each

Marketing Defendant.

                   a. Falsehood #1: The risk of addiction from chronic opioid therapy is low

       197.    Central    to   the   Marketing    Defendants’    promotional     scheme     was   the

misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their

marketing efforts, the Marketing Defendants advanced the idea that the risk of addiction is low

when opioids are taken as prescribed by “legitimate” pain patients. That, in turn, directly led to the

expected and intended result that doctors prescribed more opioids to more patients – thereby

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enriching the Marketing Defendants and substantially contributing to the opioid epidemic.

            198.   Each of the Marketing Defendants claimed that the potential for addiction from its

opioids was relatively small or non-existent, even though there was no scientific evidence to

support those claims. None of them has acknowledged, retracted, or corrected its false statements.

            199.   In fact, studies have shown that a substantial percentage of long-term users of

opioids experience addiction. Addiction can result from the use of any opioid, “even at

recommended dose,”89 and the risk substantially increases with more than three months of use.90

As the CDC Guideline states, “[o]pioid pain medication use presents serious risks, including

overdose and opioid use disorder” (a diagnostic term for addiction).91

                            i. Purdue’s misrepresentations regarding addiction risk

            200.   When it launched OxyContin, Purdue knew it would need data to overcome decades

of wariness regarding opioid use. It needed some sort of research to back up its messaging. But

Purdue had not conducted any studies about abuse potential or addiction risk as part of its

application for FDA approval for OxyContin. Purdue (and, later, the other Defendants) found this

“research” in the form of a one-paragraph letter to the editor published in the New England Journal

of Medicine (“NEJM”) in 1980.

            201.   This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of addiction




89
  FDA announces safety labeling changes and postmarket study requirements for extended-release and
long-acting opioid analgesics, FDA (Sept. 10, 2013); see also FDA announces enhanced warnings for
immediate-release opioid pain medications related to risks of misuse, abuse, addiction, overdose and death,
FDA (Mar. 22, 2016).
90
     CDC Guideline at 21.
91
     Id. at 2.

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“rare” for patients treated with opioids.92 They had analyzed a database of hospitalized patients

who were given opioids in a controlled setting to ease suffering from acute pain. Porter and Jick

considered a patient not addicted if there was no sign of addiction noted in patients’ records.




           202.    As Dr. Jick explained to a journalist years later, he submitted the statistics to NEJM

as a letter because the data were not robust enough to be published as a study. 93

           203.    Purdue nonetheless began repeatedly citing this letter in promotional and

educational materials as evidence of the low risk of addiction, while failing to disclose that its

source was a letter to the editor, not a peer-reviewed paper.94 Citation of the letter, which was

largely ignored for more than a decade, significantly increased after the introduction of OxyContin.



92
  Jane Porter and Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2) N Engl
J Med. 123 (Jan. 10, 1980), http://www.nejm.org/doi/pdf/10.1056/NEJM198001103020221.
93
     Pain Killer, supra n. 34, at 174.
94
  J. Porter & H. Jick, Addiction Rare in Patients Treated with Narcotics, 302(2) New. Eng. J. Med. 123
(1980).

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While first Purdue and then other Marketing Defendants used it to assert that their opioids were

not addictive, “that’s not in any shape or form what we suggested in our letter,” according to Dr.

Jick.

          204.    In 1996, Defendant Purdue made a deal with Pharmaceutical giant, Abbott

Laboratories, under which Abbott’s sales force would promote Purdue’s lead opioid, OxyContin,

in hospitals.

          205.    Purdue specifically used the Porter and Jick letter in its 1998 promotional video “I

got my life back,” in which Dr. Alan Spanos says “In fact, the rate of addiction amongst pain

patients who are treated by doctors is much less than 1%.”95 Purdue trained its sales representatives

to tell prescribers that less than 1% of patients who took OxyContin became addicted. (In 1999, a

Purdue-funded study of patients who used OxyContin for headaches found that the addiction rate

was 13%.)96

          206.    Other Defendants relied on and disseminated the same distorted messaging. The

enormous impact of Defendants’ misleading amplification of this letter was well documented in

another letter published in the NEJM on June 1, 2017, describing the way the one-paragraph 1980

letter had been irresponsibly cited and in some cases “grossly misrepresented.” In particular, the

authors of this letter explained:

          [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
          and uncritically cited as evidence that addiction was rare with long-term opioid
          therapy. We believe that this citation pattern contributed to the North American
          opioid crisis by helping to shape a narrative that allayed prescribers’ concerns about



95
  Our Amazing World, Purdue Pharma OxyContin Commercial,
https://www.youtube.com/watch?v=Er78Dj5hyeI, (last accessed Jan. 31, 2018) (emphasis added).
96
     Keefe, Empire of Pain.

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        the risk of addiction associated with long-term opioid therapy.97

        207.    “It’s difficult to overstate the role of this letter,” said Dr. David Juurlink of the

University of Toronto, who led the analysis. “It was the key bit of literature that helped the opiate

manufacturers convince front-line doctors that addiction is not a concern.”98

        208.    Alongside its use of the Porter and Jick letter, Purdue also crafted its own materials

and spread its deceptive message through numerous additional channels. In its 1996 press release

announcing the release of OxyContin, for example, Purdue declared, “The fear of addiction is

exaggerated.”99

        209.    At a hearing before the House of Representatives’ Subcommittee on Oversight and

Investigations of the Committee on Energy and Commerce in August 2001, Purdue emphasized

“legitimate” treatment, dismissing cases of overdose and death as something that would not befall

“legitimate” patients: “Virtually all of these reports involve people who are abusing the

medication, not patients with legitimate medical needs under the treatment of a healthcare

professional.”100



97
   Pamela T.M. Leung, B.Sc. Pharm., Erin M. Macdonald, M.Sc., Matthew B. Stanbrook, M.D., Ph.D.,
Irfan Al Dhalla, M.D., David N. Juurlink, M.D., Ph.D., A 1980 Letter on the Risk of Opioid Addiction,
376 N Engl J Med 2194-95 (June 1, 2017),
http://www.nejm.org/doi/full/10.1056/NEJMc1700150#t=article.
98
   Painful words: How a 1980 letter fueled the opioid epidemic, STAT (May 31, 2017),
https://www.statnews.com/2017/05/31/opioid-epidemic-nejm-letter/.
99
   Press Release, OxyContin, New Hope for Millions of Americans Suffering from Persistent Pain: Long-
Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996, 3:47pm),
http://documents.latimes.com/oxycontin-press-release-1996/.
100
   Oxycontin: Its Use and Abuse: Hearing Before the H. Subcomm. on Oversight and Investigations of
the Comm. on Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001) (statement of Michael Friedman,
Executive    Vice      President,  Chief    Operating     Officer,  Purdue     Pharma,      L.P.),
https://www.gpo.gov/fdsys/pkg/CHRG-107hhrg75754/html/CHRG- 107hhrg75754.htm.

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            210.   Purdue spun this baseless “legitimate use” distinction out even further in a patient

brochure about OxyContin, called “A Guide to Your New Pain Medicine and How to Become a

Partner Against Pain.” In response to the question “Aren’t opioid pain medications like

OxyContin Tablets ‘addicting’?,” Purdue claimed that there was no need to worry about addiction

if taking opioids for legitimate, “medical” purposes:

            Drug addiction means using a drug to get “high” rather than to relieve pain. You
            are taking opioid pain medication for medical purposes. The medical purposes are
            clear and the effects are beneficial, not harmful.

            211.   Sales representatives marketed OxyContin as a product “to start with and to stay

with.”101 Sales representatives also received training in overcoming doctors’ concerns about

addiction with talking points they knew to be untrue about the drug’s abuse potential. One of

Purdue’s early training memos compared doctor visits to “firing at a target,” declaring that “[a]s

you prepare to fire your ‘message,’ you need to know where to aim and what you want to hit!”102

According to the memo, the target is physician resistance based on concern about addiction: “The

physician wants pain relief for these patients without addicting them to an opioid.”103

            212.   Purdue, through its unbranded website Partners Against Pain, 104 stated the

following: “Current Myth: Opioid addiction (psychological dependence) is an important clinical



101
      Keefe, Empire Of Pain.
102
      Pain Killer, supra n. 34, at 102.
103
      Id.
104
   Partners Against Pain consists of both a website, styled as an “advocacy community” for better pain
care, and a set of medical education resources distributed to prescribers by sales representatives. It has
existed since at least the early 2000s and has been a vehicle for Purdue to downplay the risks of addiction
from long-term opioid use. One early pamphlet, for example, answered concerns about OxyContin’s
addictiveness by claiming: “Drug addiction means using a drug to get ‘high’ rather than to relieve pain.
You are taking opioid pain medication for medical purposes. The medical purposes are clear and the
effects are beneficial, not harmful.”

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problem in patients with moderate to severe pain treated with opioids. Fact: Fears about

psychological dependence are exaggerated when treating appropriate pain patients with opioids.”

       213.    Former sales representative Steven May, who worked for Purdue from 1999 to

2005, explained to a journalist how he and his coworkers were trained to overcome doctors’

objections to prescribing opioids. The most common objection he heard about prescribing

OxyContin was that “it’s just too addictive.”105 May and his coworkers were trained to “refocus”

doctors on “legitimate” pain patients, and to represent that “legitimate” patients would not become

addicted. In addition, they were trained to say that the 12-hour dosing made the extended-release

opioids less “habit-forming” than painkillers that need to be taken every four hours.

       214.    According to interviews with prescribers and former Purdue sales representatives,

Purdue has continued to distort or omit the risk of addiction while failing to correct its earlier

misrepresentations, leaving many doctors with the false impression that pain patients will only

rarely become addicted to opioids.

       215.    With regard to addiction, Purdue’s label for OxyContin has not sufficiently

disclosed the true risks to, and experience of, its patients. Until 2014, the OxyContin label stated

in a black-box warning that opioids have “abuse potential” and that the “risk of abuse is increased

in patients with a personal or family history of substance abuse.”

       216.    However, the FDA made clear to Purdue as early as 2001 that the disclosures in its

OxyContin label were insufficient.

       217.    In 2001, Purdue revised the indication and warnings for OxyContin.



105
  David Remnick, How OxyContin Was Sold to the Masses (Steven May interview with Patrick Radden
Keefe), The New Yorker (Oct. 27, 2017), https://www.newyorker.com/podcast/the-new- yorker-radio-
hour/how-oxycontin-was-sold-to-the-masses.

                                                59
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       218.    In the end, Purdue narrowed the recommended use of OxyContin to situations when

“a continuous, around-the-clock analgesic is needed for an extended period of time” and added a

warning that “[t]aking broken, chewed, or crushed OxyContin tablets” could lead to a “potentially

fatal dose.” However, Purdue did not, until 2014, change the label to indicate that OxyContin

should not be the first therapy, or even the first opioid, used, and did not disclose the incidence or

risk of overdose and death even when OxyContin was not abused. Purdue announced the label

changes in a letter to health care providers.

                       ii. Endo’s misrepresentations regarding addiction risk

       219.    Endo also falsely represented that addiction is rare in patients who are prescribed

opioids.

       220.    Until April 2012, Endo’s website for Opana, www.opana.com, stated that “[m]ost

healthcare providers who treat patients with pain agree that patients treated with prolonged opioid

medicines usually do not become addicted.”

       221.    In consideration of a reasonable opportunity for further investigation and discovery,

Plaintiffs allege that Endo improperly instructed its sales representatives to diminish and distort

the risk of addiction associated with Opana ER.

       222.    Misleading messages that APF conveyed through its National Initiative on Pain

Control (“NIPC”) and its website Painknowledge.com, claimed that “[p]eople who take opioids as

prescribed usually do not become addicted.”

       223.    Another Endo website, PainAction.com, stated: “Did you know? Most chronic pain

patients do not become addicted to the opioid medications that are prescribed for them.”

       224.    A brochure available on Painknowledge.com titled “Pain: Opioid Facts,” an Endo-

sponsored NIPC, stated that “people who have no history of drug abuse, including tobacco, and

                                                 60
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use their opioid medication as directed will probably not become addicted.” In numerous patient

education pamphlets, Endo repeated this deceptive message.

       In a patient education pamphlet titled “Understanding Your Pain: Taking Oral
       Opioid Analgesics,” Endo answers the hypothetical patient question—“What
       should I know about opioids and addiction?”—by focusing on explaining what
       addiction is (“a chronic brain disease”) and is not (“Taking opioids for pain relief”).
       It goes on to explain that “[a]ddicts take opioids for other reasons, such as
       unbearable emotional problems. Taking opioids as prescribed for pain relief is not
       addiction.” This publication is still available online.

       225.    In addition, a 2009 patient education publication, Pain: Opioid Therapy, funded by

Endo and posted on Painknowledge.com, omitted addiction from the “common risks” of opioids,

as shown below:




                      iii. Janssen’s misrepresentations regarding addiction risk

       226.    Janssen likewise misrepresented the addiction risk of opioids on its websites and

print materials. One website, Let’s Talk Pain, states, among other things, that “the stigma of drug

addiction and abuse” associated with the use of opioids stemmed from a “lack of understanding

addiction.”

       227.    The Let’s Talk Pain website also perpetuated the concept of pseudoaddiction,

associating patient behaviors such as “drug seeking,” “clock watching,” and “even illicit drug use
                                                 61
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or deception” with undertreated pain which can be resolved with “effective pain management.”

       228.    A Janssen unbranded website, PrescribeResponsibly.com, states that concerns

about opioid addiction are “overestimated” and that “true addiction occurs only in a small

percentage of patients.”106

       229.    Janssen reviewed, edited, approved, and distributed a patient education guide

entitled Finding Relief: Pain Management for Older Adults, which, as seen below, described as

“myth” the claim that opioids are addictive, and asserted as fact that “[m]any studies show that

opioids are rarely addictive when used properly for the management of chronic pain.” Until

recently, this guide was still available online.




       230.    Janssen’s website for Duragesic included a section addressing “Your Right to Pain

Relief” and a hypothetical patient’s fear that “I’m afraid I’ll become a drug addict.” The website’s

response: “Addiction is relatively rare when patients take opioids appropriately.”

                       iv. Cephalon’s misrepresentations regarding addiction risk

       231.    Cephalon sponsored and facilitated the development of a guidebook, Opioid



106
    Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last modified July 2, 2015).

                                                   62
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Medications and REMS: A Patient’s Guide, which included claims that “patients without a history

of abuse or a family history of abuse do not commonly become addicted to opioids.” Similarly,

Cephalon sponsored APF’s Treatment Options: A Guide for People Living with Pain (2007), which

taught that addiction is rare and limited to extreme cases of unauthorized dose escalations,

obtaining opioids from multiple sources, or theft.

        232.   For example, a 2003 Cephalon-sponsored CME presentation titled Pharmacologic

Management of Breakthrough or Incident Pain, posted on Medscape in February 2003, teaches:

        [C]hronic pain is often undertreated, particularly in the non-cancer patient
        population. . . . The continued stigmatization of opioids and their prescription,
        coupled with often unfounded and self-imposed physician fear of dealing with the
        highly regulated distribution system for opioid analgesics, remains a barrier to
        effective pain management and must be addressed. Clinicians intimately involved
        with the treatment of patients with chronic pain recognize that the majority of
        suffering patients lack interest in substance abuse. In fact, patient fears of
        developing substance abuse behaviors such as addiction often lead to under
        treatment of pain. The concern about patients with chronic pain becoming addicted
        to opioids during long-term opioid therapy may stem from confusion between
        physical dependence (tolerance) and psychological dependence (addiction) that
        manifests as drug abuse.107

                       v. Mallinckrodt’s misrepresentations regarding addiction risk

       233.    As described below, Mallinckrodt promoted its branded opioids Exalgo and

Xartemis XR, and opioids generally, in a campaign that consistently mischaracterized the risk of

addiction. Mallinckrodt did so through its website and sales force, as well as through unbranded

communications distributed through the “C.A.R.E.S. Alliance” it created and led.

        234.   Mallinckrodt in 2010 created the C.A.R.E.S. (Collaborating and Acting

Responsibly to Ensure Safety) Alliance, which it describes as “a coalition of national patient



107
   Michael J. Brennan, et al., Pharmacologic Management of Breakthrough or Incident Pain, Medscape,
http://www.medscape.org/viewarticle/449803, (last accessed Oct. 10, 2017).

                                                63
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safety, provider and drug diversion organizations that are focused on reducing opioid pain

medication abuse and increasing responsible prescribing habits.” The “C.A.R.E.S. Alliance” itself

is a service mark of Mallinckrodt LLC (and was previously a service mark of Mallinckrodt, Inc.)

and is copyrighted and registered as a trademark by Covidien, its former parent company.

       235.    Materials distributed by the C.A.R.E.S. Alliance, however, include unbranded

publications that do not disclose a link to Mallinckrodt.

       236.    By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a book

titled Defeat Chronic Pain Now! This book is still available online. The false claims and

misrepresentations in this book include the following statements:

       a.      “Only rarely does opioid medication cause a true addiction when prescribed
               appropriately to a chronic pain patient who does not have a prior history of
               addiction.”

       b.      “It is currently recommended that every chronic pain patient suffering from
               moderate to severe pain be viewed as a potential candidate for opioid therapy.”
               “When chronic pain patients take opioids to treat their pain, they rarely develop a
               true addiction and drug craving.”

       c.      “Only a minority of chronic pain patients who are taking long-term opioids develop
               tolerance.”

       d.      “The bottom line: Only rarely does opioid medication cause a true addiction when
               prescribed appropriately to a chronic pain patient who does not have a prior history
               of addiction.”

       e.      “Here are the facts. It is very uncommon for a person with chronic pain to become
               ‘addicted’ to narcotics IF (1) he doesn’t have a prior history of any addiction and
               (2) he only takes the medication to treat pain.”

       f.      “Studies have shown that many chronic pain patients can experience significant
               pain relief with tolerable side effects from opioid narcotic medication when taken
               daily and no addiction.”

       237.    In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the

Treatment of Pain and Control of Opioid Abuse, which is still available online, Mallinckrodt stated

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that, “[s]adly, even today, pain frequently remains undiagnosed and either untreated or

undertreated” and cites to a report that concludes that “the majority of people with pain use their

prescription drugs properly, are not a source of misuse, and should not be stigmatized or denied

access because of the misdeeds or carelessness of others.”

        238.   Marketing Defendants’ suggestions that the opioid epidemic is the result of bad

patients who manipulate doctors to obtain opioids illicitly helped further their marketing scheme,

but is at odds with the facts. While there are certainly patients who unlawfully obtain opioids, they

are a small minority. For example, patients who “doctor-shop”—i.e., visit multiple prescribers to

obtain opioid prescriptions—are responsible for roughly 2% of opioid prescriptions. The epidemic

of opioid addiction and abuse is overwhelmingly a problem of false marketing (and unconstrained

distribution) of the drugs, not problem patients.

                   b. Falsehood #2: To the extent there is a risk of addiction, it can be easily
                      identified and managed

        239.   While continuing to maintain that most patients can safely take opioids long-term

for chronic pain without becoming addicted, the Marketing Defendants assert that to the extent

that some patients are at risk of opioid addiction, doctors can effectively identify and manage that

risk by using screening tools or questionnaires. In materials they produced, sponsored, or

controlled, Defendants instructed patients and prescribers that screening tools can identify patients

predisposed to addiction, thus making doctors feel more comfortable prescribing opioids to their

patients and patients more comfortable starting opioid therapy for chronic pain. These tools, they

say, identify those with higher addiction risks (stemming from personal or family histories of

substance use, mental illness, trauma, or abuse) so that doctors can then more closely monitor those

patients.

        240.   Purdue shared its Partners Against Pain “Pain Management Kit,” which contains
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several screening tools and catalogues of Purdue materials, which included these tools, with

prescribers. Janssen, on its website PrescribeResponsibly.com, states that the risk of opioid

addiction “can usually be managed” through tools such as opioid agreements between patients and

doctors.108 The website, which directly provides screening tools to prescribers for risk

assessments,109 includes a “[f]our question screener” to purportedly help physicians identify and

address possible opioid misuse.110

            241.   Purdue and Cephalon sponsored the APF’s Treatment Options: A Guide for People

Living with Pain (2007), which also falsely reassured patients that opioid agreements between

doctors and patients can “ensure that you take the opioid as prescribed” and counseled patients

that opioids “give [pain patients] a quality of life we deserve.”

            242.   Purdue sponsored a 2011 webinar taught by Dr. Webster, entitled Managing

Patient’s Opioid Use: Balancing the Need and Risk. This publication misleadingly taught

prescribers that screening tools, urine tests, and patient agreements have the effect of preventing

“overuse of prescriptions” and “overdose deaths.”

            243.   Purdue sponsored a 2011 CME program titled Managing Patient’s Opioid Use:

Balancing the Need and Risk. This presentation deceptively instructed prescribers that screening

tools, patient agreements, and urine tests prevented “overuse of prescriptions” and “overdose




108
   Howard A. Heit, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FRCPC, FASAM, What
a Prescriber Should Know Before Writing the First Prescription, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/before-prescribing-opioids#pseudoaddiction (last
modified July 2, 2015).
109
    Risk Assessment Resources, http://www.prescriberesponsibly.com/risk-assessment-resources (last
accessed April 28, 2018).
110
      Id.

                                                 66
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deaths.”

       244.    Purdue also funded a 2012 CME program called Chronic Pain Management and

Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

deceptively instructed doctors that, through the use of screening tools, more frequent refills, and

other techniques, even high-risk patients showing signs of addiction could be treated with opioids.

       245.    Endo paid for a 2007 supplement available for continuing education credit in the

Journal of Family Practice written by a doctor who became a member of Endo’s speaker’s bureau

in 2010. This publication, entitled Pain Management Dilemmas in Primary Care: Use of Opioids,

(i) recommended screening patients using tools like (a) the Opioid Risk Tool (ORT) created by Dr.

Webster and linked to Janssen or (b) the Screener and Opioid Assessment for Patients with Pain,

and (ii) taught that patients at high risk of addiction could safely receive chronic opioid therapy

using a “maximally structured approach” involving toxicology screens and pill counts. The ORT

was linked to Endo-supported websites, as well.

       246.    There are three fundamental flaws in the Marketing Defendants’ representations

that doctors can consistently identify and manage the risk of addiction. First, there is no reliable

scientific evidence that doctors can depend on the screening tools currently available to materially

limit the risk of addiction. Second, there is no reliable scientific evidence that high- risk patients

identified through screening can take opioids long-term without triggering addiction, even with

enhanced monitoring. Third, there is no reliable scientific evidence that patients who are not

identified through such screening can take opioids long-term without significant danger of

addiction.

                   c. Falsehood #3: Signs of addictive behavior are “pseudoaddiction,”
                      requiring more opioids

       247.    The Marketing Defendants instructed patients and prescribers that signs of
                                                 67
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addiction are actually indications of untreated pain, such that the appropriate response is to

prescribe even more opioids. Dr. David Haddox, who later became a Senior Medical Director for

Purdue, published a study in 1989 coining the term “pseudoaddiction,” which he characterized as

“the iatrogenic syndrome of abnormal behavior developing as a direct consequence of inadequate

pain management.”111 In other words, people on prescription opioids who exhibited classic signs

of addiction— for example, asking for more and higher doses of opioids, self-escalating their

doses, or claiming to have lost prescriptions in order to get more opioids—were not addicted, but

rather simply suffering from under-treatment of their pain.

       248.    In the materials and outreach they produced, sponsored, or controlled, the

Marketing Defendants made each of these misrepresentations and omissions, and have never

acknowledged, retracted, or corrected them.

       249.    Cephalon, Endo, and Purdue sponsored the Federation of State Medical Boards’

(“FSMB”) Responsible Opioid Prescribing (2007) written by Dr. Fishman and discussed in more

detail below, which taught that behaviors such as “requesting drugs by name,” “demanding or

manipulative behavior,” seeing more than one doctor to obtain opioids, and hoarding, which are

signs of genuine addiction, are all really signs of “pseudoaddiction.”

       250.    Purdue posted an unbranded pamphlet entitled Clinical Issues in Opioid

Prescribing on its unbranded website, PartnersAgainstPain.com, in 2005, and circulated this

pamphlet through at least 2007 and on its website through at least 2013. The pamphlet listed

conduct including “illicit drug use and deception” that it claimed was not evidence of true addiction



111
  David E. Weissman and J. David Haddox, Opioid pseudoaddiction—an iatrogenic syndrome, 36(3)
Pain 363-66 (Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565. (“Iatrogenic” describes a
condition induced by medical treatment.)

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but “pseudoaddiction” caused by untreated pain.

       251.    According to documents provided by a former Purdue detailer, sales representatives

were trained and tested on the meaning of pseudoaddiction, from which it can be inferred that sales

representatives were directed to, and did, describe pseudoaddiction to prescribers. Purdue’s Pain

Management Kit is another example of publication used by Purdue’s sales force that endorses

pseudoaddiction by claiming that “pain-relief seeking behavior can be mistaken for drug-seeking

behavior.” In consideration of a reasonable opportunity for further investigation and discovery,

Plaintiffs allege that the kit was in use from roughly 2011 through at least June 2016.

       252.    Similarly, internal documents show that Endo trained its sales representatives to

promote the concept of pseudoaddiction. A training module taught sales representatives that

addiction and pseudoaddiction were commonly confused. The module went on to state that: “The

physician can differentiate addiction from pseudoaddiction by speaking to the patient about his/her

pain and increasing the patient’s opioid dose to increase pain relief.”

       253.    Endo also sponsored a NIPC CME program in 2009 titled Chronic Opioid Therapy:

Understanding Risk While Maximizing Analgesia, which promoted pseudoaddiction and listed

“[d]ifferentiation among states of physical dependence, tolerance, pseudoaddiction, and addiction”

as an element to be considered in awarding grants to CME providers.

       254.    Endo itself has repudiated the concept of pseudoaddiction. In finding that “[t]he

pseudoaddiction concept has never been empirically validated and in fact has been abandoned by

some of its proponents,” the New York Attorney General, in a 2016 settlement with Endo, reported

that “Endo’s Vice President for Pharmacovigilance and Risk Management testified to [the NY

AG] that he was not aware of any research validating the ‘pseudoaddiction’ concept” and



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acknowledged the difficulty in distinguishing “between addiction and ‘pseudoaddiction.’”112 Endo

thereafter agreed not to “use the term ‘pseudoaddiction’ in any training or marketing” in New

York.

        255.   Janssen sponsored, funded, and edited a website called Let’s Talk Pain, which in

2009 stated “pseudoaddiction . . . refers to patient behaviors that may occur when pain is

undertreated . . . . Pseudoaddiction is different from true addiction because such behaviors can be

resolved with effective pain management.” This website was accessible online until at least May

2012. Janssen also currently runs a website, Prescriberesponsibly.com, which claims that concerns

about opioid addiction are “overestimated,” and describes pseudoaddiction as “a syndrome that

causes patients to seek additional medications due to inadequate pharmacotherapy being

prescribed. Typically when the pain is treated appropriately the inappropriate behavior ceases.”113

        256.   The CDC Guideline nowhere recommends attempting to provide more opioids to

patients exhibiting symptoms of addiction. Dr. Lynn Webster, a KOL discussed below, admitted

that pseudoaddiction “is already something we are debunking as a concept” and became “too much

of an excuse to give patients more medication. It led us down a path that caused harm.”

                   d. Falsehood #4: Opioid withdrawal can be avoided by tapering

        257.   In an effort to underplay the risk and impact of addiction, the Marketing Defendants

falsely claimed that, while patients become physically dependent on opioids, physical dependence




112
   Attorney General of the State of New York, In the Matter of Endo Health Solutions Inc. & Endo
Pharmaceuticals Inc., Assurance No.:15-228, Assurance of Discontinuance Under Executive Law Section
63. Subdivision 15 at 7.
113
    Howard Heit, MD, FACP, FASAM, & Douglas Gourlay, MD, MSc, FRCPC, FASAM, What a
Prescriber Should Know Before Writing the First Prescription, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/before-prescribing-opioids, (last accessed Apr. 28, 2018).

                                                  70
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is not the same as addiction and can be easily addressed, if and when pain relief is no longer

desired, by gradually tapering a patient’s dose to avoid the adverse effects of withdrawal.

Defendants fail to disclose the extremely difficult and painful effects that patients can experience

when they are removed from opioids—adverse effects that also make it less likely that patients

will be able to stop using the drugs. Defendants also failed to disclose how difficult it is for patients

to stop using opioids after they have used them for a prolonged period.

        258.    A non-credit educational program sponsored by Endo, Persistent Pain in the Older

Adult, claimed that withdrawal symptoms, which make it difficult for patients to stop using

opioids, could be avoided by simply tapering a patient’s opioid dose over ten days.

        259.    However, this claim is at odds with the experience of patients addicted to opioids.

Most patients who have been taking opioids regularly will, upon stopping treatment, experience

withdrawal, characterized by intense physical and psychological effects, including anxiety, nausea,

headaches, and delirium, among others. This painful and arduous struggle to terminate use can

leave many patients unwilling or unable to give up opioids and heightens the risk of addiction.

        260.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which taught that “Symptoms of physical dependence can often be ameliorated by

gradually decreasing the dose of medication during discontinuation,” but the guide did not disclose

the significant hardships that often accompany cessation of use.

        261.    To this day, the Marketing Defendants have not corrected or retracted their

misrepresentations regarding tapering as a solution to opioid withdrawal.

                    e. Falsehood #5: Opioid doses can be increased without limit or greater
                       risks

        262.    In materials they produced, sponsored or controlled, Marketing Defendants

instructed prescribers that they could safely increase a patient’s dose to achieve pain relief. Each
                                                   71
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of the Marketing Defendants’ claims was deceptive in that they omitted warnings of increased

adverse effects that occur at higher doses, effects confirmed by scientific evidence.

       263.    These misrepresentations were integral to the Marketing Defendants’ promotion of

prescription opioids. As discussed above, patients develop a tolerance to opioids’ analgesic effects,

so that achieving long-term pain relief requires constantly increasing the dose.

       264.    In addition, sales representatives aggressively pushed doctors to prescribe stronger

doses of opioids. For example, one Purdue sales representative wrote about how his regional

manager would drill the sales team on their upselling tactics:

       It went something like this. “Doctor, what is the highest dose of OxyContin you
       have ever prescribed?” “20mg Q12h.” “Doctor, if the patient tells you their pain
       score is still high you can increase the dose 100% to 40mg Q12h, will you do that?”
       “Okay.” “Doctor, what if that patient them came back and said their pain score was
       still high, did you know that you could increase the OxyContin dose to 80mg Q12h,
       would you do that?” “I don’t know, maybe.” “Doctor, but you do agree that you
       would at least Rx the 40mg dose, right?” “Yes.”

The next week the representative would see that same doctor and go through the same discussion

with the goal of selling higher and higher doses of OxyContin. Stronger doses were more expensive

and increased the likelihood of addiction.

       265.    These misrepresentations were particularly dangerous. Opioid doses at or above 50

MME/day double the risk of overdose compared to 20 MME/day, and 50 MME is equal to just 33

mg of oxycodone. The recommendation of 320 mg every twelve hours is ten times that.

       266.    In its 2010 Risk Evaluation and Mitigation Strategy (“REMS”) for OxyContin,

however, Purdue does not address the increased risk of respiratory depression and death from

increasing dose, and instead advises prescribers that “dose adjustments may be made every 1-2

days”; “it is most appropriate to increase the q12h dose”; the “total daily dose can usually be

increased by 25% to 50%”; and if “significant adverse reactions occur, treat them aggressively

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until they are under control, then resume upward titration.”114

        267.    Endo sponsored a website, Painknowledge.com, which claimed that opioids may

be increased until “you are on the right dose of medication for your pain,” at which point further

dose increases would not be required.

        268.    Endo also published on its website a patient education pamphlet entitled

Understanding Your Pain: Taking Oral Opioid Analgesics. In Q&A format, it asked, “If I take the

opioid now, will it work later when I really need it?” The response is, “The dose can be increased

. . . You won’t ‘run out’ of pain relief.”

        269.    Marketing Defendants were aware of the greater dangers high dose opioids posed.

In 2013, the FDA acknowledged “that the available data do suggest a relationship between

increasing opioid dose and risk of certain adverse events” and that studies “appear to credibly

suggest a positive association between high-dose opioid use and the risk of overdose and/or

overdose mortality.” A study of the Veterans Health Administration from 2004 to 2008 found the

rate of overdose deaths is directly related to maximum daily dose.

                    f. Falsehood #6: Long-term opioid use improves functioning

        270.    Despite the lack of evidence of improved function and the existence of evidence to

the contrary, the Marketing Defendants consistently promoted opioids for patients’ function and

quality of life because they viewed these claims as a critical part of their marketing strategies. In

recalibrating the risk-benefit analysis for opioids, increasing the perceived benefits of treatment

was necessary to overcome its risks.



114
    Purdue Pharma, L.P., OxyContin Risk Evaluation and Mitigation Strategy, Purdue Pharma L.P.,
https://web.archive.org/web/2/https://www.fda.gov/downloads/Drugs/DrugSafet%20y/PostmarketDrugSa
fetyInformationforPatientsandProviders/UCM220990.pdf, (last modified Nov. 2010).

                                                 73
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           271.    Janssen, for example, promoted Duragesic as improving patients’ functioning and

work productivity through an ad campaign that included the following statements: “[w]ork,

uninterrupted,” “[l]ife, uninterrupted,” “[g]ame, uninterrupted,” “[c]hronic pain relief that supports

functionality,” and “[i]mprove[s] . . . physical and social functioning.”

           272.    Purdue noted the need to compete with this messaging, despite the lack of data

supporting improvement in quality of life with OxyContin treatment:

           Janssen has been stressing decreased side effects, especially constipation, as well
           as patient quality of life, as supported by patient rating compared to sustained
           release morphine…We do not have such data to support OxyContin promotion. . .
           . In addition, Janssen has been using the “life uninterrupted” message in promotion
           of Duragesic for non-cancer pain, stressing that Duragesic “helps patients think less
           about their pain.” This is a competitive advantage based on our inability to make
           any quality of life claims.115

           273.    Despite its acknowledgment that “[w]e do not have such data to support OxyContin

promotion,” Purdue ran a full-page ad for OxyContin in the Journal of the American Medical

Association, proclaiming, “There Can Be Life With Relief,” and showing a man happily fly-

fishing alongside his grandson, implying that OxyContin would help users’ function. This ad

earned a warning letter from the FDA, which admonished, “It is particularly disturbing that your

November ad would tout ‘Life With Relief’ yet fail to warn that patients can die from taking

OxyContin.”116

           274.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

Management, which claimed that “multiple clinical studies” have shown that opioids are effective

in improving daily function, psychological health, and health-related quality of life for chronic


115
      Pain Killer, supra n. 34 at 281.
116
   Chris Adams, FDA Orders Purdue Pharma To Pull Its OxyContin Ads, WALL STREET JOURNAL (Jan.
23, 2003, 12:01am), https://www.wsj.com/articles/SB1043259665976915824.

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pain patients. But the article cited as support for this in fact stated the contrary, noting the absence

of long-term studies and concluding, “[f]or functional outcomes, the other analgesics were

significantly more effective than were opioids.”

       275.    A series of medical journal advertisements for OxyContin in 2012 presented “Pain

Vignettes” – case studies featuring patients with pain conditions persisting over several months –

that implied functional improvement. For example, one advertisement described a “writer with

osteoarthritis of the hands” and implied that OxyContin would help him work more effectively.

       276.    Similarly, since at least May of 2011, Endo has distributed and made available on

its website, opana.com, a pamphlet promoting Opana ER with photographs depicting patients with

physically demanding jobs like those of a construction worker or chef, misleadingly implying that

the drug would provide long-term pain relief and functional improvement.

       277.    As noted above, Janssen sponsored and edited a patient education guide entitled

Finding Relief: Pain Management for Older Adults (2009), which states as “a fact” that “opioids

may make it easier for people to live normally.” This guide features a man playing golf on the

cover and lists examples of expected functional improvement from opioids, like sleeping through

the night, returning to work, recreation, sex, walking, and climbing stairs. It assures patients that,

“[u]sed properly, opioid medications can make it possible for people with chronic pain to ‘return

to normal.’” Similarly, Responsible Opioid Prescribing (2007), sponsored and distributed by Teva,

Endo, and Purdue, taught that relief of pain by opioids, by itself, improved patients’ function. The

book remains for sale online.

       278.    In addition, Janssen’s Let’s Talk Pain, website featured a video interview, which

was edited by Janssen personnel, claiming that opioids were what allowed a patient to “continue

to function,” falsely implying that her experience would be representative.

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       279.    Endo’s NIPC website, Painknowledge.com, claimed that with opioids, “your level

of function should improve; you may find you are now able to participate in activities of daily

living, such as work and hobbies, that you were not able to enjoy when your pain was worse.” In

addition to “improved function,” the website touted improved quality of life as a benefit of opioid

therapy. The grant request that Endo approved for this project specifically indicated NIPC’s intent

to make claims of functional improvement.

       280.    Endo was the sole sponsor, through NIPC, of a series of CMEs titled Persistent

Pain in the Older Patient, which claimed that chronic opioid therapy has been “shown to reduce

pain and improve depressive symptoms and cognitive functioning.” The CME was disseminated

via webcast.

       281.    Mallinckrodt’s website, in a section on responsible use of opioids, claims that “[t]he

effective pain management offered by our medicines helps enable patients to stay in the workplace,

enjoy interactions with family and friends, and remain an active member of society.”117

       282.    The Marketing Defendants’ claims that long-term use of opioids improves patient

function and quality of life are unsupported by clinical evidence. There are no controlled studies

of the use of opioids beyond 16 weeks, and there is no evidence that opioids improve patients’

pain and function long term. The FDA, for years, has made clear through warning letters to

manufacturers the lack of evidence for claims that the use of opioids for chronic pain improves

patients’ function and quality of life.118 Based upon a review of the existing scientific evidence,


117
    Mallinckrodt Pharmaceuticals, Responsible Use, http://www.mallinckrodt.com/corporate-
responsibility/responsible-use, (last accessed Apr. 28, 2018).
118
   The FDA has warned other drug makers that claims of improved function and quality of life were
misleading. See Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns,
to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), (rejecting claims that Actavis’ opioid,
Kadian, had an “overall positive impact on a patient’s work, physical and mental functioning, daily
                                                76
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the CDC Guideline concluded that “there is no good evidence that opioids improve pain or function

with long-term use.”119

          283.    Consistent with the CDC’s findings, substantial evidence exists demonstrating that

opioid drugs are ineffective for the treatment of chronic pain and worsen patients’ health. For

example, a 2006 study-of-studies found that opioids as a class did not demonstrate improvement

in functional outcomes over other non-addicting treatments. The few longer-term studies of opioid

use had “consistently poor results,” and “several studies have showed that Opioids for chronic pain

may actually worsen pain and functioning . . .”120 along with general health, mental health, and

social function. Over time, even high doses of potent opioids often fail to control pain, and patients

exposed to such doses are unable to function normally.

          284.    On the contrary, the available evidence indicates opioids may worsen patients’

health and pain. Increased duration of opioid use is strongly associated with increased prevalence

of mental health disorders (depression, anxiety, post-traumatic stress disorder, and substance

abuse), increased psychological distress, and greater health care utilization. The CDC Guideline

concluded that “[w]hile benefits for pain relief, function and quality of life with long-term opioid

use for chronic pain are uncertain, risks associated with long-term opioid use are clearer and




activities, or enjoyment of life.”); Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver.,
& Commc’ns, to Brian A. Markison, Chairman, President and Chief Executive Officer, King
Pharmaceuticals, Inc. (March 24, 2008), (finding the claim that “patients who are treated with [Avinza
(morphine sulfate ER)] experience an improvement in their overall function, social function, and ability
to perform daily activities . . . has not been demonstrated by substantial evidence or substantial clinical
experience.”). The FDA’s warning letters were available to Defendants on the FDA website.
119
      CDC Guideline at 20.
120
   Thomas Frieden and Debra Houry, Reducing the Risks of Relief – The CDC Opioid-Prescribing
Guideline, at 1503, 374New Eng. J. Med., 4/21/16, at 1503.

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significant.”121 According to the CDC, “for the vast majority of patients, the known, serious, and

too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for chronic

pain].”122

          285.    As one pain specialist observed, “opioids may work acceptably well for a while,

but over the long term, function generally declines, as does general health, mental health, and

social functioning. Over time, even high doses of potent opioids often fail to control pain, and

these patients are unable to function normally.”123 In fact, research such as a 2008 study in the

journal Spine has shown that pain sufferers prescribed opioids long-term suffered addiction that

made them more likely to be disabled and unable to work.124 Another study demonstrated that

injured workers who received a prescription opioid for more than seven days during the first six

weeks after the injury were 2.2 times more likely to remain on work disability a year later than

workers with similar injuries who received no opioids at all.125 Yet, Marketing Defendants have

not acknowledged, retracted, or corrected their false statements.




121
      CDC Guideline at 2, 18.
122
   Thomas Frieden & Debra Houry, Reducing the Risks of Relief – The CDC Opioid-Prescribing Guideline,
at 1503, 374 New Eng. J. Med. 1501-1504 (April 21, 2016), doi: 10.1056/NEJMp1515917,
http://www.nejm.org/doi/full/10.1056/NEJMp1515917.
123
    Andrea Rubinstein, Are We Making Pain Patients Worse?, Sonoma Med. (Fall 2009), available at
http://www.nbcms.org/en-us/about-us/sonoma-county-medical-association/magazine/sonoma-medicine-
are-we-making-pain-patients-worse.aspx?pageid=144&tabid=747
124
  Jeffrey Dersh, et al., Prescription opioid dependence is associated with poorer outcomes in disabling
spinal disorders, 33(20) Spine 2219-27 (Sept. 15, 2008).
125
    Franklin, GM, et al., Early opioid prescription and subsequent disability among workers with back
injuries: the Disability Risk Identification Study Cohort, 33 Spine 199, 201-202 (Jan. 15, 2008) doi:
10.1097/BRS.0b013e318160455c, https://www.ncbi.nlm.nih.gov/pubmed/18197107.

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                    g. Falsehood #7: Alternative forms of pain relief pose greater risks than
                       opioids

        286.    In materials they produced, sponsored or controlled, the Marketing Defendants

omitted known risks of chronic opioid therapy and emphasized or exaggerated risks of competing

products so that prescribers and patients would favor opioids over other therapies such as over-

the-counter acetaminophen or over-the-counter or prescription non-steroidal anti-inflammatory

drugs (“NSAIDs”).

        287.    For example, in addition to failing to disclose in promotional materials the risks of

addiction, overdose, and death, the Marketing Defendants routinely ignored the risks of

hyperalgesia, a “known serious risk associated with chronic opioid analgesic therapy in which the

patient becomes more sensitive to certain painful stimuli over time;”126 hormonal dysfunction;127

decline in immune function; mental clouding, confusion, and dizziness; increased falls and

fractures in the elderly;128 neonatal abstinence syndrome (when an infant exposed to opioids

prenatally suffers withdrawal after birth), and potentially fatal interactions with alcohol or with

benzodiazepines, which are used to treat anxiety and may be co-prescribed with opioids,

particularly to veterans suffering from pain.129



126
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D., Pres.
Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10, 2013).
127
   H.W. Daniell, Hypogonadism in men consuming sustained-action oral opioids, 3(5) J. Pain 377-84
(2001), https://www.ncbi.nlm.nih.gov/pubmed/14622741.
128
   See Bernhard M. Kuschel, et al., The risk of fall injury in relation to commonly prescribed medications
among older people – a Swedish case-control study, 25 Eur. J. Pub. H. 527-32 (July 31, 2014), doi:
10.1093/eurpub/cku120, https://www.ncbi.nlm.nih.gov/pubmed/25085470.
129
   Karen H. Seal, et al., Association of Mental Health Disorders With Prescription Opioids and High- Risk
Opioids in US Veterans of Iraq and Afghanistan, 307(9) J. Am. Med. Ass’n 940-47, (March 7, 2012)
doi:10.1001/jama.2012.234, https://jamanetwork.com/journals/jama/fullarticle/1105046.

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       288.    The APF’s Treatment Options: A Guide for People Living with Pain, sponsored by

Purdue and Cephalon, warned that risks of NSAIDs increase if “taken for more than a period of

months,” with no corresponding warning about opioids. The publication falsely attributed 10,000

to 20,000 deaths annually to NSAID overdose, when the figure is closer to 3,200.130

       289.    Janssen sponsored Finding Relief: Pain Management for Older Adults (2009) that

listed dose limitations as “disadvantages” of other pain medicines but omitted any discussion of

risks from increased doses of opioids. Finding Relief described the advantages and disadvantages

of NSAIDs on one page, and the “myths/facts” of opioids on the facing page. The disadvantages

of NSAIDs are described as involving “stomach upset or bleeding,” “kidney or liver damage if

taken at high doses or for a long time,” “adverse reactions in people with asthma,” and “can

increase the risk of heart attack and stroke.” The only adverse effects of opioids listed are “upset

stomach or sleepiness,” which the brochure claims will go away, and constipation.

       290.    Endo’s NIPC website, Painknowledge.org, contained a flyer called “Pain: Opioid

Therapy.” This publication listed opioids’ adverse effects but with significant omissions, including

hyperalgesia, immune and hormone dysfunction, cognitive impairment, tolerance, dependence,

addiction, and death.

       291.    In April 2007, Endo sponsored an article aimed at prescribers, published in Pain

Medicine News, titled “Case Challenges in Pain Management: Opioid Therapy for Chronic

Pain.”131 The article asserted:


130
   Robert E. Tarone, et al., Nonselective Nonaspirin Nonsteroidal Anti-Inflammatory Drugs and
Gastrointestinal Bleeding: Relative and Absolute Risk Estimates from Recent Epidemiologic Studies, 11
Am. J. of Therapeutics 17-25 (2004), https://www.ncbi.nlm.nih.gov/pubmed/14704592.
131
  Charles E. Argoff, Case Challenges in Pain Management: Opioid Therapy for Chronic Pain, Pain Med.
News, http://www.painmedicinenews.com/download/ BtoB_Opana_WM.pdf, (link no longer available).

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            Opioids represent a highly effective but controversial and often misunderstood
            class of analgesic medications for controlling both chronic and acute pain. The
            phenomenon of tolerance to opioids – the gradual waning of relief at a given dose
            – and fears of abuse, diversion, and misuse of these medications by patients have
            led many clinicians to be wary of prescribing these drugs, and/or to restrict dosages
            to levels that may be insufficient to provide meaningful relief.132

            292.   To help allay these concerns, Endo emphasized the risks of NSAIDs as an

alternative to opioids. The article included a case study that focused on the danger of extended use

of NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal bleed

believed to have resulted from his protracted NSAID use. In contrast, the article did not provide

the same detail concerning the serious side effects associated with opioids.

            293.   Additionally, Purdue acting with Endo sponsored Overview of Management

Options, a CME issued by the American Medical Association (“AMA”) in 2003, 2007, 2010, and

2013. The 2013 version remains available for CME credit. The CME taught that NSAIDs and other

drugs, but not opioids, are unsafe at high doses.

            294.   As a result of the Marketing Defendants’ deceptive promotion of opioids over safer

and more effective drugs, opioid prescriptions increased even as the percentage of patients visiting

a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000 and 2010

found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

prescribing.133




132
      Id.
133
   M. Daubresse, et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United States,
2000-2010, 51(10) Med. Care, 870-878 (2013). For back pain alone, the percentage of patients prescribed
opioids increased from 19% to 29% between 1999 and 2010, even as the use of NSAIDs or acetaminophen
declined from 39.9% to 24.5% of these visits; and referrals to physical therapy remained steady. See also
                                                    81
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                   h. Falsehood #8: OxyContin provides twelve hours of pain relief

       295.    Purdue also dangerously misled doctors and patients about OxyContin’s duration

and onset of action, making the knowingly false claim that OxyContin would provide 12 hours of

pain relief for most patients. As laid out below, Purdue made this claim for two reasons. First, it

provided the basis for both Purdue’s patent and its market niche, allowing it to both protect and

differentiate itself from competitors. Second, it allowed Purdue to imply or state outright that

OxyContin had a more even, stable release mechanism that avoided peaks and valleys and

therefore the rush that fostered addiction and attracted abusers.

       296.    Purdue promotes OxyContin as an extended-release opioid, but the oxycodone does

not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

oxycodone into the body upon administration, and the release gradually tapers, as illustrated in the

following chart, which was apparently adapted from Purdue’s own sales materials.




J. Mafi, et al., Worsening Trends in the Management and Treatment of Back Pain, 173(17) J. of the Am
Med. Ass’n Internal Med. 1573, 1573 (2013).

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        297.      The reduced release of the drug over time means that the OxyContin no longer

provides the same level of pain relief; as a result, in many patients, OxyContin does not last for

the twelve hours for which Purdue promotes it – a fact that Purdue has known at all times relevant

to this action.

        298.      OxyContin tablets provide an initial absorption of approximately 40% of the active

medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful opioid

triggers a powerful psychological response. OxyContin thus behaves more like an immediate

release opioid, which Purdue itself once claimed was more addicting in its original 1995 FDA-

approved drug label. Second, the initial burst of oxycodone means that there is less of the drug at

the end of the dosing period, which results in the drug not lasting for a full twelve hours and

precipitates withdrawal symptoms in patients, a phenomenon known as “end of dose” failure. (The

FDA found in 2008 that a “substantial number” of chronic pain patients will experience end-of-

dose failure with OxyContin.)


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       299.    End-of-dose failure renders OxyContin even more dangerous because patients

begin to experience withdrawal symptoms, followed by a euphoric rush with their next dose—a

cycle that fuels a craving for OxyContin. For this reason, Dr. Theodore Cicero, a

neuropharmacologist at the Washington University School of Medicine in St. Louis, has called

OxyContin’s 12-hour dosing “the perfect recipe for addiction.”134 Many patients will exacerbate

this cycle by taking their next dose ahead of schedule or resorting to a rescue dose of another

opioid, increasing the overall amount of opioids they are taking.

       300.    It was Purdue’s decision to submit OxyContin for approval with 12-hour dosing.

While the OxyContin label indicates that “[t]here are no well-controlled clinical studies evaluating

the safety and efficacy with dosing more frequently than every 12 hours,” that is because Purdue

has conducted no such studies.

       301.    Purdue nevertheless has falsely promoted OxyContin as if it were effective for a

full twelve hours. Its advertising in 2000 included claims that OxyContin provides “Consistent

Plasma Levels Over 12 Hours.” That claim was accompanied by a chart, mirroring the chart on

the previous page. However, this version of the chart deceptively minimized the rate of end-of-

dose failure by depicting 10 mg in a way that it appeared to be half of 100 mg in the table’s y-

axis. That chart, shown below, depicts the same information as the chart above, but does so in a

way that makes the absorption rate appear more consistent:




  Harriet Ryan, et al., ‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem, LOS ANGELES
134

TIMES (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1/.

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       302.    Purdue’s 12-hour messaging was key to its competitive advantage over short-

acting opioids that required patients to wake in the middle of the night to take their pills. Purdue

advertisements also emphasized “Q12h” dosing. These include an advertisement in the February

2005 Journal of Pain and 2006 Clinical Journal of Pain featuring an OxyContin logo with two

pill cups, reinforcing the twice-a-day message. A Purdue memo to the OxyContin launch team

stated that “OxyContin’s positioning statement is ‘all of the analgesic efficacy of immediate-

release oxycodone, with convenient q12h dosing,’” and further that “[t]he convenience of q12h

dosing was emphasized as the most important benefit.”135

       303.    Purdue executives therefore maintained the messaging of twelve-hour dosing even

when many reports surfaced that OxyContin did not last twelve hours. Instead of acknowledging


135
   Purdue Meeting Memo, OxyContin launch, LOS ANGELES TIMES (May 5, 2016),
http://documents.latimes.com/oxycontin-launch-1995/.

                                                85
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a need for more frequent dosing, Purdue instructed its representatives to push higher-strength pills,

even though higher dosing carries its own risks, as noted above. It also means that patients will

experience higher highs and lower lows, increasing their craving for their next pill. Nationwide,

based on an analysis by the LOS ANGELES TIMES, more than 52% of patients taking OxyContin

longer than three months are on doses greater than 60 milligrams per day – which converts to the

90 MED that the CDC Guideline urges prescribers to “avoid” or “carefully justify.”136

          304.    The information that OxyContin did not provide pain relief for a full twelve hours

was known to Purdue, and Purdue’s competitors, but was not disclosed to prescribers. Purdue’s

knowledge of some pain specialists’ tendency to prescribe OxyContin three times per day instead

of two was set out in Purdue’s internal documents as early as 1999, and is apparent from

MEDWATCH Adverse Event reports for OxyContin.

          305.    Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted to

position its Opana ER drug as offering “durable” pain relief, which Endo understood to suggest a

contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of

12-hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER

referring to “real” 12-hour dosing.

          306.    For example, in a 1996 sales strategy memo from a Purdue regional manager, the

manager emphasized that representatives should “convinc[e] the physician that there is no need”

for prescribing OxyContin in shorter intervals than the recommended 12-hour interval, and instead

the solution is prescribing higher doses.”137 One sales manager instructed her team that anything


136
      CDC Guideline at 16.
137
  Southern Region Memo to Mr. B. Gergely, Sales manager on 12-hour dosing, LOS ANGELES TIMES
(May 5, 2016), http://documents.latimes.com/sales-manager-on12-hour-dosing-1996/

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shorter than 12-hour dosing “needs to be nipped in the bud. NOW!!”138

       307.    Purdue’s failure to disclose the prevalence of end-of-dose failure meant that

prescribers were misinformed about the advantages of OxyContin in a manner that preserved

Purdue’s competitive advantage and profits, at the expense of patients, who were placed at greater

risk of overdose, addiction, and other adverse effects.

                   i. Falsehood #9: New formulations of certain opioids successfully deter
                      abuse

       308.    Rather than take the widespread abuse of and addiction to opioids as reason to cease

their untruthful marketing efforts, Marketing Defendants Purdue and Endo seized them as a

competitive opportunity. These companies developed and oversold “abuse-deterrent formulations”

(“ADF”) opioids as a solution to opioid abuse and as a reason that doctors could continue to safely

prescribe their opioids, as well as an advantage of these expensive branded drugs over other

opioids. These Defendants’ false and misleading marketing of the benefits of their ADF opioids

preserved and expanded their sales and falsely reassured prescribers thereby prolonging the opioid

epidemic. Other Marketing Defendants, including Actavis and Mallinckrodt, also promoted their

branded opioids as formulated to be less addictive or less subject to abuse than other opioids.

       309.    The CDC Guideline confirms that “[n]o studies” support the notion that “abuse-

deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse,” noting

that the technologies “do not prevent opioid abuse through oral intake, the most common route of

opioid abuse, and can still be abused by non-oral routes.” Tom Frieden, the former Director of the

CDC, reported that his staff could not find “any evidence showing the updated opioids [ADF




  Harriet Ryan, et al., ‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem, LOS ANGELES
138

TIMES (May 5, 2016), http://www.latimes.com/projects/oxycontin-part1/.

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opioids] actually reduce rates of addiction, overdoses, or death.”

                       i. Purdue’s deceptive marketing of reformulated OxyContin and
                          Hysingla ER

       310.    Reformulated ADF OxyContin was approved by the FDA in April 2010. It was not

until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted reference to

the abuse-deterrent properties in its label. When Hysingla ER (extended-release hydrocodone)

launched in 2014, the product included similar abuse-deterrent properties and limitations. But in

the beginning, the FDA made clear the limited claims that could be made about ADF, noting that

no evidence supported claims that ADF prevented tampering, oral abuse, or overall rates of abuse.

       311.    Purdue introduced reformulated ADF OxyContin shortly before generic versions

of OxyContin were to become available. By so doing, Purdue anticipated and countered a threat

to its market share and the price it could charge for OxyContin. Purdue nonetheless touted its

introduction of ADF opioids as evidence of its good corporate citizenship and commitment to

address the opioid crisis.

       312.    Despite its self-proclaimed good intention, Purdue merely incorporated its

generally deceptive tactics with respect to ADF. Purdue sales representatives regularly overstated

and misstated the evidence for and impact of the abuse-deterrent features of these opioids.

Specifically, Purdue sales representatives:

       a.      claimed that Purdue’s ADF opioids prevent tampering and that its ADFs could not
               be crushed or snorted;

       b.      claimed that Purdue’s ADF opioids reduce opioid abuse and diversion;

       c.      asserted or suggested that its ADF opioids are non-addictive or less addictive,

       d.      asserted or suggested that Purdue’s ADF opioids are safer than other opioids, could
               not be abused or tampered with, and were not sought out for diversion; and

       e.      failed to disclose that Purdue’s ADF opioids do not impact oral abuse or misuse.
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       313.    If pressed, Purdue acknowledged that perhaps some “extreme” patients might still

abuse the drug, but claimed the ADF features protect the majority of patients. These

misrepresentations and omissions are misleading and contrary to Purdue’s ADF labels, Purdue’s

own information, and publicly available data.

       314.    Purdue knew or should have known that reformulated OxyContin is not more

tamper-resistant than the original OxyContin and is still regularly tampered with.

       315.    In 2009, the FDA noted in permitting ADF labeling that “the tamper-resistant

properties will have no effect on abuse by the oral route (the most common mode of abuse)”. In

the 2012 medical office review of Purdue’s application to include an abuse-deterrence claim in its

label for OxyContin, the FDA noted that the overwhelming majority of deaths linked to OxyContin

were associated with oral consumption, and that only 2% of deaths were associated with recent

injection and only 0.2% with snorting the drug.

       316.    The FDA’s Director of the Division of Epidemiology stated in September 2015 that

no data that she had seen suggested the reformulation of OxyContin “actually made a reduction in

abuse,” between continued oral abuse, shifts to injection of other drugs (including heroin), and

defeat of the ADF mechanism. Even Purdue’s own funded research shows that half of OxyContin

abusers continued to do so orally after the reformulation rather than shift to other drugs.

       317.    A 2013 article presented by Purdue employees based on review of data from poison

control centers, concluded that ADF OxyContin can reduce abuse, but ignored important negative

findings. The study revealed that abuse merely shifted to other drugs and that, when the actual

incidence of harmful exposures was calculated, there were more harmful exposures to opioids after

the reformulation of OxyContin. In short, the article deceptively emphasized the advantages and

ignored the disadvantages of ADF OxyContin.
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       318.    Websites and message boards used by drug abusers, such as bluelight.org and

reddit.com, report a variety of ways to tamper with OxyContin and Hysingla ER, including through

grinding, microwaving then freezing, or drinking soda or fruit juice in which a tablet is dissolved.

Purdue has been aware of these methods of abuse for more than a decade.

       319.    One-third of the patients in a 2015 study defeated the ADF mechanism and were

able to continue inhaling or injecting the drug. To the extent that the abuse of Purdue’s ADF

opioids was reduced, there was no meaningful reduction in opioid abuse overall, as many users

simply shifted to other opioids such as heroin.

       320.    In 2015, claiming a need to further assess its data, Purdue abruptly withdrew a

supplemental new drug application related to reformulated OxyContin one day before FDA staff

was to release its assessment of the application. The staff review preceded an FDA advisory

committee meeting related to new studies by Purdue “evaluating the misuse and/or abuse of

reformulated OxyContin” and whether those studies “have demonstrated that the reformulated

product has a meaningful impact on abuse.”139 In consideration of a reasonable opportunity for

further investigation and discovery, Plaintiffs allege that Purdue never presented the data to the

FDA because the data would not have supported claims that OxyContin’s ADF properties reduced

abuse or misuse.

       321.    Despite its own evidence of abuse, and the lack of evidence regarding the benefit

of Purdue’s ADF opioids in reducing abuse, Dr. J. David Haddox, the Vice President of Health

Policy for Purdue, falsely claimed in 2016 that the evidence does not show that Purdue’s ADF



139
  Meeting Notice, Joint Meeting of the Drug Safety and Risk Management Advisory Committee and the
Anesthetic and Analgesic Drug Products Advisory Committee; Notice of Meeting, May 25, 2015, 80 FR
30686.

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opioids are being abused in large numbers. Purdue’s recent advertisements in national newspapers

also continues to claim its ADF opioids as evidence of its efforts to reduce opioid abuse, continuing

to mislead prescribers, patients, payors, and the public about the efficacy of its actions.

                       ii. Endo’s deceptive marketing of reformulated Opana ER

       322.    Opana ER was particularly likely to be tampered with and abused. That is because

Opana ER has lower “bioavailability” than other opioids, meaning that the active pharmaceutical

ingredient (the “API” or opioid) does not absorb into the bloodstream as rapidly as other opioids

when taken orally. Additionally, when swallowed whole, the extended-release mechanism remains

intact, so that only 10% of Opana ER’s API is released into the patient’s bloodstream relative to

injection; when it is taken intranasally, that rate increases to 43%. The larger gap between

bioavailability when consumed orally versus snorting or injection, the greater the incentive for

users to manipulate the drug’s means of administration.

       323.    In December 2011, Endo obtained approval for a new formulation of Opana ER

that added a hard coating that the company claimed made it crush-resistant.

       324.    Even prior to its approval, the FDA had advised Endo that it could not market the

new Opana ER as abuse-deterrent. The FDA found that such promotional claims “may provide a

false sense of security since the product may be chewed and ground for subsequent abuse.” In

other words, Opana ER was still crushable. Indeed, Endo’s own studies dating from 2009 and 2010

showed that Opana ER could be crushed and ground, and, in its correspondence with the FDA,

Endo admitted that “[i]t has not been established that this new formulation of Opana ER is less

subject to misuse, abuse, diversion, overdose, or addiction.”

       325.    Nonetheless, in August of 2012, Endo submitted a citizen petition asking the FDA

for permission to change its label to indicate that Opana ER was abuse-resistant, both in that it was

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less able to be crushed and snorted and that it was resistant to injection by syringe. Borrowing a

page from Purdue’s playbook, Endo announced it would withdraw original Opana ER from the

market and sought a determination that its decision was made for safety reasons (its lack of abuse-

deterrence), which would prevent generic copies of original Opana ER.

       326.    Endo then sued the FDA, seeking to force expedited consideration of its citizen

petition. The court filings confirmed Endo’s true motives: in a declaration submitted with its

lawsuit, Endo’s chief operating officer indicated that a generic version of Opana ER would

decrease the company’s revenue by up to $135 million per year. Endo also claimed that if the FDA

did not block generic competition, $125 million, which Endo spent on developing the reformulated

drug to “promote the public welfare” would be lost.140 The FDA responded that: “Endo’s true

interest in expedited FDA consideration stems from business concerns rather than protection of

the public health.”141

       327.    Despite Endo’s purported concern with public safety, not only did Endo continue

to distribute original, admittedly unsafe Opana ER for nine months after the reformulated version

became available, it declined to recall original Opana ER despite its dangers. In fact, Endo claimed

in September 2012 to be “proud” that “almost all remaining inventory” of the original Opana ER

had “been utilized.”142




140
   Plaintiff’s Opposition to Defendants’ and Intervenor’s Motions to Dismiss and Plaintiff’s Reply in
Support of Motion for Preliminary Injunction (“Endo Br.”), Endo Pharmaceuticals Inc. v. U.S. Food and
Drug Administration, et al.., No. 1:12-cv-01936, Doc. 23 at 20 (D.D.C. Dec.14, 2012).

  Defendants’ Response to the Court’s November 30, 2012 Order, Endo Pharmaceuticals Inc. v. U.S.
141

Food and Drug Administration, et al.., No. 1:12-cv-01936, Doc. 9 at 6 (D.D.C. Dec. 3, 2012).
142
  Id.; Endo News Release, Sept. 6, 2012 (Ex. L to Rurka Decl.) Endo Pharmaceuticals Inc. v. U.S. Food
and Drug Administration, et al.., No. 1:12-cv-01936 ,Doc. 18-4(D.D.C. Dec. 9, 2012).

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          328.    In its citizen petition, Endo asserted that redesigned Opana ER had “safety

advantages.” Endo even relied on its rejected assertion that Opana was less crushable to argue that

it developed Opana ER for patient safety reasons and that the new formulation would help, for

example, “where children unintentionally chew the tablets prior to an accidental ingestion.”143

          329.    However, in rejecting the petition in a 2013 decision, the FDA found that “study

data show that the reformulated version's extended-release features can be compromised when

subjected to ... cutting, grinding, or chewing.” The FDA also determined that “reformulated Opana

ER” could also be “readily prepared for injections and more easily injected[.]” In fact, the FDA

warned that preliminary data—including in Endo’s own studies—suggested that a higher

percentage of reformulated Opana ER abuse is via injection than was the case with the original

formulation.

          330.    In 2009, only 3% of Opana ER abuse was by intravenous means. Since the

reformulation, injection of Opana ER increased by more than 500%. Endo’s own data, presented

in 2014, found between October 2012 and March 2014, 64% of abusers of Opana ER did so by

injection, compared with 36% for the old formulation.144 The transition into injection of Opana

ER made the drug even less safe than the original formulation. Injection carries risks of HIV,

Hepatitis C, and, in reformulated Opana ER’s specific case, the blood-clotting disorder thrombotic

thrombocytopenic purpura (TTP), which can cause kidney failure.

          331.    Publicly, Endo sought to marginalize the problem. On a 2013 call with investors,




143
      CP, FDA Docket 2012-8-0895, at 2.
144
   Theresa Cassidy, et al., The Changing Abuse Ecology: Implications for Evaluating the Abuse Pattern
of Extended-Release Oxymorphone and Abuse-Deterrent Opioid Formulations, Inflexxion (Sept. 7, 2014)
https://www.inflexxion.com/changing-abuse-ecology-extended-release-oxymorphone/.

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when asked about an outbreak of TTP in Tennessee from injecting Opana ER, Endo sought to limit

its import by assigning it to “a very, very distinct area of the country.”

       332.    Despite its knowledge that Opana ER was widely abused and injected, Endo

marketed the drug as tamper-resistant and abuse-deterrent. In consideration of a reasonable

opportunity for further investigation and discovery, Plaintiffs allege that based on the company’s

detailing elsewhere, Endo sales representatives informed doctors that Opana ER was abuse-

deterrent, could not be tampered with, and was safe. In addition, sales representatives did not

disclose evidence that Opana was easier to abuse intravenously and, if pressed by prescribers,

claimed that while outlier patients might find a way to abuse the drug, most would be protected.

       333.    A review of national surveys of prescribers regarding their “take-aways” from

pharmaceutical detailing confirms that prescribers remember being told Opana ER was tamper-

resistant. Endo also tracked messages that doctors took from its in-person marketing. Among the

advantages of Opana ER, according to participating doctors, was its “low abuse potential.”

       334.    In its written materials, Endo marketed Opana ER as having been designed to be

crush-resistant, knowing that this would (falsely) imply that Opana ER actually was crush-

resistant and that this crush-resistant quality would make Opana ER less likely to be abused. For

example, a June 14, 2012 Endo press release announced “the completion of the company’s

transition of its Opana ER franchise to the new formulation designed to be crush resistant.”

       335.    The press release further stated that: “We firmly believe that the new formulation

of Opana ER, coupled with our long-term commitment to awareness and education around

appropriate use of opioids will benefit patients, physicians and payers. The press release described

the old formulation of Opana as subject to abuse and misuse, but failed to disclose the absence of

evidence that reformulated Opana was any better. In September 2012, another Endo press release

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stressed that reformulated Opana ER employed “INTAC Technology” and continued to describe

the drug as “designed to be crush-resistant.”

        336.    Similarly, journal advertisements that appeared in April 2013 stated Opana ER was

“designed to be crush resistant.” A January 2013 article in Pain Medicine News, based in part on

an Endo press release, described Opana ER as “crush-resistant.” This article was posted on the

Pain Medicine News website, which was accessible to patients and prescribers.

        337.    In March 2017, because Opana ER could be “readily prepared for injection” and

was linked to outbreaks of HIV and TTP, an FDA advisory committee recommended that Opana

be withdrawn from the market. The FDA adopted this recommendation on June 8, 2017.145 Endo

announced on July 6, 2017 that it would agree to stop marketing and selling Opana ER.146

However, by this point, the damage had been done. Even then, Endo continued to insist, falsely,

that it “has taken significant steps over the years to combat misuse and abuse.”

                        iii. Other Marketing Defendants’ misrepresentations regarding abuse
                             deterrence

        338.    Mallinckrodt promoted both Exalgo (extended-release hydromorphone) and

Xartemis XR (oxycodone and acetaminophen) as specifically formulated to reduce abuse. For

example, Mallinckrodt’s promotional materials stated that “the physical properties of EXALGO

may make it difficult to extract the active ingredient using common forms of physical and chemical




145
   Press Release, FDA, FDA requests removal of Opana ER for risks related to abuse, (June 8, 2017),
available at https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm
146
   Press Release, Endo International plc, Endo Provides Update on Opana ER, (July 6, 2017),
available at https://www.prnewswire.com/news-releases/endo-provides-update-on-opana-
er-300484191.html

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tampering, including chewing, crushing and dissolving.”147 One member of the FDA’s Controlled

Substance Staff, however, noted in 2010 that hydromorphone has “a high abuse potential

comparable to oxycodone” and further stated that “we predict that Exalgo will have high levels of

abuse and diversion.”

          339.    With respect to Xartemis XR, Mallinckrodt’s promotional materials stated that

“XARTEMIS XR has technology that requires abusers to exert additional effort to extract the

active ingredient from the large quantity of inactive and deterrent ingredients.”148 In anticipation

of Xartemis XR’s approval, Mallinckrodt added 150-200 sales representatives to promote it, and

CEO Mark Trudeau said the drug could generate “hundreds of millions in revenue.”149

          340.    While Marketing Defendants promote patented technology as the solution to opioid

abuse and addiction, none of their “technology” addresses the most common form of abuse—oral

ingestion—and their statements regarding abuse-deterrent formulations give the misleading

impression that these reformulated opioids can be prescribed safely.

          341.    In sum, each of the nine categories of misrepresentations discussed above regarding

the use of opioids to treat chronic pain was not supported by or was contrary to the scientific

evidence. In addition, the misrepresentations and omissions set forth above and elsewhere in this

Complaint are misleading and contrary to the Marketing Defendants’ products’ labels.




147
   Mallinckrodt Press Release, Medtronic, FDA Approves Mallinckrodt’s EXALGO® (hydromorphone
HCl) Extended-Release Tablets 32 mg (CII) for Opioid-Tolerant Patients with Moderate-to-Severe Chronic
Pain (Aug. 27, 2012), available at http://newsroom.medtronic.com/phoenix.zhtml?c=251324&p=irol-
newsArticle&ID=2004159.
148
      Mallinckrodt, Responsible Use of Opioid Pain Medications (Mar. 7, 2014).
149
   Samantha Liss, Mallinckrodt banks on new painkillers for sales, ST. LOUIS BUSINESS JOURNAL (Dec.
30, 2013), http://argentcapital.com/mallinckrodt-banks-on-new-painkillers-for-sales/

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               2. The Marketing Defendants Disseminated Their Misleading Messages
                  About Opioids Through Multiple Channels

       342.    The Marketing Defendants’ false marketing campaign not only targeted the medical

community who had to treat chronic pain, but also patients who experience chronic pain.

       343.    The Marketing Defendants utilized various channels to carry out their marketing

scheme of targeting the medical community and patients with deceptive information about opioids:

(1) “Front Groups” with the appearance of independence from the Marketing Defendants; (2) so-

called “key opinion leaders” (“KOLs”), that is, doctors who were paid by the Marketing

Defendants to promote their pro-opioid message; (3) CME programs controlled and/or funded by

the Marketing Defendants; (4) branded advertising; (5) unbranded advertising; (6) publications;

(7) direct, targeted communications with prescribers by sales representatives or “detailers”; and

(8) speakers bureaus and programs.

               3. The Marketing Defendants Directed Front Groups To Deceptively
                  Promote Opioid Use

       344.    Patient advocacy groups and professional associations also became vehicles to

reach prescribers, patients, and policymakers. Marketing Defendants exerted influence and

effective control over the messaging by these groups by providing major funding directly to them,

as well as through KOLs who served on their boards. These “Front Groups” put out patient

education materials, treatment guidelines and CMEs that supported the use of opioids for chronic

pain, overstated their benefits, and understated their risks.150 Defendants funded these Front


150
   U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office,
Fueling an Epidemic, Report Two: Exposing the Financial Ties Between Opioid Manufacturers and Third
Party Advocacy Groups (February 12, 2018), https://www.hsdl.org/?abstract&did=808171 (“Fueling an
Epidemic”), at p. 3

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Groups in order to ensure supportive messages from these seemingly neutral and credible third

parties, and their funding did, in fact, ensure such supportive messages—often at the expense of

their own constituencies.

            345.     “Patient advocacy organizations and professional societies like the Front Groups

‘play a significant role in shaping health policy debates, setting national guidelines for patient

treatment, raising disease awareness, and educating the public.’”151 “Even small organizations—

with ‘their large numbers and credibility with policymakers and the public’—have ‘extensive

influence in specific disease areas.’ Larger organizations with extensive funding and outreach

capabilities ‘likely have a substantial effect on policies relevant to their industry sponsors.’”152

Indeed, the U.S. Senate’s report, Fueling an Epidemic: Exposing the Financial Ties Between

Opioid Manufacturers and Third Party Advocacy Groups,153 which arose out of a 2017 Senate

investigation and, drawing on disclosures from Purdue, Janssen, Insys, and other opioid

manufacturers, “provides the first comprehensive snapshot of the financial connections between

opioid manufacturers and advocacy groups and professional societies operating in the area of

Office opioids policy,”154 found that the Marketing Defendants made millions of dollars’ worth of

contributions to various Front Groups.155

            346.     The Marketing Defendants also “made substantial payments to individual group

executives, staff members, board members, and advisory board members” affiliated with the Front


151
      Id. at p. 2.
152
      Id.
153
      Id. at p. 1.
154
      Id.
155
      Id. at p. 3.

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Groups subject to the Senate Committee’s study.156

           347.       As the Senate Fueling an Epidemic Report found, the Front Groups “amplified or

issued messages that reinforce industry efforts to promote opioid prescription and use, including

guidelines and policies minimizing the risk of addiction and promoting opioids for chronic

pain.”157 They also “lobbied to change laws directed at curbing opioid use, strongly criticized

landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold physicians

and industry executives responsible for over prescription and misbranding.”158

           348.       The Marketing Defendants took an active role in guiding, reviewing, and approving

many of the false and misleading statements issued by the Front Groups, ensuring that Defendants

were consistently in control of their content. By funding, directing, editing, approving, and

distributing these materials, Defendants exercised control over and adopted their false and

deceptive messages and acted in concert with the Front Groups and through the Front groups, with

each other deceptively to promote the use of opioids for the treatment of chronic pain.

                         a. American Pain Foundation

           349.       The most prominent of the Front Groups was APF. While APF held itself out as an

independent patient advocacy organization, in reality it received 90% of its funding in 2010 from

the drug and medical-device industry, including from Defendants Purdue, Endo, Janssen and

Cephalon. APF received more than $10 million in funding from opioid manufacturers from 2007

until it closed its doors in May 2012. By 2011, APF was entirely dependent on incoming grants




156
      Id. at p. 10.
157
      Id. at 12-15.
158
      Id. at 12.

                                                      99
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from Defendants Purdue, Cephalon, Endo, and others to avoid using its line of credit. Endo was

APF’s largest donor and provided more than half of its $10 million in funding from 2007 to 2012.

       350.    For example, APF published a guide sponsored by Cephalon and Purdue titled

Treatment Options: A Guide for People Living with Pain, and distributed 17,200 copies of this

guide in one year alone, according to its 2007 annual report. This guide contains multiple

misrepresentations regarding opioid use which are discussed supra.

       351.    APF also developed the National Initiative on Pain Control (“NIPC”), which ran a

facially unaffiliated website, www.painknowledge.org. NIPC promoted itself as an education

initiative led by its expert leadership team, including purported experts in the pain management

field. NIPC published unaccredited prescriber education programs (accredited programs are

reviewed by a third party and must meet certain requirements of independence from

pharmaceutical companies), including a series of “dinner dialogues.” But it was Endo that

substantially controlled NIPC, by funding NIPC projects, developing, specifying, and reviewing

its content, and distributing NIPC materials. Endo’s control of NIPC was such that Endo listed it

as one of its “professional education initiative[s]” in a plan Endo submitted to the FDA. Yet,

Endo’s involvement in NIPC was nowhere disclosed on the website pages describing NIPC or

www.painknowledge.org. Endo estimated it would reach 60,000 prescribers through NIPC.

       352.    APF was often called upon to provide “patient representatives” for the Marketing

Defendants’ promotional activities, including for Purdue’s “Partners Against Pain” and Janssen’s

“Let’s Talk Pain.” Although APF presented itself as a patient advocacy organization, it functioned

largely as an advocate for the interests of the Marketing Defendants, not patients. As Purdue told

APF in 2001, the basis of a grant to the organization was Purdue’s desire to strategically align its

investments in nonprofit organizations that share its business interests.

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       353.    In practice, APF operated in close collaboration with Defendants, submitting grant

proposals seeking to fund activities and publications suggested by Defendants and assisting in

marketing projects for Defendants.

       354.    This alignment of interests was expressed most forcefully in the fact that Purdue

hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered into

a “Master Consulting Services” Agreement on September 14, 2011. That agreement gave Purdue

substantial rights to control APF’s work related to a specific promotional project. Moreover, based

on the assignment of particular Purdue “contacts” for each project and APF’s periodic reporting

on their progress, the agreement enabled Purdue to be regularly aware of the misrepresentations

APF was disseminating regarding the use of opioids to treat chronic pain in connection with that

project. The agreement gave Purdue – but not APF – the right to end the project (and, thus, APF’s

funding) for any reason.

       355.    APF’s Board of Directors was largely comprised of doctors who were on the

Marketing Defendants’ payrolls, either as consultants or speakers at medical events. The close

relationship between APF and the Marketing Defendants demonstrates APF’s lack of

independence in its finances, management, and mission, and its willingness to allow Marketing

Defendants to control its activities and messages supports an inference that each Defendant that

worked with it was able to exercise editorial control over its publications – even when Defendants’

messages contradicted APF’s internal conclusions.

       356.    In May 2012, the U.S. Senate Finance Committee began looking into APF to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. Within days of being targeted by the Senate investigation, APF’s board voted

to dissolve the organization “due to irreparable economic circumstances.” APF then “cease[d] to

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exist, effective immediately.” Without support from Marketing Defendants, to whom APF could

no longer be helpful, APF was no longer financially viable.

                   b. American Academy of Pain Medicine and the American Pain Society

         357.   The American Academy of Pain Medicine (“AAPM”) and the American Pain

Society (“APS”) are professional medical societies, each of which received substantial funding

from Defendants from 2009 to 2013. In 1997, AAPM issued a “consensus” statement that endorsed

opioids to treat chronic pain and claimed that the risk that patients would become addicted to

opioids was low.159 The Chair of the committee that issued the statement, Dr. J. David Haddox,

was at the time a paid speaker for Purdue. The sole consultant to the committee was Dr. Russell

Portenoy, who was also a spokesperson for Purdue. The consensus statement, which also formed

the foundation of the 1998 Guidelines, was published on the AAPM’s website.

         358.   AAPM’s corporate council includes Purdue, Depomed, Teva and other

pharmaceutical companies. AAPM’s past presidents include Haddox (1998), Dr. Scott Fishman

(“Fishman”) (2005), Dr. Perry G. Fine (“Fine”) (2011) and Dr. Lynn R. Webster (“Webster”)

(2013), all of whose connections to the opioid manufacturers are well-documented as set forth

below.

         359.   Fishman, who also served as a KOL for Marketing Defendants, stated that he would

place the organization “at the forefront” of teaching that “the risks of addiction are . . . small and

can be managed.”160



159
    The Use of Opioids for the Treatment of Chronic Pain, APS & AAPM (1997), available at
http://www.stgeorgeutah.com/wp-content/uploads/2016/05/OPIOIDES.DOLORCRONICO.pdf     (last
accessed April 28, 2018).
160
  Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain
Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
                                           102
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            360.   AAPM received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000 per

year (on top of other funding) to participate. The benefits included allowing members to present

educational programs at off-site dinner symposia in connection with AAPM’s marquee event – its

annual meeting held in Palm Springs, California, or other resort locations.

            361.   More specifically, Purdue paid $725,584.95 from 2012-2017 to AAPM.161 Janssen

paid $83,975 from 2012-2017 to AAPM.162 Insys paid $57,750 from 2012-2017 to AAPM.163 Endo

funded AAPM CMEs. Teva is on AAPM’s corporate relations council.

            362.   As to APS, Purdue paid $542,259.52 from 2012-2017.164 Janssen paid $88,500

from 2012-2017.165 Insys paid $22,965 from 2012-2017.166 Mylan paid $20,250 from 2012-

2017.167

            363.   AAPM describes its annual meeting as an “exclusive venue” for offering

Continuing Medical Education programs to doctors. Membership in the corporate relations council

also allows drug company executives and marketing staff to meet with AAPM executive


http://www.medscape.org/viewarticle/500829.
161
      Id.
162
      Fueling an Epidemic Part Two.
163
      Id.
164
   Fueling an Epidemic Report Two, Exposing the Financial Ties Between Opioid Manufacturers and Third
Party Advocary Groups, U.S. Senate Homeland Security & Governmental Affairs Committee,
https://www.hsdl.org/?abstract&did=808171 (last accessed April 17, 2018) (hereinafter referred to as
“Fueling an Epidemic Part Two”)
165
      Id.
166
      Id.
167
      Id.

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committee members in small settings. Defendants Endo, Purdue, and Cephalon were members of

the council and presented deceptive programs to doctors who attended this annual event. The

conferences sponsored by AAPM heavily emphasized CME sessions on opioids – 37 out of

roughly 40 at one conference alone.

       364.    AAPM’s staff understood that they and their industry funders were engaged in a

common task. Defendants were able to influence AAPM through both their significant and regular

funding and the leadership of pro-opioid KOLs within the organization.

       365.    In 1996, AAPM and APS jointly issued a consensus statement, “The Use of

Opioids for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and

claimed that the risk of a patients’ addiction to opioids was low. Dr. David Haddox, who co-

authored the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy was

the sole consultant. The consensus statement remained on AAPM’s website until 2011.

       366.    AAPM and APS issued their own guidelines in 2009 (“2009 Guidelines”) AAPM,

with the assistance, prompting, involvement, and funding of Defendants, issued the treatment

guidelines discussed herein, and continued to recommend the use of opioids to treat chronic pain.

Fourteen of the 21 panel members who drafted the 2009 Guidelines, including KOL Dr. Fine,

received support from Defendants Janssen, Cephalon, Endo, and Purdue. Of these individuals, six

received support from Purdue, eight from Teva, nine from Janssen, and nine from Endo.

       367.    Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College’s Geisel

School of Medicine, who served on the AAPM/APS Guidelines panel, has since described them

as “skewed” by drug companies and “biased in many important respects,” including the high

presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and claims of

a low risk of addiction.

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        368.   The 2009 Guidelines have been a particularly effective channel of deception. They

have influenced not only treating physicians, but also the scientific literature on opioids; they were

reprinted in the Journal of Pain, have been cited hundreds of times in academic literature, were

disseminated during the relevant time period, and were and are available online. Treatment

guidelines are especially influential with primary care physicians and family doctors to whom

Marketing Defendants promoted opioids, whose lack of specialized training in pain management

and opioids makes them more reliant on, and less able to evaluate, these guidelines.

        369.   For that reason, the CDC has recognized that treatment guidelines can “change

prescribing practices.”168

        370.   The 2009 Guidelines are relied upon by doctors, especially general practitioners

and family doctors who have no specific training in treating chronic pain.

        371.   The Marketing Defendants widely cited and promoted the 2009 Guidelines without

disclosing the lack of evidence to support their conclusions, their involvement in the development

of the Guidelines or their financial backing of the authors of these Guidelines. For example, a

speaker presentation prepared by Endo in 2009 titled The Role of Opana ER in the Management

of Moderate to Severe Chronic Pain relies on the AAPM/APS 2009 Guidelines while omitting

their disclaimer regarding the lack of evidence for recommending the use of opioids for chronic

pain.

                   c. Federation of State Medical Boards

        372.   The Federation of State Medical Boards (FSMB) is a trade organization



168
  Centers for Disease Control and Prevention, CDC Guideline for Prescribing Opioids for Chronic Pain,
(March 15, 2016), https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm, (hereinafter “2016 CDC
Guideline”).

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representing the various state medical boards in the United States. The state boards that comprise

the FSMB membership have the power to license doctors, investigate complaints, and discipline

physicians.

       373.    The FSMB finances opioid- and pain-specific programs through grants from

Defendants.

       374.    Since 1998, the FSMB has been developing treatment guidelines for the use of

opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of Controlled

Substances for the Treatment of Pain (“1998 Guidelines”) was produced “in collaboration with

pharmaceutical companies.” The 1998 Guidelines that the pharmaceutical companies helped

author taught not that opioids could be appropriate in only limited cases after other treatments had

failed, but that opioids were “essential” for treatment of chronic pain, including as a first

prescription option.

       375.    A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible Opioid

Prescribing, also made the same claims as the 1998 Guidelines. These guidelines were posted

online and were available to and intended to reach physicians nationwide, including in Palm Beach

County.

       376.    FSMB’s 2007 publication Responsible Opioid Prescribing was backed largely by

drug manufacturers, including Purdue, Endo and Cephalon. Purdue paid $100,000 for printing and

distribution of FSMB’s Guidelines.169

       377.    The publication also received support from the American Pain Foundation (APF)

and the American Academy of Pain Medicine (AAPM). The publication was written by Dr.


169
  John Fauber, Follow the Money: Pain, Policy, and Profit, MILWAUKEE JOURNAL SENTINEL/MEDPAGE
TODAY (Feb. 19, 2012), https://www.medpagetoday.com/neurology/painmanagement/31256.

                                                106
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Fishman, and Dr. Fine served on the Board of Advisors. In all, 163,131 copies of Responsible

Opioid Prescribing were distributed by state medical boards (and through the boards, to practicing

doctors).170 The FSMB website describes the book as “the leading continuing medical education

(CME) activity for prescribers of opioid medications.” This publication asserted that opioid

therapy to relieve pain and improve function is a legitimate medical practice for acute and chronic

pain of both cancer and non-cancer origins; that pain is under-treated, and that patients should not

be denied opioid medications except in light of clear evidence that such medications are harmful

to the patient.171

        378.    The Marketing Defendants relied on the 1998 Guidelines to convey the alarming

message that “under-treatment of pain” would result in official discipline, but no discipline would

result if opioids were prescribed as part of an ongoing patient relationship and prescription

decisions were documented. FSMB turned doctors’ fear of discipline on its head: doctors, who

used to believe that they would be disciplined if their patients became addicted to opioids, were

taught instead that they would be punished if they failed to prescribe opioids to their patients with

chronic pain.

        379.    Dr. Fishman said that he did not receive any payments from FSMB or any royalties

from the publisher because he wanted to avoid the perception of a potential conflict of interest in

his authorship of the book or for the ongoing efforts of FSMB – this is because prior to 2011, he

had been scrutinized for his involvement with the front groups/manufacturers and accepting




170
     Email from Dr. Scott Fishman to Charles Ornstein, ProPublica (Dec.                  15,   2011),
https://assets.documentcloud.org/documents/279033/fishman-responses-to-propublica.pdf.

  Scott M. Fishman, Responsible Opioid Prescribing: A Physician’s Guide 8-9 (Waterford Life Sciences
171

2007).

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payments.172

            380.   The Manufacturing Defendants made additional contributions to the FSMB to

further their misleading advertising. For example, Purdue paid FSMB $822,400.06 over 8 years.173

Cephalon paid FSMB $180,000 over 3 year period 2007-2008 and 2011.174 Endo paid FSMB

$371,620 over 5 year period.175 Mallinckrodt paid FSMB $100,000 in 2011.176

                      d. The Alliance for Patient Access

            381.   Founded in 2006, the Alliance for Patient Access (“APA”) is a self-described

patient advocacy and health professional organization that styles itself as “a national network of

physicians dedicated to ensuring patient access to approved therapies and appropriate clinical

care.”177 It is run by Woodberry Associates LLC, a lobbying firm that was also established in

2006.178 As of June 2017, the APA listed 30 “Associate Members and Financial Supporters.” The

list includes J&J, Endo, Mallinckrodt, Purdue and Cephalon.



172
     Email from Dr. Scott Fishman to Charles Ornstein, ProPublica (Dec.                       15,   2011),
https://assets.documentcloud.org/documents/279033/fishman-responses-to-propublica.pdf.
173
  Letter from Humayun J. Chaudhry, President and CEO, FSMB, to the Hon. Max Baucus and Hon.
Charles Grassley, U.S. Senate (June 8, 2012), https://www.documentcloud.org/documents/3109089-
FSMB-Response-Letter-to-US-Senate.html.
174
      Id.
175
      Id.
176
      Id.
177
     The Alliance for Patient Access, About AfPA, http://allianceforpatientaccess.org/about-
afpa/#membership (last accessed April 28, 2018). References herein to APA include two affiliated groups:
the Global Alliance for Patient Access and the Institute for Patient Access.
178
   Mary Chris Jaklevic, Non-profit Alliance for Patient Access uses journalists and politicians to push
Big Pharma’s agenda, Health News Review (Oct. 2, 2017),
https://www.healthnewsreview.org/2017/10/non-profit-alliance-patient-access-uses-journalists-
politicians-push-big-pharmas-agenda/ (“Jaklevic, Non-profit Alliance for Patient Access”).

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        382.    APA’s board members have also directly received substantial funding from

pharmaceutical companies.179 For instance, board vice president Dr. Srinivas Nalamachu

(“Nalamachu”), who practices in Kansas, received more than $800,000 from 2013 through 2015

from pharmaceutical companies – nearly all of it from manufacturers of opioids or drugs that treat

opioids’ side effects, including from defendants Endo, Insys, Purdue and Cephalon. Nalamachu’s

clinic was raided by FBI agents in connection with an investigation of Insys and its payment of

kickbacks to physicians who prescribed Subsys.180 Other board members include Dr. Robert A.

Yapundich from North Carolina, who received $215,000 from 2013 through 2015 from

pharmaceutical companies, including payments by defendants Cephalon and Mallinckrodt; Dr.

Jack D. Schim from California, who received more than $240,000 between 2013 and 2015 from

pharmaceutical companies, including defendants Endo, Mallinckrodt and Cephalon; Dr. Howard

Hoffberg from Maryland, who received $153,000 between 2013 and 2015 from pharmaceutical

companies, including defendants Endo, Purdue, Insys, Mallinckrodt and Cephalon; and Dr. Robin

K. Dore from California, who received $700,000 between 2013 and 2015 from pharmaceutical

companies.

        383.    Among its activities, APA issued a “white paper” titled “Prescription Pain

Medication: Preserving Patient Access While Curbing Abuse.”181 Among other things, the white




179
   All information concerning pharmaceutical company payments to doctors in this paragraph is from
ProPublica’s Dollars for Docs database, available at https://projects.propublica.org/docdollars/.
180
   Andy Marso, FBI seizes records of Overland Park pain doctor tied to Insys, KANSAS CITY STAR (July
19, 2017), http://www.kansascity.com/news/business/health-care/article162569383.html.
181
   Institute for Patient Access, Prescription Pain Medication: Preserving Patient Access While Curbing
Abuse, (Oct. 2013), http://1yh21u3cjptv3xjder1dco9mx5s.wpengine.netdna-cdn.com/wp-
content/uploads/2013/01/PT_White-Paper_Finala.pdf.

                                                  109
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paper criticizes prescription monitoring programs, purporting to express concern that they are

burdensome, not user friendly, and of questionable efficacy:

                    Prescription monitoring programs that are difficult to use and cumbersome
                    can place substantial burdens on physicians and their staff, ultimately
                    leading many to stop prescribing pain medications altogether. This forces
                    patients to seek pain relief medications elsewhere, which may be much less
                    convenient and familiar and may even be dangerous or illegal.

                    ***

                    In some states, physicians who fail to consult prescription monitoring
                    databases before prescribing pain medications for their patients are subject
                    to fines; those who repeatedly fail to consult the databases face loss of their
                    professional licensure. Such penalties seem excessive and may
                    inadvertently target older physicians in rural areas who may not be facile
                    with computers and may not have the requisite office staff. Moreover,
                    threatening and fining physicians in an attempt to induce compliance with
                    prescription monitoring programs represents a system based on punishment
                    as opposed to incentives. . . .

                    We cannot merely assume that these programs will reduce prescription
                    pain medication use and abuse.182

           384.     The white paper also purports to express concern about policies that have been

enacted in response to the prevalence of pill mills:

                    Although well intentioned, many of the policies designed to address this
                    problem have made it difficult for legitimate pain management centers to
                    operate. For instance, in some states, [pain management centers] must be
                    owned by physicians or professional corporations, must have a Board
                    certified medical director, may need to pay for annual inspections, and are
                    subject to increased record keeping and reporting requirements. . . . [I]t is
                    not even certain that the regulations are helping prevent abuses.183

           385.     In addition, in an echo of earlier industry efforts to push back against what they



182
      Id. at 4-5 (footnote omitted).
183
      Id. at 5-6.

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termed “opiophobia,” the white paper laments the stigma associated with prescribing and taking

pain medication:

                   Both pain patients and physicians can face negative perceptions and outright
                   stigma. When patients with chronic pain can’t get their prescriptions for
                   pain medication filled at a pharmacy, they may feel like they are doing
                   something wrong – or even criminal. . . . Physicians can face similar stigma
                   from peers. Physicians in non-pain specialty areas often look down on those
                   who specialize in pain management – a situation fueled by the numerous
                   regulations and fines that surround prescription pain medications.184
            386.   In conclusion, the white paper states that “[p]rescription pain medications, and

specifically the opioids, can provide substantial relief for people who are recovering from surgery,

afflicted by chronic painful diseases, or experiencing pain associated with other conditions that

does not adequately respond to over-the-counter drugs.”185

            387.   The APA also issues “Patient Access Champion” financial awards to members of

Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million donation

from unnamed donors. While the awards are ostensibly given for protecting patients’ access to

Medicare, and are thus touted by their recipients as demonstrating a commitment to protecting the

rights of senior citizens and the middle class, they were generally given to members of Congress

who supported the APA’s agenda.186

            388.   The APA also lobbies Congress directly. In 2015, the APA signed onto a letter

supporting legislation proposed to limit the ability of the DEA to police pill mills by enforcing the

“suspicious orders” provision of the Comprehensive Drug Abuse Prevention and Control Act of




184
      Id. at 6.
185
      Id. at 7.
186
      Jaklevic, Non-profit Alliance for Patient Access, supra n. 200.

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1970, 21 U.S.C. §801 et seq. (“CSA” or “Controlled Substances Act”).187 The AAPM is also a

signatory to this letter. An internal DOJ memo stated that the proposed bill “‘could actually result

in increased diversion, abuse, and public health and safety consequences’”188 and, according to

DEA chief administrative law judge John J. Mulrooney (“Mulrooney”), the law would make it “all

but logically impossible” to prosecute manufacturers and distributors, like the defendants here, in

the federal courts.189 The law passed both houses of Congress and was signed into law in 2016.

                       e. The U.S. Pain Foundation

           389.    The U.S. Pain Foundation (USPF) was another Front Group with systematic

connections and interpersonal relationships with the Marketing Defendants. The USPF was one of

the largest recipients of contributions from the Marketing Defendants, collecting nearly $3 million

in payments between 2012 and 2015 alone.190 The USPF was also a critical component of the

Marketing Defendants’ lobbying efforts to reduce the limits on over-prescription. The U.S. Pain

Foundation advertised its ties to the Marketing Defendants, listing opioid manufacturers like

Pfizer, Teva, Depomed, Endo, Purdue, McNeil (i.e. Janssen), and Mallinckrodt as “Platinum,”

“Gold,” and “Basic” corporate members.191 Industry Front Groups like the American Academy of


187
  Letter from Alliance for Patient Access, et al., to Congressmen Tom Marino, Marsha Blackburn, Peter
Welch, and Judy Chu (Jan. 26, 2015).
188
   Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS NEWS (last
updated Oct. 17, 2017) https://www.cbsnews.com/news/ex-dea-agent-opioid-crisis-fueled-by-drug-
industry-and-congress/ (hereinafter, “Whitaker, Opioid Crisis Fueled by Drug Industry”).
189
   John J. Mulrooney, II & Katherine E. Legel, Current Navigation Points in Drug Diversion Law: Hidden
Rocks in Shallow, Murky, Drug-Infested Waters, 101 Marquette L. Rev. (forthcoming Feb. 2018),
https://www.documentcloud.org/documents/4108121-Marquette-Law-Review-Mulrooney-Legel.html.
190
      Fueling an Epidemic, at p. 4.
191
   Id. at 12; U.S. Pain Foundation, Transparency, https://uspainfoundation.org/transparency/. (last accessed
on April 29, 2018).

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Pain Management, the American Academy of Pain Medicine, the American Pain Society, and

PhRMA are also members of varying levels in the USPF.

            390.   More specifically, Purdue paid $359,300 from 2012-2017 to the USPF.192 Janssen

paid $41,500 from 2012-2017.193 Insys paid $2,500,000 from 2012-2017.194

                      f. American Geriatrics Society

            391.   The AGS was another Front Group with systematic connections and interpersonal

relationships with the Marketing Defendants. The AGS was a large recipient of contributions from

the Marketing Defendants, including Endo, Purdue and Janssen. AGS contracted with Purdue,

Endo and Janssen to disseminate guidelines regarding the use of opioids for chronic pain in 2002

(The Management of Persistent Pain in Older Persons, hereinafter “2002 AGS Guidelines”) and

2009 (Pharmacological Management of Persistent Pain in Older Persons,195 hereinafter “2009

AGS Guidelines”). According to news reports, AGS has received at least $344,000 in funding

from opioid manufacturers since 2009.196 AGS’s complicity in the common purpose with the

Marketing Defendants is evidenced by the fact that AGS internal discussions in August 2009

reveal that it did not want to receive up front funding from drug companies, which would suggest



191
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331
(2009), https://www.ncbi.nlm.nih.gov/pubmed/19573219 (last accessed on April 28, 2018).
192
      Id.
193
      Id.
194
      Id.
195
   Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331
(2009), https://www.ncbi.nlm.nih.gov/pubmed/19573219 (last accessed on April 28, 2018).
196
      John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, MILWAUKEE

J. SENTINEL (May 30, 2012), https://www.medpagetoday.com/geriatrics/painmanagement/32967.

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drug company influence, but would instead accept commercial support to disseminate pro-opioid

publications.

          392.    More specifically, Purdue paid $11,785 from 2012-2017197 and provided $40,000

in “corporate roundtable dues” to AGS’s Health in Aging Foundation, a 501(c)(3) organization

affiliated with the group between 2012 and 2015.198

          393.    The 2009 AGS Guidelines recommended that “[a]ll patients with moderate to

severe pain . . . should be considered for opioid therapy.” The panel made “strong

recommendations” in this regard despite “low quality of evidence” and concluded that the risk of

addiction is manageable for patients, even with a prior history of drug abuse.199 These Guidelines

further recommended that “the risks [of addiction] are exceedingly low in older patients with no

current or past history of substance abuse.” These recommendations are not supported by any

study or other reliable scientific evidence. Nevertheless, they have been cited over 500 times in

Google Scholar (which allows users to search scholarly publications that would be have been

relied on by researchers and prescribers) since their 2009 publication and as recently as this year.

          394.    One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

State University and founder of the Michigan Headache & Neurological Institute, resigned from

the panel because of his concerns that the Guidelines were influenced by contributions that drug

companies, including Purdue, Endo, Janssen, and Teva, made to the sponsoring organizations and

committee members.



197
      Fueling an Epidemic Part Two.
198
  Letter from Nancy E. Lundebjerg, Chief Executive Office, American Geriatrics Society, to Sen. Claire
McCaskill (Oct. 11, 2017).
199
      2009 AGS Guidelines, at 1342.

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            395.   Dr. Bruce Farrell was an AGS task force chairman for the 2009 Guidelines, but

was also a paid speaker for Endo, and he helped conduct a CME for treating osteoarthritis pain,

which was funded by Purdue.200

            396.   Representatives of the Marketing Defendants, often at informal meetings at

conferences, suggested activities, lobbying efforts and publications for AGS to pursue. AGS then

submitted grant proposals seeking to fund these activities and publications, knowing that drug

companies would support projects conceived as a result of these communications.

            397.   Members of AGS Board of Directors were doctors who were on the Marketing

Defendants’ payrolls, either as consultants or speakers at medical events. As described below,

many of the KOLs also served in leadership positions within the AGS.

                      g. American Chronic Pain Association

            398.   The Manufacturer Defendants also made substantial payments to the American

Chronic Pain Association (“ACPA”). Founded in 1980, the ACPA offers support and education

for people suffering with chronic pain.

            399.   Contributions to the ACPA from the Manufacturing Defendants include: Purdue

paid $312,470 from 2012-2017.201 Janssen paid $50,000 from 2012-2017.202 Between 2013 and

2016, 10 members of ACPA’s Advisory Board received more than $140,000 from opioid

manufacturers, including Endo.203



200
   John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, MILWAUKEE J.
SENTINEL (May 30, 2012), https://www.medpagetoday.com/geriatrics/painmanagement/32967.
201
      Fueling an Epidemic Part Two.
202
      Id.
203
      Pulled from Sterling’s memo re Endo.

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               4. The Marketing Defendants Paid Key Opinion Leaders To Deceptively
                  Promote Opioid Use

       400.    To falsely promote their opioids, the Marketing Defendants paid and cultivated a

select circle of doctors who were chosen and sponsored by the Marketing Defendants for their

supportive messages. As set forth below, pro-opioid doctors have been at the hub of the Marketing

Defendants’ well-funded, pervasive marketing scheme since its inception and were used to create

the grave misperception science and legitimate medical professionals favored the wider and

broader use of opioids. These doctors include Dr. Russell Portenoy, Dr. Lynn Webster, Dr. Perry

Fine and Dr. Scott Fishman.

       401.    Although these KOLs were funded by the Marketing Defendants, the KOLs were

used extensively to present the appearance that unbiased and reliable medical research supporting

the broad use of opioid therapy for chronic pain had been conducted and was being reported on

by independent medical professionals.

       402.    As the Marketing Defendants’ false marketing scheme picked up steam, these pro-

opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and gave

speeches and CMEs supportive of opioid therapy for chronic pain. They served on committees

that developed treatment guidelines that strongly encouraged the use of opioids to treat chronic

pain and they were placed on boards of pro-opioid advocacy groups and professional societies that

develop, select, and present CMEs.

       403.    Through use of their KOLs and strategic placement of these KOLs throughout

every critical distribution channel of information within the medical community, the Marketing

Defendants were able to exert control of each of these modalities through which doctors receive

their information.
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       404.    In return for their pro-opioid advocacy, the Marketing Defendants’ KOLs received

money, prestige, recognition, research funding, and avenues to publish. For example, Dr. Webster

has received funding from Endo, Purdue, and Cephalon. Dr. Fine has received funding from

Janssen, Cephalon, Endo, and Purdue.

       405.    The Marketing Defendants carefully vetted their KOLs to ensure that they were

likely to remain on-message and supportive of the Marketing Defendants’ agenda. The Marketing

Defendants also kept close tabs on the content of the materials published by these KOLs. And, of

course, the Marketing Defendants kept these KOLs well-funded to enable them to push the

Marketing Defendants’ deceptive message out to the medical community.

       406.    Once the Marketing Defendants identified and funded KOLs and those KOLs

began to publish “scientific” papers supporting the Marketing Defendants’ false position that

opioids were safe and effective for treatment of chronic pain, the Marketing Defendants poured

significant funds and resources into a marketing machine that widely cited and promoted their

KOLs and studies or articles by their KOLs to drive prescription of opioids for chronic pain. The

Marketing Defendants cited to, distributed, and marketed these studies and articles by their KOLs

as if they were independent medical literature so that it would be well-received by the medical

community. By contrast, the Marketing Defendants did not support, acknowledge, or disseminate

the truly independent publications of doctors critical of the use of chronic opioid therapy.

       407.    In their promotion of the use of opioids to treat chronic pain, the Marketing

Defendants’ KOLs knew that their statements were false and misleading, or they recklessly

disregarded the truth in doing so, but they continued to publish their misstatements to benefit

themselves and the Marketing Defendants.



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                       a. Dr. Russell Portenoy

            408.   In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

Pain Medicine and Palliative Care at Beth Israel Medical Center in New York while at the same

time serving as a top spokesperson for drug companies, published an article reporting that “[f]ew

substantial gains in employment or social function could be attributed to the institution of opioid

therapy.”204

            409.   Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

dangers of long-term use of opioids:

            The traditional approach to chronic non-malignant pain does not accept the long-
            term administration of opioid drugs. This perspective has been justified by the
            perceived likelihood of tolerance, which would attenuate any beneficial effects over
            time, and the potential for side effects, worsening disability, and addiction.
            According to conventional thinking, the initial response to an opioid drug may
            appear favorable, with partial analgesia and salutary mood changes, but adverse
            effects inevitably occur thereafter. It is assumed that the motivation to improve
            function will cease as mental clouding occurs and the belief takes hold that the drug
            can, by itself, return the patient to a normal life. Serious management problems are
            anticipated, including difficulty in discontinuing a problematic therapy and the
            development of drug seeking behavior induced by the desire to maintain analgesic
            effects, avoid withdrawal, and perpetuate reinforcing psychic effects. There is an
            implicit assumption that little separates these outcomes from the highly aberrant
            behaviors associated with addiction.205

(emphasis added.) According to Dr. Portenoy, the foregoing problems could constitute

“compelling reasons to reject long-term opioid administration as a therapeutic strategy in all but

the most desperate cases of chronic nonmalignant pain.”206



204
   Russell Portenoy & Kathy Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of
38 cases, 25(2) Pain 171 (1986), https://www.ncbi.nlm.nih.gov/pubmed/2873550.
205
  Russell Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in Pain
Res. & Mgmt., 247-287 (H.L. Fields and J.C. Liebeskind eds., 1994) (emphasis added).
206
      Id.

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           410.     Despite having taken this position on long-term opioid treatment, Dr. Portenoy

ended up becoming a spokesperson for Purdue and other Marketing Defendants, promoting the

use of prescription opioids and minimizing their risks. A respected leader in the field of pain

treatment, Dr. Portenoy was highly influential. Dr. Andrew Kolodny, cofounder of Physicians for

Responsible Opioid Prescribing, described him “lecturing around the country as a religious- like

figure. The megaphone for Portenoy is Purdue, which flies in people to resorts to hear him speak.

It was a compelling message: ‘Docs have been letting patients suffer; nobody really gets addicted;

it’s been studied.’”207

           411.     As one organizer of CME seminars who worked with Portenoy and Purdue pointed

out, “had Portenoy not had Purdue’s money behind him, he would have published some papers,

made some speeches, and his influence would have been minor. With Purdue’s millions behind

him, his message, which dovetailed with their marketing plans, was hugely magnified.”208

           412.     Dr. Portenoy was also a critical component of the Marketing Defendants’ control

over their Front Groups. Specifically, Dr. Portenoy sat as a Director on the board of the APF. He

was also the President of the APS.

           413.     In recent years, some of the Marketing Defendants’ KOLs have conceded that many

of their past claims in support of opioid use lacked evidence or support in the scientific literature.209




207
      Dreamland at 314.
208
      Id. at 136.
209
    See, e.g., John Fauber, Painkiller boom fueled by networking, Journal Sentinel (Feb. 18, 2012),
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html/ (reporting that a key Endo KOL acknowledged that opioid marketing went too far).

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Dr. Portenoy has now admitted that he minimized the risks of opioids,210 and that he “gave

innumerable lectures in the late 1980s and ‘90s about addiction that weren’t true.” 211 He mused,

“Did I teach about pain management, specifically about opioid therapy, in a way that reflects

misinformation? Well, against the standards of 2012, I guess I did . . .”212

            414.   In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

Portenoy stated that his earlier work purposefully relied on evidence that was not “real” and left

real evidence behind:

            I gave so many lectures to primary care audiences in which the Porter and Jick
            article was just one piece of data that I would then cite, and I would cite six, seven,
            maybe ten different avenues of thought or avenues of evidence, none of which
            represented real evidence, and yet what I was trying to do was to create a narrative
            so that the primary care audience would look at this information in [total] and feel
            more comfortable about opioids in a way they hadn’t before. In essence this was
            education to destigmatize [opioids], and because the primary goal was to
            destigmatize, we often left evidence behind.213

            415.   Several years earlier, when interviewed by journalist Barry Meier for his 2003

book, Pain Killer, Dr. Portenoy was more direct: “It was pseudoscience. I guess I’m going to have

always to live with that one.”214


210
   Celine Gounder, Who Is Responsible for the Pain-Pill Epidemic?, THE NEW YORKER (Nov. 8, 2013),
https://www.newyorker.com/business/currency/who-is-responsible-for-the-pain-pill-epidemic (hereinafter
“Gounder, Who Is Responsible”).
211
   Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall Street
Journal (Dec. 17, 2012, 11:36am),
https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
212
      Id.
213
   Harrison Jacobs, This one-paragraph letter may have launched the opioid epidemic, BUSINESS INSIDER
(May 26, 2016), http://www.businessinsider.com/porter-and-jick-letter-launched-the-opioid-epidemic-
2016-5; Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct. 30, 2011),
https://www.youtube.com/watch?v=DgyuBWN9D4w&feature=youtu.be.
214
      Pain Killer, supra n. 34, at 277.

                                                     120
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                   b. Dr. Lynn Webster

       416.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of the Lifetree Clinical Research & Pain Clinic in Salt Lake City, Utah. Dr. Webster was President

in 2013 and is a current board member of AAPM, a Front Group that ardently supports chronic

opioid therapy. He is a Senior Editor of Pain Medicine, the same journal that published Endo’s

special advertising supplements touting Opana ER. Dr. Webster was the author of numerous CMEs

sponsored by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was receiving

significant funding from Defendants (including nearly $2 million from Cephalon).

       417.    Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

minute screening tool relying on patient self-reports that purportedly allows doctors to manage the

risk that their patients will become addicted to or abuse opioids. The claimed ability to pre- sort

patients likely to become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster’s Opioid Risk Tool (“ORT”) appear on, or are linked to,

websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via webinar, a

program sponsored by Purdue titled, Managing Patient’s Opioid Use: Balancing the Need and the

Risk. Dr. Webster recommended use of risk screening tools, urine testing, and patient agreements

to prevent “overuse of prescriptions” and “overdose deaths.” This webinar was available to and

was intended to reach doctors throughout Kentucky.

       418.    Dr. Webster was himself tied to numerous overdose deaths. He and the Lifetree

Clinic were investigated by the DEA for overprescribing opioids after twenty patients died from

overdoses. In keeping with the Marketing Defendants’ promotional messages, Dr. Webster

apparently believed the solution to patients’ tolerance or addictive behaviors was more opioids: he

                                                121
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prescribed staggering quantities of pills.

       419.    At an AAPM annual meeting held February 22 through 25, 2006, Cephalon

sponsored a presentation by Webster and others titled, “Open-label study of fentanyl effervescent

buccal tablets in patients with chronic pain and breakthrough pain: Interim safety results.” The

presentation’s agenda description states: “Most patients with chronic pain experience episodes of

breakthrough pain, yet no currently available pharmacologic agent is ideal for its treatment.” The

presentation purports to cover a study analyzing the safety of a new form of fentanyl buccal tablets

in the chronic pain setting and promises to show the “[i]nterim results of this study suggest that

FEBT is safe and well-tolerated in patients with chronic pain and BTP.” This CME effectively

amounted to off-label promotion of Cephalon’s opioids, even though they were approved only for

cancer pain.

       420.    Cephalon sponsored a CME written by Dr. Webster, Optimizing Opioid Treatment

for Breakthrough Pain, offered by Medscape, LLC from September 28, 2007 through December

15, 2008. The CME taught that non-opioid analgesics and combination opioids containing non-

opioids such as aspirin and acetaminophen are less effective at treating breakthrough pain because

of dose limitations on the non-opioid component.

                   c. Dr. Perry Fine

       421.    Dr. Perry Fine’s ties to the Marketing Defendants have been well documented. He

has authored articles and testified in court cases and before state and federal committees, and he,

too, has argued against legislation restricting high-dose opioid prescription for non-cancer patients.

He has served on Purdue’s advisory board, provided medical legal consulting for Janssen, and

participated in CME activities for Endo, along with serving in these capacities for several other

drug companies. He co-chaired the APS-AAPM Opioid Guideline Panel, served as treasurer of the

                                                 122
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AAPM from 2007 to 2010 and as president of that group from 2011 to 2013, and was also on the

board of directors of APF.215

       422.    Multiple videos feature Fine delivering educational talks about prescription

opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna Nicole

Smith for pain did not make her an addict before her death.

       423.    He has also acknowledged having failed to disclose numerous conflicts of interest.

For example, Dr. Fine failed to fully disclose payments received as required by his employer, the

University of Utah—telling the university that he had received under $5,000 in 2010 from Johnson

& Johnson for providing “educational” services, but Johnson & Johnson’s website states that the

company paid him $32,017 for consulting, promotional talks, meals and travel that year.216

       424.    Dr. Fine and Dr. Portenoy co-wrote A Clinical Guide to Opioid Analgesia, in which

they downplayed the risks of opioid treatment, such as respiratory depression and addiction:

       At clinically appropriate doses . . . respiratory rate typically does not decline.
       Tolerance to the respiratory effects usually develops quickly, and doses can be
       steadily increased without risk.

       Overall, the literature provides evidence that the outcomes of drug abuse and
       addiction are rare among patients who receive opioids for a short period (i.e., for
       acute pain) and among those with no history of abuse who receive long-term
       therapy for medical indications.217

       425.    In November 2010, Dr. Fine and others published an article presenting the results


215
   Scott M. Fishman, MD, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and
Diversion, 306 (13) JAMA 1445 (Sept. 20, 2011), https://jamanetwork.com/journals/jama/article-
abstract/1104464?redirect=true.
216
   Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industry,
ProPublica (Dec. 23, 2011, 2:14 PM), https://www.propublica.org/article/two-leaders-in-pain-treatment-
have-long-ties-to-drug-industry.
217
  Perry G. Fine, MD and Russell K. Portenoy, MD, A Clinical Guide to Opioid Analgesia 20 and 34,
McGraw-Hill Companies (2004), http://www.thblack.com/links/RSD/OpioidHandbook.pdf.
                                              123
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of another Cephalon-sponsored study titled “Long-Term Safety and Tolerability of Fentanyl

Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic

Pain: An 18-Month Study.”218 In that article, Dr. Fine explained that the 18-month “open-label”

study “assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP

in a large cohort . . . of opioid-tolerant patients receiving around-the-clock . . . opioids for non-

cancer pain.”219 The article acknowledged that: (a) “[t]here has been a steady increase in the use

of opioids for the management of chronic non-cancer pain over the past two decades”; (b) the

“widespread acceptance” had led to the publishing of practice guidelines “to provide evidence-

and consensus-based recommendations for the optimal use of opioids in the management of

chronic pain”; and (c) those guidelines lacked “data assessing the long-term benefits and harms of

opioid therapy for chronic pain.”220

            426.   The article concluded: “[T]he safety and tolerability profile of FBT in this study

was generally typical of a potent opioid. The [adverse events] observed were, in most cases,

predictable, manageable, and tolerable.” They also conclude that the number of abuse-related

events was “small.”221

            427.   Multiple videos feature Dr. Fine delivering educational talks about the drugs. In

one video from 2011 titled “Optimizing Opioid Therapy,” he sets forth a “Guideline for Chronic




218
  Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the Treatment of
Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month Study, 40(5) J. Pain &
Symptom Management 747-60 (Nov. 2010).
219
      Id.
220
      Id.
221
      Id.

                                                  124
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Opioid Therapy” discussing “opioid rotation” (switching from one opioid to another) not only for

cancer patients, but for non-cancer patients, and suggests it may take four or five switches over a

person’s “lifetime” to manage pain.222 He states the “goal is to improve effectiveness which is

different from efficacy and safety.” Rather, for chronic pain patients, effectiveness “is a balance

of therapeutic good and adverse events over the course of years.”223 The entire program assumes

that opioids are appropriate treatment over a “protracted period of time” and even over a patient’s

entire “lifetime.” He even suggests that opioids can be used to treat sleep apnea. He further states

that the associated risks of addiction and abuse can be managed by doctors and evaluated with

“tools,” but leaves that for “a whole other lecture.”224

                      d.   Dr. Scott Fishman

            428.   Dr. Scott Fishman is a physician whose ties to the opioid drug industry are legion.

He has served as an APF board member and as president of the AAPM, and has participated yearly

in numerous CME activities for which he received “market rate honoraria.” As discussed below,

he has authored publications, including the seminal guides on opioid prescribing, which were

funded by the Marketing Defendants. He has also worked to oppose legislation requiring doctors

and others to consult pain specialists before prescribing high doses of opioids to non- cancer

patients. He has himself acknowledged his failure to disclose all potential conflicts of interest.225



222
     Perry A. Fine, M.D., Safe and Effective Opioid Rotation, YouTube (Nov. 8, 2012),
https://www.youtube.com/watch?v=_G3II9yqgXI
223
      Id.
224
      Id.
225
   Scott M. Fishman, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and
Diversion, 306(13) JAMA 1445 (2011); Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment
Have Long Ties to Drug Industry, ProPublica (Dec. 23, 2011), https://www.propublica.org/article/two-
leaders-in-pain-treatment-have-long-ties-to-drug-industry (hereinafter “Weber, Two Leaders in Pain”).
                                                   125
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He admitted this in a letter in the Journal of the American Medical Association titled “Incomplete

Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion.”

            429.   Dr. Fishman authored a physician’s guide on the use of opioids to treat chronic pain

titled “Responsible Opioid Prescribing,” in 2007 which promoted the notion that long-term opioid

treatment was a viable and safe option for treating chronic pain.

            430.   In 2012, Dr. Fishman updated the guide and continued emphasizing the

“catastrophic” “under-treatment” of pain and the “crisis” such under-treatment created:

            Given the magnitude of the problems related to opioid analgesics, it can be tempting
            to resort to draconian solutions: clinicians may simply stop prescribing opioids, or
            legislation intended to improve pharmacovigilance may inadvertently curtail
            patient access to care. As we work to reduce diversion and misuse of prescription
            opioids, it’s critical to remember that the problem of unrelieved pain remains as
            urgent as ever.226

            431.   The updated guide still assures that “[o]pioid therapy to relieve pain and improve

function is legitimate medical practice for acute and chronic pain of both cancer and non-cancer

origins.”227

            432.   In another guide by Dr. Fishman, he continues to downplay the risk of addiction:

“I believe clinicians must be very careful with the label ‘addict.’ I draw a distinction between a

‘chemical coper’ and an addict.”228 The guide also continues to present symptoms of addiction as

symptoms of “pseudoaddiction.”



226
   Scott M. Fishman, Responsible Opioid Prescribing: A Guide for Michigan Clinicians, 10-11 (Waterford
Life Sciences 2012).
227
      Id.
228
   Scott M. Fishman, Listening to Pain: A Physician’s Guide to Improving Pain Management Through
Better Communication 45 (Oxford University Press 2012).

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                   5. The Marketing Defendants Also Spread Their Misleading Messages to
                      Reputable Organizations

            433.   The Manufacturing Defendants also manipulated reputable organizations like the

Joint Commission on Accreditation of Healthcare Organizations (“The Joint Commission”) in

order to further advance their unlawful marketing of opioids. The Joint Commission certifies

over 21,000 health care organizations and is the nation’s oldest and largest standards-setting and

accrediting body in health care.229 Only hospitals that have been accredited by the Joint

Commission can receive payments from Medicare and Medicaid.230

            434.   In 2000, Purdue sponsored a book through The Joint Commission which claimed

“there is no evidence that addiction is a significant issue when persons are given opioids for pain

control.”231 It also called doctors’ concerns about addiction side effects “inaccurate and

exaggerated.”232 Dr. David W. Baker, The Joint Commission’s executive vice president for health

care quality evaluation, has acknowledged that “The Joint Commission was one of the dozens of

individual authors and organizations that developed educational materials for pain management




229
   Joint Commission, FAQ Page, available at
https://www.jointcommission.org/about/jointcommissionfaqs.aspx?CategoryId=10#2274 (last accessed
April 12, 2018).
230
    U.S. S. Comm. on Homeland Security and Government Affairs Field Hearing, “Border Security and
America’s Heroin Epidemic: The Impact of the Trafficking and Abuse of Heroin and Prescription Opioids
in Wisconsin,” at 6 (Apr. 15, 2016) (Testimony of Time Westlake, M.D., Vice Chairman, State of
Wisconsin Medical Examining Board Controlled Substances Committee Chairman) (“Westlake
testimony”).
231
    Sonia Moghe, Opioid history: From ‘wonder drug’ to abuse epidemic, CNN (Oct. 13, 2016),
https://www.cnn.com/2016/05/12/health/opioid-addiction-history/.
232
      Id.

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that propagated this erroneous information.”233

            435.   In 2001, due to the influence of the Marketing Defendants, The Joint Commission,

along with the National Pharmaceutical Council (founded in 1953 and supported by the nation’s

major research-based biopharmaceutical companies234) “introduced standards for [hospitals] to

improve their care for patients with pain.” The new standards for hospitals put patient pain front

and center as the “fifth vital sign.” This monograph, entitled “Pain: Current understanding of

assessment, management and treatments” required assessment of pain in all patients.

            436.   The Joint Commission’s first pain management standards placed responsibility

for pain control on health care organizations (hospitals); and, emphasized the need for hospitals

to do systematic assessments and use quantitative measures of pain which was consistent with

the position of the Front Group APS.

            437.   As a result of the Marketing Defendants’ efforts to manipulate the standard of

care, many hospitals, including Plaintiff, risked loss of their Joint Commission accreditation if

they did not incorporate the “fifth vital sign” standard and put pain at the forefront of their

treatment. For example, the emergency department at Oconomowoc Memorial Hospital in

Wisconsin achieved 10 consecutive years of patient satisfaction in the 99th percentile, a feat no

other emergency hospital in the United States has been able to accomplish.235 However, during

its routine Joint Commission survey, The Joint Commission found that the hospital was not

adequately documenting follow up questions after prescribing pain medications to patients.236 As


233
      Id.
234
      Currently funded by Johnson & Johnson, Purdue and Teva, among others.
235
      Westlake testimony, at 6.
236
      Id.

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a result, the hospital was given only one quarter to bring their compliance up to 90%.237 They

could not, and as a result their Joint Commission accreditation was at risk for the entire

hospital.238 Loss of accreditation by The Joint Commission can result in the loss of a huge amount

of hospital resources to become reaccredited, despite having a patient satisfaction rating of 99%

for the same period.239

            438.   Since 2001, The Joint Commission standards relating to pain assessment and

management have been revised to lessen emphasis on pain. However, the damage caused by the

Marketing Defendants’ marketing campaigns could not be undone. Dr. Baker explains that “the

concept that iatrogenic addiction was rare and that long acting opioids were less addictive had

been greatly reinforced and widely repeated, and studies refuting these claims were not published

until several years later.”

                   6. The Marketing Defendants Disseminated Their Misrepresentations
                      Through Continuing Medical Education Programs

            439.   Now that the Marketing Defendants had both a group of physician promoters and

had built a false body of “literature,” Defendants needed to make sure their false marketing

message was widely distributed.

            440.   One way the Marketing Defendants aggressively distributed their false message

was through countless of CME programs.

            441.   Doctors are required to attend a certain number and, often, type of CME programs

each year as a condition of their licensure. These programs are generally delivered in person, often


237
      Id.
238
      Id.
239
      Id.


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in connection with professional organizations’ conferences, and online, or through written

publications. Doctors rely on CMEs not only to satisfy licensing requirements, but also to get

information on new developments in medicine or to deepen their knowledge in specific areas of

practice. Because CMEs typically are taught by KOLs who are highly respected in their fields, and

are thought to reflect these physicians’ medical expertise, they can be especially influential with

doctors.

       442.    The countless doctors and other health care professionals who participate in

accredited CMEs constitute an enormously important audience for opioid reeducation. As one

target, Defendants aimed to reach general practitioners, whose broad area of practice and lack of

expertise and specialized training in pain management made them particularly dependent upon

CMEs and, as a result, especially susceptible to the Marketing Defendants’ deceptions.

       443.    The Marketing Defendants sponsored CMEs that were delivered thousands of

times, promoting chronic opioid therapy and supporting and disseminating the deceptive and

biased messages described in this Complaint. These CMEs, while often generically titled to relate

to the treatment of chronic pain, focus on opioids to the exclusion of alternative treatments, inflate

the benefits of opioids, and frequently omit or downplay their risks and adverse effects.

       444.    Cephalon sponsored numerous CME programs, which were made widely available

through organizations like Medscape, LLC (“Medscape”) and which disseminated false and

misleading information to physicians across the country.

       445.    Another Cephalon-sponsored CME presentation titled Breakthrough Pain:

Treatment Rationale with Opioids was available on Medscape starting September 16, 2003 and

was given by a self-professed pain management doctor who “previously operated back, complex

pain syndromes, the neuropathies, and interstitial cystitis.” He describes the pain process as a non-

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time-dependent continuum that requires a balanced analgesia approach using “targeted pharmaco

therapeutics to affect multiple points in the pain-signaling pathway.”240 The doctor lists fentanyl

as one of the most effective opioids available for treating breakthrough pain, describing its use as

an expected and normal part of the pain management process.241 Nowhere in the CME is cancer

or cancer-related pain even mentioned, despite FDA restrictions that fentanyl use be limited to

cancer-related pain.

            446.   Teva paid to have a CME it sponsored, Opioid-Based Management of Persistent

and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009. The CME

instructed doctors that “clinically, broad classification of pain syndromes as either cancer- or non-

cancer-related has limited utility” and recommended Actiq and Fentora for patients with chronic

pain. The CME is still available online.

            447.   Responsible Opioid Prescribing was sponsored by Purdue, Endo and Teva. The

FSMB website described it as the “leading continuing medical education (CME) activity for

prescribers of opioid medications.” Endo sales representatives distributed copies of Responsible

Opioid Prescribing with a special introductory letter from Dr. Scott Fishman.

            448.   In all, more than 163,000 copies of Responsible Opioid Prescribing were

distributed nationally.

            449.   The American Medical Association (“AMA”) recognized the impropriety that

pharmaceutical company-funded CMEs create; stating that support from drug companies with a

financial interest in the content being promoted “creates conditions in which external interests


240
     Daniel S. Bennett, Breakthrough Pain: Treatment Rationale With Opioids, Medscape,
http://www.medscape.org/viewarticle/461612 (last accessed Oct. 10, 2017).
241
      Id.

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could influence the availability and/or content” of the programs and urged that “[w]hen possible,

CME[s] should be provided without such support or the participation of individuals who have

financial interests in the education subject matter.”242

          450.    Physicians attended or reviewed CMEs sponsored by the Marketing Defendants

during the relevant time period and were misled by them.

          451.    By sponsoring CME programs put on by Front Groups like APF, AAPM, and

others, the Marketing Defendants expected and understood that instructors would deliver messages

favorable to them, as these organizations were dependent on the Marketing Defendants for other

projects. The sponsoring organizations honored this principle by hiring pro-opioid KOLs to give

talks that supported chronic opioid therapy. Marketing Defendant-driven content in these CMEs

had a direct and immediate effect on prescribers’ views on opioids. Producers of CMEs and the

Marketing Defendants both measure the effects of CMEs on prescribers’ views on opioids and

their absorption of specific messages, confirming the strategic marketing purpose in supporting

them.

                  7. The Marketing Defendants Used “Branded” Advertising To Promote
                     Their Products to Doctors and Consumers

          452.    The Marketing Defendants engaged in widespread advertising campaigns touting

the benefits of their branded drugs. The Marketing Defendants published print advertisements in

a broad array of medical journals, ranging from those aimed at specialists, such as the Journal of

Pain and Clinical Journal of Pain, to journals with wider medical audiences, such as the Journal of

the American Medical Association. The Marketing Defendants collectively spent more than $14


 242
       Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov. 2011).



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million on the medical journal advertising of opioids in 2011, nearly triple what they spent in 2001.

The 2011 total includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million by Endo.

            453.   The Marketing Defendants also targeted consumers in their advertising. They knew

that physicians are more likely to prescribe a drug if a patient specifically requests it.243 They also

knew that this willingness to acquiesce to such patient requests holds true even for opioids and for

conditions for which they are not approved.244 Endo’s research, for example, also found that such

communications resulted in greater patient “brand loyalty,” with longer durations of Opana ER

therapy and fewer discontinuations. The Marketing Defendants thus increasingly took their opioid

sales campaigns directly to consumers, including through patient- focused “education and support”

materials in the form of pamphlets, videos, or other publications that patients could view in their

physician’s office.

                   8. The Marketing Defendants Used “Unbranded” Advertising To Promote
                      Opioid Use For Chronic Pain Without FDA Review

            454.   The Marketing Defendants also aggressively promoted opioids through “unbranded

advertising” to generally tout the benefits of opioids without specifically naming a particular

brand-name opioid drug. Instead, unbranded advertising is usually framed as “disease awareness”

– encouraging consumers to “talk to your doctor” about a certain health condition without

promoting a specific product and, therefore, without providing balanced disclosures about the

product’s limits and risks. In contrast, a pharmaceutical company’s “branded” advertisement that

identifies a specific medication and its indication (i.e., the condition which the drug is approved to


243
   In one study, for example, nearly 20% of sciatica patients requesting oxycodone received a prescription
for it, compared with 1% of those making no specific request. J.B. McKinlay et al., Effects of Patient
Medication Requests on Physician Prescribing Behavior, 52(2) Med. Care 294 (2014).
244
      Id.

                                                   133
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treat) must also include possible side effects and contraindications – what the FDA Guidance on

pharmaceutical advertising refers to as “fair balance.” Branded advertising is also subject to FDA

review for consistency with the drug’s FDA-approved label. Through unbranded materials, the

Marketing Defendants expanded the overall acceptance of and demand for chronic opioid therapy

without the restrictions imposed by regulations on branded advertising.

       455.    Many of the Marketing Defendants utilized unbranded websites to promote opioid

use without promoting a specific branded drug, such as Purdue’s pain-management website,

www.inthefaceofpain.com. The website contained testimonials from several dozen “advocates,”

including health care providers, urging more pain treatment. The website presented the advocates

as neutral and unbiased, but an investigation by the New York Attorney General later revealed that

Purdue paid the advocates hundreds of thousands of dollars.

               9. The Marketing Defendants Funded, Edited and Distributed Publications
                  That Supported Their Misrepresentations

       456.    The Marketing Defendants created a body of false, misleading, and unsupported

medical and popular literature about opioids that (a) understated the risks and overstated the

benefits of long-term use; (b) appeared to be the result of independent, objective research; and (c)

was calculated to shape the perceptions of prescribers, patients, and payors. This literature served

marketing goals, rather than scientific standards, and was intended to persuade doctors and

consumers that the benefits of long-term opioid use outweighed the risks.

       457.    To accomplish their goal, the Marketing Defendants – sometimes through third-

party consultants and/or Front Groups – commissioned, edited, and arranged for the placement of

favorable articles in academic journals.

       458.    The Marketing Defendants’ plans for these materials did not originate in the

departments with the organizations that were responsible for research, development, or any other
                                                134
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area that would have specialized knowledge about the drugs and their effects on patients; rather,

they originated in the Marketing Defendants’ marketing departments.

        459.    The Marketing Defendants made sure that favorable articles were disseminated and

cited widely in the medical literature, even when the Marketing Defendants knew that the articles

distorted the significance or meaning of the underlying study, as with the Porter & Jick letter. The

Marketing Defendants also frequently relied on unpublished data or posters, neither of which are

subject to peer review, but were presented as valid scientific evidence.

        460.    The Marketing Defendants published or commissioned deceptive review articles,

letters to the editor, commentaries, case-study reports, and newsletters aimed at discrediting or

suppressing negative information that contradicted their claims or raised concerns about chronic

opioid therapy.

        461.    For example, in 2007 Cephalon sponsored the publication of an article titled

“Impact of Breakthrough Pain on Quality of Life in Patients with Chronic, Non-cancer Pain:

Patient Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,”245

published in the nationally circulated journal Pain Medicine, to support its effort to expand the use

of its branded fentanyl products. The article’s authors (including Dr. Lynn Webster, discussed

above) stated that the “OTFC [fentanyl] has been shown to relieve BTP [breakthrough pain] more

rapidly than conventional oral, normal-release, or ‘short acting’ opioids” and that “[t]he purpose

of [the] study was to provide a qualitative evaluation of the effect of BTP on the [quality of life]

of non-cancer pain patients.” The number-one-diagnosed cause of chronic pain in the patients



245
  Donald R. Taylor, et al., Impact of Breakthrough Pain on Quality of Life in Patients With Chronic, Non-
cancer Pain: Patient Perceptions and Effect of Treatment With Oral Transmucosal Fentanyl Citrate
(OTFC, ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).

                                                  135
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studied was back pain (44%), followed by musculoskeletal pain (12%) and head pain (7%). The

article cites Portenoy and recommends fentanyl for non-cancer BTP patients:

            In summary, BTP appears to be a clinically important condition in patients with
            chronic non-cancer pain and is associated with an adverse impact on QoL. This
            qualitative study on the negative impact of BTP and the potential benefits of BTP-
            specific therapy suggests several domains that may be helpful in developing BTP-
            specific, QoL assessment tools.246

                   10. The Marketing Defendants Used “Detailers” To Directly Disseminate
                       Their Misrepresentations to Prescribers

            462.   The Marketing Defendants’ sales representatives executed carefully crafted

marketing tactics, developed at the highest rungs of their corporate ladders, to reach targeted

doctors and hospitals with centrally orchestrated messages. The Marketing Defendants’ sales

representatives also distributed third-party marketing material to their target audience that was

deceptive.

            463.   Each Marketing Defendant promoted opioids through sales representatives (also

called “detailers”) and, in consideration of a reasonable opportunity for further investigation and

discovery, Plaintiffs allege that small group speaker programs to reach out to individual

prescribers. By establishing close relationships with doctors, the Marketing Defendants were able

to disseminate their misrepresentations in targeted, one-on-one settings that allowed them to

promote their opioids and to allay individual prescribers’ concerns about prescribing opioids for

chronic pain.

            464.   In accordance with common industry practice, the Marketing Defendants purchase

and closely analyze prescription sales data from IMS Health (now IQVIA), a healthcare data



246
      Id.

                                                   136
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collection, management and analytics corporation. This data allows them to track precisely the

rates of initial and renewal prescribing by individual doctors, which allows them to target and tailor

their appeals. Sales representatives visited hundreds of thousands of doctors and disseminated the

misinformation and materials described above.

       465.    Marketing Defendants devoted and continue to devote massive resources to direct

sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166 million on detailing

branded opioids to doctors. This amount is twice as much as Marketing Defendants spent on

detailing in 2000. The amount includes $108 million spent by Purdue, $34 million by Janssen, $13

million by Teva, and $10 million by Endo.

       466.    Cephalon’s quarterly spending steadily climbed from below $1 million in 2000 to

more than $3 million in 2014 (and more than $13 million for the year), with a peak, coinciding

with the launch of Fentora, of more than $27 million in 2007, as shown below:




       467.    Endo’s quarterly spending went from the $2 million to $4 million range in 2000-

                                                 137
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2004 to more than $10 million following the launch of Opana ER in mid-2006 (and more than $38

million for the year in 2007) and more than $8 million coinciding with the launch of a reformulated

version in 2012 (and nearly $34 million for the year):




       468.    Janssen’s quarterly spending dramatically rose from less than $5 million in 2000 to

more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly spending

at $142 million for 2011), as shown below:




                                               138
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       469.    Purdue’s quarterly spending notably decreased from 2000 to 2007, as Purdue came

under investigation by the Department of Justice, but then spiked to above $25 million in 2011

(for a total of $110 million that year), and continues to rise, as shown below:




       470.    For its opioid, Actiq, Cephalon also engaged in direct marketing in direct
                                                139
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contravention of the FDA’s strict instructions that Actiq be prescribed only to terminal cancer

patients and by oncologists and pain management doctors experienced in treating cancer pain.

               11. The Marketing Defendants Used Speakers’ Bureaus and Programs To
                   Spread Their Deceptive Messages.

       471.    In addition to making sales calls, Marketers’ detailers also identified doctors to

serve, for payment, on their speakers’ bureaus and to attend programs with speakers and meals

paid for by the Marketing Defendants. These speaker programs and associated speaker trainings

serve three purposes: they provide an incentive to doctors to prescribe, or increase their

prescriptions of, a particular drug; to qualify to be selected to participate at a forum in which to

further market to the speaker himself or herself; and an opportunity to market to the speaker’s

peers. The Marketing Defendants grade their speakers, and future opportunities are based on

speaking performance, post-program sales, and product usage. Purdue, Janssen, Endo, Cephalon,

and Mallinckrodt each made thousands of payments to physicians nationwide, for activities

including participating on speakers’ bureaus, providing consulting services, and other services.

       472.    As detailed below, Insys paid prescribers for fake speakers programs in exchange

for prescribing its product, Subsys. Insys’s schemes resulted in countless speakers programs at

which the designated speaker did not speak, and, on many occasions, speaker programs at which

the only attendees at the events were the speaker and an Insys sales representative. It was a pay-

to-prescribe program. Insys used speakers programs as a front to pay for prescriptions, and paid

to push opioids onto patients who did not need them.

               12. The Marketing Defendants Targeted Vulnerable Populations

       473.    The Marketing Defendants specifically targeted their marketing at two particularly

vulnerable populations – the elderly and veterans.

       474.    Elderly patients taking opioids have been found to be exposed to elevated fracture
                                                140
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risks, a greater risk for hospitalizations, and increased vulnerability to adverse drug effects and

interactions, such as respiratory depression which occurs more frequently in elderly patients.

       475.    According to a study published in the 2013 Journal of American Medicine, veterans

returning from Iraq and Afghanistan who were prescribed opioids have a higher incidence of

adverse clinical outcomes, such as overdoses and self-inflicted and accidental injuries. A 2008

survey showed that prescription drug misuse among military personnel doubled from 2002 to

2005, and then nearly tripled again over the next three years. Veterans are twice as likely as non-

veterans to die from an opioid overdose.

       476.    Yet the Marketing Defendants deliberately targeted veterans with deceptive

marketing. For example, a 2009 publication sponsored by Purdue, Endo, and Janssen, and

distributed by APF with grants from Janssen and Endo, was written as a personal narrative of one

veteran but was in fact another vehicle for opioid promotion. Called Exit Wounds, the publication

describes opioids as “underused” and the “gold standard of pain medications” while failing to

disclose significant risks of opioid use, including the risks of fatal interactions with

benzodiazepines. According to a VA Office of Inspector General Report, 92.6% of veterans who

were prescribed opioid drugs were also prescribed benzodiazepines, despite the increased danger

of respiratory depression from the two drugs together.

       477.    Opioid prescriptions have dramatically increased for veterans and the elderly. Since

2007, prescriptions for the elderly have grown at twice the rate of prescriptions for adults between

the ages of 40 and 59. And in 2009, military doctors wrote 3.8 million prescriptions for narcotic

pain pills – four times as many as they did in 2001.

               13. Insys Employed Fraudulent, Illegal, and Misleading Marketing Schemes
                   To Promote Subsys

       478.    Insys’s opioid, Subsys, was approved by the FDA in 2012 for “management of
                                                141
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breakthrough pain in adult cancer patients who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.” Under FDA rules,

Insys could only market Subsys for this use. Subsys consists of the highly addictive narcotic,

fentanyl, administered via a sublingual (under the tongue) spray, which provides rapid-onset pain

relief. It is in the class of drugs described as Transmucosal Immediate-Release Fentanyl (“TIRF”).

          479.    To reduce the risk of abuse, misuse, and diversion, the FDA instituted a Risk

Evaluation and Medication Strategy (“REMS”) for Subsys and other TIRF products, such as

Cephalon’s Actiq and Fentora. The purpose of REMS was to educate “prescribers, pharmacists,

and patients on the potential for misuse, abuse, addiction, and overdose” for this type of drug and

to “ensure safe use and access to these drugs for patients who need them.”247 Prescribers must

enroll in the TIRF REMS before writing a prescription for Subsys.

          480.    Since its launch, Subsys has been an extremely expensive medication, and has

increased in price every year. Depending on a patient’s dosage and frequency of use, a month’s

supply of Subsys could cost in the thousands of dollars.

          481.    Due to its high cost, in most instances prescribers must submit Subsys prescriptions

to insurance companies or health benefit payors for prior authorization to determine whether they

will pay for the drug prior to the patient attempting to fill the prescription. According to the U.S.

Senate Homeland Security and Governmental Affairs Committee Minority Staff Report (“Staff

Report”), the prior authorization process includes “confirmation that the patient had an active

cancer diagnosis, was being treated by an opioid (and, thus, was opioid tolerant), and was being

prescribed Subsys to treat breakthrough pain that the other opioid could not eliminate. If any one



247
      Press Release, FDA, FDA Approves Shared System REMS for TIRF Products, Dec. 29, 2011.

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of these factors was not present, the prior authorization would be denied . . . .”248

       482.    These prior authorization requirements proved to be daunting. Subsys received

reimbursement approval in only approximately 30% of submitted claims. In order to increase

approvals, Insys created a prior authorization unit, called the Insys Reimbursement Center

(“IRC”), to obtain approval for Subsys reimbursements. This unit employed a number of

fraudulent and misleading tactics to secure reimbursements, including falsifying medical histories

of patients, falsely claiming that patients had cancer, and providing misleading information to

insurers and payors regarding patients’ diagnoses and medical conditions.

       483.    Subsys has proved to be extremely profitable for Insys. Insys made approximately

$330 million in net revenue from Subsys last year. Between 2013 and 2016, the value of Insys

stock rose 296%.

       484.    Since its launch in 2012, Insys aggressively worked to grow its profits through

fraudulent, illegal, and misleading tactics, including its reimbursement-related fraud. Through its

sales representatives and other marketing efforts, Insys deceptively promoted Subsys as safe and

appropriate for uses such as neck and back pain, without disclosing the lack of approval or

evidence for such uses, and misrepresented the appropriateness of Subsys for treatment of those

conditions. It implemented a kickback scheme wherein it paid prescribers for fake speakers

programs in exchange for prescribing Subsys. All of these fraudulent and misleading schemes had

the effect of pushing Insys’s dangerous opioid onto patients who did not need it.

       485.    Insys incentivized its sales force to engage in illegal and fraudulent conduct. Many



248
   U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Members’ Office, Staff
Report, Fueling an Epidemic, Insys Therapeutics and the Systemic Manipulation of Prior Authorization
(Sept. 6, 2017), https://www.hsdl.org/?view&did=803959.

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of the Insys sales representatives were new to the pharmaceutical industry and their base salaries

were low compared to industry standard. The compensation structure was heavily weighted toward

commissions and rewarded representatives more for selling higher (and more expensive) doses of

Subsys, a “highly unusual” practice because most companies consider dosing a patient-specific

decision that should be made by a doctor.249

            486.   The Insys “speakers program” was perhaps its most widespread and damaging

scheme. A former Insys salesman, Ray Furchak, alleged in a qui tam action that the sole purpose

of the speakers program was “in the words of his then supervisor Alec Burlakoff, ‘to get money in

the doctor’s pocket.’” Furchak went on to explain that “[t]he catch . . . was that doctors who

increased the level of Subsys prescriptions, and at higher dosages (such as 400 or 800 micrograms

instead of 200 micrograms), would receive the invitations to the program – and the checks.”250 It

was a pay-to-prescribe program.

            487.   Insys’s sham speaker program and other fraudulent and illegal tactics have been

outlined in great detail in indictments and guilty pleas of Insys executives, employees, and

prescribers across the country, as well as in a number of lawsuits against the company itself.

            488.   In May of 2015, two Alabama pain specialists were arrested and charged with

illegal prescription drug distribution, among other charges. The doctors were the top prescribers

of Subsys, though neither were oncologists. According to prosecutors, the doctors received illegal

kickbacks from Insys for prescribing Subsys. Both doctors had prescribed Subsys to treat neck,

back, and joint pain. In February of 2016, a former Insys sales manager pled guilty to conspiracy


249
      Id.
250
   Roddy Boyd, Insys Therapeutics and the New “Killing It”, Southern Investigative Reporting
Foundation, THE INVESTIGATOR (April 24, 2015), http://sirf-online.org/2015/04/24/the-new-killing-it/.

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to commit health care fraud, including engaging in a kickback scheme in order to induce one of

these doctors to prescribe Subsys. The plea agreement states that nearly all of the Subsys

prescriptions written by the doctor were off-label to non-cancer patients. In May of 2017, one of

the doctors was sentenced to 20 years in prison.

       489.    In June of 2015, a nurse practitioner in Connecticut described as the state’s highest

Medicare prescriber of narcotics, pled guilty to receiving $83,000 in kickbacks from Insys for

prescribing Subsys. Most of her patients were prescribed the drug for chronic pain. Insys paid the

nurse as a speaker for more than 70 dinner programs at approximately $1,000 per event; however,

she did not give any presentations. In her guilty plea, the nurse admitted receiving the speaker fees

in exchange for writing prescriptions for Subsys.

       490.    In August of 2015, Insys settled a complaint brought by the Oregon Attorney

General. In its complaint, the Oregon Department of Justice cited Insys for, among other things,

misrepresenting to doctors that Subsys could be used to treat migraine, neck pain, back pain, and

other uses for which Subsys is neither safe nor effective, and using speaking fees as kickbacks to

incentivize doctors to prescribe Subsys.

       491.    In August of 2016, the State of Illinois sued Insys for similar deceptive and illegal

practices. The Complaint alleged that Insys marketed Subsys to high-volume prescribers of opioid

drugs instead of to oncologists whose patients experienced the breakthrough cancer pain for which

the drug is indicated. The Illinois Complaint also details how Insys used its speaker program to

pay high volume prescribers to prescribe Subsys. The speaker events took place at upscale

restaurants in the Chicago area, and Illinois speakers received an “honorarium” ranging from $700

to $5,100, and they were allowed to order as much food and alcohol as they wanted. At most of

the events, the “speaker” being paid by Insys did not speak, and, on many occasions, the only

                                                145
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attendees at the events were the speaker and an Insys sales representative.251

            492.   In December of 2016, six Insys executives and managers were indicted and then,

in October 2017, Insys’s founder and owner was arrested and charged with multiple felonies in

connection with an alleged conspiracy to bribe practitioners to prescribe Subsys and defraud

insurance companies. A U.S. Department of Justice press release explained that, among other

things: “Insys executives improperly influenced health care providers to prescribe a powerful

opioid for patients who did not need it, and without complying with FDA requirements, thus

putting patients at risk and contributing to the current opioid crisis.”252 The DEA Special Agent in

Charge further explained that: “Pharmaceutical companies whose products include controlled

medications that can lead to addiction and overdose have a special obligation to operate in a

trustworthy, transparent manner, because their customers’ health and safety and, indeed, very lives

depend on it.”253

            F.     THE MARKETING DEFENDANTS’ SCHEME SUCCEEDED,
                   CREATING A PUBLIC HEALTH EPIDEMIC

                   1. The Marketing Defendants Dramatically Expanded Opioid Prescribing
                      and Use

            493.   The Marketing Defendants necessarily expected a return on the enormous

investment they made, in their deceptive marketing scheme, and worked to measure and expand



251
   In August 2017, Insys reached a multi-million dollar settlement of this fraud and deceptive practices
lawsuit. Reuters, Insys Agrees to Pay $4.45 Million to Resolve Illinois Opioid Lawsuit, available at
https://uk.reuters.com/article/us-insys-court-idUKKCN1AY25C.
252
   Press Release, DOJ, U.S. Attorney’s Office, Dist. of Mass., Founder and Owner of Pharmaceutical
Company Insys Arrested and Charged with Racketeering (Oct. 26, 2017), available at
https://www.justice.gov/usao-ma/pr/founder-and-owner-pharmaceutical-company-insys-arrested-and-
charged-racketeering.
253
      Id.

                                                  146
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their success. Their own documents show that they knew they were influencing prescribers and

increasing prescriptions. Studies also show that in doing so, they fueled an epidemic of addiction

and abuse.

           494.   Cephalon also recognized the return of its efforts to market Actiq and Fentora off-

label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales had

increased by 92%, which Cephalon attributed to “a dedicated sales force for ACTIQ” and “ongoing

changes to [its] marketing approach including hiring additional sales representatives and targeting

our marketing efforts to pain specialists.”254 Actiq became Cephalon’s second best-selling drug.

By the end of 2006, Actiq’s sales had exceeded $500 million.255 Only 1% of the 187,076

prescriptions for Actiq filled at retail pharmacies during the first six months of 2006 were

prescribed by oncologists. One measure suggested that “more than 80 percent of patients who

use[d] the drug don’t have cancer.”256

           495.   In consideration of a reasonable opportunity for further investigation and discovery,

Plaintiffs allege that each of the Marketing Defendants tracked the impact of their marketing efforts

to measure their impact in changing doctors’ perceptions and prescribing of their drugs. Their

purchased prescribing and survey data that allowed them to closely monitor these trends, and they

did actively monitor them. They monitored doctors’ prescribing before and after detailing visits,

and at various levels of detailing intensity, and before and after speaker programs, for instance.



254
   Cephalon, Inc. Annual Report (Form 10-K) at 28 (Mar. 31, 2003),
https://www.sec.gov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm.
255
      Carreyrou, Narcotic Lollipop.
256
   Id.



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Defendants continued and, in many cases, expanded and refined their aggressive and deceptive

marketing for one reason: it worked. As described in this Complaint, both in specific instances

(e.g., the low abuse potential of various Defendants’ opioids), and more generally, Defendants’

marketing changed prescribers’ willingness to prescribe opioids, led them to prescribe more of

their opioids, and persuaded them not to stop prescribing opioids or to switch to “safer” opioids,

such as ADF.

        496.    This success would have come as no surprise. Drug company marketing materially

impacts doctors’ prescribing behavior.257 The effects of sales calls on prescribers’ behavior is well

documented in the literature. One study examined four practices, including visits by sales

representatives, medical journal advertisements, direct-to-consumer advertising, and pricing, and

found that sales representatives have the strongest effect on drug utilization. An additional study

found that doctor meetings with sales representatives are related to changes in both prescribing

practices and requests by physicians to add the drugs to hospitals’ formularies.

        497.    Marketing Defendants spent millions of dollars to market their drugs to prescribers

and patients and meticulously tracked their return on that investment. In one recent survey

published by the AMA, even though nine in ten general practitioners reported prescription drug

abuse to be a moderate to large problem in their communities, 88% of the respondents said they



257
    See, e.g., P. Manchanda & P. Chintagunta, Responsiveness of Physician Prescription Behavior to
Salesforce Effort: An Individual Level Analysis, 15 (2-3) Mktg. Letters 129 (2004) (detailing has a positive
impact on prescriptions written); I. Larkin, Restrictions on Pharmaceutical Detailing Reduced Off-Label
Prescribing of Antidepressants and Antipsychotics in Children, 33(6) Health Affairs 1014 (2014) (finding
academic medical centers that restricted direct promotion by pharmaceutical sales representatives resulted
in a 34% decline in on-label use of promoted drugs); see also A. Van Zee, The Promotion and Marketing
of OxyContin: Commercial Triumph, Public Health Tragedy, 99(2) Am J. Pub. Health 221 (2009)
(correlating an increase of OxyContin prescriptions from 670,000 annually in 1997 to 6.2 million in 2002
to a doubling of Purdue’s sales force and trebling of annual sales calls).

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were confident in their prescribing skills, and nearly half were comfortable using opioids for

chronic non-cancer pain.258 These results are directly due to the Marketing Defendants’ fraudulent

marketing campaign focused on several misrepresentations.

           498.     Thus, both independent studies and Defendants’ own tracking confirm that

Defendants’ marketing scheme dramatically increased their sales.

                    2. The Marketing Defendants’ Deception in Expanding Their Market
                       Created and Fueled The Opioid Epidemic.

           499.     Independent research demonstrates a close link between opioid prescriptions and

opioid abuse. For example, a 2007 study found “a very strong correlation between therapeutic

exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”259 It has been

estimated that 60% of the opioids that are abused come, directly or indirectly, through physicians’

prescriptions.

           500.     There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.” The opioid epidemic is “directly related to the increasingly

widespread misuse of powerful opioid pain medications.”260

           501.     In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has




258
   CS Hwang et al., Prescription Drug Abuse: A National Survey of Primary Care Physicians, 175
JAMA Intern. Med. 302 (2014), doi: 10.1001/jamainternmed.2014.6520,
https://www.ncbi.nlm.nih.gov/pubmed/25485657.
259
    Theodore J. Cicero et al., Relationship Between Therapeutic Use and Abuse of Opioid Analgesics in
Rural, Suburban, and Urban Locations in the United States, 16 Pharmacopidemiology and Drug Safety,
827-40 (2007), doi: 10.1002/pds.1452, https://www.cdhs.udel.edu/content-sub-
site/Documents/Publications/Relationship%20Between%20Therapeutic%20Use%20and%20Abuse%20of
%20Opioid%20Analgesics.pdf.
260
      See Califf et al., supra n. 11.
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quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the

CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

          G.      THE MARKETING DEFENDANTS’ MARKETING SCHEME
                  MISREPRESENTED THE RISKS AND BENEFITS OF OPIOIDS

                  1. The Marketing Defendants Embarked Upon a Campaign of False,
                     Deceptive, and Unfair Assurances Grossly Understating and Misstating
                     the Dangerous Addiction Risks of the Opioid Drugs.

          502.    In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Marketing Defendants also fostered a fundamental misunderstanding of the signs of

addiction. Specifically, the Marketing Defendants misrepresented, to doctors and patients, that

warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.

pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients who

were already in danger.

          503.    To this end, one of Purdue’s employees, Dr. David Haddox, invented a

phenomenon called “pseudoaddiction.” KOL Dr. Portenoy popularized the term. Examples of the

false, misleading, deceptive, and unfair statements regarding pseudoaddiction include:

          a.      Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which
                  taught that behaviors such as “requesting drugs by name,” “demanding or
                  manipulative behavior,” seeing more than one doctor to obtain opioids, and
                  hoarding, are all signs of pseudoaddiction, rather than true addiction.261 The 2012
                  edition, which remains available for sale online, continues to teach that
                  pseudoaddiction is real.262

          b.      Janssen sponsored, funded, and edited the Let’s Talk Pain website, in 2009 in
                  conjunction with APF, American Academy of Pain Management, and American

261
      Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
262
      See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).

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               Society of Pain Management Nursing. Janssen financed and orchestrated the
               participation of these groups in the website and exercised substantial control over
               the content of the website. As a 2009 Janssen memo conceded, “[t]he Let’s Talk
               Pain Coalition is sponsored by PriCara, a Division of Ortho-McNeil-Janssen
               Pharmaceuticals, Inc.” and “[t]he Coalition and Pricara maintain editorial control
               of all Let’s Talk Pain materials and publications. According to the Let’s Talk Pain
               website: “pseudoaddiction . . . refers to patient behaviors that may occur when pain
               is under-treated . . . . Pseudoaddiction is different from true addiction because such
               behaviors can be resolved with effective pain management.”

       c.      Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in
               2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing
               Analgesia,” which, promoted pseudoaddiction by teaching that a patient’s aberrant
               behavior was the result of untreated pain. Endo appears to have substantially
               controlled NIPC by funding NIPC projects; developing, specifying, and reviewing
               content; and distributing NIPC materials.

       d.      Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,
               which, described pseudoaddiction as a concept that “emerged in the literature” to
               describe the inaccurate interpretation of [drug- seeking behaviors] in patients who
               have pain that has not been effectively treated.”

       504.    In consideration of a reasonable opportunity for further investigation and discovery,

Plaintiffs allege that Purdue sponsored a CME program titled “Path of the Patient, Managing

Chronic Pain in Younger Adults at Risk for Abuse.” In a role play, a chronic pain patient with a

history of drug abuse tells his doctor that he is taking twice as many hydrocodone pills as directed.

The narrator notes that because of pseudoaddiction, the doctor should not assume the patient is

addicted even if he persistently asks for a specific drug, seems desperate, hoards medicine, or

“overindulges in unapproved escalating doses.” The doctor treats this patient by prescribing a high-

dose, long-acting opioid.

               2. The Marketing Defendants Targeted Susceptible Prescribers and
                  Vulnerable Patient Populations

       505.    As a part of their deceptive marketing scheme, the Marketing Defendants identified

and targeted susceptible prescribers and vulnerable patient populations in the United States. For

example, the Marketing Defendants focused their deceptive marketing on primary care doctors,

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who were more likely to treat chronic pain patients and prescribe them drugs, but were less likely

to be educated about treating pain and the risks and benefits of opioids and therefore more likely

to accept the Marketing Defendants’ misrepresentations.

           506.    “From 1996 to 2001, Purdue conducted more than 40 national pain-management

and speaker training conferences at resorts in Florida, Arizona, and California. More than 5000

physicians, pharmacists, and nurses attended these all-expenses-paid symposia, where they were

recruited and trained for Purdue’s national speaker bureau. It is well documented that this type of

pharmaceutical company symposium influences physicians’ prescribing even though the

physicians who attend such symposia believe that such enticements do not alter their prescribing

patterns.”263

           507.    The Marketing Defendants also targeted vulnerable patient populations like the

elderly and veterans, who tend to suffer from chronic pain. The Marketing Defendants targeted

these vulnerable patients even though the risks of long-term opioid use were significantly greater

for them. For example, the 2016 CDC Guideline observes that existing evidence confirms that

elderly patients taking opioids suffer from elevated fall and fracture risks, reduced renal function

and medication clearance, and a smaller window between safe and unsafe dosages. 264 The 2016

CDC Guideline concludes that there must be “additional caution and increased monitoring” to

minimize the risks of opioid use in elderly patients.265 The same is true for veterans, who are more




263
   Art Van Zee, MD, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health
Tragedy, 99 Am. Journal of Public Health 2 (February 2009),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/.
264
      2016 CDC Guideline, supra n. 190.
265
      Id. at 27.

                                                 152
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likely to use anti-anxiety drugs (benzodiazepines) for post- traumatic stress disorder, which

interact dangerously with opioids.

       H.        THE MARKETING DEFENDANTS MADE MATERIALLY DECEPTIVE
                 STATEMENTS AND CONCEALED MATERIAL FACTS

       508.      As alleged herein, the Marketing Defendants made and/or disseminated deceptive

statements regarding material facts and further concealed material facts, in the course of

manufacturing, marketing, and selling prescription opioids. The Marketing Defendants’ actions

were intentional and/or unlawful. Such statements include, but are not limited to, those set out

below and alleged throughout this Complaint.

                 1. Purdue

       509.      Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make Purdue’s statements deceptive, including, but not limited to,

the following:

       a.        Creating, sponsoring, and assisting in the distribution of patient education materials
                 distributed to consumers that contained deceptive statements;

       b.        Creating and disseminating advertisements that contained deceptive statements
                 concerning the ability of opioids to improve function long-term and concerning the
                 evidence supporting the efficacy of opioids long-term for the treatment of chronic
                 non-cancer pain;

       c.        Disseminating misleading statements concealing the true risk of addiction and
                 promoting the deceptive concept of pseudoaddiction through Purdue’s own
                 unbranded publications and on internet sites Purdue operated that were marketed to
                 and accessible by consumers;

       d.        Distributing brochures to doctors, patients, and law enforcement officials that
                 included deceptive statements concerning the indicators of possible opioid abuse;

       e.        Sponsoring, directly distributing, and assisting in the distribution of publications
                 that promoted the deceptive concept of pseudoaddiction, even for high-risk
                 patients;


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      f.    Endorsing, directly distributing, and assisting in the distribution of publications that
            presented an unbalanced treatment of the long-term and dose-dependent risks of
            opioids versus NSAIDs;

      g.    Providing significant financial support to pro-opioid KOL doctors who made
            deceptive statements concerning the use of opioids to treat chronic non-cancer pain;

      h.    Providing needed financial support to pro-opioid pain organizations that made
            deceptive statements, including in patient education materials, concerning the use
            of opioids to treat chronic non-cancer pain;

      i.    Assisting in the distribution of guidelines that contained deceptive statements
            concerning the use of opioids to treat chronic non-cancer pain and misrepresented
            the risks of opioid addiction;

      j.    Endorsing and assisting in the distribution of CMEs containing deceptive
            statements concerning the use of opioids to treat chronic non-cancer pain;

      k.    Developing and disseminating scientific studies that misleadingly concluded
            opioids are safe and effective for the long-term treatment of chronic non-cancer
            pain and that opioids improve quality of life, while concealing contrary data;

      l.    Assisting in the dissemination of literature written by pro-opioid KOLs that
            contained deceptive statements concerning the use of opioids to treat chronic non-
            cancer pain;

      m.    Creating, endorsing, and supporting the distribution of patient and prescriber
            education materials that misrepresented the data regarding the safety and efficacy
            of opioids for the long-term treatment of chronic non-cancer pain, including known
            rates of abuse and addiction and the lack of validation for long-term efficacy;

      n.    Targeting veterans by sponsoring and disseminating patient education marketing
            materials that contained deceptive statements concerning the use of opioids to treat
            chronic non-cancer pain;

      o.    Targeting the elderly by assisting in the distribution of guidelines that contained
            deceptive statements concerning the use of opioids to treat chronic non-cancer pain
            and misrepresented the risks of opioid addiction in this population;

      p.    Disseminating misleading statements in education materials to hospital doctors and
            staff while purportedly educating them on new pain standards;

      q.    Making deceptive statements concerning the use of opioids to treat chronic non-
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                   cancer pain to prescribers through in-person detailing; and

            r.     Withholding from law enforcement the names of prescribers Purdue believed to be
                   facilitating the diversion of its opioid, while simultaneously marketing opioids to
                   these doctors by disseminating patient and prescriber education materials and
                   advertisements and CMEs they knew would reach these same prescribers.

            510.   More specifically, Defendant Purdue made and/or disseminated deceptive

statements, and promoted a culture that mislead doctors and patients into believing opioids were

safe for chronic care, including, but not limited to, the following:

            a.     In 1998, Purdue distributed 15,000 copies of an OxyContin video to physicians
                   without submitting it to the FDA for review, an oversight later acknowledged by
                   Purdue. In 2001, Purdue submitted to the FDA a second version of the video, which
                   the FDA did not review until October 2002—after the General Accounting Office
                   inquired about its content. After its review, the FDA concluded that the video
                   minimized the risks from OxyContin and made unsubstantiated claims regarding
                   its benefits to patients.266

            b.     According to training materials, Purdue instructed sales representatives to assure
                   doctors—repeatedly and without evidence—that “fewer than one per cent” of
                   patients who took OxyContin became addicted. (In 1999, a Purdue-funded study of
                   patients who used OxyContin for headaches found that the addiction rate was
                   thirteen per cent.)267

            c.     Andrew Kolodny, the co-director of the Opioid Policy Research Collaborative, at
                   Brandeis University, has worked with hundreds of patients addicted to opioids. He
                   stated that, though many fatal overdoses have resulted from opioids other than
                   OxyContin, the crisis was initially precipitated by a shift in the culture of
                   prescribing—a shift carefully engineered by Purdue. “If you look at the prescribing
                   trends for all the different opioids, it’s in 1996 that prescribing really takes off,”
                   Kolodny said. “It’s not a coincidence. That was the year Purdue launched a
                   multifaceted campaign that misinformed the medical community about the
                   risks.”268

            d.     “Purdue had a speakers’ bureau, and it paid several thousand clinicians to attend

266
    Patrick R. Keefe, The Family that Built an Empire of Pain, THE NEW YORKER (Oct. 30, 2017),
https://www.newyorker.com/magazine/2017/10/30/the-family-that-built-an-empire-of-pain.
267
      Id.
268
      Id.

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                   medical conferences and deliver presentations about the merits of the drug. Doctors
                   were offered all-expenses-paid trips to pain-management seminars in places like
                   Boca Raton. Such spending was worth the investment: internal Purdue records
                   indicate that doctors who attended these seminars in 1996 wrote OxyContin
                   prescriptions more than twice as often as those who didn’t. The company advertised
                   in medical journals, sponsored Web sites about chronic pain, and distributed a
                   dizzying variety of OxyContin swag: fishing hats, plush toys, luggage tags. Purdue
                   also produced promotional videos featuring satisfied patients—like a construction
                   worker who talked about how OxyContin had eased his chronic back pain, allowing
                   him to return to work. The videos, which also included testimonials from pain
                   specialists, were sent to tens of thousands of doctors. The marketing of OxyContin
                   relied on an empirical circularity: the company convinced doctors of the drug’s
                   safety with literature that had been produced by doctors who were paid, or funded,
                   by the company.”269

            e.     Purdue encouraged sales representatives to increase sales of OxyContin through a
                   lucrative bonus system, which resulted in a large number of visits to physicians
                   with high rates of opioid prescriptions. In 2001, Purdue paid $40 million in bonuses
                   to its sales representatives.270

            f.     Purdue claimed that the risk of addiction from OxyContin was extremely small and
                   trained its sales representatives to carry the message that the risk of addiction was
                   “less than one percent,” while knowing that there was no empirical support for that
                   statement.

            g.     By 2003, the Drug Enforcement Administration had found that Purdue’s
                   “aggressive methods” had “very much exacerbated OxyContin’s widespread
                   abuse.” Rogelio Guevara, a senior official at the D.E.A., concluded that Purdue had
                   “deliberately minimized” the risks associated with the drug.271

            511.   As noted above, Purdue utilized Front Groups to help disseminate and defend its

false messages. Between January 2012 and March 2017, Purdue made the following contributions:




269
      Id.
270
    The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/.
271
   The Family that Built an Empire of Pain, https://www.newyorker.com/magazine/2017/10/30/the-family-
that-built-an-empire-of-pain

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 Academy of Integrative Pain Management              $1,091,024.86
 American Academy of Pain Management                 $725,584.95
 ACS Cancer Action Network                           $168,500.00272
 American Chronic Pain Association                   $312,470.00
 American Geriatrics Society                         $11,785.00273
 American Pain Foundation                            $25,000
 American Pain Society                               $542,259.52
 American Society of Pain Educators                  $30,000
 American Society of Pain Management                 $242,535.00
 Nursing
 The Center for Practical Bioethics                  $145,095.00
 U.S. Pain Foundation                                $359,300.00
 Washington Legal Foundation                         $500,000.00
                                    TOTAL            $4,153,554.33

                 2. Endo

       512.      Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make Endo’s statements deceptive, including, but not limited to,

the following:

       a.        Creating, sponsoring, and assisting in the distribution of patient education materials
                 that contained deceptive statements;

       b.        Creating and disseminating advertisements that contained deceptive statements
                 concerning the ability of opioids to improve function long-term and concerning the

272
   Payments from Purdue to the American Cancer Society Cancer Action Network include payments to the
American Cancer Society that could potentially have applied to the Cancer Action Network. Production
from Purdue Pharma to the Senate Homeland Security and Governmental Affairs Committee (Nov. 13,
2017).
273
   The AGS reported that Purdue also provided $40,000 in “corporate roundtable dues” to its AGS Health
in Aging Foundation, a 501(c)(3) organization affiliated with the group, between 2012 and 2015. Letter
from Nancy E. Lundebjerg, Chief Executive Office, American Geriatrics Society, to Sen. Claire McCaskill
(Oct. 11, 2017).

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            evidence supporting the efficacy of opioids long-term for the treatment of chronic
            non-cancer pain;

      c.    Creating and disseminating paid advertisement supplements in academic journals
            promoting chronic opioid therapy as safe and effective for long term use for high
            risk patients;

      d.    Creating and disseminating advertisements that falsely and inaccurately conveyed
            the impression that Endo’s opioids would provide a reduction in oral, intranasal, or
            intravenous abuse;

      e.    Disseminating misleading statements concealing the true risk of addiction and
            promoting the misleading concept of pseudoaddiction through Endo’s own
            unbranded publications and on internet sites Endo sponsored or operated;

      f.    Endorsing, directly distributing, and assisting in the distribution of publications that
            presented an unbalanced treatment of the long-term and dose-dependent risks of
            opioids versus NSAIDs;

      g.    Providing significant financial support to pro-opioid KOLs, who made deceptive
            statements concerning the use of opioids to treat chronic non-cancer pain;

      h.    Providing needed financial support to pro-opioid pain organizations – including
            over $5 million to the organization responsible for many of the most egregious
            misrepresentations – that made deceptive statements, including in patient education
            materials, concerning the use of opioids to treat chronic non-cancer pain;

      i.    Targeting the elderly by assisting in the distribution of guidelines that contained
            deceptive statements concerning the use of opioids to treat chronic non-cancer pain
            and misrepresented the risks of opioid addiction in this population;

      j.    Endorsing and assisting in the distribution of CMEs containing deceptive
            statements concerning the use of opioids to treat chronic non-cancer pain;

      k.    Developing and disseminating scientific studies that deceptively concluded opioids
            are safe and effective for the long-term treatment of chronic non-cancer pain and
            that opioids improve quality of life, while concealing contrary data;

      l.    Directly distributing and assisting in the dissemination of literature written by pro-
            opioid KOLs that contained deceptive statements concerning the use of opioids to
            treat chronic non-cancer pain, including the concept of pseudoaddiction;

      m.    Creating, endorsing, and supporting the distribution of patient and prescriber
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                 education materials that misrepresented the data regarding the safety and efficacy
                 of opioids for the long-term treatment of chronic non-cancer pain, including known
                 rates of abuse and addiction and the lack of validation for long-term efficacy; and

       n.        Making deceptive statements concerning the use of opioids to treat chronic non-
                 cancer pain to prescribers through in-person detailing.

                 3. Janssen

       513.      Defendant Janssen made and/or disseminated deceptive statements, and concealed

material facts in such a way to make Janssen’s statements deceptive, including, but not limited to,

the following:

       a.        Creating, sponsoring, and assisting in the distribution of patient education materials
                 that contained deceptive statements;

       b.        Directly disseminating deceptive statements through internet sites over which
                 Janssen exercised final editorial control and approval stating that opioids are safe
                 and effective for the long-term treatment of chronic non-cancer pain and that
                 opioids improve quality of life, while concealing contrary data;

       c.        Disseminating deceptive statements concealing the true risk of addiction and
                 promoting the deceptive concept of pseudoaddiction through internet sites over
                 which Janssen exercised final editorial control and approval;

       d.        Promoting opioids for the treatment of conditions for which Janssen knew, due to
                 the scientific studies it conducted, that opioids were not efficacious and concealing
                 this information;

       e.        Sponsoring, directly distributing, and assisting in the dissemination of patient
                 education publications over which Janssen exercised final editorial control and
                 approval, which presented an unbalanced treatment of the long-term and dose
                 dependent risks of opioids versus NSAIDs;

       f.        Providing significant financial support to pro-opioid KOLs, who made deceptive
                 statements concerning the use of opioids to treat chronic non-cancer pain;

       g.        Providing necessary financial support to pro-opioid pain organizations that made
                 deceptive statements, including in patient education materials, concerning the use
                 of opioids to treat chronic non-cancer pain;


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       h.      Targeting the elderly by assisting in the distribution of guidelines that contained
               deceptive statements concerning the use of opioids to treat chronic non-cancer pain
               and misrepresented the risks of opioid addiction in this population;

       i.      Targeting the elderly by sponsoring, directly distributing, and assisting in the
               dissemination of patient education publications targeting this population that
               contained deceptive statements about the risks of addiction and the adverse effects
               of opioids, and made false statements that opioids are safe and effective for the
               long-term treatment of chronic non-cancer pain and improve quality of life, while
               concealing contrary data;

       j.      Endorsing and assisting in the distribution of CMEs containing deceptive
               statements concerning the use of opioids to treat chronic non-cancer pain;

       k.      Directly distributing and assisting in the dissemination of literature written by pro-
               opioid KOLs that contained deceptive statements concerning the use of opioids to
               treat chronic non-cancer pain, including the concept of pseudoaddiction;

       l.      Creating, endorsing, and supporting the distribution of patient and prescriber
               education materials that misrepresented the data regarding the safety and efficacy
               of opioids for the long-term treatment of chronic non-cancer pain, including known
               rates of abuse and addiction and the lack of validation for long-term efficacy;

       m.      Targeting veterans by sponsoring and disseminating patient education marketing
               materials that contained deceptive statements concerning the use of opioids to treat
               chronic non-cancer pain; and

       n.      Making deceptive statements concerning the use of opioids to treat chronic non-
               cancer pain to prescribers through in-person detailing.

               4. Cephalon

       514.    Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements, and concealed material facts in such a way to make Cephalon’s statements deceptive,

including, but not limited to, the following:

       a.      Creating, sponsoring, and assisting in the distribution of patient education materials
               that contained deceptive statements;

       b.      Sponsoring and assisting in the distribution of publications that promoted the
               deceptive concept of pseudoaddiction, even for high-risk patients;

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       c.        Providing significant financial support to pro-opioid KOL doctors who made
                 deceptive statements concerning the use of opioids to treat chronic non-cancer pain
                 and breakthrough chronic non-cancer pain;

       d.        Developing and disseminating scientific studies that deceptively concluded opioids
                 are safe and effective for the long-term treatment of chronic non-cancer pain in
                 conjunction with Cephalon’s potent rapid-onset opioids;

       e.        Providing needed financial support to pro-opioid pain organizations that made
                 deceptive statements, including in patient education materials, concerning the use
                 of opioids to treat chronic non-cancer pain;

       f.        Endorsing and assisting in the distribution of CMEs containing deceptive
                 statements concerning the use of opioids to treat chronic non-cancer pain;

       g.        Endorsing and assisting in the distribution of CMEs containing deceptive
                 statements concerning the use of Cephalon’s rapid-onset opioids;

       h.        Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of
                 doctors, including general practitioners, neurologists, sports medicine specialists,
                 and workers’ compensation programs, serving chronic pain patients;

       i.        Making deceptive statements concerning the use of Cephalon’s opioids to treat
                 chronic non-cancer pain to prescribers through in-person detailing and speakers’
                 bureau events, when such uses are unapproved and unsafe; and

       j.        Making deceptive statements concerning the use of opioids to treat chronic non-
                 cancer pain to prescribers through in-person detailing and speakers’ bureau events.

                 5. Actavis

       515.      Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make Actavis’s statements deceptive, including, but not limited to,

the following:

       a.        Making deceptive statements concerning the use of opioids to treat chronic non-
                 cancer pain to prescribers through in-person detailing;

       b.        Creating and disseminating advertisements that contained deceptive statements that
                 opioids are safe and effective for the long-term treatment of chronic non-cancer
                 pain and that opioids improve quality of life;

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        c.      Creating and disseminating advertisements that concealed the risk of addiction in
                the long-term treatment of chronic, non-cancer pain; and

        d.      Developing and disseminating scientific studies that deceptively concluded opioids
                are safe and effective for the long-term treatment of chronic non-cancer pain and
                that opioids improve quality of life while concealing contrary data.

        I.      MARKETING DEFENDANTS’ PRIOR BAD ACTS

        516.    Defendants have long known about the dangers of their opioid products, and the

alarming quantities in which they were pouring into communities all across the country, because

they have been sued, fined, and criminally convicted for failing to mitigate these problems.

        517.    For example, in 2007 Purdue settled criminal and civil charges against it for

“misbranding” OxyContin. Purdue was forced to admit it illegally marketed and promoted

OxyContin by claiming it was less addictive and less subject to abuse than other pain medications.

Purdue agreed to pay nearly $635 million in fines, and three of its executives pled guilty to federal

criminal charges for misleading regulators, doctors, and patients about OxyContin’s risk of

addiction and its potential to be abused. At the time, this was one of the largest settlements with a

drug company for marketing misconduct.274

        518.    In 2015, the Indiana Department of Public Health determined that an HIV outbreak

in Southeastern Indiana was linked to injection of the prescription painkiller Opana, 275 the first

documented HIV outbreak in the United States associated with injection of a prescription

painkiller. After the outbreak, the FDA required “that Endo Pharmaceuticals remove [Opana ER]




274
    Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, N.Y. TIMES (May 10, 2007),
http://www.nytimes.com/2007/05/10/business/11drug-web.html.
275
   Press Release, State of Ind. Health Dep’t, HIV Outbreak in Southeastern Indiana, (February 25, 2015),
http://www.in.gov/activecalendar/EventList.aspx?fromdate=1/1/2015&todate=12/31/2015&display=Mont
h&type=public&eventidn=210259&view=EventDetails&information_id=211489.

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from the market.” The agency sought removal “based on its concern that the benefits of the drug

may no longer outweigh its risks.”276

       519.    In 2017, The Department of Justice fined Mallinckrodt $35 million for failure to

report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements.

       J.      THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL DISTRIBUTION OF
               OPIOIDS

       520.    The Distributor Defendants owe a duty under federal law (21 U.S.C. § 823, 21 CFR

1301.11, 21CFR 1301.74) to monitor, detect, investigate, refuse to fill, and report suspicious orders

of prescription opioids as well as those orders which the Distributor Defendants knew or should

have known were likely to be diverted.

       521.    The foreseeable harm from a breach of these duties was the medical, social, and

financial consequences rippling through society, arising from the abuse of diverted opioids for

nonmedical purposes.

       522.    Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law. Such breaches are a direct and proximate causes of the widespread diversion

of prescription opioids for nonmedical purposes, with the resultant medical and financial damages.

       523.    For over a decade, all the Defendants aggressively sought to bolster their revenue,

increase profit, and grow their share of the prescription painkiller market by unlawfully and

surreptitiously increasing the volume of opioids they sold. However, Defendants are not permitted



276
    Jen Christensen, FDA wants Opioid Painkiller Pulled off Market, CNN (June 8, 2017),
https://www.cnn.com/2017/06/08/health/fda-opioid-opana-er-bn/index.html; Press Release, U.S. Food &
Drug Admin., FDA Requests Removal of Opana ER for Risks Related to Abuse (June 8, 2017),
https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.

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to engage in a limitless expansion of their sales through the unlawful sales of regulated painkillers.

Rather, as described below, Defendants are subject to various duties to report the quantity of

Schedule II controlled substances in order to monitor such substances and prevent oversupply and

diversion into the illicit market.

        524.      The unlawful diversion of prescription opioids is a direct and proximate cause of

the opioid epidemic, prescription opioid abuse, addiction, morbidity and mortality, with social and

financial costs borne by, among others, individuals, families and hospitals.

        525.      The Distributor Defendants intentionally continued their conduct, as alleged herein,

with knowledge that such conduct was creating the opioid epidemic and causing the damages

alleged herein.

        K.        DEFENDANTS THROUGHOUT THE SUPPLY CHAIN DELIBERATELY
                  DISREGARDED THEIR DUTIES TO MAINTAIN EFFECTIVE
                  CONTROLS AND TO IDENTIFY, REPORT, AND TAKE STEPS TO
                  HALT SUSPICIOUS ORDERS

        526.      The Marketing Defendants created a vastly and dangerously larger market for

opioids. The failure of the Defendants to maintain effective controls, and to investigate, report,

and take steps to halt orders that they knew or should have known were suspicious breached both

their statutory and common law duties.

        527.      Defendants are all required to register as either manufacturers or distributors

pursuant to 21 U.S.C. § 823 and 21 C.F.R. §§ 1301.11, 1301.74.

        528.      Marketing Defendants’ scheme was resoundingly successful. Chronic opioid

therapy – the prescribing of opioids long-term to treat chronic pain – has become a commonplace,

and often first-line, treatment. Manufacturing Defendants’ deceptive marketing caused prescribing

not only of their opioids, but also of opioids as a class, to skyrocket. According to the CDC opioid

prescriptions, as measured by number of prescriptions and morphine milligram equivalent
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(“MME”) per person, tripled from 1999 to 2015. In 2015, on an average day, more than 650,000

opioid prescriptions were dispensed in the U.S. While previously a small minority of opioid sales,

today between 80% and 90% of opioids (measured by weight) used are for chronic pain.

Approximately 20% of the population between the ages of 30 and 44, and nearly 30% of the

population over 45, have used opioids. Opioids are the most common treatment for chronic pain,

and 20% of office visits now include the prescription of an opioid.

            529.   In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has

quadrupled since 1999 and has increased in parallel with [opioid] overdoses.”277 Patients receiving

opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the

CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”278

                   1. All Defendants Have a Duty To Guard Against, and Report, Unlawful
                      Diversion and To Report and Prevent Suspicious Orders

            530.   Multiple sources impose duties on Defendants with respect to the supply of opioids,

including the common law duty to exercise reasonable care. Defendants have specific duties under

federal law as well. Each Defendant was required to register with the DEA, pursuant to the CSA.

See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each Defendant is a “registrant” of Schedule II

controlled substances with a duty to comply with all security requirements imposed under that

statutory scheme.

            531.   Each Defendant has an affirmative duty under federal law to act as a gatekeeper



  CDC, January 1, 2016 Morbidity and Mortality Weekly Report; Rudd, Rose A., et al., “Increases in drug
277

and opioid overdose deaths—United States, 2000–2014.” American Journal of Transplantation 16.4 (2016):
1323-1327.
278
      Id.

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guarding against the diversion of the highly addictive, dangerous opioid drugs. Federal law

requires that “requirements” of Schedule II drugs, including opioids, must maintain “effective

control against diversion of particular controlled substances into other than legitimate medical,

scientific, and industrial channels.” 21 U.S.C. §§ 823(b)(1).

       532.    Federal regulations impose a non-delegable duty upon registrants to “design and

operate a system to disclose to the registrant suspicious orders of controlled substances. The

registrant shall inform the Field Division Office of the Administration in his area of suspicious

orders when discovered by the registrant. Suspicious orders include orders of unusual size, orders

deviating substantially from a normal pattern, and orders of unusual frequency.” 21 C.F.R. §

1301.74(b).

       533.    “Suspicious orders” include orders of an unusual size, orders of unusual frequency

or orders deviating substantially from a normal pattern. See 21 CFR 1301.74(b). These criteria are

disjunctive and are not all inclusive. For example, if an order deviates substantially from a normal

pattern, the size of the order does not matter and the order should be reported as suspicious.

Likewise, a registrant need not wait for a normal pattern to develop over time before determining

whether a particular order is suspicious. The size of an order alone, regardless of whether it

deviates from a normal pattern, is enough to trigger the responsibility to report the order as

suspicious. The determination of whether an order is suspicious depends not only on the ordering

patterns of the particular customer but also on the patterns of the entirety of the customer base and

the patterns throughout the relevant segment of the industry.

       534.    In addition to reporting all suspicious orders, the Distributor Defendants must also

stop shipment on any order which is flagged as suspicious and only ship orders which were flagged

as potentially suspicious if, after conducting due diligence, the recipient can determine that the

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order is not likely to be diverted into illegal channels.279 Regardless, all flagged orders must be

reported.

          535.    These prescription drugs are regulated for the purpose of providing a “closed”

system intended to reduce the widespread diversion of these drugs out of legitimate channels into

the illicit market, while at the same time providing the legitimate drug industry with a unified

approach to narcotic and dangerous drug control.280

          536.    Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations define each participant’s role and

responsibilities.281

          537.    The FTC has recognized the unique role of distributors. Since their inception,

Distributor Defendants have continued to integrate vertically by acquiring businesses that are

related to the distribution of pharmaceutical products and health care supplies. In addition to the

actual distribution of pharmaceuticals, as wholesalers, Distributor Defendants also offer their

pharmacy, or dispensing, customers a broad range of added services. For example, Distributor


  See Southwood Pharm., Inc., 72 Fed. Reg. 36,487, 36,501 (Drug Enf’t Admin. July 3, 2007); Masters
279

Pharmaceutical, Inc. v. Drug Enforcement Administration, 861 F.3d 206 (D.C. Cir. 2017).
280
      See 1970 U.S.C.C.A.N. 4566, 4571-72.
281
   Brief for Healthcare Distribution Mgmt. Association and National Ass’n of Chain Drug Stores as Amici
Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C.
Cir. Apr. 4, 2016), 2016 WL 1321983, at *22 (hereinafter Brief for HDMA and NACDS). The Healthcare
Distribution Mgmt. Ass’n (HDMA or HMA)—now known as the Healthcare Distribution Alliance (HDA)
—is a national, not-for-profit trade association that represents the nation’s primary, full-service healthcare
distributors whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal
Health,      Inc.,    and        McKesson        Corporation.       See      generally      HDA,       About,
https://www.healthcaredistribution.org/about (last accessed April 12, 2018). The National Association of
Chain Drug Stores (NACDS) is a national, not-for-profit trade association that represents traditional drug
stores and supermarkets and mass merchants with pharmacies whose membership includes, among others:
Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally NACDS, Mission,
https://www.nacds.org/%20about/mission/ (last accessed April 12, 2018).

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Defendants offer their pharmacies sophisticated ordering systems and access to an inventory

management system and distribution facility that allows customers to reduce inventory carrying

costs. Distributor Defendants are also able to use the combined purchase volume of their customers

to negotiate the cost of goods with manufacturers and offer services that include software

assistance and other database management support.282 As a result of their acquisition of a diverse

assortment of related businesses within the pharmaceutical industry, as well as the assortment of

additional services they offer, Distributor Defendants have a unique insight into the ordering

patterns and activities of their dispensing customers.

        538.    As the DEA advised the Distributor Defendants in a letter to them dated September

27, 2006, wholesale distributors are “one of the key components of the distribution chain. If the

closed system is to function properly … distributors must be vigilant in deciding whether a

prospective customer can be trusted to deliver controlled substances only for lawful purposes. This

responsibility is critical, as … the illegal distribution of controlled substances has a substantial and

detrimental effect on the health and general welfare of the American people.”283

        539.    The Distributor Defendants have admitted that they are responsible for reporting




282
   See Fed. Trade Comm’n v. Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (granting the
FTC’s motion for preliminary injunction and holding that the potential benefits to customers did not
outweigh the potential anti-competitive effect of a proposed merger between Cardinal, Inc. and Bergen
Brunswig Corp.).
283
    See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug Enf’t
Admin., U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) (hereinafter Rannazzisi Letter) (“This
letter is being sent to every commercial entity in the United States registered with the Drug Enf’t Admin.
(DEA) to distribute controlled substances. The purpose of this letter is to reiterate the responsibilities of
controlled substance distributors in view of the prescription drug abuse problem our nation currently
faces.”), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF
No. 14-51.

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suspicious orders.284

            540.   The DEA’s September 27, 2006 letter also warned the Distributor Defendants that

it would use its authority to revoke and suspend registrations when appropriate. The letter

expressly states that a distributor, in addition to reporting suspicious orders, has a “statutory

responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted

into other than legitimate medical, scientific, and industrial channels.”285 The letter also instructs

that “distributors must be vigilant in deciding whether a prospective customer can be trusted to

deliver controlled substances only for lawful purposes.”286 The DEA warns that “even just one

distributor that uses its DEA registration to facilitate diversion can cause enormous harm.”

            541.   The DEA sent a second letter to each of the Distributor Defendants on December

27, 2007.287 This letter reminds the Distributor Defendants of their statutory and regulatory duties

to “maintain effective controls against diversion” and “design and operate a system to disclose to

the registrant suspicious orders of controlled substances.”288 The letter further explains:

            The regulation also requires that the registrant inform the local DEA Division
            Office of suspicious orders when discovered by the registrant. Filing a monthly
            report of completed transactions (e.g., “excessive purchase report” or “high unity
            purchases”) does not meet the regulatory requirement to report suspicious orders.


284
   See Brief for HDMA and NACDS, supra n. 303, 2016 WL 1321983, at *4 (“[R]egulations . . . in place
for more than 40 years require distributors to report suspicious orders of controlled substances to DEA
based on information readily available to them (e.g., a pharmacy’s placement of unusually frequent or large
orders).”).
285
      Rannazzisi Letter, supra note 304, at 2.
286
      Id. at 1.
287
      Id. at 2.

  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t
288

Admin., U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder,
No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.

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            The regulation specifically states that suspicious orders include orders of unusual
            size, orders deviating substantially from a normal pattern, and orders of an unusual
            frequency. These criteria are disjunctive and are not all inclusive.

            Lastly, registrants that routinely report suspicious orders, yet fill these orders
            without first determining that order is not being diverted into other than legitimate
            medical, scientific, and industrial channels, may be failing to maintain effective
            controls against diversion. Failure to maintain effective controls against diversion
            is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
            and may result in the revocation of the registrant’s DEA Certificate of
            Registration.289

            542.   Finally, the DEA letter references the Revocation of Registration issued in

Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the

obligation to report suspicious orders and “some criteria to use when determining whether an order

is suspicious.”290

            543.   The Distributor Defendants admit that they “have not only statutory and regulatory

responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake such

efforts as responsible members of society.”291

            544.   Recently, Mallinckrodt, a prescription opioid manufacturer, admitted in a

settlement with DEA that “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to

maintain effective controls against diversion, including a requirement that it review and monitor

these sales and report suspicious orders to DEA.” Mallinckrodt further stated that it “recognizes

the importance of the prevention of diversion of the controlled substances they manufacture” and




289
      Id.
290
      Id.
291
   See Amicus Curiae Brief of Healthcare Distribution Mgmt. Ass’n in Support of App. Cardinal Health,
Inc., Cardinal Health, Inc. v. U.S. Dep’t of Justice, No. 12- 5061 (D.C. Cir. May 9, 2012), 2012 WL
1637016, at *10 (hereinafter Brief of HDMA in Support of Cardinal).

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agreed that it would “design and operate a system that meets the requirements of 21 CFR

1301.74(b) . . . [such that it would] utilize all available transaction information to identify

suspicious orders of any Mallinckrodt product.” Mallinckrodt specifically agreed “to notify DEA

of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

substances that Mallinckrodt discovers.”

       545.    The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association (now known as the Healthcare Distribution Alliance (“HDA”), further

discussed below), the trade association of pharmaceutical distributors, explain that distributors are

“[a]t the center of a sophisticated supply chain” and therefore “are uniquely situated to perform

due diligence in order to help support the security of the controlled substances they deliver to their

customers.” The guidelines set forth recommended steps in the “due diligence” process, and note

in particular: If an order meets or exceeds a distributor’s threshold, as defined in the distributor’s

monitoring system, or is otherwise characterized by the distributor as an order of interest, the

distributor should not ship to the customer, in fulfillment of that order, any units of the specific

drug code product as to which the order met or exceeded a threshold or as to which the order was

otherwise characterized as an order of interest.292

       546.    The DEA also repeatedly reminded the Defendants of their obligations to report

and decline to fill suspicious orders. Responding to the proliferation of pharmacies operating on

the internet that arranged illicit sales of enormous volumes of opioids to drug dealers and



292
   Healthcare Distribution Mgmt. Ass’n (HDMA) Industry Compliance Guidelines: Reporting Suspicious
Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No.
12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).

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customers, the DEA began a major push to remind distributors of their obligations to prevent these

kinds of abuses and educate them on how to meet these obligations. Since 2007, the DEA has

hosted at least five conferences that provided registrants with updated information about diversion

trends and regulatory changes. Each of the Distributor Defendants attended at least one of these

conferences. The DEA has also briefed wholesalers regarding legal, regulatory, and due diligence

responsibilities since 2006. During these briefings, the DEA pointed out the red flags wholesale

distributors should look for to identify potential diversion.

       547.    Each of the Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers from which the Distributor Defendants knew

prescription opioids were likely to be diverted.

       548.    Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

prescription opioids.

       549.    Each Distributor Defendant owes a duty under federal law to investigate and refuse

suspicious orders of prescription opioids.

       550.    Each Distributor Defendant owes a duty under federal law to report suspicious

orders of prescription opioids.

       551.    Each Distributor Defendant owes a duty under federal law to prevent the diversion

of prescription opioids into illicit markets throughout the United States.

       552.    The foreseeable harm resulting from a breach of these duties is the diversion of

prescription opioids for nonmedical purposes and subsequent plague of opioid addiction, with

costs and damages necessarily inflicted on and incurred by others.

       553.    The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality, along with the associated costs

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associated with the treatment of these conditions and related health consequences caused by opioid

abuse.

         554.   Finding it impossible to legally achieve their ever increasing sales ambitions

Defendants engaged in the common purpose of increasing the supply of opioids and fraudulently

increasing the quotas that governed the manufacture and distribution of their prescription opioids.

         555.   Wholesale distributors such as the Distributor Defendants had close financial

relationships with both Marketing Defendants and customers, for whom they provide a broad range

of value added services that render them uniquely positioned to obtain information and control

against diversion. These services often otherwise would not be provided by manufacturers to their

dispensing customers and would be difficult and costly for the dispenser to reproduce. For

example, “[w]holesalers have sophisticated ordering systems that allow customers to

electronically order and confirm their purchases, as well as to confirm the availability and prices

of wholesalers’ stock.” Fed. Trade Comm’n v. Cardinal Health, Inc., 12 Supp. 2d 34, 41 (D.D.C.

1998). Through their generic source programs, wholesalers are also able “to combine the purchase

volumes of customers and negotiate the cost of goods with manufacturers.” Wholesalers typically

also offer marketing programs, patient services, and other software to assist their dispensing

customers.

         556.   Distributor Defendants had financial incentives from the Marketing Defendants to

distribute higher volumes, and thus to refrain from reporting or declining to fill suspicious orders.

Wholesale drug distributors acquire pharmaceuticals, including opioids, from manufacturers at an

established wholesale acquisition cost. Discounts and rebates from this cost may be offered by

manufacturers based on market share and volume. As a result, higher volumes may decrease the

cost per pill to distributors. Decreased cost per pill in turn, allows wholesale distributors to offer

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more competitive prices, or alternatively, pocket the difference as additional profit. Either way,

the increased sales volumes result in increased profits.

       557.    The Marketing Defendants engaged in the practice of paying rebates and/or

chargebacks to the Distributor Defendants for sales of prescription opioids as a way to help them

boost sales and better target their marketing efforts. The Washington Post has described the

practice as industry-wide, and the Healthcare Distribution Alliance (“HDA”) includes a “Contracts

and Chargebacks Working Group,” suggesting a standard practice. Further, in a recent settlement

with the DEA, Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to ‘downstream’ registrants,” meaning pharmacies or other dispensaries,

such as hospitals. Marketing Defendants buy data from pharmacies as well. This exchange of

information, upon information and belief, would have opened channels providing for the exchange

of information revealing suspicious orders as well.

       558.    A dramatic example of the use of prescription information provided by IMS Health

came out in Congressional testimony:

       Mr. Greenwood: Well, why do you want that [IMS Health] information then?

       Mr. Friedman: Well, we use that information to understand what is happening in
       terms of the development of use of our product in any area.

       Mr. Greenwood. And so the use of it--and I assume that part of it--a large part of it
       you want is to see how successful your marketing techniques are so that you can
       expend money in a particular region or among a particular group of physicians--
       you look to see if your marketing practices are increased in sales. And, if not, you
       go back to the drawing board with your marketers and say, how come we spent
       “X”' number of dollars, according to these physicians, and sales haven't responded.
       You do that kind of thing. Right?


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       Mr. Friedman: Sure.293

       559.    The contractual relationships among the Defendants also include vault security

programs. Defendants are required to maintain certain security protocols and storage facilities for

the manufacture and distribution of their opiates. The manufacturers negotiated agreements

whereby the Marketing Defendants installed security vaults for the Distributor Defendants in

exchange for agreements to maintain minimum sales performance thresholds. These agreements

were used by the Defendants as a tool to violate their reporting and diversion duties in order to

reach the required sales requirements. In addition, Defendants worked together to achieve their

common purpose through trade or other organizations, such as the Pain Care Forum (“PCF”) and

the Healthcare Distribution Alliance (“HDA”).

                   a. Pain Care Forum

       560.    PCF has been described as a coalition of drug makers, trade groups and dozens of

non-profit organizations supported by industry funding, including the Front Groups described in

this Complaint. The PCF recently became a national news story when it was discovered that

lobbyists for members of the PCF quietly shaped federal and state policies regarding the use of

prescription opioids for more than a decade.

       561.    The Center for Public Integrity and The Associated Press obtained “internal

documents shed[ding] new light on how drug makers and their allies shaped the national response




293
  Oxycontin: Its Use and Abuse: Hearing Before the Subcommittee on Oversight and Investigations of the
Committee on Energy and Commerce House of Representatives, 107th Cong. 54 (2001) (statements of
James C. Greenwood, Member, Committee on Energy and Commerce and Michael Friedman, Executive
Vice President and COO of Purdue Pharma, L.P.), available at https://www.gpo.gov/fdsys/pkg/CHRG-
107hhrg75754/html/CHRG-107hhrg75754.htm.

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to the ongoing wave of prescription opioid abuse.”294 Specifically, PCF members spent over $740

million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

opioid-related measures.295

            562.   The Defendants who stood to profit from expanded prescription opioid use are

members of and/or participants in the PCF.296             In 2012, membership and participating

organizations included Endo, Purdue, Actavis and Cephalon. Each of the Marketing Defendants

worked together through the PCF. But, the Marketing Defendants were not alone. The Distributor

Defendants actively participated, and continue to participate in the PCF, at a minimum, through

their trade organization, the HDA.297 The Distributor Defendants participated directly in the PCF

as well.

                      b. Healthcare Distribution Alliance

            563.   Additionally, the HDA led to the formation of interpersonal relationships and an

organization among the Defendants. Although the entire HDA membership directory is private,

the HDA website confirms that each of the Distributor Defendants and the Marketing Defendants,



294
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for
Public Integrity (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-
painkiller-echo-chamber-shaped-policy- amid-drug-epidemic (emphasis added).
295
      Id.
296
      PAIN CARE FORUM 2012 Meetings Schedule, (last updated December 2011),
https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-
amp.pdf
297
    Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief
Executive Officer, Pharmaceutical Segment for Cardinal Health, Inc., the Group President,
Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen Corporation, and the
President, U.S. Pharmaceutical for McKesson Corporation. Executive Committee, Healthcare
Distribution      Alliance        (last      accessed     on       September      14,       2017),
https://www.healthcaredistribution.org/about/executive-committee%20.

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including Actavis, Endo, Purdue, Mallinckrodt and Cephalon, were members of the HDA.298

Additionally, the HDA and each of the Distributor Defendants, eagerly sought the active

membership and participation of the Marketing Defendants by advocating for the many benefits

of members, including “strengthening . . . alliances.”299

            564.   Beyond strengthening alliances, the benefits of HDA membership included the

ability to, among other things, “network one on one with manufacturer executives at HDA’s

members-only Business and Leadership Conference,” “networking with HDA wholesale

distributor members,” “opportunities to host and sponsor HDA Board of Directors events,”

“participate on HDA committees, task forces and working groups with peers and trading partners,”

and “make connections.”300 The HDA and the Supply Chain Defendants used membership in the

HDA as an opportunity to create interpersonal and ongoing organizational relationships and

“alliances” between the Manufacturers and Supply Chain Defendants.

            565.   The application for manufacturer membership in the HDA further indicates the

level of connection among the Defendants and the level of insight that they had into each other’s

businesses.301 For example, the manufacturer membership application must be signed by a “senior

company executive,” and it requests that the manufacturer applicant identify a key contact and any

additional contacts from within its company.


298
   Manufacturer Membership, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/about/membership/manufacturer (last accessed on September 14,
2017).
299
   Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14,
2017), https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
benefits.ashx?la=en
300
      Id.
301
      Id.

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            566.   The HDA application also requests that the manufacturer identify its current

distribution information, including the facility name and contact information. Manufacturer

members were also asked to identify their “most recent year end net sales” through wholesale

distributors, including the Distributor Defendants AmerisourceBergen, Cardinal, McKesson,

Miami-Luken and their subsidiaries.

            567.   The closed meetings of the HDA’s councils, committees, task forces and working

groups provided the Marketing and Distributor Defendants with the opportunity to work closely

together, confidentially, to develop and further the common purpose and interests of the enterprise.

            568.   The HDA also offers a multitude of conferences, including annual business and

leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

the Marketing Defendants as an opportunity to “bring together high-level executives, thought

leaders and influential managers . . . to hold strategic business discussions on the most pressing

industry issues.”302      The conferences also gave the Marketing and Distributor Defendants

“unmatched opportunities to network with [their] peers and trading partners at all levels of the

healthcare distribution industry.”303 The HDA and its conferences were significant opportunities

for the Marketing and Distributor Defendants to interact at a high-level of leadership. The

Marketing Defendants embraced this opportunity by attending and sponsoring these events. 304




302
    Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution
Alliance, https://www.healthcaredistribution.org/events/2015-business-and- leadership-conference/blc-
for-manufacturers (last accessed on September 14, 2017, and no longer available).
303
      Id.
304
     2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
https://www.healthcaredistribution.org/events/2015-distribution-management-conference (last accessed on
September 14, 2017).

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        569.      After becoming members of the HDA, Defendants were eligible to participate on

councils, committees, task forces and working groups, including:

        a.        Industry Relations Council: “This council, composed of distributor and
                  manufacturer members, provides leadership on pharmaceutical distribution and
                  supply chain issues.”

        b.        Business Technology Committee: “This committee provides guidance to HDA and
                  its members through the development of collaborative e- commerce business
                  solutions. The committee’s major areas of focus within pharmaceutical distribution
                  include information systems, operational integration and the impact of e-
                  commerce.” Participation in this committee includes distributor and manufacturer
                  members.

        c.        Logistics Operation Committee: “This committee initiates projects designed to help
                  members enhance the productivity, efficiency and customer satisfaction within the
                  healthcare supply chain. Its major areas of focus include process automation,
                  information systems, operational integration, resource management and quality
                  improvement.” Participation in this committee includes distributor and
                  manufacturer members.

        d.        Manufacturer Government Affairs Advisory Committee: “This committee provides
                  a forum for briefing HDA’s manufacturer members on federal and state legislative
                  and regulatory activity affecting the pharmaceutical distribution channel. Topics
                  discussed include such issues as prescription drug traceability, distributor licensing,
                  FDA and DEA regulation of distribution, importation and Medicaid/Medicare
                  reimbursement.” Participation in this committee includes manufacturer members.

        e.        Contracts and Chargebacks Working Group: “This working group explores how
                  the contract administration process can be streamlined through process
                  improvements or technical efficiencies. It also creates and exchanges industry
                  knowledge of interest to contract and chargeback professionals.” Participation in
                  this group includes manufacturer and distributor members.

        570.      The Distributor Defendants and Marketing Defendants also participated, through

the HDA, in Webinars and other meetings designed to exchange detailed information regarding

their prescription opioid sales, including purchase orders, acknowledgements, ship notices, and

invoices.305 For example, on April 27, 2011, the HDA offered a Webinar to “accurately and


305
      Webinars,     Healthcare    Distribution   Alliance,   (accessed   on    September    14,   2017),
                                                   179
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effectively exchange business transactions between distributors and manufacturers…” The

Marketing Defendants used this information to gather high-level data regarding overall distribution

and to direct the Distributor Defendants on how to most effectively sell prescription opioids.

        571.    Taken together, the interaction and length of the relationships between and among

the Marketing and Distributor Defendants reflect a deep level of interaction and cooperation

between two groups in a tightly knit industry. The Marketing and Distributor Defendants were not

two separate groups operating in isolation or two groups forced to work together in a closed

system. Defendants operated together as a united entity, working together on multiple fronts, to

engage in the unlawful sale of prescription opioids.

        572.    The HDA and the Pain Care Forum are but two examples of the overlapping

relationships, and concerted joint efforts to accomplish common goals and demonstrates that the

leaders of each of the Defendants were in communication and cooperation.

        573.    Publications and guidelines issued by the HDA nevertheless confirm that the

Defendants utilized their membership in the HDA to form agreements. Specifically, in the Fall of

2008, the HDA published the Industry Compliance Guidelines: Reporting Suspicious Orders and

Preventing Diversion of Controlled Substances (the “Industry Compliance Guidelines”) regarding

diversion. As the HDA explained in an amicus brief, the Industry Compliance Guidelines were the

result of “[a] committee of HDMA members contribut[ing] to the development of this publication”

beginning in late 2007.

        574.    This statement by the HDA and the Industry Compliance Guidelines support the

allegation that Defendants utilized the HDA to form agreements about their approach to their




https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.

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duties under the CSA. As John M. Gray, President/CEO of the HDA stated to the Energy and

Commerce Subcommittee on Health in April 2014, it is “difficult to find the right balance between

proactive anti-diversion efforts while not inadvertently limiting access to appropriately prescribed

and dispensed medications.” Here, it is apparent that all of the Defendants found the same balance

– an overwhelming pattern and practice of failing to identify, report or halt suspicious orders, and

failure to prevent diversion.

       575.    The Defendants’ scheme had a decision-making structure driven by the Marketing

Defendants and corroborated by the Distributor Defendants. The Marketing Defendants worked

together to control the state and federal government’s response to the manufacture and distribution

of prescription opioids by increasing production quotas through a systematic refusal to maintain

effective controls against diversion, and identify suspicious orders and report them to the DEA.

       576.    The Defendants worked together to control the flow of information and influence

state and federal governments to pass legislation that supported the use of opioids and limited the

authority of law enforcement to rein in illicit or inappropriate prescribing and distribution. The

Marketing and Distributor Defendants did this through their participation in the PCF and HDA.

       577.    The Defendants also worked together to ensure that the Aggregate Production

Quotas, Individual Quotas and Procurement Quotas allowed by the DEA remained artificially

high. In so doing, they ensured that suspicious orders were not reported to the DEA, and, further,

in so doing, they ensured that the DEA had no basis for either refusing to increase production

quotas or decreasing production quotas due to diversion.

       578.    The Defendants also had reciprocal obligations under the CSA to report suspicious

orders of other parties if they became aware of them. Defendants were thus collectively responsible

for each other’s compliance with their reporting obligations.

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       579.    Defendants thus knew that their own conduct could be reported by other

distributors or manufacturers and that their failure to report suspicious orders they filled could be

brought to the DEA’s attention. As a result, Defendants had an incentive to communicate with

each other about the reporting of suspicious orders to ensure consistency in their dealings with

DEA.

       580.    The desired consistency was achieved. As described below, none of the

Defendants reported suspicious orders and the flow of opioids continued unimpeded.

               2. Defendants Were Aware of and Have Acknowledged Their Obligations
                  To Prevent Diversion and To Report and Take Steps To Halt Suspicious
                  Orders

       581.    The reason for the reporting rules is to create a “closed” system intended to control

the supply and reduce the diversion of these drugs out of legitimate channels into the illicit market,

while at the same time providing the legitimate drug industry with a unified approach to narcotic

and dangerous drug control. Both because distributors handle such large volumes of controlled

substances, and because they are uniquely positioned, based on their knowledge of their customers

and orders, as the first line of defense in the movement of legal pharmaceutical controlled

substances from legitimate channels into the illicit market, distributors’ obligation to maintain

effective controls to prevent diversion of controlled substances is critical. Should a distributor

deviate from these checks and balances, the closed system of distribution, designed to prevent

diversion, collapses.

       582.    Defendants were well aware they had an important role to play in this system, and

also knew or should have known that their failure to comply with their obligations would have

serious consequences.




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               3. Defendants Kept Careful Track of Prescribing Data and Knew About
                  Suspicious Orders and Prescribers

       583.    The data that reveals and/or confirms the identity of each wrongful opioid

distributor is hidden from public view in the DEA’s confidential Automation of Reports and

Consolidated Orders System (ARCOS) database. The data necessary to identify with specificity

the transactions that were suspicious is in possession of the Distributor and Marketing Defendants

but has not been disclosed to the public.

       584.    Publicly available information confirms that Distributor and Marketing Defendants

funneled far more opioids into communities across the United States than could have been

expected to serve legitimate medical use, and ignored other red flags of suspicious orders. This

information, along with the information known only to Distributor and Marketing Defendants,

would have alerted them to potentially suspicious orders of opioids.

       585.    This information includes the following facts:

       a.      distributors and manufacturers have access to detailed transaction-level data on the
               sale and distribution of opioids, which can be broken down by zip code, prescriber,
               and pharmacy and includes the volume of opioids, dose, and the distribution of
               other controlled and non-controlled substances;

       b.      manufacturers make use of that data to target their marketing and, for that purpose,
               regularly monitor the activity of doctors and pharmacies;

       c.      manufacturers and distributors regularly visit pharmacies and doctors to promote
               and provide their products and services, which allows them to observe red flags of
               diversion;

       d.      Distributor Defendants together account for approximately 90% of all revenues
               from prescription drug distribution in the United States, and each plays such a large
               part in the distribution of opioids that its own volume provides a ready vehicle for
               measuring the overall flow of opioids into a pharmacy or geographic area; and

       e.      Marketing Defendants purchased chargeback data (in return for discounts to
               Distributor Defendants) that allowed them to monitor the combined flow of opioids
               into a pharmacy or geographic area.

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       586.    The conclusion that Defendants were on notice of the problems of abuse and

diversion follows inescapably from the fact that they flooded communities with opioids in

quantities that they knew or should have known exceeded any legitimate market for opioids – even

the wider market for chronic pain.

       587.    At all relevant times, the Defendants were in possession of national, regional, state,

and local prescriber- and patient-level data that allowed them to track prescribing patterns over

time. They obtained this information from data companies, including but not limited to: IMS

Health, QuintilesIMS, IQVIA, Pharmaceutical Data Services, Source Healthcare Analytics, NDS

Health Information Services, Verispan, Quintiles, SDI Health, ArcLight, Scriptline, Wolters

Kluwer, and/or PRA Health Science, and all of their predecessors or successors in interest (the

“Data Vendors”).

       588.    The Distributor Defendants developed “know your customer” questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007 was

intended to help the Defendants identify suspicious orders or customers who were likely to divert

prescription opioids.306 The “know your customer” questionnaires informed the Defendants of the

number of pills that the pharmacies sold, how many non-controlled substances were sold compared

to controlled substances, whether the pharmacy buys from other distributors, the types of medical

providers in the area, including pain clinics, general practitioners, hospice facilities, cancer

treatment facilities, among others, and these questionnaires put the recipients on notice of



306
    Suggested Questions a Distributor should ask prior to shipping controlled substances, DEA,
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf; Richard Widup,
Jr., Kathleen H. Dooley, Esq. Pharmaceutical Product Diversion: Beyond the PDMA, Purdue Pharma and
McGuireWoods LLC, https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf.

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suspicious orders.

          589.    Defendants purchased nationwide, regional, state, and local prescriber- and patient-

level data from the Data Vendors that allowed them to track prescribing trends, identify suspicious

orders, identify patients who were doctor shopping, identify pill mills, etc. The Data Vendors’

information purchased by the Defendants allowed them to view, analyze, compute, and track their

competitors’ sales, and to compare and analyze market share information.307

          590.    IMS Health, for example, provided Defendants with reports detailing prescriber

behavior and the number of prescriptions written between competing products.308

          591.    Similarly, Wolters Kluwer, an entity that eventually owned data mining companies

that were created by McKesson (Source) and Cardinal (ArcLight), provided the Defendants with

charts analyzing the weekly prescribing patterns of multiple physicians, organized by territory,

regarding competing drugs, and analyzed the market share of those drugs.309

          592.    This information allowed the Defendants to track and identify instances of

overprescribing. In fact, one of the Data Vendors’ experts testified that the Data Vendors’

information could be used to track, identify, report and halt suspicious orders of controlled

substances.310 Defendants were, therefore, collectively aware of the suspicious orders that flowed



 307
    A Verispan representative testified that the Supply Chain Defendants use the prescribing information
 to “drive market share.” Sorrell v. IMS Health Inc., 2011 WL 661712, *9-10 (Feb. 22, 2011).
 308
    Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How we Turned a Mountain of
 Data into a Few Information-rich Molehills,
 http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.198.349&rep=rep1&type=pdf, Figure 2 at
 p. 3 (last accessed April 28, 2018).
 309
       Sorrell v. IMS Health Inc., 2011 WL 705207, at *467-471 (Feb. 22, 2011).
310
   In Sorrell, expert Eugene “Mick” Kolassa testified, on behalf of the Data Vender, that “a firm that sells
narcotic analgesics was able to use prescriber-identifiable information to identify physicians that seemed to
be prescribing an inordinately high number of prescriptions for their product.” Id; see also Joint Appendix
                                                     185
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from their facilities.

            593.   Defendants refused to identify, investigate and report suspicious orders to the DEA

when they became aware of the same despite their actual knowledge of drug diversion rings. As

described in detail below, Defendants refused to identify suspicious orders and diverted drugs

despite the DEA issuing final decisions against the Distributor Defendants in 178 registrant actions

between 2008 and 2012311 and 117 recommended decisions in registrant actions from The Office

of Administrative Law Judges. These numbers include 76 actions involving orders to show cause

and 41 actions involving immediate suspension orders, all for failure to report suspicious orders.312

            594.   Sales representatives were also aware that the prescription opioids they were

promoting were being diverted, often with lethal consequences. As a sales representative wrote on

a public forum:

            Actions have consequences - so some patient gets Rx’d the 80mg OxyContin when
            they probably could have done okay on the 20mg (but their doctor got “sold” on
            the 80mg) and their teen son/daughter/child’s teen friend finds the pill bottle and
            takes out a few 80’s... next they’re at a pill party with other teens and some kid
            picks out a green pill from the bowl... they go to sleep and don’t wake up (because
            they don’t understand respiratory depression) Stupid decision for a teen to
            make...yes... but do they really deserve to die?

            595.   Moreover, Defendants’ sales incentives rewarded sales representatives who

happened to have pill mills within their territories, enticing those representatives to look the other

way even when their in-person visits to such clinics should have raised numerous red flags. In one




in Sorrell v. IMS Health, 2011 WL 687134, at *204 (Feb. 22, 2011).
311
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug
Enforcement         Administration’s    Adjudication  of     Registrant   Actions      6    (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.
312
      Id.

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example, a pain clinic in South Carolina was diverting massive quantities of OxyContin. People

traveled to the clinic from towns as far as 100 miles away to get prescriptions, the DEA’s diversion

unit raided the clinic, and prosecutors eventually filed criminal charges against the doctors. But

Purdue’s sales representative for that territory, Eric Wilson, continued to promote OxyContin sales

at the clinic. He reportedly told another local physician that this clinic accounted for 40% of the

OxyContin sales in his territory. At that time, Wilson was Purdue’s top-ranked sales

representative.313 In response to news stories about this clinic, Purdue issued a statement, declaring

that “if a doctor is intent on prescribing our medication inappropriately, such activity would

continue regardless of whether we contacted the doctor or not.”314

            596.   In another example, a Purdue sales manager informed her supervisors in 2009 about

a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic with her

sales representative, “it was packed with a line out the door, with people who looked like gang

members,” and that she felt “very certain that this an organized drug ring[.]”315 She wrote, “This

is clearly diversion. Shouldn’t the DEA be contacted about this?” But her supervisor at Purdue

responded that while they were “considering all angles,” it was “really up to [the wholesaler] to

make the report.”316 This pill mill was the source of 1.1 million pills trafficked to Everett,

Washington, a city of around 100,000 people. Purdue waited until after the clinic was shut down




313
      Pain Killer, supra n. 34 at 298-300.
314
      Id.
315
  Harriet Ryan et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts.
What the drug maker knew, LOS ANGELES TIMES (July 10, 2016), http://www.latimes.com/projects/la-me-
oxycontin-part2/.
316
   Id.

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in 2010 to inform the authorities.

       597.    Defendants’ obligation to report suspicious prescribing ran head on into their

marketing strategy. Defendants did identify doctors who were their most prolific prescribers, but

not to report them, but to market to them. It would make little sense to focus on marketing to

doctors who may be engaged in improper prescribing only to report them to law enforcement, nor

to report those doctors who drove Defendants’ sales.

       598.    Defendants purchased data from IMS Health (now IQVIA) or other proprietary

sources to identify doctors to target for marketing and to monitor their own and competitors’ sales.

Marketing visits were focused on increasing, sustaining, or converting the prescriptions of the

biggest prescribers, particularly through aggressive, high frequency detailing visits.

       599.    This focus on marketing to the highest prescribers had two impacts. First, it

demonstrates that manufacturers were keenly aware of the doctors who were writing large

quantities of opioids. But instead of investigating or reporting those doctors, Defendants were

singularly focused on maintaining, capturing, or increasing their sales.

       600.    Whenever examples of opioid diversion and abuse have drawn media attention,

Purdue and other Marketing Defendants have consistently blamed “bad actors.” For example, in

2001, during a Congressional hearing, Purdue’s attorney Howard Udell answered pointed

questions about how it was that Purdue could utilize IMS Health data to assess their marketing

efforts but not notice a particularly egregious pill mill in Pennsylvania run by a doctor named

Richard Paolino. Udell asserted that Purdue was “fooled” by the doctor: “The picture that is painted

in the newspaper [of Dr. Paolino] is of a horrible, bad actor, someone who preyed upon this

community, who caused untold suffering. And he fooled us all. He fooled law enforcement. He



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fooled the DEA. He fooled local law enforcement. He fooled us.”317

           601.    But given the closeness with which they monitored prescribing patterns through

IMS Health data, the Defendants either knew or chose not to know of the obvious drug diversions.

In fact, a local pharmacist had noticed the volume of prescriptions coming from Paolino’s clinic

and alerted authorities. Purdue had the prescribing data from the clinic and alerted no one. Indeed,

a Purdue executive referred to Purdue’s tracking system and database as a “gold mine” and

acknowledged that Purdue could identify highly suspicious volumes of prescriptions.

           602.    As discussed below, Endo knew that Opana ER was being widely abused. Yet, the

New York Attorney General revealed, based on information obtained in an investigation into Endo,

that Endo sales representatives were not aware that they had a duty to report suspicious activity

and were not trained on the company’s policies or duties to report suspicious activity, and Endo

paid bonuses to sales representatives for detailing prescribers who were subsequently arrested for

illegal prescribing.

           603.    Sales representatives making in-person visits to such clinics were likewise not

fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

alike, Marketing Defendants and their employees turned a collective blind eye, allowing certain

clinics to dispense staggering quantities of potent opioids and feigning surprise when the most

egregious examples eventually made the nightly news.

                   4. Defendants Failed To Report Suspicious Orders or Otherwise Act To
                      Prevent Diversion

           604.    As discussed above, Defendants failed to report suspicious orders, prevent


 317
       Pain Killer, supra n. 34 at 179.



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diversion, or otherwise control the supply of opioids flowing into communities across America.

Despite the notice described above, Defendants continued to pump massive quantities of opioids

in disregard of their legal duties to control the supply, prevent diversion, report and take steps to

halt suspicious orders.

       605.    Governmental agencies and regulators have confirmed (and in some cases

Defendants have admitted) that Defendants did not meet their obligations and have uncovered

especially blatant wrongdoing.

       606.    For example, on January 5, 2017, McKesson entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for,

inter alia, failure to identify and report suspicious orders at its facilities in Aurora, CO; Aurora,

IL; Delran, NJ; LaCrosse, WI; Lakeland FL; Landover, MD; La Vista, NE; Livonia, MI; Methuen,

MA; Santa Fe Springs, CA; Washington Courthouse, OH; and West Sacramento, CA. McKesson

admitted that, at various times during the period from January 1, 2009 through the effective date

of the Agreement (January 17, 2017) it “did not identify or report to [the] DEA certain orders

placed by certain pharmacies which should have been detected by McKesson as suspicious based

on the guidance contained in the DEA Letters.”

       607.    McKesson further admitted that, during this time period, it “failed to maintain

effective controls against diversion of particular controlled substances into other than legitimate

medical, scientific and industrial channels by sales to certain of its customers in violation of the

CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300 et seq., at the McKesson

Distribution Centers.” Due to these violations, McKesson agreed to a partial suspension of its

authority to distribute controlled substances from certain of its facilities some of which

investigators found “were supplying pharmacies that sold to criminal drug rings.”

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       608.    Similarly, in 2017, the Department of Justice fined Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements. The government alleged that “Mallinckrodt failed to design and

implement an effective system to detect and report ‘suspicious orders’ for controlled substances -

orders that are unusual in their frequency, size, or other patterns . . . [and] Mallinckrodt supplied

distributors, and the distributors then supplied various U.S. pharmacies and pain clinics, an

increasingly excessive quantity of oxycodone pills without notifying DEA of these suspicious

orders.”

       609.    On December 23, 2016, Cardinal agreed to pay the United States $44 million to

resolve allegations that it violated the CSA in Maryland, Florida and New York by failing to report

suspicious orders of controlled substances, including oxycodone, to the DEA. In the settlement

agreement, Cardinal admitted, accepted, and acknowledged that it had violated the CSA between

January 1, 2009 and May 14, 2012 by failing to:

       a.      “timely identify suspicious orders of controlled substances and inform the DEA of
               those orders, as required by 21 C.F.R. §1301.74(b)”;

       b.      “maintain effective controls against diversion of particular controlled substances
               into other than legitimate medical, scientific, and industrial channels, as required
               by 21 C.F.R. §1301.74, including the failure to make records and reports required
               by the CSA or DEA’s regulations for which a penalty may be imposed under 21
               U.S.C. §842(a)(5)”; and

       c.      “execute, fill, cancel, correct, file with the DEA, and otherwise handle DEA ‘Form
               222’ order forms and their electronic equivalent for Schedule II controlled
               substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part 1305.”

       610.    In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal, as well

as several smaller wholesalers, for numerous causes of action, including violations of the CSA,

consumer credit and protection, and antitrust laws and the creation of a public nuisance. Unsealed

court records from that case demonstrate that AmerisourceBergen, along with McKesson and
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Cardinal, together shipped 423 million pain pills to West Virginia between 2007 and 2012.

AmerisourceBergen itself shipped 80.3 million hydrocodone pills and 38.4 million oxycodone

pills during that time period. These quantities demonstrate that the Defendants failed to control the

supply chain or to report and take steps to halt suspicious orders. In 2016, AmerisourceBergen

agreed to settle the West Virginia lawsuit for $16 million to the state; Cardinal settled for $20

million.

       611.    Similarly, Miami-Luken has come under DEA scrutiny for facilitating the diversion

of significant quantities of the highly addictive pain killers, oxycodone and hydrocodone. On

November 23, 2015, the DEA issued an Order to Show Cause against Miami-Luken to begin the

process of revoking Miami-Luken’s registration to distribute controlled substances under the

Controlled Substances Act. In early 2016, Miami-Luken agreed to pay the State of West Virginia

$2.5 million to resolve allegations that the company knowingly shipped opioids to West Virginia

pharmacies without exercising sufficient monitoring or control.318

       612.    According to a recent letter from the U.S. House of Representatives Committee on

Energy and Commerce, data provided to the Committee showed that from 2008 to 2015 Miami-

Luken provided one pharmacy in Oceana, WV, 4,391,520 hydrocodone and oxycodone pills.

Oceana, WV’s population was a mere 1,394 in 2010. As the Committee noted, this means that in

2014 alone, Miami-Luken provided roughly 689 pills for every man, woman, and child in Oceana.

Similarly, according to the data Miami-Luken provided to the Committee, in 2008, Miami-Luken

provided two pharmacies in Kermit, WV, 2,283,700 hydrocodone and oxycodone pills – 5,624




318
  See January 26, 2018, Letter to Dr. Joseph Mastandrea, Chairman of the Board, Miami-Luken, Inc., and
Mr. Michael Faul, President and Chief Executive Officer, Miami-Luken, Inc., from the H. Comm. on
Energy and Commerce.

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pills for every man, woman, and child in Kermit, WV. Upon information and belief, Miami-Luken

engaged in similar wrongful activity in Kentucky.319

            613.   Thus, Defendants have admitted disregarding their duties. They have admitted that

they pumped massive quantities of opioids into communities around the country despite their

obligations to control the supply, prevent diversions, and report and take steps to halt suspicious

orders.

                   5. Defendants Delayed a Response to the Opioid Crisis by Pretending To
                      Cooperate with Law Enforcement

            614.   When a manufacturer or distributor does not report or stop suspicious orders,

prescriptions for controlled substances may be written and dispensed to individuals who abuse

them or who sell them to others to abuse. This, in turn, fuels and expands the illegal market and

results in opioid-related overdoses. Without reporting by those involved in the supply chain, law

enforcement may be delayed in taking action - or may not know to take action at all.

            615.   After being caught failing to comply with particular obligations at particular

facilities, Distributor Defendants made broad promises to change their ways and insisted that they

sought to be good corporate citizens. As part of McKesson’s 2008 Settlement with the DEA,

McKesson claimed to have “taken steps to prevent such conduct from occurring in the future,”

including specific measures delineated in a “Compliance Addendum” to the Settlement. Yet, in

2017, McKesson paid $150 million to resolve an investigation by the U.S. DOJ for again failing

to report suspicious orders of certain drugs, including opioids. Even though McKesson had been

sanctioned in 2008 for failure to comply with its legal obligations regarding controlling diversion

and reporting suspicious orders, and even though McKesson had specifically agreed in 2008 that



319
      Id.
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it would no longer violate those obligations, McKesson continued to violate the laws in contrast

to its written agreement not to do so.

        616.   More generally, the Distributor Defendants publicly portrayed themselves as

committed to working with law enforcement, opioid manufacturers, and others to prevent

diversion of these dangerous drugs. For example, Defendant Cardinal claims that: “We challenge

ourselves to best utilize our assets, expertise and influence to make our communities stronger and

our world more sustainable, while governing our activities as a good corporate citizen in

compliance with all regulatory requirements and with a belief that doing ‘the right thing’ serves

everyone.” Defendant Cardinal likewise claims to “lead [its] industry in anti- diversion strategies

to help prevent opioids from being diverted for misuse or abuse.” Along the same lines, it claims

to “maintain a sophisticated, state-of-the-art program to identify, block and report to regulators

those orders of prescription controlled medications that do not meet [its] strict criteria.” Defendant

Cardinal also promotes funding it provides for “Generation Rx,” which funds grants related to

prescription drug misuse. A Cardinal executive recently claimed that Cardinal uses “advanced

analytics” to monitor its supply chain. Cardinal assured the public it was being “as effective and

efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

activity.”

        617.   Along the same lines, Defendant McKesson publicly claims that its “customized

analytics solutions track pharmaceutical product storage, handling and dispensing in real time at

every step of the supply chain process,” creating the impression that McKesson uses this tracking

to help prevent diversion. Defendant McKesson has also publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is

“deeply passionate about curbing the opioid epidemic in our country.”

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          618.    Defendant AmerisourceBergen, too, has taken the public position that it is

“work[ing] diligently to combat diversion and [is] working closely with regulatory agencies and

other partners in pharmaceutical and healthcare delivery to help find solutions that will support

appropriate access while limiting misuse of controlled substances.” A company spokeswoman also

provided assurance that: “At AmerisourceBergen, we are committed to the safe and efficient

delivery of controlled substances to meet the medical needs of patients.”

          619.    Moreover, in furtherance of their effort to affirmatively conceal their conduct and

avoid detection, the Supply Chain Defendants, through their trade associations, HDMA and

NACDS, filed an amicus brief in Masters Pharmaceuticals, which made the following

statements:320

          a.      “HDMA and NACDS members not only have statutory and regulatory
                  responsibilities to guard against diversion of controlled prescription drugs, but
                  undertake such efforts as responsible members of society.”

          b.      “Distributors take seriously their duty to report suspicious orders, utilizing both
                  computer algorithms and human review to detect suspicious orders based on the
                  generalized information that is available to them in the ordering process.”

          620.    Through the above statements made on their behalf by their trade associations, and

other similar statements assuring their continued compliance with their legal obligations, the

Supply Chain Defendants not only acknowledged that they understood their obligations under the

law, but they further affirmed that their conduct was in compliance with those obligations.

          621.    Defendant Mallinckrodt similarly claims to be “committed . . . to fighting opioid

misuse and abuse,” and further asserts that: “In key areas, our initiatives go beyond what is required

by law. We address diversion and abuse through a multidimensional approach that includes



320
      Brief for HDMA and NACDS, supra n. 303, 2016 WL 1321983, at *3-4, *25.

                                                  195
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educational efforts, monitoring for suspicious orders of controlled substances . . .”

       622.    Other Marketing Defendants also misrepresented their compliance with their legal

duties and their cooperation with law enforcement. Purdue serves as a hallmark example of such

wrongful conduct. Purdue deceptively and unfairly failed to report to authorities illicit or

suspicious prescribing of its opioids, even as it has publicly and repeatedly touted its “constructive

role in the fight against opioid abuse,” including its commitment to ADF opioids and its “strong

record of coordination with law enforcement.321

       623.    At the heart of Purdue’s public outreach is the claim that it works hand-in-glove

with law enforcement and government agencies to combat opioid abuse and diversion. Purdue has

consistently trumpeted this partnership since at least 2008, and the message of close cooperation

is in virtually all of Purdue’s recent pronouncements in response to the opioid abuse.

       624.    Touting the benefits of ADF opioids, Purdue’s website asserts: “[W]e are acutely

aware of the public health risks these powerful medications create . . . . That’s why we work with

health experts, law enforcement, and government agencies on efforts to reduce the risks of opioid

abuse and misuse . . . .”322 Purdue’s statement on “Opioids Corporate Responsibility” likewise

states that “[f]or many years, Purdue has committed substantial resources to combat opioid abuse




321
    Purdue, Setting The Record Straight On OxyContin’s FDA-Approved Label (May 5, 2016),
http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-oxycontins-fda-
approved-label/; Purdue, Setting The Record Straight On Our Anti-Diversion Programs (July 11, 2016),
http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straight-on-our-anti-
diversion-programs/.
322
    Purdue website, Opioids With Abuse-Deterrent Properties, available at http://www.
purduepharma.com/healthcare-professionals/responsible-use-of-opioids/opioids-with-abuse- deterrent-
properties/.

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by partnering with . . . communities, law enforcement, and government.”323 And, responding to

criticism of Purdue’s failure to report suspicious prescribing to government regulatory and

enforcement authorities, the website similarly proclaims that Purdue “ha[s] a long record of close

coordination with the DEA and other law enforcement stakeholders to detect and reduce drug

diversion.”324

        625.     These public pronouncements create the misimpression that Purdue is proactively

working with law enforcement and government authorities nationwide to root out drug diversion,

including the illicit prescribing that can lead to diversion. It aims to distance Purdue from its past

conduct in deceptively marketing opioids and make its current marketing seem more trustworthy

and truthful.

        626.     Public statements by the Defendants and their associates created the false and

misleading impression to regulators, prescribers, and the public that the Defendants rigorously

carried out their legal duties, including their duty to report suspicious orders and exercise due

diligence to prevent diversion of these dangerous drugs, and further created the false impression

that these Defendants also worked voluntarily to prevent diversion as a matter of corporate

responsibility to the communities their business practices would necessarily impact.

                 6. The Distributor Defendants Breached their Duties

        627.     Because distributors handle such large volumes of controlled substances, and are



323
   Purdue website, Opioids With Abuse-Deterrent Properties, http://www.purduepharma.com/healthcare-
professionals/responsible-use-of-opioids/opioids-with-abuse-deterrent-properties/ (last accessed April 29,
2018).
324
    Purdue, Setting The Record Straight On Our Anti-Diversion Programs, July 11, 2016, available at
http://www.purduepharma.com/news-media/get-the-facts/setting-the-record-straighton-our-anti-diversion-
programs/. Contrary to its public statements, Purdue seems to haveworked behind the scenes to push back
against law enforcement.

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the first major line of defense in the movement of legal pharmaceutical controlled substances from

legitimate channels into the illicit market, it is incumbent on distributors to maintain effective

controls to prevent diversion of controlled substances. Should a distributor deviate from these

checks and balances, the closed system collapses.325

       628.    The sheer volume of prescription opioids distributed to pharmacies in various areas,

and/or to pharmacies from which the Distributor Defendants knew the opioids were likely to be

diverted, was excessive for the medical need of the community and facially suspicious. Some red

flags are so obvious that no one who engages in the legitimate distribution of controlled substances

can reasonably claim ignorance of them.326

       629.    The Distributor Defendants failed to report “suspicious orders,” or which the

Distributor Defendants knew were likely to be diverted, to the federal authorities, including the

DEA.

       630.    The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern, and/or orders of unusual frequency, and/or in

areas from which the Distributor Defendants knew opioids were likely to be diverted.

       631.    The Distributor Defendants breached their duty to monitor, detect, investigate,

refuse and report suspicious orders of prescription opiates, and/or in areas from which the

Distributor Defendants knew opioids were likely to be diverted.

       632.    The Distributor Defendants breached their duty to maintain effective controls



325
  See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C.
Feb. 10, 2012), ECF No. 14-2.
326
   Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS,
L.L.C., d/b/a CVS/Pharmacy, Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).

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against diversion of prescription opiates into other than legitimate medical, scientific, and

industrial channels.

           633.    The Distributor Defendants breached their duty to “design and operate a system to

disclose to the registrant suspicious orders of controlled substances” and failed to inform the

authorities including the DEA of suspicious orders when discovered, in violation of their duties

under federal law.

           634.    The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels.327

           635.    The federal laws at issue here are public safety laws.

           636.    The Distributor Defendants’ violations of public safety statutes constitute prima

facie evidence of negligence under State law.

           637.    The unlawful conduct by the Distributor Defendants is purposeful and intentional.

The Distributor Defendants refuse to abide by the duties imposed by federal law which are required

to legally acquire and maintain a license to distribute prescription opiates.

           638.    The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

           639.    The Distributor Defendants’ repeated shipments of suspicious orders, over an

extended period of time, in violation of public safety statutes, and without reporting the suspicious

orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or criminal



327
      See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

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indifference to civil obligations affecting the rights of others and justifies an award of punitive

damages.

                      a. McKesson

            640.   To date, McKesson has agreed to pay over $163 million to resolve government

charges regarding diversion.

            641.   In May 2008, McKesson entered into a settlement agreement with the DEA to settle

claims that McKesson had failed to maintain effective controls against diversion of controlled

substances in Florida, Maryland, Colorado, Texas, Utah, and California (the “2008 McKesson

Settlement Agreement”).328

            642.   In the 2008 McKesson Settlement Agreement, McKesson agreed to pay a $13.25

million civil fine for its failure to report suspicious orders from rogue Internet pharmacies around

the country that resulted in millions of doses of controlled substances being diverted.329

            643.   In the 2008 McKesson Settlement Agreement, McKesson specifically “recognized

that it had a duty to monitor its sales of all controlled substances and report suspicious orders to

DEA.”330 Specifically, McKesson agreed to “maintain a compliance program designed to detect

and prevent the diversion of controlled substances, inform DEA of suspicious orders . . . and follow

the procedures established by its Controlled Substance Monitoring Program.”331 But McKesson

failed to do so. It was later revealed that McKesson's system for detecting “suspicious orders” from


328
   Press Release, U.S. Dep’t of Justice, McKesson Corporation Agrees to Pay More than $13 Million to
Settle Claims that it Failed to Report Suspicious Sales of Prescription Medications (May 2, 2008)
https://www.justice.gov/archive/opa/pr/2008/May/08-opa-374.html.
329
      Id.
330
      Id.
331
      Id.

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pharmacies was so ineffective and dysfunctional that, in a five-year period, it filled more than 1.6

million orders, but reported just 16 orders as suspicious - all from only a single consumer.332

            644.   In January 2017, McKesson further admitted to its ongoing breach of its duties to

monitor, report, and prevent suspicious orders of oxycodone and hydrocodone by entering into a

Settlement Agreement and Release with the DEA and the United States Department of Justice (the

“2017 McKesson Settlement Agreement”).333

            645.   The 2017 McKesson Settlement Agreement required McKesson to pay a record

$150 million civil penalty for violations of the CSA for its operations in California, Colorado,

Florida, Illinois, Massachusetts, Michigan, Missouri, Kentucky, Nebraska, New Jersey, Ohio,

Washington, West Virginia, and Wisconsin.334

            646.   In the 2017 McKesson Settlement Agreement, McKesson admitted that, between

January 1, 2009 and January 17, 2017, it “did not identify or report to DEA certain orders placed

by certain pharmacies which should have been detected by McKesson as suspicious based on the

guidance contained in the DEA Letters.”335 Despite its obligations contained in the 2008

Settlement Agreement, McKesson “failed to properly monitor its sales of controlled substances

and/or report suspicious orders to DEA, in accordance with McKesson's obligations under the 2008




332
   Press Release, U.S. Dep’t of Justice, McKesson Agrees to Pay Record $150 Million Settlement for
Failure to Report Suspicious Orders of Pharmaceutical Drugs (Jan. 17, 2017),
https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-settlement-failure-report-
suspicious-orders.
333
   The 2017 Settlement Agreement, available at: https://www.justice.gov/opa/press-
release/file/928471/download.
334
      Id.
335
      Id. at 5.

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Agreements, the CSA, and 21 C.F.R. § 1301.74(b).”336

            647.   In the 2017 McKesson Settlement Agreement, McKesson further admitted that it

had “distributed controlled substances to pharmacies even though those [McKesson] Distribution

Centers should have known that the pharmacists practicing within those pharmacies had failed to

fulfill their corresponding responsibility to ensure that controlled substances were dispensed

pursuant to prescriptions issued for legitimate medical purposes by practitioners acting in the usual

course of their professional practice, as required by 21 C.F.R. § 1306.04(a).”337 McKesson

admitted that it had “failed to maintain effective controls against diversion of particular controlled

substances into other than legitimate medical scientific and industrial channels by sales to certain

of its customers in violation of the CSA and the CSA's implementing regulations.”338

            648.   As part of the 2017 McKesson Settlement Agreement, McKesson agreed that its

authority to distribute controlled substances from 12 distribution centers would be partially

suspended for several years.339 The overall sanctions included in the 2017 McKesson Settlement

Agreement were the most severe ever imposed on a DEA-registered distributor.

                      b. Cardinal

            649.   To date, Cardinal has paid a total of $98 million in fines and other amounts

involving multiple DEA and various state actions relating to its improper management and

distribution of opioids to pharmacies across the United States.

            650.   In 2008, Cardinal paid a $34 million penalty to settle allegations about opioid


336
      Id. at 3.
337
      Id. at 4.
338
      Id. at 3.
339
      Id.

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diversion taking place at warehouses in seven different states (the “2008 Cardinal Settlement

Agreement”).340 These allegations included failing to report to the DEA thousands of suspicious

orders of hydrocodone that Cardinal then distributed to pharmacies that filled illegitimate

prescriptions originating from rogue Internet pharmacy websites.341

            651.   In connection with the 2008 Cardinal Settlement Agreement, the DEA stated that

“[d]espite [its] repeated attempts to educate Cardinal on diversion awareness and prevention,

Cardinal engaged in a pattern of failing to report blatantly suspicious orders for controlled

substances filled by its distribution facilities located throughout the United States.”342 The DEA

concluded that “Cardinal’s conduct allowed the ‘diversion’ of millions of dosage units of

hydrocodone from legitimate to non-legitimate channels.”343

            652.   As part of the 2008 Cardinal Settlement Agreement, Cardinal agreed to “maintain

a compliance program designed to detect and prevent diversion of controlled substances as

required under the CSA and applicable DEA regulations.”344 However, in 2012, the DEA issued

an “immediate suspension order,” suspending Cardinal’s registration with respect to its drug

distribution facility in Lakeland, Florida. That Order stated that “despite the [2008 Cardinal

Settlement Agreement], the specific guidance provided to Cardinal by DEA, and despite the


340
   Press Release, U.S. Att’y Office, Dist. of Colo., Cardinal Health Inc., Agrees to Pay $34 Million to Settle
Claims that it Failed to Report Suspicious Sales of Widely-Abused Controlled Substances (Oct. 2, 2008),
https://www.justice.gov/archive/usao/co/news/2008/October08/10_2_08.html.
341
      Id.
342
   U.S. Att’y Office, Dist. of Colo., Cardinal Health Inc. Agrees to Pay $34 Million to Settle Claims that
It Failed to Report Suspicious Sales of Widely-Abused Controlled Substances (Oct. 2, 2008),
https://www.justice.gov/archive/usao/co/news/2008/October08/10_2_08.html.
343
      Id.
344
      Cardinal Health, Inc. v. Holder, 846 F. Supp.2d 203, 219 (D.D.C. 2012).

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public information readily available regarding the oxycodone epidemic in Florida, Cardinal has

failed to maintain effective controls against diversion of controlled substances into other than

legitimate medical, scientific, and industrial channels, in violation of [the CSA].”345

        653.     In 2012, Cardinal reached another settlement agreement with the DEA in which

Cardinal agreed that it had (i) failed to maintain effective controls against the diversion of

controlled substances, including failing to conduct meaningful due diligence to ensure that

controlled substances were not diverted; (ii) failed to detect and report suspicious orders of

controlled substances as required by the CSA, on or before May 14, 2012; and (iii) failed to adhere

to the provisions of the 2008 Cardinal Settlement Agreement.346

        654.     In December 2016, Cardinal again settled charges that it had violated the CSA by

failing to prevent diversion of oxycodone for illegal purposes, this time for $44 million (the “2016

Cardinal Settlement Agreement”).347 The settlement covered DEA allegations that Cardinal had

failed to report suspicious orders across Washington, Maryland, New York, and Florida. The same

Florida distribution center at the heart of the 2012 settlement was again implicated in this case.

The settlement also covered a Cardinal subsidiary, Kinray, LLC, which failed to report a single

suspicious order despite shipping oxycodone and hydrocodone to more than 20 New York-area

pharmacy locations that placed unusually high orders of controlled substances at an unusually

frequent rate.




345
   Id.
346
   Administrative Memorandum of Agreement (May 14, 2012),
https://www.dea.gov/divisions/hq/2012/cardinal_agreement.pdf (last accessed April 12, 2018).
347
   U.S. Att’y Office, Dist. of Md., Cardinal Health Agrees to $44 Million Settlement for Alleged Violations
of Controlled Substances Act (Dec. 23, 2016) https://www.justice.gov/usao-md/pr/cardinal-health-agrees-
44-million-settlement-alleged-violations-controlled-substances-act.

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            655.   In 2017, Cardinal reached a $20 million settlement with the State of West Virginia,

where it was the largest wholesale supplier of prescription opioids.348

                      c. AmerisourceBergen

            656.   AmerisourceBergen has paid $16 million in settlements and had certain licenses

revoked as a result of allegations related to the diversion of prescription opioids.

            657.   In 2007, AmerisourceBergen lost its license to send controlled substances from a

distribution center amid allegations that it was not controlling shipments of prescription opioids to

Internet pharmacies.349 Over the course of one year, AmerisourceBergen had distributed 3.8

million dosage units of hydrocodone to “rogue pharmacies.”350 The DEA suspended

AmerisourceBergen's registration after determining that “the continued registration of this

company constitutes an imminent danger to public health and safety.”351

            658.   Again in 2012, AmerisourceBergen was implicated for failing to protect against

diversion of particular controlled substances into non-medically necessary channels.352

                   7. The Distributor Defendants Have Sought To Avoid and Have
                      Misrepresented Their Compliance with Their Legal Duties

            659.   The Distributor Defendants have repeatedly misrepresented their compliance with


348
   Asbury, Kyla, Cardinal Health, AmerisourceBergen settle pain pill lawsuit for $36 million, WV Record,
https://wvrecord.com/stories/511071502-cardinal-health-amerisourcebergen-settle-pain-pill-lawsuit-for-
36-million (Jan. 10, 2017).

  Press Release, Drug Enf’t Admin., DEA Suspends Orlando Branch of Drug Company from Distributing
349

Controlled Substances (Apr. 24, 2007), https://www.dea.gov/divisions/mia/2007/mia042407p.html.
350
      Id.
351
      Id.
352
   Jeff Overley, AmerisourceBergen Subpoenaed by DEA Over Drug Diversion, Law360.com (Aug. 9,
2012), available at https://www.law360.com/articles/368498/amerisourcebergen-subpoenaed-by-dea-
over-drug-diversion.

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their legal duties under federal law and have wrongfully and repeatedly disavowed those duties in

an effort to mislead regulators and the public regarding the Distributor Defendants’ compliance

with their legal duties.

           660.     Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017),

the Healthcare Distribution Management Association, n/k/a HDA, a trade association run by the

Distributor Defendants, and the National Association of Chain Drug Stores (“NACDS”) submitted

amicus briefs regarding the legal duty of wholesale distributors. Inaccurately denying the legal

duties that the wholesale drug industry has been tragically recalcitrant in performing, they argued

as follows:

           a.       The Associations complained that the “DEA has required distributors not only to
                    report suspicious orders, but to investigate orders (e.g., by interrogating pharmacies
                    and physicians) and take action to halt suspicious orders before they are filled.”353

           b.       The Associations argued that, “DEA now appears to have changed its position to
                    require that distributors not only report suspicious orders, but investigate and halt
                    suspicious orders. Such a change in agency position must be accompanied by an
                    acknowledgment of the change and a reasoned explanation for it. In other words,
                    an agency must display awareness that it is changing position and show that there
                    are good reasons for the new policy. This is especially important here, because
                    imposing intrusive obligation on distributors threatens to disrupt patient access to
                    needed prescription medications.”354

           c.       The Associations alleged (inaccurately) that nothing “requires distributors to
                    investigate the legitimacy of orders, or to halt shipment of any orders deemed to be
                    suspicious.”355

           d.       The Associations complained that the purported “practical infeasibility of requiring
                    distributors to investigate and halt suspicious orders (as well as report them)

353
      Brief for HDMA and NACDS, supra n. 303, 2016 WL 1321983, at *4–5.
354
      Id. at *8 (citations and quotation marks omitted).
355
      Id. at *14.

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                    underscores the importance of ensuring that DEA has complied with the APA
                    before attempting to impose such duties.”356

           e.       The Associations alleged (inaccurately) that “DEA’s regulations [] sensibly
                    impose[] a duty on distributors simply to report suspicious orders, but left it to DEA
                    and its agents to investigate and halt suspicious orders.”357

           f.       Also inaccurately, the Associations argued that, “[i]mposing a duty on distributors
                    – which lack the patient information and the necessary medical expertise – to
                    investigate and halt orders may force distributors to take a shot-in-the-dark
                    approach to complying with DEA’s demands.”358

           661.     The positions taken by the trade groups is emblematic of the position taken by the

Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

the dangerous drugs.359

           662.     The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. In Masters

Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017), the D.C. Circuit Court upheld

the revocation of Masters Pharmaceutical’s license and determined that DEA regulations require

that in addition to reporting suspicious orders, distributors must “decline to ship the order, or

conduct some ‘due diligence’ and—if it is able to determine that the order is not likely to be

diverted into illegal channels—ship the order.” Id. at 212. Masters Pharmaceutical was in violation

of legal requirements because it failed to conduct necessary investigations and filled suspicious




356
      Id. at *22.
357
      Id. at *24–25.
358
      Id. at 26.
359
    See Brief of HDMA in Support of Cardinal, supra n. 312, 2012 WL 1637016, at *3 (arguing the
wholesale distributor industry “does not know the rules of the road because” they claim (inaccurately) that
the “DEA has not adequately explained them”).

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orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags giving rise to

suspicious circumstance prior to shipping a suspicious order. Id. at 226. The Circuit Court also

rejected the argument made by the HDMA and NACDS (quoted above), that, allegedly, the DEA

had created or imposed new duties. Id. at 220.

            663.   Because of the Distributor Defendants’ refusals to abide by their legal obligations,

the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

in May 2014, the United States Department of Justice, Office of the Inspector General, Evaluation

and Inspections Divisions, reported that the DEA issued final decisions in 178 registrant actions

between 2008 and 2012.360 As noted above, the Office of Administrative Law Judges issued a

recommended decision in a total of 117 registrant actions before the DEA issued its final decision,

including 76 actions involving orders to show cause and 41 actions involving immediate

suspension orders.361 These actions include the following:

            a.     On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                   Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                   center (“Orlando Facility”) alleging failure to maintain effective controls against
                   diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
                   into a settlement that resulted in the suspension of its DEA registration;

            b.     On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
                   Suspension Order against the Cardinal Auburn, Washington Distribution Center
                   (“Auburn Facility”) for failure to maintain effective controls against diversion of
                   hydrocodone;

            c.     On December 5, 2007, the DEA issued an Order to Show Cause and Immediate

360
   Evaluation and Inspections Div., Off. of the Inspector Gen., U.S. Dep’t of Justice, The Drug
Enforcement Administration’s Adjudication of Registrant Actions (May 2014),
https://oig.justice.gov/reports/2014/e1403.pdf.
361
      Id.



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            Suspension Order against the Cardinal Lakeland, Florida Distribution Center
            (“Lakeland Facility”) for failure to maintain effective controls against diversion of
            hydrocodone;

      d.    On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
            Suspension Order against the Cardinal Swedesboro, New Jersey Distribution
            Center (“Swedesboro Facility”) for failure to maintain effective controls against
            diversion of hydrocodone;

      e.    On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
            Suspension Order against the Cardinal Stafford, Texas Distribution Center
            (“Stafford Facility”) for failure to maintain effective controls against diversion of
            hydrocodone;

      f.    On May 2, 2008, McKesson Corporation entered into an Administrative
            Memorandum of Agreement (the “2008 McKesson Settlement Agreement”) with
            the DEA which provided that McKesson would “maintain a compliance program
            designed to detect and prevent the diversion of controlled substances, inform DEA
            of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the procedures
            established by its Controlled Substance Monitoring Program”;

      g.    On September 30, 2008, Cardinal entered into a Settlement and Release Agreement
            and Administrative Memorandum of Agreement with the DEA related to its Auburn
            Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The
            document also referenced allegations by the DEA that Cardinal failed to maintain
            effective controls against the diversion of controlled substances at its distribution
            facilities located in McDonough, Georgia (“McDonough Facility”), Valencia,
            California (“Valencia Facility”) and Denver, Colorado (“Denver Facility”);

      h.    On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
            Suspension Order against the Cardinal Lakeland, Florida Distribution Center
            (“Lakeland Facility”) for failure to maintain effective controls against diversion of
            oxycodone;

      i.    On December 23, 2016, Cardinal agreed to pay a $44 million fine to the DEA to
            resolve the civil penalty portion of the administrative action taken against its
            Lakeland, Florida Distribution Center; and

      j.    On January 5, 2017, McKesson Corporation entered into an Administrative
            Memorandum Agreement with the DEA wherein it agreed to pay a $150 million
            civil penalty for violation of the the 2008 McKesson Settlement Agreement as well
            as failure to identify and report suspicious orders at its facilities in Aurora, CO;

                                             209
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               Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland, FL; Landover, MD; La Vista,
               NE; Livonia, MI; Methuen, MA; Sante Fe Springs, CA; Washington Courthouse,
               OH; and West Sacramento, CA.

       664.    Rather than abide by their non-delegable duties under public safety laws, the

Distributor Defendants, individually and collectively through trade groups in the industry,

pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s license

from “imminent harm” to “immediate harm” and provided the industry the right to “cure” any

violations of law before a suspension order can be issued.362

       665.    In addition to taking actions to limit regulatory prosecutions and suspensions, the

Distributor Defendants undertook to fraudulently convince the public that they were complying

with their legal obligations, including those imposed by licensing regulations. Through such

statements, the Distributor Defendants attempted to assure the public they were working to curb

the opioid epidemic.

       666.    For example, a Cardinal executive claimed that it uses “advanced analytics” to


362
   See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, WASHINGTON POST (Oct. 22, 2016),
https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-while-the-opioid-epidemic-
grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html?utm_term=.2f757833e3c4; Lenny Bernstein & Scott Higham, Investigations:
U.S. Senator Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, WASHINGTON
POST (Mar. 6, 2017), https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-
of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
a05d3c21f7cf_story.html?utm_term=.7007bf2b9455; Eric Eyre, DEA Agent: “We Had No Leadership”
in WV Amid Flood of Pain Pills, CHARLESTON GAZETTE-MAIL (Feb. 18, 2017),
https://www.wvgazettemail.com/news/health/dea-agent-we-had-no-leadership-in-wv-amid-
flood/article_928e9bcd-e28e-58b1-8e3f-f08288f539fd.html.

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monitor its supply chain, and represented that it was being “as effective and efficient as possible

in constantly monitoring, identifying, and eliminating any outside criminal activity.”363 Given the

sales volumes and the company’s history of violations, this executive was either not telling the

truth, or, if Cardinal had such a system, it ignored the results.

       667.    Similarly, Defendant McKesson publicly stated that it has a “best-in-class

controlled substance monitoring program to help identify suspicious orders,” and claimed it is

“deeply passionate about curbing the opioid epidemic in our country.”364 Again, given

McKesson’s historical conduct, this statement is either false, or the company ignored outputs of

the monitoring program.

       668.    By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

arouse suspicion of the claims that the Plaintiffs now assert.

       669.    Meanwhile, the opioid epidemic rages unabated in the United States.

       670.    The epidemic still rages because the fines and suspensions imposed by the DEA do

not change the conduct of the industry. The distributors, including the Distributor Defendants, pay

fines as a cost of doing business in an industry that generates billions of dollars in annual revenue.

They hold multiple DEA registration numbers and when one facility is suspended, they simply


363
   Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No
One Was Doing Their Job,” WASHINGTON POST (Oct. 22, 2016),
https://www.washingtonpost.com/investigations/how-drugs-intended-for-patients-ended-up-in-the-hands-
of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-8ff7-
7b6c1998b7a0_story.html?utm_term=.a5f051722a7a.
364
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb
Opioid Abuse, WASHINGTON POST (Dec. 22, 2016), https://www.washingtonpost.com/investigations/key-
officials-switch-sides-from-dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-
949c5893595e_story.html?utm_term=.4a72ad72cc8f.

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ship from another facility.

        671.    The wrongful actions and omissions of the Distributor Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to and/or

proximate cause of the opioid crisis are alleged in greater detail in Plaintiffs’ racketeering

allegations below.

        672.    The Distributor Defendants have abandoned their duties imposed under federal law,

taken advantage of a lack of DEA law enforcement, and abused the privilege of distributing

controlled substances.

        L.      THE NATIONAL RETAIL PHARMACIES WERE ON NOTICE OF AND
                CONTRIBUTED TO ILLEGAL DIVERSION OF PRESCRIPTION
                OPIOIDS

        673.    National retail pharmacy chains earned enormous profits by flooding the country

with prescription opioids.365 They were keenly aware of the oversupply of prescription opioids

through the extensive data and information they developed and maintained as both distributors and

dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

communities, they continued to participate in the oversupply and profit from it.

        674.    Each of the National Retail Pharmacies does substantial business throughout the

United States. This business includes the distribution and dispensing of prescription opioids.

        675.    Statewide ARCOS data will confirm that the National Retail Pharmacies distributed

and dispensed substantial quantities of prescription opioids, including fentanyl, hydrocodone, and

oxycodone in Kentucky. In addition, they distributed and dispensed substantial quantities of

prescription opioids in other states, and these drugs were diverted from these other states to


365
   Plaintiffs’ allegations of wrongdoing are pointing to the National Retail Pharmacies not the pharmacy
industry who in general serve a vital healthcare function in the US.

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Kentucky. The National Retail Pharmacies failed to take meaningful action to stop this diversion

despite their knowledge of it, and contributed substantially to the diversion problem.

       676.    The National Retail Pharmacies developed and maintained extensive data on

opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

knowledge of patterns and instances of improper distribution, prescribing, and use of prescription

opioids in communities throughout the country, and in Kentucky in particular. They used the data

to evaluate their own sales activities and workforce. On information and belief, the National Retail

Pharmacies also provided Defendants with data regarding, inter alia, individual doctors in

exchange for rebates or other forms of consideration. The National Retail Pharmacies’ data is a

valuable resource that they could have used to help stop diversion, but failed to do so.

               1. The National Retail Pharmacies Have a Duty To Prevent Diversion

       677.    Each participant in the supply chain of opioid distribution, including the National

Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

market by, among other things, monitoring and reporting suspicious activity.

       678.    The National Retail Pharmacies, like manufacturers and other distributors, are

registrants under the CSA. 21 C.F.R. § 1301.11. Under the CSA, pharmacy registrants are

required to “provide effective controls and procedures to guard against theft and diversion of

controlled substances.” See 21 C.F.R. § 1301.71(a). In addition, 21 C.F.R. § 1306.04(a) states,

“[t]he responsibility for the proper prescribing and dispensing of controlled substances is upon the

prescribing practitioner, but a corresponding responsibility rests with the pharmacist who fills the

prescription.” Because pharmacies themselves are registrants under the CSA, the duty to prevent

diversion lies with the pharmacy entity, not the individual pharmacist alone.

       679.    The DEA, among others, has provided extensive guidance to pharmacies

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concerning their duties to the public. The guidance advises pharmacies how to identify suspicious

orders and other evidence of diversion.

       680.    Suspicious pharmacy orders include orders that are disproportionately large in

comparison to the population of a community served by the pharmacy, orders that deviate from a

normal pattern and/or orders of unusual frequency and duration, among others.

       681.    Additional types of suspicious orders include: (1) prescriptions written by a doctor

who writes significantly more prescriptions (or in larger quantities or higher doses) for controlled

substances compared to other practitioners in the area; (2) prescriptions which should last for a

month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for antagonistic

drugs, such as depressants and stimulants, at the same time; (4) prescriptions that look “too good”

or where the prescriber’s handwriting is too legible; (5) prescriptions with quantities or doses that

differ from usual medical usage; (6) prescriptions that do not comply with standard abbreviations

and/or contain no abbreviations; (7) photocopied prescriptions; or (8) prescriptions containing

different handwriting. Most of the time, these attributes are not difficult to detect and should be

easily recognizable by pharmacies.

       682.    Suspicious pharmacy orders are red flags for if not direct evidence of diversion.

       683.    Other signs of diversion can be observed through data gathered, consolidated, and

analyzed by the National Retail Pharmacies themselves. That data allows them to observe patterns

or instances of dispensing that are potentially suspicious, of oversupply in particular stores or

geographic areas, or of prescribers or facilities that seem to engage in improper prescribing.

       684.    According to industry standards, if a pharmacy finds evidence of prescription

diversion, the local Board of Pharmacy and DEA must be contacted.

       685.    Despite their legal obligations as registrants under the CSA, the National Retail

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Pharmacies allowed widespread diversion to occur—and they did so knowingly. They knew they

made money by filling prescriptions, not by not filling prescriptions. They knew they made money

by making it easy for doctors to refer patients to them to fill drug prescriptions, not by making it

difficult for doctors to refer patients to them to fill prescriptions.

         686.   Performance metrics and prescription quotas adopted by the National Retail

Pharmacies for their retail stores contributed to their failure. For instance, under CVS’s Metrics

System, pharmacists are directed to meet high goals that make it difficult, if not impossible, to

comply with applicable laws and regulations. There is no measurement for pharmacy accuracy or

customer safety. Moreover, the bonuses for pharmacists are calculated, in part, on how many

prescriptions that pharmacist fills within a year. The result is both deeply troubling and entirely

predictable: opioids flowed out of National Retail Pharmacies and into communities throughout

the country. The National Retail Pharmacies had no incentive to stop the outflow, and every

financial incentive to further it. Their policies and practices remained in place even as the epidemic

raged.

         687.   In consideration of a reasonable opportunity for further investigation and discovery,

Plaintiffs allege that this problem was compounded by the National Retail Pharmacies’ failure to

adequately train their pharmacists and pharmacy technicians on how to properly and adequately

handle prescriptions for opioid painkillers, including what constitutes a proper inquiry into whether

a prescription is legitimate, whether a prescription is likely for a condition for which the FDA has

approved treatments with opioids, and what measures and/or actions to take when a prescription

is identified as phony, false, forged, or otherwise illegal, or when suspicious circumstances are

present, including when prescriptions are procured and pills supplied for the purpose of illegal

diversion and drug trafficking.

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       688.    In consideration of a reasonable opportunity for further investigation and discovery,

Plaintiffs allege that the National Retail Pharmacies also failed to adequately use data available to

them to identify doctors who were writing suspicious numbers                 of prescriptions and/or

prescriptions of suspicious amounts of opioids, or to adequately use data available to them to do

statistical analysis to prevent the filling of prescriptions that were illegally diverted or otherwise

contributed to the opioid crisis.

       689.    In consideration of a reasonable opportunity for further investigation and discovery,

Plaintiffs allege that the National Retail Pharmacies failed to analyze: (a) the number of opioid

prescriptions filled by individual pharmacies relative to the population of the pharmacy's

community; (b) the increase in opioid sales relative to past years; (c) the number of opioid

prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales relative to

the increase in annual sales of other drugs.

       690.    In consideration of a reasonable opportunity for further investigation and discovery,

Plaintiffs allege that the National Retail Pharmacies also failed to conduct adequate internal or

external audits of their opioid sales to identify patterns regarding prescriptions that should not have

been filled and to create policies accordingly, or if they conducted such audits, they failed to take

any meaningful action as a result.

       691.    In consideration of a reasonable opportunity for further investigation and discovery,

Plaintiffs allege that the National Retail Pharmacies also failed to effectively respond to concerns

raised by their own employees regarding inadequate policies and procedures regarding the filling

of opioid prescriptions.

       692.    The National Retail Pharmacies were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

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patently absurd; yet, they did not take meaningful action to investigate or to ensure that they were

complying with their duties and obligations under the law with regard to controlled substances.

               2. Multiple Enforcement Actions against the National Retail Pharmacies
                  Confirms Their Compliance Failures

       693.    The National Retail Pharmacies have long been on notice of their failure to abide

by state and federal law and regulations governing the distribution and dispensing of prescription

opioids. Indeed, several of the National Retail Pharmacies have been repeatedly penalized for their

illegal prescription opioid practices. In consideration of a reasonable opportunity for further

investigation and discovery, Plaintiffs allege that based upon the widespread nature of these

violations, these enforcement actions are the product of, and confirm, national policies and

practices of the National Retail Pharmacies.

                   a. CVS

       694.    CVS is one of the largest companies in the world, with annual revenue of more than

$150 billion. According to news reports, it manages medications for nearly 90 million customers

at 9,700 retail locations. CVS could be a force for good in connection with the opioid crisis, but

like other Defendants, CVS sought profits over people.

       695.    CVS is a repeat offender; the company has paid fines totaling over $40 million as

the result of a series of investigations by the DEA and the DOJ. It nonetheless treated these fines

as the cost of doing business and has allowed its pharmacies to continue dispensing opioids in

quantities significantly higher than any plausible medical need would require, and to continue

violating its recordkeeping and dispensing obligations under the CSA.

       696.    As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies



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failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled substances.366

       697.    This fine was preceded by numerous others throughout the county.

       698.    In February 2016, CVS paid $8 million to settle allegations made by the DEA and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties under

the CSA and filling prescriptions with no legitimate medical purpose.367

       699.    In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores in

Connecticut failed to maintain proper records in accordance with the CSA.368

       700.    In September 2016, CVS entered into a $795,000 settlement with the Massachusetts

Attorney General wherein CVS agreed to require pharmacy staff to access the state’s prescription

monitoring program website and review a patient’s prescription history before dispensing certain

opioid drugs.369

       701.    In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances— mostly




366
   Press Release, U.S. Attorney’s Office E. Dist. of Cal., CVS Pharmacy Inc. Pays $5M to Settle Alleged
Violations of the Controlled Substance Act, U.S. Dep’t of Just. (July 11, 2017),
https://www.justice.gov/usao-edca/pr/cvs-pharmacy-inc-pays-5m-settle-alleged-violationscontrolled-
substance-act.
367
   Press Release, U.S. Attorney’s Office Dist. of Md., United States Reaches $8 Million Settlement
Agreement with CVS for Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (Feb. 12,
2016), https://www.justice.gov/usao-md/pr/united-states-reaches-8-millionsettlement-agreement-cvs-
unlawful-distribution-controlled.

  Press Release, U.S. Attorney’s Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle Controlled
368

Substances Act Allegations, U.S. Dep’t of Just. (Oct. 20, 2016), https://www.justice.gov/usao-ct/pr/cvs-
pharmacy-pays-600000-settle-controlled-substances-actallegations.
369
   Dialynn Dwyer, CVS will pay $795,000, strengthen policies around dispensing opioids in agreement
with state, Boston.com (Sept. 1, 2016), https://www.boston.com/news/localnews/2016/09/01/cvs-will-pay-
795000-strengthen-policies-around-dispensing-opioids-inagreement-with-state.

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addictive painkillers—more than 500 times between 2011 and 2014.370

        702.       In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island stores

violated the CSA by filling invalid prescriptions and maintaining deficient records. The United

States alleged that CVS retail pharmacies in Rhode Island filled a number of forged prescriptions

with invalid DEA numbers, and filled multiple prescriptions written by psychiatric nurse

practitioners for hydrocodone, despite the fact that these practitioners were not legally permitted

to prescribe that drug. Additionally, the government alleged that CVS had recordkeeping

deficiencies.371

        703.       In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids, “based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need.”372




370
   Press Release, U.S. Attorney’s Office Dist. of Mass., CVS to Pay $3.5 Million to Resolve Allegations
that Pharmacists Filled Fake Prescriptions, U.S. Dep’t of Just. (June 30, 2016),
https://www.justice.gov/usao-ma/pr/cvs-pay-35-million-resolve-allegations-pharmacists-filledfake-
prescriptions.
371
   Press Release, U.S. Attorney’s Office Dist. of R.I., Drug Diversion Claims Against CVS Health Corp.
Resolved With $450,000 Civil Settlement, U.S. Dep’t of Just. (Aug. 10, 2015),
https://www.justice.gov/usao-ri/pr/drug-diversion-claims-against-cvs-health-corp-resolved- 450000-civil-
settlement.
372
   Press Release, U.S. Attorney’s Office M. Dist. of Fla., United States Reaches $22 Million Settlement
Agreement With CVS For Unlawful Distribution of Controlled Substances, U.S. Dep’t of Just. (May 13,
2015), https://www.justice.gov/usao-mdfl/pr/united-states-reaches-22- million-settlement-agreement-cvs-
unlawful-distribution.

                                                  219
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        704.    In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired.373

        705.    In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City

metropolitan area.374

        706.    Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

registration numbers.375

                    b. Walgreens

        707.    Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118 billion. According to its website, Walgreens operates

more than 8,100 retail locations and filled 990 million prescriptions on a 30-day adjusted basis in

fiscal 2017.

        708.    Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve




373
   Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News (Sept. 5, 2014),
http://www.expressnews.com/business/local/article/H-E-BCVSfined-over-prescriptions-5736554.php.
374
   Andrew Knittle, Oklahoma pharmacy board stays busy, hands out massive fines at times, NewsOK (May
3, 2015), http://newsok.com/article/5415840.
375
   Press Release, U.S. Attorney’s Office W. Dist. of Okla., CVS to Pay $11 Million To Settle Civil Penalty
Claims Involving Violations of Controlled Substances Act, U.S. Dep’t of Just.

(Apr. 3, 2013), https://www.justice.gov/usao-wdok/pr/cvs-pay-11-million-settle-civil-penaltyclaims-

involving-violations-controlled.

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allegations that it committed an unprecedented number of recordkeeping and dispensing violations

of the CSA, including negligently allowing controlled substances such as oxycodone and other

prescription painkillers to be diverted for abuse and illegal black market sales.376

            709.   As part of the settlement, Walgreens admitted that it failed to uphold its obligations

as a DEA registrant regarding the above-described conduct.377

            710.   The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.

            711.   Walgreens’ Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion of prescription opioids. Walgreens’ Florida pharmacies each allegedly

ordered more than one million dosage units of oxycodone in 2011 – more than ten times the

average amount.378

            712.   They increased their orders over time, in some cases as much as 600% in the space

of just two years, including, for example, supplying a town of 3,000 with 285,800 orders of

oxycodone in a one-month period. Yet Walgreens corporate officers not only turned a blind eye,

but provided pharmacists with incentives through a bonus program that compensated them based

on the number of prescriptions filled at the pharmacy. In fact, corporate attorneys at Walgreens

suggested, in reviewing the legitimacy of prescriptions coming from pain clinics, that “if these are


376
   Press Release, U.S. Attorney’s Office S. Dist. of Fla., Walgreens Agrees To Pay A Record Settlement Of
$80 Million For Civil Penalties Under The Controlled Substances Act, U.S. Dep’t of Just. (June 11, 2013),
https://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-recordsettlement-80-million-civil-penalties-
under-controlled.
377
      Id.
378
  Order to Show Cause and Immediate Suspension of Registration, In the Matter of Walgreens Co. (Drug
Enf’t Admin. Sept. 13, 2012).

                                                    221
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legitimate indicators of inappropriate prescriptions perhaps we should consider not documenting

our own potential noncompliance,” underscoring Walgreens’ attitude that profit outweighed

compliance with the CSA or the health of communities.379

            713.   Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to

Walgreens’ Florida pharmacies, and provided bonuses for pharmacy employees based on number

of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

Center.380

            714.   The six retail pharmacies in Florida that received the suspicious drug shipments

from the Jupiter Distribution Center, in turn, filled customer prescriptions that they knew or should

have known were not for legitimate medical use.381

            715.   Walgreens has also settled with a number of state attorneys general, including West

Virginia ($575,000) and Massachusetts ($200,000).382



379
      Id.
380
      Id.
381
      Id.
382
     Walgreens to pay $200,000 settlement for lapses with opioids, APhA (Jan. 25, 2017),
https://www.pharmacist.com/article/walgreens-pay-200000-settlement-lapses-opioids.

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            716.   The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the opioid

use of some Medicaid patients who were considered high-risk.

            717.   In January 2017, an investigation by the Massachusetts Attorney General found that

some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use sound

professional judgment when dispensing opioids and other controlled substances—despite the

context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.383

            M.     THE MARKETING DEFENDANTS’ UNLAWFUL FAILURE TO
                   PREVENT DIVERSION AND MONITOR, REPORT, AND PREVENT
                   SUSPICIOUS ORDERS

            718.   The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

were also legally required of the Marketing Defendants under federal law.

            719.   Like the Distributor Defendants, the Marketing Defendants were required to

register with the DEA to manufacture Schedule II controlled substances, like prescription opioids.

See 21 U.S.C. § 823(a). A requirement of such registration is the:

            maintenance of effective controls against diversion of particular controlled
            substances and any controlled substance in schedule I or II compounded therefrom
            into other than legitimate medical, scientific, research, or industrial channels, by
            limiting the importation and bulk manufacture of such controlled substances to a
            number of establishments which can produce an adequate and uninterrupted supply
            of these substances under adequately competitive conditions for legitimate medical,
            scientific, research, and industrial purposes . . .

21 USCA § 823(a)(1) (emphasis added).




383
      Id.

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       720.    Additionally, as “registrants” under Section 823, the Marketing Defendants were

also required to monitor, report, and prevent suspicious orders of controlled substances:

       The registrant shall design and operate a system to disclose to the registrant
       suspicious orders of controlled substances. The registrant shall inform the Field
       Division Office of the Administration in his area of suspicious orders when
       discovered by the registrant. Suspicious orders include orders of unusual size,
       orders deviating substantially from a normal pattern, and orders of unusual
       frequency. 21 C.F.R. § 1301.74; see also 21 C.F.R. § 1301.02 (“Any term used in
       this part shall have the definition set forth in section 102 of the Act (21 U.S.C. 802)
       or part 1300 of this chapter.”); 21 C.F.R. § 1300.01 (“Registrant means any person
       who is registered pursuant to either section 303 or section 1008 of the Act (21
       U.S.C. 823 or 958).”

       721.     Like the Distributor Defendants, the Marketing Defendants breached these duties.

       722.    The Marketing Defendants had access to and possession of the information

necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

Marketing Defendants engaged in the practice of paying “chargebacks” to opioid distributors. A

chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer’s product at a price below a specified rate. After a distributor sells a manufacturer’s

product to a pharmacy, for example, the distributor requests a chargeback from the manufacturer

and, in exchange for the payment, the distributor identifies to the manufacturer the product, volume

and the pharmacy to which it sold the product. Thus, the Marketing Defendants knew – just as the

Distributor Defendants knew – the volume, frequency, and pattern of opioid orders being placed

and filled. The Marketing Defendants built receipt of this information into the payment structure

for the opioids provided to the opioid distributors.

       723.    Federal statutes and regulations are clear: just like opioid distributors, opioid

manufacturers are required to “design and operate a system to disclose . . . suspicious orders of

controlled substances” and to maintain “effective controls against diversion.” 21 C.F.R. § 1301.74;

21 USCA § 823(a)(1).
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            724.   The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for violating

recordkeeping requirements.384

            725.   In the press release accompanying the settlement, the Department of Justice stated:

“[Mallinckrodt] did not meet its obligations to detect and notify DEA of suspicious orders of

controlled substances such as oxycodone, the abuse of which is part of the current opioid epidemic.

These suspicious order monitoring requirements exist to prevent excessive sales of controlled

substances, like oxycodone in Florida and elsewhere.” . . . “Mallinckrodt’s actions and omissions

formed a link in the chain of supply that resulted in millions of oxycodone pills being sold on the

street.” . . . “Manufacturers and distributors have a crucial responsibility to ensure that controlled

substances do not get into the wrong hands. . . .”385

            726.   Among the allegations resolved by the settlement, the government alleged

“Mallinckrodt failed to design and implement an effective system to detect and report ‘suspicious

orders’ for controlled substances – orders that are unusual in their frequency, size, or other patterns

. . . [and] Mallinckrodt supplied distributors, and the distributors then supplied various U.S.

pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills without

notifying DEA of these suspicious orders.”386


384
   See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement
for Failure to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July
11, 2017), https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-
report-suspicious-orders.
385
      Id.
386
      Id.

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        727.    The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

effective controls against diversion, including a requirement that it review and monitor these sales

and report suspicious orders to DEA.”387

        728.    The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

        a.      With respect to its distribution of oxycodone and hydrocodone products,
                Mallinckrodt's alleged failure to distribute these controlled substances in a manner
                authorized by its registration and Mallinckrodt's alleged failure to operate an
                effective suspicious order monitoring system and to report suspicious orders to the
                DEA when discovered as required by and in violation of 21 C,F.R. § 1301.74(b).
                The above includes, but is not limited to Mallinckrodt's alleged failure to: conduct
                adequate due diligence of its customers;

        b.      detect and report to the DEA orders of unusual size and frequency;

        c.      detect and report to the DEA orders deviating substantially from normal patterns
                including, but not limited to, those identified in letters from the DEA Deputy
                Assistant Administrator, Office of Diversion Control, to registrants dated
                September 27, 2006 and December 27, 2007:

                i.      orders that resulted in a disproportionate amount of a substance
                        which is most often abused going to a particular geographic region
                        where there was known diversion,
                ii.     orders that purchased a disproportionate amount of substance which
                        is most often abused compared to other products, and
                iii.    orders from downstream customers to distributors who were
                        purchasing from multiple different distributors, of which
                        Mallinckrodt was aware;

        d.      use “chargeback” information from its distributors to evaluate suspicious orders.
                Chargebacks include downstream purchasing information tied to certain discounts,
                providing Mallinckrodt with data on buying patterns for Mallinckrodt products; and

387
   Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin.,
and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017), https://www.justice.gov/usao-
edmi/press-release/file/986026/download (“2017 Mallinckrodt MOA”).



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           e.       take sufficient action to prevent recurrence of diversion by downstream customers
                    after receiving concrete information of diversion of Mallinckrodt product by those
                    downstream customers.388

           729.     Mallinckrodt agreed that its “system to monitor and detect suspicious orders did

not meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt further

agreed that it “recognizes the importance of the prevention of diversion of the controlled

substances they manufacture” and would “design and operate a system that meets the requirements

of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction information to

identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt agrees to notify

DEA of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

substances that Mallinckrodt discovers.”389

           730.     Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to ‘downstream’ registrants.” Mallinckrodt agreed that, from this data, it

would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion.”390

           731.     The same duties imposed by federal law on Mallinckrodt were imposed upon all



388
      Id. at 2-3.
389
      Id. at 3-4.
390
      Id. at p.5.



                                                   227
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Marketing Defendants.

       732.    The same business practices utilized by Mallinckrodt regarding “charge backs” and

receipt and review of data from opioid distributors regarding orders of opioids were utilized

industry-wide among opioid manufacturers and distributors, including the other Marketing

Defendants.

       733.    Through, inter alia, the charge back data, the Marketing Defendants could monitor

suspicious orders of opioids.

       734.    The Marketing Defendants failed to monitor, report, and halt suspicious orders of

opioids as required by federal law.

       735.    The Marketing Defendants’ failures to monitor, report, and halt suspicious orders

of opioids were intentional and unlawful.

       736.    The Marketing Defendants have misrepresented their compliance with federal law.

       737.    The wrongful actions and omissions of the Marketing Defendants that caused the

diversion of opioids and which were a substantial contributing factor to and/or proximate cause of

the opioid crisis are alleged in greater detail in Plaintiffs’ racketeering allegations below.

       738.    The Marketing Defendants’ actions and omissions in failing to effectively prevent

diversion and failing to monitor, report, and prevent suspicious orders have enabled the unlawful

diversion of opioids throughout the United States.

               1. Defendants’ Unlawful Conduct and Breaches of Legal Duties Caused the
                  Harm Alleged Herein and Substantial Damages

       739.    As the Marketing Defendants’ efforts to expand the market for opioids increased

so have the rates of prescription and sale of their products — and the rates of opioid- related

substance abuse, hospitalization, and death among the people of the United States. The Distributor

Defendants have continued to unlawfully ship these massive quantities of opioids.
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           740.     There is a “parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

associated adverse outcomes.”391

           741.     Opioid analgesics are widely diverted and improperly used, and the widespread use

of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.392

           742.     The epidemic is “directly related to the increasingly widespread misuse of powerful

opioid pain medications.”393

           743.     The increased abuse of prescription painkillers along with growing sales has

contributed to a large number of overdoses and deaths.394

           744.     As shown above, the opioid epidemic has escalated with devastating effects:

substantial opiate-related substance abuse, hospitalization and death that goes hand in hand with

Defendants’ increased distribution of opioids.

           745.     Because of the well-established relationship between the use of prescription opioids

and the use of non-prescription opioids, like heroin, the massive distribution of opioids by

Defendants has caused the Defendant-caused opioid epidemic to include heroin addiction, abuse,

and death.

           746.     Defendants repeatedly and purposefully breached their duties under federal law,



391
   See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N.
Eng. J. Med. 241-248 (2015), DOI: 10.1056/NEJMsa1406143,
http://www.nejm.org/doi/full/10.1056/NEJMsa1406143.
392
      See Volkow & McLellan, supra n. 75.
393
      See Califf et al., supra n. 11.
394
   See Press Release, Centers for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
supra n. 71.

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and such breaches are the direct and proximate causes of, and/or substantial factors leading to, the

widespread diversion of prescription opioids for nonmedical purposes and the foreseeable,

inevitable financial burdens imposed on and incurred by Plaintiffs’ hospitals and other health care

providers.

       747.    The unlawful diversion of prescription opioids is a direct and proximate cause of,

and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the United States. This diversion and the epidemic are direct causes of

foreseeable harm to Plaintiffs.

       748.    Defendants’ unlawful conduct resulted in direct and foreseeable, past and

continuing, economic damages for which Plaintiffs seek relief.

       N.      CONSPIRACY ALLEGATIONS

               1. The Defendants Conspired To Engage in the Wrongful Conduct
                  Complained of Herein and Intended To Benefit Both Independently and
                  Jointly From Their Conspiracy

                   a. Conspiracy Among Marketing Defendants

       749.    The Marketing Defendants agreed among themselves to set up, develop, and fund

an unbranded promotion and marketing network to promote the use of opioids for the management

of pain in order to mislead physicians, patients, health care providers, such as hospitals, and health

care payors through misrepresentations and omissions regarding the appropriate uses, risks, and

safety of opioids, to increase sales, revenue, and profit from their opioid products.

       750.    This interconnected and interrelated network relied on the Marketing Defendants’

collective use of unbranded marketing materials, such as KOLs, scientific literature, CMEs, patient

education materials, and Front Groups developed and funded collectively by the Marketing

Defendants and intended to mislead consumers and medical providers, such as hospitals, of the


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appropriate uses, risks, and safety of opioids.

       751.    The Marketing Defendants’ collective marketing scheme to increase opioid

prescriptions, sales, revenues and profits centered around the development, the dissemination, and

reinforcement of nine false propositions: (1) that addiction is rare among patients taking opioids

for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of addiction

exhibited by opioid patients are actually symptoms of an invented condition dubbed

“pseudoaddiction”; (4) that withdrawal is easily managed; (5) that increased dosing presents no

significant risks; (6) that long-term use of opioids improves function; (7) that the risks of

alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that use of

time-released dosing prevents addiction; and (9) that abuse-deterrent formulations provide a

solution to opioid abuse.

       752.    The Marketing Defendants knew that none of these propositions were true.

       753.    Each Marketing Defendant worked individually and collectively to develop and

actively promulgate these nine false propositions in order to mislead physicians, patients, health

care providers, such as hospitals and healthcare payors regarding the appropriate uses, risks, and

safety of opioids.

       754.    What is particularly remarkable about the Marketing Defendants’ effort is the

seamless method in which the Marketing Defendants joined forces to achieve their collective goal:

to persuade consumers and medical providers, such as hospitals of the safety of opioids, and to

hide their actual risks and dangers. In doing so, the Marketing Defendants effectively built a new

– and extremely lucrative – opioid marketplace for their select group of industry players.

       755.    The Marketing Defendants’ unbranded promotion and marketing network was a

wildly successful marketing tool that achieved marketing goals that would have been impossible

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to have been met by a single or even a handful of the network’s distinct corporate members.

       756.    For example, the network members pooled their vast marketing funds and dedicated

them to expansive and normally cost-prohibitive marketing ventures, such as the creation of Front

Groups. These collaborative networking tactics allowed each Marketing Defendant to diversify its

marketing efforts, all the while sharing any risk and exposure, financial and/or legal, with other

Marketing Defendants

       757.    The most unnerving tactic utilized by the Marketing Defendants’ network was their

unabashed mimicry of the scientific method of citing “references” in their materials. In the

scientific community, cited materials and references are rigorously vetted by objective, unbiased

and disinterested experts in the field, and an unfounded theory or proposition would, or should,

never gain traction.

       758.    Marketing Defendants put their own twist on the scientific method: they worked

together to manufacture wide support for their unfounded theories and propositions involving

opioids. Due to their sheer numbers and resources, the Marketing Defendants were able to create

a false consensus through their materials and references.

       759.    An illustrative example of the Marketing Defendants’ utilization of this tactic is the

wide promulgation of the Porter & Jick Letter, which declared the incidence of addiction “rare”

for patients treated with opioids. The authors had analyzed a database of hospitalized patients who

were given opioids in a controlled setting to ease suffering from acute pain. These patients were

not given long-term opioid prescriptions or provided opioids to administer to themselves at home,

nor was it known how frequently or infrequently and in what doses the patients were given their

narcotics. Rather, it appears the patients were treated with opioids for short periods of time under

in-hospital doctor supervision.

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       760.    Nonetheless, Marketing Defendants widely and repeatedly cited this letter as proof

of the low addiction risk in connection with taking opioids in connection with taking opioids

despite its obvious shortcomings. Marketing Defendants’ egregious misrepresentations based on

this letter included claims that less than one percent of opioid users became addicted.

       761.    Marketing Defendants’ collective misuse of the Porter & Jick Letter helped the

opioid manufacturers convince patients and healthcare providers, such as hospitals that opioids

were not a concern. The enormous impact of Marketing Defendants’ misleading amplification of

this letter was well documented in another letter published in the NEJM on June, 1, 2017,

describing the way the one-paragraph 1980 letter had been irresponsibly cited and in some cases

“grossly misrepresented.” In particularly, the authors of this letter explained:

       [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
       and uncritically cited as evidence that addiction was rare with long-term opioid
       therapy. We believe that this citation pattern contributed to the North American
       opioid crises by helping to shape a narrative that allayed prescribers’ concerns
       about the risk of addiction associated with long-term opioid therapy…

By knowingly misrepresenting the appropriate uses, risks, and safety of opioids, the Marketing

Defendants committed overt acts in furtherance of their conspiracy.

                   b. Conspiracy Among All Defendants

       762.    In addition, and on an even broader level, all Defendants took advantage of the

industry structure, including end-running its internal checks and balance, to their collective

advantage. Defendants agreed among themselves to increasing the supply of opioids and

fraudulently increasing the quotas that governed the manufacture and supply of prescription

opioids. Defendants did so to increase sales, revenue, and profit from their opioid products.

       763.    The interaction and length of the relationships between and among the Defendants

reflects a deep level of interaction and cooperation between Defendants in a tightly knit industry,

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which provided abundant financial support to the industry lobbying entity known as the Pain Care

Forum.395 The Forum’s research and lobbying efforts concentrate on the creation of a false myth

that chronic pain cannot be adequately treated without the availability of the industry’s opioid

medications. As stated by the co-director of Johns Hopkins University’s Center for Drug Safety

and Effectiveness: “The biggest myth out there is that there’s a conflict between reducing our

dependence on opioids and improving care for patients in pain. It’s an artificial conflict, but there

are lots of vested interests behind it.”396

            764.   The Marketing and Distributor Defendants were not two separate groups operating

in isolation or two groups forced to work together in a closed system. The Defendants operated

together as a united entity, working together on multiple fronts, to engage in the unlawful sale of

prescription opioids.

            765.   Defendants collaborated to expand the opioid market in an interconnected and

interrelated network in the following ways, as set forth more fully below including, for example,

membership in the Healthcare Distribution Alliance.

            766.   Defendants utilized their membership in the Healthcare Distribution Alliance and

other forms of collaboration to form agreements about their approach to their duties under the CSA

to report suspicious orders. The Defendants overwhelmingly agreed on the same approach – to fail

to identify, report or halt suspicious opioid orders, and fail to prevent diversion. Defendants’

agreement to restrict reporting provided an added layer of insulation from DEA scrutiny for the

entire industry as Defendants were thus collectively responsible for each other’s compliance with



395
   Perrone, Matthew, “Pro-Painkiller Echo Chamber Shaped Policy Amid Drug Epidemic,” The Center for
Public Integrity, 15 Dec. 2016, https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-
chamber-shaped-policy-amid-drug-epidemic.
396
      Id.
                                                  234
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their reporting obligations. Defendants were aware, both individually and collectively, of the

suspicious orders that flowed directly from Defendants’ facilities.

       767.    Defendants knew that their own conduct could be reported by other Defendants and

that their failure to report suspicious orders they filled could be brought to the DEA’s attention.

As a result, Defendants had an incentive to communicate with each other about the reporting or

suspicious orders to ensure consistency in their dealings with DEA.

       768.    The Defendants also worked together to ensure that the opioid quotas allowed by

the DEA remained artificially high and ensured that suspicious orders were not reported to the

DEA in order to ensure that the DEA had no basis for refusing to increase or decrease production

quotas due to diversion.

       769.    The desired consistency, and collective end goal was achieved. Defendants

achieved blockbuster profits through higher opioid sales by orchestrating the unimpeded flow of

opioids.

               2. Statutes of Limitations Are Tolled and Defendants Are Estopped From
                  Asserting Statutes of Limitations as Defenses

                   a. Continuing Conduct

       770.    Plaintiffs contend they continue to suffer harm from the unlawful actions by the

Defendants.

       771.    The continued tortious and unlawful conduct by the Defendants causes a repeated

or continuous injury. The damages have not occurred all at once but have continued to occur and

have increased as time progresses. The tort is not completed nor have all the damages been

incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

not ceased. The public nuisance remains unabated. The conduct causing the damages remains

unabated.
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                     b. Equitable Estoppel and Fraudulent Concealment

           772.   Defendants are equitably estopped from relying upon a statute of limitations

defense because they undertook active efforts to deceive Plaintiffs and to purposefully conceal

their unlawful conduct and fraudulently assure the public, including the Commonwealth, the

Plaintiffs, and Plaintiffs’ communities, that they were undertaking efforts to comply with their

obligations under the state and federal controlled substances laws, all with the goal of protecting

their registered manufacturer or distributor status in the Commonwealth and to continue generating

profits.

           773.   Notwithstanding the allegations set forth above, the Defendants affirmatively

assured the public, including the Commonwealth, the Plaintiffs, and Plaintiffs’ communities, that

they are working to curb the opioid epidemic.

           774.   The Defendants were deliberate in taking steps to conceal their conspiratorial

behavior and active role in the deceptive marketing and the oversupply of opioids through

overprescribing and suspicious sales, all of which fueled the opioid epidemic.

           775.   As set forth herein, the Marketing Defendants deliberately worked through Front

Groups purporting to be patient advocacy and professional organizations, through public relations

companies hired to work with the Front Groups and through paid KOLs to secretly control

messaging, influence prescribing practices and drive sales. The Marketing Defendants concealed

their role in shaping, editing, and approving the content of prescribing guidelines, informational

brochures, KOL presentations and other false and misleading materials addressing pain

management and opioids that were widely disseminated to regulators, prescribers and the public

at large. They concealed the addictive nature and dangers associated with opioid use and denied

blame for the epidemic attributing it instead solely to abuse and inappropriate prescribing. They

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manipulated scientific literature and promotional materials to make it appear that misleading

statements about the risks, safety and superiority of opioids were actually accurate, truthful, and

supported by substantial scientific evidence. Through their public statements, omissions,

marketing, and advertising, the Marketing Defendants’ deceptions deprived Plaintiffs of actual or

implied knowledge of facts sufficient to put Plaintiffs on notice of potential claims.

          776.   The Supply Chain and Marketing Defendants also concealed from Plaintiffs the

existence of Plaintiffs’ claims by hiding their lack of cooperation with law enforcement and

affirmatively seeking to convince the public that their legal duties to report suspicious sales had

been satisfied through public assurances that they were working to curb the opioid epidemic. They

publicly portrayed themselves as committed to working diligently with law enforcement and others

to prevent diversion of these dangerous drugs and curb the opioid epidemic, and they made broad

promises to change their ways insisting they were good corporate citizens. These repeated

misrepresentations misled regulators, prescribers and the public, including Plaintiffs, and deprived

Plaintiffs of actual or implied knowledge of facts sufficient to put Plaintiffs on notice of potential

claims.

          777.   Plaintiffs did not discover the nature, scope and magnitude of Defendants’

misconduct, and its full impact on jurisdiction, and could not have acquired such knowledge earlier

through the exercise of reasonable diligence.

          778.   The Marketing Defendants’ campaign to misrepresent and conceal the truth about

the opioid drugs that they were aggressively pushing in the Commonwealth and in Plaintiffs’

communities deceived the medical community, consumers, the Commonwealth, and Plaintiffs’

communities.

          779.   Further, Defendants have also concealed and prevented discovery of information,

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including data from the ARCOS database, which will confirm their identities and the extent of

their wrongful and illegal activities. On April 11, 2018, the Northern District of Ohio Ordered the

transactional ARCOS data be produced, over Defendants’ strenuous objections. In so doing, the

Court reviewed its previous decisions on this data and held that, because the transaction data had

not yet been produced, Plaintiffs could not identify the potential defendants in this litigation, and

further held that such information was “critical”:

       This means Plaintiffs still do not know: (a) which manufacturers (b) sold what types
       of pills (c) to which distributors; nor do they know (d) which distributors (e) sold
       what types of pills (f) to which retailers (g) in what locations. In any given case,
       therefore, the Plaintiff still cannot know for sure who are the correct defendants, or
       the scope of their potential liability. For example, the ARCOS spreadsheets
       produced by DEA show the top five distributors of oxycodone in Ohio in 2014 were
       Cardinal, AmerisourceBergen, McKesson, Wal-Mart, and Miami-Luken; but there
       is no way to know whether (or how much) any of these five entities distributed
       oxycodone into Seneca County, Ohio (or any other particular venue). . . . [The]
       DEA and [the] defendants . . . [have] conceded the data was relevant and necessary
       to litigation . . . . Discovery of precisely which manufacturers sent which drugs to
       which distributors, and which distributors sent which drugs to which pharmacies
       and doctors, is critical not only to all of plaintiffs’ claims, but also to the Court’s
       understanding of the width and depth of this litigation.

 Northern District of Ohio Order of April 11, 2018 [Doc. 233] at pp. 6-7 (footnotes omitted).

       780.    Defendants intended that their actions and omissions would be relied upon,

including by Plaintiffs, other medical providers and the public. These entities and individuals did

not know and did not have the means to know the truth, due to Defendants’ actions and omissions.

       781.    The Plaintiffs and others reasonably relied on Defendants’ affirmative statements

regarding their purported compliance with their obligations under the law and consent orders.

               3. Facts Pertaining to Punitive Damages

       782.    As set forth above, Defendants acted deliberately to increase sales of, and profits

from, opioid drugs. The Marketing Defendants knew there was no support for their claims that

addiction was rare, that addiction risk could be effectively managed, that signs of addiction were
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merely “pseudoaddiction,” that withdrawal is easily managed, that higher doses pose no significant

additional risks, that long-term use of opioids improves function, or that time-release or abuse-

deterrent formulations would prevent addiction or abuse. Nonetheless, they knowingly promoted

these falsehoods in order to increase the market for their addictive drugs.

       783.    All of the Defendants, moreover, knew that large and suspicious quantities of

opioids were being poured into communities throughout the United States, including Kentucky,

yet, despite this knowledge, took no steps to report suspicious orders, control the supply of opioids,

or otherwise prevent diversion. Indeed as described above, Defendants acted in concert together

to maintain high levels of quotas for their products and to ensure that suspicious orders would not

be reported to regulators.

       784.    Defendants’ conduct was so willful and deliberate that it continued in the face of

numerous enforcement actions, fines, and other warnings from state and local governments and

regulatory agencies. Defendants paid their fines, made promises to do better, and continued on

with their marketing and supply schemes. This ongoing course of conduct knowingly, deliberately

and repeatedly threatened and accomplished harm and risk of harm to public health and safety,

and large scale economic loss to communities and government entities across the country.

                   a. The Marketing Defendants Persisted in Their Fraudulent Scheme
                      Despite Repeated Admonitions, Warnings, and Even Prosecutions

       785.    So determined were the Marketing Defendants to sell more opioids that they simply

ignored multiple admonitions, warnings and prosecutions, as described more fully below.

                       i. FDA Warnings to Janssen Failed To Deter Janssen’s Misleading
                          Promotion of Duragesic

       786.    On February 15, 2000, the FDA sent Janssen a letter concerning the dissemination

of “homemade” promotional pieces that promoted the Janssen drug Duragesic in violation of the

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Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30, 2000, the FDA

explained that the “homemade” promotional pieces were “false or misleading because they contain

misrepresentations of safety information, broaden Duragesic’s indication, contain unsubstantiated

claims, and lack fair balance.” The March 30, 2000 letter detailed numerous ways in which

Janssen’s marketing was misleading.

       787.    The letter did not stop Janssen. On September 2, 2004, the U.S. Department of

Health and Human Services (“HHS”) sent Janssen a warning letter concerning Duragesic due to

“false or misleading claims about the abuse potential and other risks of the drug, and . . .

unsubstantiated effectiveness claims for Duragesic,” including, specifically, “suggesting that

Duragesic has a lower potential for abuse compared to other opioid products.” The September 2,

2004 letter detailed a series of unsubstantiated, false or misleading claims.

       788.    One year later, Janssen was still at it. On July 15, 2005, the FDA issued a public

health advisory warning doctors of deaths resulting from the use of Duragesic and its generic

competitor, manufactured by Mylan N.V. The advisory noted that the FDA had been “‘examining

the circumstances of product use to determine if the reported adverse events may be related to

inappropriate use of the patch’” and noted the possibility “that patients and physicians might be

unaware of the risks” of using the fentanyl transdermal patch, which is a potent opioid analgesic

approved only for chronic pain in opioid-tolerant patients that could not be treated by other drugs.

                       ii. Governmental Action, Including Large Monetary Fines, Failed To
                           Stop Cephalon From Falsely Marketing Actiq for Off-Label Uses

       789.    On September 29, 2008, Cephalon finalized and entered into a corporate integrity

agreement with the Office of the Inspector General of HHS and agreed to pay $425 million in civil

and criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and

Provigil). According to a DOJ press release, Cephalon had trained sales representatives to
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disregard restrictions of the FDA-approved label, employed sales representatives and healthcare

professionals to speak to physicians about off-label uses of the three drugs and funded CME to

promote off-label uses.

       790.    Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and the

massive settlement, Cephalon has continued its deceptive marketing campaign.

                       iii. FDA Warnings Did Not Prevent Cephalon From Continuing False
                            and Off-Label Marketing of Fentora

       791.    On September 27, 2007, the FDA issued a public health advisory to address

numerous reports that patients who did not have cancer or were not opioid tolerant had been

prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

“Fentora should not be used to treat any type of short-term pain.” Indeed, FDA specifically denied

Cephalon’s application, in 2008, to broaden the indication of Fentora to include treatment of non-

cancer breakthrough pain and use in patients who were not already opioid-tolerant.

       792.    Flagrantly disregarding the FDA’s refusal to broaden the indication for Fentora,

Cephalon nonetheless marketed Fentora beyond its approved indications. On March 26, 2009, the

FDA warned Cephalon against its misleading advertising of Fentora (“Warning Letter”). The

Warning Letter described a Fentora Internet advertisement as misleading because it purported to

broaden “the indication for Fentora by implying that any patient with cancer who requires

treatment for breakthrough pain is a candidate for Fentora . . . when this is not the case.” It further

criticized Cephalon’s other direct Fentora advertisements because they did not disclose the risks

associated with the drug.

       793.    Despite this warning, Cephalon continued to use the same sales tactics to push

Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published an insert in

Pharmacy Times titled “An Integrated Risk Evaluation and Mitigation Strategy (REMS) for
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FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate).” Despite

the repeated warnings of the dangers associated with the use of the drugs beyond their limited

indication, as detailed above, the first sentence of the insert states: “It is well recognized that the

judicious use of opioids can facilitate effective and safe management of chronic pain.”

                       iv. A Guilty Plea and a Large Fine Did Not Deter Purdue From
                           Continuing Its Fraudulent Marketing of OxyContin

        794.   In May 2007, Purdue and three of its executives pled guilty to federal charges of

misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

about the risk of addiction. Purdue was ordered to pay $600 million in fines and fees. In its plea,

Purdue admitted that its promotion of OxyContin was misleading and inaccurate, misrepresented

the risk of addiction and was unsupported by science. Additionally, Michael Friedman the

company’s president, pled guilty to a misbranding charge and agreed to pay $19 million in fines;

Howard R. Udell, Purdue’s top lawyer, also pled guilty and agreed to pay $8 million in fines; and

Paul D. Goldenheim, its former medical director, pled guilty as well and agreed to pay $7.5 million

in fines.

        795.   Nevertheless, even after the settlement, Purdue continued to pay doctors on

speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund

seemingly neutral organizations to disseminate the message that opioids were non-addictive as well

as other misrepresentations. At least until early 2018, Purdue continued deceptively to market the

benefits of opioids for chronic pain while diminishing the associated dangers of addiction. After

Purdue made its guilty plea in 2007, it assembled an army of lobbyists to fight any legislative actions

that might encroach on its business. Between 2006 and 2015, Purdue and other painkiller producers,

along with their associated nonprofits, spent nearly $900 million dollars on lobbying and political

contributions - eight times what the gun lobby spent during that period.
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                          v. Repeated Admonishments and Fines Did Not Stop Defendants
                             From Ignoring Their Obligations To Control the Supply Chain
                             and Prevent Diversion

            796.   Defendants were repeatedly admonished and even fined by regulatory authorities,

but continued to disregard their obligations to control the supply chain of dangerous opioids and to

institute controls to prevent diversion.

            797.   In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi described

Defendants’ industry as “out of control,” stating that “[w]hat they wanna do, is do what they wanna

do, and not worry about what the law is. And if they don’t follow the law in drug supply, people

die. That’s just it. People die.” He further explained that:

            JOE RANNAZZISI: The three largest distributors are Cardinal Health, McKesson,
            and AmerisourceBergen. They control probably 85 or 90 percent of the drugs going
            downstream.

            [INTERVIEWER]: You know the implication of what you’re saying, that these big
            companies knew that they were pumping drugs into American communities that
            were killing people.

            JOE RANNAZZISI: That’s not an implication, that’s a fact. That’s exactly what
            they did.

            798.   Another DEA veteran similarly stated that these companies failed to make even a

“good faith effort” to “do the right thing.” He further explained that “I can tell you with 100 percent

accuracy that we were in there on multiple occasions trying to get them to change their behavior.

And they just flat out ignored us.”397

            799.   Government actions against the Defendants with respect to their obligations to

control the supply chain and prevent diversion include:

            a.     On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                   Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                   center (“Orlando Facility”) alleging failure to maintain effective controls against

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      Id.
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               diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
               into a settlement that resulted in the suspension of its DEA registration;

       b.      On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Auburn, Washington Distribution Center
               (“Auburn Facility”) for failure to maintain effective controls against diversion of
               hydrocodone;

       c.      On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Lakeland, Florida Distribution Center
               (“Lakeland Facility”) for failure to maintain effective controls against diversion of
               hydrocodone;

       d.      On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal Swedesboro, New Jersey Distribution
               Center (“Swedesboro Facility”) for failure to maintain effective controls against
               diversion of hydrocodone;

       e.      On January 30, 2008, the DEA issued an Order to Show Cause against the Cardinal
               Stafford, Texas Distribution Center (“Stafford Facility”) for failure to maintain
               effective controls against diversion of hydrocodone;

       f.      On September 30, 2008, Cardinal entered into a Settlement and Release Agreement
               and Administrative Memorandum of Agreement with the DEA related to its
               Auburn, Lakeland, Swedesboro and Stafford Facilities. The document also
               referenced allegations by the DEA that Cardinal failed to maintain effective
               controls against the diversion of controlled substances at its distribution facilities
               located in McDonough, Georgia (“McDonough Facility”), Valencia, California
               (“Valencia Facility”) and Denver, Colorado (“Denver Facility”);

       g.      On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
               Suspension Order against the Cardinal’s Lakeland Facility for failure to maintain
               effective controls against diversion of oxycodone; and

       h.      On December 23, 2016, Cardinal agreed to pay a $44 million fine to the DEA to
               resolve the civil penalty portion of the administrative action taken against its
               Lakeland Facility.

       800.    McKesson’s deliberate disregard of its obligations was especially flagrant. On May

2, 2008, McKesson Corporation entered into an Administrative Memorandum of Agreement (“2008

McKesson Settlement Agreement”) with the DEA which provided that McKesson would “maintain

a compliance program designed to detect and prevent the diversion of controlled substances, inform

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DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the procedures

established by its Controlled Substance Monitoring Program.”

       801.     Despite the 2008 McKesson Settlement Agreement with the DEA, McKesson

continued to fail to report suspicious orders between 2008 and 2012 and did not fully implement or

follow the monitoring program to which it agreed. It failed to conduct adequate due diligence of its

customers, failed to keep complete and accurate records in the CSMP files maintained for many of

its customers and bypassed suspicious order reporting procedures set forth in the CSMP.

       802.     On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150 million civil penalty for

violation of the 2008 McKesson Settlement Agreement as well as failure to identify and report

suspicious orders at its facilities in Aurora, CO; Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland,

FL; Landover, MD; La Vista, NE; Livonia, MI; Methuen, MA; Sante Fe Springs, CA; Washington

Courthouse, OH; and West Sacramento, CA. McKesson’s 2017 agreement with DEA documents

that McKesson continued to breach its admitted duties by “fail[ing] to properly monitor its sales of

controlled substances and/or report suspicious orders to DEA, in accordance with McKesson’s

obligations.”

       803.     As the Washington Post and 60 Minutes recently reported, DEA staff recommended

a much larger penalty than the $150 million ultimately agreed to for McKesson’s continued and

renewed breach of its duties, as much as a billion dollars, and delicensing of certain facilities. A

DEA memo outlining the investigative findings in connection with the administrative case against

12 McKesson distribution centers included in the 2017 Settlement stated that McKesson “[s]upplied

controlled substances in support of criminal diversion activities”; “[i]gnored blatant diversion”; had

a “[p]attern of raising thresholds arbitrarily”; “[f]ailed to review orders or suspicious activity”; and

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“[i]gnored [the company’s] own procedures designed to prevent diversion.”

          804.    On December 17, 2017, CBS aired an episode of 60 Minutes featuring Assistant

Special Agent Schiller, who described McKesson as a company that killed people for its own

financial gain and blatantly ignored the CSA requirement to report suspicious orders:

          DAVID SCHILLER: If they would stayed in compliance with their authority and
          held those that they’re supplying the pills to, the epidemic would be nowhere near
          where it is right now. Nowhere near.

          ***

          They had hundreds of thousands of suspicious orders they should have reported,
          and they didn’t report any. There’s not a day that goes by in the pharmaceutical
          world, in the McKesson world, in the distribution world, where there’s not
          something suspicious. It happens every day.

          [INTERVIEWER:] And they had none.

          DAVID SCHILLER: They weren’t reporting any. I mean, you have to understand
          that, nothing was suspicious?398

          805.    Following the 2017 settlement, McKesson shareholders made a books and records

request of the company. According to a separate action pending on their behalf, the Company’s

records show that the Company’s Audit Committee failed to monitor McKesson’s information

reporting system to assess the state of the Company’s compliance with the CSA and McKesson’s

2008 Settlements. More particularly, the shareholder action alleges that the records show that in

October 2008, the Audit Committee had an initial discussion of the 2008 Settlements and results

of internal auditing, which revealed glaring omissions; specifically:

          a.      some customers had “not yet been assigned thresholds in the system to flag large
                  shipments of controlled substances for review”;

          b.      “[d]ocumentation evidencing new customer due diligence was incomplete”;


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      Whitaker, Opioid Crisis Fueled by Drug Industry.

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       c.      “documentation supporting the company’s decision to change thresholds for
               existing customers was also incomplete”; and

       d.      Internal Audit “identified opportunities to enhance the Standard Operating
               Procedures.”

Yet, instead of correcting these deficiencies, after that time, for a period of more than four years,

the Audit Committee failed to address the CSMP or perform any more audits of McKesson’s

compliance with the CSA or the 2008 Settlements, the shareholder action’s description of

McKesson’s internal documents reveals.         During that period of time, McKesson’s Audit

Committee failed to inquire whether the Company was in compliance with obligations set forth in

those agreements and with the controlled substances regulations more generally. It was only in

January 2013 that the Audit Committee received an Internal Audit report touching on these issues.

       806.    In short, McKesson, was “neither rehabilitated nor deterred by the 2008

[agreement],” as a DEA official working on the case noted. Quite the opposite, “their bad acts

continued and escalated to a level of egregiousness not seen before.” According to statements of

“DEA investigators, agents and supervisors who worked on the McKesson case” reported in the

Washington Post, “the company paid little or no attention to the unusually large and frequent orders

placed by pharmacies, some of them knowingly supplying the drug rings.” “Instead, the DEA

officials said, the company raised its own self-imposed limits, known as thresholds, on orders from

pharmacies and continued to ship increasing amounts of drugs in the face of numerous red flags.”

       807.    Since at least 2002, Purdue has maintained a database of health care providers

suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

to this database based on observed indicators of illicit prescribing such as excessive numbers of

patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength pills

(80 mg OxyContin pills or “80s,” as they were known on the street, were a prime target for

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diversion). Purdue claims that health care providers added to the database no longer were detailed,

and that sales representatives received no compensation tied to these providers’ prescriptions.

           808.   Yet, Purdue failed to cut off these providers’ opioid supply at the pharmacy level –

meaning Purdue continued to generate sales revenue from their prescriptions – and failed to report

these providers to state medical boards or law enforcement. Purdue’s former senior compliance

officer acknowledged in an interview with the Los Angeles Times that in five years of investigating

suspicious pharmacies, the company never stopped the supply of its opioids to a pharmacy, even

where Purdue employees personally witnessed the diversion of its drugs.

           809.   The same was true of prescribers. For example, as discussed above, despite

Purdue’s knowledge of illicit prescribing from one Los Angeles clinic which its district manager

called an “organized drug ring” in 2009, Purdue did not report its suspicions until long after law

enforcement shut it down and not until the ring prescribed more than 1.1 million OxyContin

tablets.

           810.   Indeed, the New York Attorney General found that Purdue placed 103 New York

health care providers on its “No-Call” List between January 1, 2008 and March 7, 2015, and that

Purdue’s sales representatives had detailed approximately two-thirds of these providers, some

quite extensively, making more than a total of 1,800 sales calls to their offices over a six-year

period.

           811.   The New York Attorney General similarly found that Endo knew as early as 2011

that Opana ER was being abused in New York, but certain sales representatives who detailed New

York health care providers testified that they did not know about any policy or duty to report

problematic conduct. The New York Attorney General further determined that Endo detailed

health care providers who were subsequently arrested or convicted for illegal prescribing of

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opioids a total of 326 times, and these prescribers collectively wrote 1,370 prescriptions for Opana

ER (although the subsequent criminal charges at issue did not involve Opana ER).

        812.    As all of the governmental actions against the Marketing Defendants and against

all the Defendants shows, Defendants knew that their actions were unlawful, and yet deliberately

refused to change their practices because compliance with their legal obligations would have

decreased their sales and their profits.

        O.      FACTS PERTAINING TO CLAIMS UNDER RACKETEER-
                INFLUENCED AND CORRUPT ORGANIZATIONS (“RICO”) ACT

                1. The False Narrative Enterprise

                    a. The Common Purpose and Scheme of the False Narrative Enterprise

        813.    Knowing that their products were highly addictive, ineffective and unsafe for the

treatment of long-term chronic pain, non-acute and non-cancer pain, the Marketing Defendants

formed an association-in-fact enterprise and engaged in a scheme to unlawfully increase their

profits and sales, and grow their share of the prescription painkiller market, through repeated and

systematic misrepresentations about the safety and efficacy of opioids for treating long-term

chronic pain.

        814.    In order to unlawfully increase the demand for opioids, the Marketing Defendants

formed an association-in-fact enterprise (the “False Narrative Enterprise”) with the Front Groups

and KOLs described above. Through their personal relationships, the members of the False

Narrative Enterprise had the opportunity to form and take actions in furtherance of the False

Narrative Enterprise’s common purpose. The Marketing Defendants’ substantial financial

contribution to the False Narrative Enterprise, and the advancement of opioids- friendly




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messaging, fueled the U.S. opioids epidemic.399

       815.    The Marketing Defendants, through the False Narrative Enterprise, concealed the

true risks and dangers of opioids from the medical community and the public, including Plaintiff,

and made misleading statements and misrepresentations about opioids that downplayed the risk of

addiction and exaggerated the benefits of opioid use. The misleading statements included: (1) that

addiction is rare among patients taking opioids for pain; (2) that addiction risk can be effectively

managed; (3) that symptoms of addiction exhibited by opioid patients are actually symptoms of an

invented condition the Marketing Defendants named “pseudoaddiction”; (4) that withdrawal is

easily managed; (5) that increased dosing present no significant risks; (6) that long-term use of

opioids improves function; (7) that the risks of alternative forms of pain treatment are greater than

the adverse effects of opioids; (8) that use of time-released dosing prevents addiction; and (9) that

abuse-deterrent formulations provide a solution to opioid abuse.

       816.    The scheme devised, implemented and conducted by the RICO Defendants was a

common course of conduct designed to ensure that the RICO Defendants unlawfully increased

their sales and profits through concealment and misrepresentations about the addictive nature and

effective use of the Marketing Defendants’ drugs. The Marketing Defendants, the Front Groups,

and the KOLs acted together for a common purpose and perpetuated the False Narrative

Enterprise’s scheme, including through the unbranded promotion and marketing network as

described above.

       817.    There was regular communication between the Marketing Defendants, Front


399
   Fueling an Epidemic: Exposing the Financial Ties Between Opioid Manufacturers and Third Party
Advocacy Groups, U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking
Members’ Office, February 12, 2018 https://www.hsdl.org/?abstract&did=808171 (“Fueling an
Epidemic”), at 1.

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Groups and KOLs, in which information was shared, misrepresentations were coordinated, and

payments were exchanged. Typically, the coordination, communication and payment occurred,

and continues to occur, through the repeated and continuing use of the wires and mail in which the

Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

objections and resistance to the use of opioids for chronic pain. The Marketing Defendants, Front

Groups and KOLs functioned as a continuing unit for the purpose of implementing the False

Narrative Enterprise’s scheme and common purpose, and each agreed and took actions to hide the

scheme and continue its existence.

       818.    At all relevant times, the Front Groups were aware of the Marketing Defendants’

conduct, were knowing and willing participants in and beneficiaries of that conduct. Each Front

Group also knew, but did not disclose, that the other Front Groups were engaged in the same

scheme, to the detriment of consumers, prescribers, and the Plaintiff. But for the False Narrative

Enterprise’s unlawful fraud, the Front Groups would have had incentive to disclose the deceit by

the Marketing Defendants and the False Narrative Enterprise to their members and constituents.

By failing to disclose this information, Front Groups perpetuated the False Narrative Enterprise’s

scheme and common purpose, and reaped substantial benefits.

       819.    At all relevant times, the KOLs were aware of the Marketing Defendants’ conduct,

were knowing and willing participants in that conduct, and reaped benefits from that conduct. The

Marketing Defendants selected KOLs solely because they favored the aggressive treatment of

chronic pain with opioids. The Marketing Defendants’ support helped the KOLs become respected

industry experts. And, as they rose to prominence, the KOLs falsely touted the benefits of using

opioids to treat chronic pain, repaying the Marketing Defendants by advancing their marketing

goals. The KOLs also knew, but did not disclose, that the other KOLS and Front Groups were

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engaged in the same scheme, to the detriment of consumers, prescribers, and the Plaintiffs. But for

the False Narrative Enterprise’s unlawful conduct, the KOLs would have had incentive to disclose

the deceit by the Marketing Defendants and the False Narrative Enterprise, and to protect their

patients and the patients of other physicians. By failing to disclose this information, KOLs

furthered the False Narrative Enterprise’s scheme and common purpose, and reaped substantial

benefits.

       820.    As public scrutiny and media coverage focused on how opioids ravaged

communities in Kentucky and throughout the United States, the Front Groups and KOLS did not

challenge the Marketing Defendants’ misrepresentations, seek to correct their previous

misrepresentations, terminate their role in the False Narrative Enterprise, nor disclose publicly that

the risks of using opioids for chronic pain outweighed their benefits and were not supported by

medically acceptable evidence.

       821.    The Marketing Defendants, Front Groups and KOLs engaged in certain discrete

categories of activities in furtherance of the common purpose of the False Narrative Enterprise. As

described herein, the False Narrative Enterprise’s conduct in furtherance of the common purpose

of the False Narrative Enterprise involved: (1) misrepresentations regarding the risk of addiction

and safe use of prescription opioids for long-term chronic pain (described in detail above); (2)

lobbying to defeat measures to restrict over-prescription; (3) efforts to criticize or undermine CDC

guidelines; and (4) efforts to limit prescriber accountability.

       822.    In addition to disseminating misrepresentations about the risks and benefits of

opioids, the False Narrative Enterprise also furthered its common purpose by criticizing or

undermining CDC guidelines. Members of the False Narrative Enterprise criticized or undermined

the CDC Guidelines which represented “an important step - and perhaps the first major step from

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the federal government - toward limiting opioid prescriptions for chronic pain.”

       823.    Several Front Groups, including the U.S. Pain Foundation and the AAPM,

criticized the draft guidelines in 2015, arguing that the “CDC slides presented on Wednesday were

not transparent relative to process and failed to disclose the names, affiliation, and conflicts of

interest of the individuals who participated in the construction of these guidelines.”

       824.    The AAPM criticized the prescribing guidelines in 2016, through its immediate past

president, stating “that the CDC guideline makes disproportionately strong recommendations

based upon a narrowly selected portion of the available clinical evidence.”

       825.    The Marketing Defendants alone could not have accomplished the purpose of the

False Narrative Enterprise without the assistance of the Front Groups and KOLs, who were

perceived as “neutral” and more “scientific” than the Marketing Defendants themselves. Without

the work of the Front Groups and KOLs in spreading misrepresentations about opioids, the False

Narrative Enterprise could not have achieved its common purpose.

       826.    The impact of the False Narrative Enterprise’s scheme is still in place – i.e., the

opioids continue to be prescribed and used for chronic pain, and the epidemic continues to injure

Plaintiffs, and consume Plaintiffs’ resources.

       827.    As a result, it is clear that the Marketing Defendants, the Front Groups, and the

KOLs were each willing participants in the False Narrative Enterprise, had a common purpose and

interest in the object of the scheme, and functioned within a structure designed to effectuate the

Enterprise’s purpose.

                   b. The Conduct of the False Narrative Enterprise Violated Civil RICO

       828.    From approximately the late 1990s to the present, each of the Marketing Defendants

exerted control over the False Narrative Enterprise and participated in the operation or

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management of the affairs of the False Narrative Enterprise, directly or indirectly, in the following

ways:

        a.     Creating and providing a body of deceptive, misleading and unsupported medical
               and popular literature about opioids that (i) understated the risks and overstated the
               benefits of long-term use; (ii) appeared to be the result of independent, objective
               research; and (iii) was thus more likely to be relied upon by physicians, patients,
               and payors;

        b.     Creating and providing a body of deceptive, misleading and unsupported electronic
               and print advertisements about opioids that (i) understated the risks and overstated
               the benefits of long-term use; (ii) appeared to be the result of independent, objective
               research; and (iii) was thus more likely to be relied upon by physicians, patients,
               and payors;

        c.     Creating and providing a body of deceptive, misleading and unsupported sales and
               promotional training materials about opioids that (i) understated the risks and
               overstated the benefits of long-term use; (ii) appeared to be the result of
               independent, objective research; and (iii) was thus more likely to be relied upon by
               physicians, patients, and payors;

        d.     Creating and providing a body of deceptive, misleading and unsupported CMEs
               and speaker presentations about opioids that (i) understated the risks and overstated
               the benefits of long-term use; (ii) appeared to be the result of independent, objective
               research; and (iii) was thus more likely to be relied upon by physicians, patients,
               and payors;

        e.     Selecting, cultivating, promoting and paying KOLs based solely on their
               willingness to communicate and distribute the Marketing Defendants’ messages
               about the use of opioids for chronic pain;

        f.     Providing substantial opportunities for KOLs to participate in research studies on
               topics the RICO Marketing Defendants suggested or chose, with the predictable
               effect of ensuring that many favorable studies appeared in the academic literature;

        g.     Paying KOLs to serve as consultants or on the Marketing Defendants’ advisory
               boards, on the advisory boards and in leadership positions on Front Groups, and to
               give talks or present CMEs, typically over meals or at conferences;

        h.     Selecting, cultivating, promoting, creating and paying Front Groups based solely
               on their willingness to communicate and distribute the RICO Marketing
               Defendants’ messages about the use of opioids for chronic pain;

        i.     Providing substantial opportunities for Front Groups to participate in and/or publish

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              research studies on topics the RICO Marketing Defendants suggested or chose (and
              paid for), with the predictable effect of ensuring that many favorable studies
              appeared in the academic literature;

       j.     Paying significant amounts of money to the leaders and individuals associated with
              Front Groups;

       k.     Donating to Front Groups to support talks or CMEs, that were typically presented
              over meals or at conferences;

       l.     Disseminating many of their false, misleading, imbalanced, and unsupported
              statements through unbranded materials that appeared to be independent
              publications from Front Groups;

       m.     Sponsoring CME programs put on by Front Groups that focused exclusively on the
              use of opioids for chronic pain;

       n.     Developing and disseminating pro-opioid treatment guidelines with the help of the
              KOLs as authors and promoters, and the help of the Front Groups as publishers,
              and supporters;

       o.     Encouraging Front Groups to disseminate their pro-opioid messages to groups
              targeted by the RICO Marketing Defendants, such as veterans and the elderly, and
              then funding that distribution;

       p.     Concealing their relationship to and control of Front Groups and KOLs from the
              Plaintiffs and the public at large; and

       q.     Intending that Front Groups and KOLs would distribute through the U.S. mail and
              interstate wire facilities, promotional and other materials that claimed opioids could
              be safely used for chronic pain.

       829.   The False Narrative Enterprise had a hierarchical decision-making structure that

was headed by the Marketing Defendants and corroborated by the KOLs and Front Groups. The

Marketing Defendants controlled representations made about their opioids and their drugs, doled

out funds to pharmaceutical benefit managers and payments to KOLs, and ensured that

representations made by KOLs, Front Groups, and the Marketing Defendants’ sales detailers were

consistent with the Marketing Defendants’ messaging throughout the United States including

Kentucky. The Front Groups and KOLS in the False Narrative Enterprise were dependent on the

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Marketing Defendants for their financial structure and for career development and promotion

opportunities.

          830.    The Front Groups also conducted and participated in the conduct of the False

Narrative Enterprise, directly or indirectly, in the following ways:

          a.      The Front Groups promised to, and did, make representations regarding opioids
                  and the Marketing Defendants’ drugs that were consistent with the Marketing
                  Defendants’ messages;

          b.      The Front Groups distributed, through the U.S. Mail and interstate wire facilities,
                  promotional and other materials which claimed that opioids could be safely used
                  for chronic pain without addiction, and misrepresented the benefits of using opioids
                  for chronic pain outweighed the risks;

          c.      The Front Groups echoed and amplified messages favorable to increased opioid use
                  – and ultimately, the financial interests of the Marketing Defendants;

          d.      The Front Groups issued guidelines and policies minimizing the risk of opioid
                  addiction and promoting opioids for chronic pain;

          e.      The Front Groups strongly criticized the 2016 guidelines from the Center for
                  Disease Control and Prevention (CDC) that recommended limits on opioid
                  prescriptions for chronic pain; and

          f.      The Front Groups concealed their connections to the KOLs and the Marketing
                  Defendants.

          831.    The Marketing Defendants’ Front Groups, “with their large numbers and credibility

with policymakers and the public – have ‘extensive influence in specific disease areas.’” The

larger Front Groups “likely have a substantial effect on policies relevant to their industry

sponsors.”400 “By aligning medical culture with industry goals in this way, many of the groups

described in this report may have played a significant role in creating the necessary conditions for




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      Fueling an Epidemic at 1.

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the U.S. opioid epidemic.”401

            832.   The KOLs also participated in the conduct of the affairs of the False Narrative

Enterprise, directly or indirectly, in the following ways:

            a.     The KOLs promised to, and did, make representations regarding opioids and the
                   RICO Marketing Defendants’ drugs that were consistent with the Marketing
                   Defendants’ messages themselves;

            b.     The KOLs distributed, through the U.S. Mail and interstate wire facilities,
                   promotional and other materials which claimed that opioids could be safely used
                   for chronic pain without addiction, and misrepresented the benefits of using opioids
                   for chronic pain outweighed the risks;

            c.     The KOLs echoed and amplified messages favorable to increased opioid use – and
                   ultimately, the financial interests of the RICO Marketing Defendants;

            d.     The KOLs issued guidelines and policies minimizing the risk of opioid addiction
                   and promoting opioids for chronic pain;

            e.     The KOLs strongly criticized the 2016 guidelines from the Center for Disease
                   Control and Prevention (CDC) that recommended limits on opioid prescriptions for
                   chronic pain; and

            f.     The KOLs concealed their connections to the Front Groups and the RICO
                   Marketing Defendants, and their sponsorship by the Marketing Defendants.

            833.   The scheme devised and implemented by the Marketing Defendants and members

of the False Narrative Enterprise, amounted to a common course of conduct intended to increase

the Marketing Defendants’ sales from prescription opioids by encouraging the prescribing and use

of opioids for long-term chronic pain. The scheme was a continuing course of conduct, and many

aspects of it continue through to the present.

                      c. The False Narrative Enterprise Defendants Controlled and Paid Front
                         Groups and KOLs To Promote and Maximize Opioid Use

            834.   As discussed in detail above, the Marketing Defendants funded and controlled the


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      Id. at 2.

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various Front Groups, including APF, AAPM/APS, FSMB, Alliance for Patient Access, USPF,

and AGS, ACPA. The Front Groups, which appeared to be independent, but were not, transmitted

the Marketing Defendants’ misrepresentations. The Marketing Defendants and the Front Groups

thus worked together to promote the goals of the False Narrative Enterprise.

       835.    The Marketing Defendants worked together with each other through the Front

Groups that they jointly funded and through which they collaborated on the joint promotional

materials described above.

       836.    Similarly, as discussed in detail above, the Marketing Defendants paid KOLs,

including Drs. Portenoy, Fine, Fishman, and Webster, to spread their misrepresentations and

promote their products. The Marketing Defendants and the KOLs thus worked together to promote

the goals of the False Narrative Enterprise.

                    d. Pattern of Racketeering Activity

       837.    The Marketing Defendants’ scheme described herein was perpetrated, in part,

through multiple acts of mail fraud and wire fraud, constituting a pattern of racketing activity as

described herein.

       838.    The pattern of racketeering activity used by the Marketing Defendants and the False

Narrative Enterprise likely involved thousands of separate instances of the use of the U.S. Mail or

interstate wire facilities in furtherance of the unlawful False Narrative Enterprise, including

essentially uniform misrepresentations, concealments and material omissions regarding the

beneficial uses and non-addictive qualities for the long-term treatment of chronic, non-acute and

non-cancer pain, with the goal of profiting from increased sales of the Marketing Defendants’

drugs induced by consumers, prescribers, regulators and Plaintiffs’ reliance on the Marketing

Defendants’ misrepresentations.

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        839.    Each of these fraudulent mailings and interstate wire transmissions constitutes

racketeering activity and collectively, these violations constitute a pattern of racketeering activity,

through which the Marketing Defendants, the Front Groups and the KOLs defrauded and intended

to defraud Plaintiffs.

        840.    The Marketing Defendants devised and knowingly carried out an illegal scheme

and artifice to defraud by means of materially false or fraudulent pretenses, representations,

promises, or omissions of material facts regarding the safe, non-addictive and effective use of

opioids for long-term chronic, non-acute and non-cancer pain. The Marketing Defendants and

members of the False Narrative Enterprise knew that these representations violated the FDA

approved use these drugs, and were not supported by actual evidence. The Marketing Defendants

intended that that their common purpose and scheme to defraud would, and did, use the U.S. Mail

and interstate wire facilities, intentionally and knowingly with the specific intent to advance, and

for the purpose of executing, their illegal scheme.

        841.    By intentionally concealing the material risks and affirmatively misrepresenting the

benefits of using opioids for chronic pain, to, prescribers, regulators and the public, including

Plaintiffs, the Marketing Defendants, the Front Groups and the KOLs engaged in a fraudulent and

unlawful course of conduct constituting a pattern of racketeering activity.

        842.    The Marketing Defendants’ use of the U.S. Mail and interstate wire facilities to

perpetrate the opioids marketing scheme involved thousands of communications, publications,

representations, statements, electronic transmissions, payments, including, inter alia:

        a.      Marketing materials about opioids, and their risks and benefits, which the RICO
                Marketing Defendants sent to health care providers, such as hospitals transmitted
                through the internet and television, published, and transmitted to Front Groups and
                KOLs located across the country and the Commonwealth;

        b.      Written representations and telephone calls between the RICO Marketing
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               Defendants and Front Groups regarding the misrepresentations, marketing
               statements and claims about opioids, including the non-addictive, safe use of
               chronic long-term pain generally;

       c.      Written representations and telephone calls between the RICO Marketing
               Defendants and KOLs regarding the misrepresentations, marketing statements and
               claims about opioids, including the non-addictive, safe use of chronic long-term
               pain generally

       d.      E-mails, telephone and written communications between the RICO Marketing
               Defendants and the Front Groups agreeing to or implementing the opioids
               marketing scheme;

       e.      E-mails, telephone and written communications between the RICO Marketing
               Defendants and the KOLs agreeing to or implementing the opioids marketing
               scheme;

       f.      Communications between the RICO Marketing Defendants, Front Groups and the
               media regarding publication, drafting of treatment guidelines, and the
               dissemination of the same as part of the False Narrative Enterprise;

       g.      Communications between the RICO Marketing Defendants, KOLs and the media
               regarding publication, drafting of treatment guidelines, and the dissemination of the
               same as part of the False Narrative Enterprise;

       h.      Written and oral communications directed to State agencies, federal and state
               courts, and private insurers throughout the State that fraudulently misrepresented
               the risks and benefits of using opioids for chronic pain; and

       i.      Receipts of increased profits sent through the U.S. Mail and interstate wire facilities
               – the wrongful proceeds of the scheme.

       843.    In addition to the above-referenced predicate acts, it was intended by and

foreseeable to the Marketing Defendants that the Front Groups and the KOLs would distribute

publications through the U.S. Mail and by interstate wire facilities, and, in those publications,

claim that the benefits of using opioids for chronic pain outweighed the risks of doing so.

       844.    To achieve the common goal and purpose of the False Narrative Enterprise, the

Marketing Defendants and members of the False Narrative Enterprise hid from the consumers,

prescribers, regulators and the Plaintiffs: (a) the fraudulent nature of the Marketing Defendants’

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marketing scheme; (b) the fraudulent nature of statements made by the Marketing Defendants and

by their KOLs, Front Groups and other third parties regarding the safety and efficacy of

prescription opioids; and (c) the true nature of the relationship between the members of the False

Narrative Enterprise.

       845.    The Marketing Defendants, and each member of the False Narrative Enterprise

agreed, with knowledge and intent, to the overall objective of the Marketing Defendants’

fraudulent scheme and participated in the common course of conduct to commit acts of fraud and

indecency in marketing prescription opioids.

       846.    Indeed, for the Marketing Defendants’ fraudulent scheme to work, each of them

had to agree to implement similar tactics regarding fraudulent marketing of prescription opioids.

This conclusion is supported by the fact that the Marketing Defendants each financed, supported,

and worked through the same KOLs and Front Groups, and often collaborated on and mutually

supported the same publications, CMEs, presentations, and prescription guidelines

       847.    The Marketing Defendants’ predicate acts all had the purpose of creating the opioid

epidemic that substantially injured Plaintiffs’ businesses and property, while simultaneously

generating billion-dollar revenue and profits for the RICO Marketing Defendants. The predicate

acts were committed or caused to be committed by the RICO Marketing Defendants through their

participation in the False Narrative Enterprise and in furtherance of its fraudulent scheme.

               2. The Opioid Supply Chain Participants

       848.    Faced with the reality that they will now be held accountable for the consequences

of the opioid epidemic they created, members of the industry resort to “a categorical denial of any




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criminal behavior or intent.”402 Defendants’ actions went far beyond what could be considered

ordinary business conduct. For more than a decade, the Defendants (except for Insys) worked

together in an illicit enterprise, engaging in conduct that was not only illegal, but in certain respects

anti-competitive, with the common purpose and achievement of vastly increasing their respective

profits and revenues by exponentially expanding a market that the law intended to restrict.

          849.    Knowing that dangerous drugs have a limited place in our society, and that their

dissemination and use must be vigilantly monitored and policed to prevent the harm that drug

abuse and addiction causes to individuals, society and governments, Congress enacted the

Controlled Substances Act (“CSA”). Specifically, through the CSA, which created a closed system

of distribution for controlled substances, Congress established an enterprise for good. CSA

imposes a reporting duty that cuts across company lines. Regulations adopted under the CSA

require that companies who are entrusted with permission to operate with within this system cannot

simply operate as competitive in an “anything goes” profit-maximizing market. Instead, the statute

tasks them to watch over each other with a careful eye for suspicious activity. Driven by greed,

Defendants betrayed that trust and subverted the constraints of the CSA’s closed system to conduct

their own enterprise for their own unlawful gain.

          850.    As “registrants” under the CSA, Defendants are duty bound to identify and report

“orders of unusual size, orders deviating substantially from a normal pattern, and orders of unusual

frequency.”403 Critically, these Defendants’ responsibilities do not end with the products they

manufacture or distribute – there is no such limitation in the law because their duties cut across



402
   http://www.mckesson.com/about-mckesson/fighting-opioid-abuse/60-minutes-response (last visited,
Apr. 21, 2018).
403
      21 C.F.R. 1301.74(b).

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company lines. Thus, when these Defendants obtain information about the sales and distribution

of other companies’ opioid products, as they did through data mining companies like IMS Health,

they were legally obligated to report that activity to the DEA.

       851.    If morality and the law did not suffice, competition dictates that the Defendants

would turn in their rivals when they had reason to suspect suspicious activity. Indeed, if a

manufacturer or distributor could gain market share by reporting a competitor’s illegal behavior

(causing it to lose a license to operate, or otherwise inhibit its activity), ordinary business conduct

dictates that it would do so. Under the CSA this whistleblower or watchdog function is not only

a protected choice, but a statutory mandate. Unfortunately, however, that is not what happened.

Instead, knowing that investigations into potential diversion would only lead to shrinking markets,

Defendants elected to operate in a conspiracy of silence, in violation of both the CSA and RICO.

       852.    The Defendants’ scheme required the participation of all. If any one member broke

rank, its compliance activities would highlight deficiencies of the others, and the artificially high

quotas they maintained through their scheme would crumble. But, if all the members of the

enterprise conducted themselves in the same manner, it would be difficult for the DEA to go after

any one of them. Accordingly, through the connections they made as a result of their participation

in the Healthcare Distribution Alliance (“HDA”), the Defendants chose to flout the closed system

designed to protect the citizens. Publicly, in 2008, they announced their formulation of Industry

Compliance Guidelines: Reporting Suspicious Orders and Prevention Diversion of Controlled

Substances. But, privately, Defendants refused to act and through their lobbying efforts, they

collectively sought to undermine the impact of the CSA. Indeed, despite the issuance of these

Industry Compliance Guidelines, which recognize these Defendants’ duties under the law, as

illustrated by the subsequent industry-wide enforcement actions and consent orders issued after

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that time, none of them complied. John Gray, President and CEO of the HDA said to Congress in

2014, it is “difficult to find the right balance between proactive anti-diversion efforts while not

inadvertently limiting access to appropriately prescribed and dispensed medications.” Yet,

Defendants apparently all found the same profit-maximizing balance -- intentionally remaining

silent to ensure the largest possible financial return.

        853.    As described above, at all relevant times, the Defendants operated as an association-

in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

fraudulently increasing the quotas set by the DEA that would allow them to collectively benefit

from a greater pool of prescription opioids to manufacture and distribute. In support of this

common purpose and fraudulent scheme, Defendants jointly agreed to disregard their statutory

duties to identify, investigate, halt and report suspicious orders of opioids and diversion of their

drugs into the illicit market so that those orders would not result in a decrease, or prevent an

increase in, the necessary quotas.

        854.    At all relevant times, as described above, the Defendants exerted control over,

conducted and/or participated in the False Narrative Enterprise by fraudulently claiming that they

were complying with their duties under the CSA to identify, investigate and report suspicious

orders of opioids in order to prevent diversion of those highly addictive substances into the illicit

market, and to halt such unlawful sales, so as to increase production quotas and generate unlawful

profits, as follows:

        855.    The Defendants disseminated false and misleading statements to state and federal

regulators claiming that:

        a.      the quotas for prescription opioids should be increased;

        b.      they were complying with their obligations to maintain effective controls against
                diversion of their prescription opioids;
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       c.      they were complying with their obligations to design and operate a system to
               disclose to the registrant suspicious orders of their prescription opioids;

       d.      they were complying with their obligation to notify the DEA of any suspicious
               orders or diversion of their prescription opioids; and

       e.      they did not have the capability to identify suspicious orders of controlled
               substances.

       856.    The Defendants applied political and other pressure on the DOJ and DEA to halt

prosecutions for failure to report suspicious orders of prescription opioids and lobbied Congress

to strip the DEA of its ability to immediately suspend registrations pending investigation by

passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”404

       857.    The CSA and the Code of Federal Regulations require the RICO Supply Chain

Defendants – the Distributor Defendants and the National Retail Pharmacy Defendants – to make

reports to the DEA of any suspicious orders identified through the design and operation of their

system to disclose suspicious orders. The failure to make reports as required by the CSA and Code

of Federal Regulations amounts to a criminal violation of the statute.

       858.    The Defendants knowingly and intentionally furnished false or fraudulent




 404
    See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016,
 updated July 6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-
 distribution-alliance/; Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement
 While the Opioid Epidemic Grew Out of Control,                      Wash. Post, Oct. 22, 2016,
 https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-while-the-opioid-epidemic-
 grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html; Lenny Bernstein &
 Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown Amid
 Opioid Crisis, Wash. Post, Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-senator-
 calls-for-investigation-of-dea-           enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
 a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain
 Pills, Charleston Gazette-Mail, Feb. 18, 2017, http://www.wvgazettemail.com/news/20170218/dea-agent-
 we-had- no-leadership-in-wv-amid-flood-of-pain-pills-.

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information in their reports to the DEA about suspicious orders, and/or omitted material

information from reports, records and other document required to be filed with the DEA including

the Marketing Defendants’ applications for production quotas. Specifically, the Defendants were

aware of suspicious orders of prescription opioids and the diversion of their prescription opioids

into the illicit market, and failed to report this information to the DEA in their mandatory reports

and their applications for production quotas.

        859.      The Defendants used, directed the use of, and/or caused to be used, thousands of

interstate mail and wire communications in service of their scheme through virtually uniform

misrepresentations, concealments and material omissions regarding their compliance with their

mandatory reporting requirements and the actions necessary to carry out their unlawful goal of

selling prescription opioids without reporting suspicious orders or the diversion of opioids into the

illicit market.

        860.      In devising and executing the illegal scheme, the Defendants devised and

knowingly carried out a material scheme and/or artifice to defraud by means of materially false or

fraudulent pretenses, representations, promises, or omissions of material facts.

        861.      For the purpose of executing the illegal scheme, the Defendants committed

racketeering acts, which number in the thousands, intentionally and knowingly with the specific

intent to advance the illegal scheme. These racketeering acts, which included repeated acts of mail

fraud and wire fraud, constituted a pattern of racketeering.

        862.      The Defendants’ use of the mail and wires includes, but is not limited to, the

transmission, delivery, or shipment of the following by the Marketing Defendants, the Distributor

Defendants, or third parties that were foreseeably caused to be sent as a result of the Defendants’

illegal scheme, including but not limited to:

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       a.     The prescription opioids themselves;

       b.     Documents and communications that supported and/or facilitated the RICO Supply
              Chain Defendants’ request for higher aggregate production quotas, individual
              production quotas, and procurement quotas;

       c.     Documents and communications that facilitated the manufacture, purchase and sale
              of prescription opioids;

       d.     RICO Supply Chain Defendants’ DEA registrations;

       e.     Documents and communications that supported and/or facilitated RICO Supply
              Chain Defendants’ DEA registrations;

       f.     RICO Supply Chain Defendants’ records and reports that were required to be
              submitted to the DEA pursuant to 21 U.S.C. § 827;

     g.       Documents and communications related to the Defendants’ mandatory DEA reports
              pursuant to 21 U.S.C. § 823 and 21C.F.R. § 1301.74;

       h.     Documents intended to facilitate the manufacture and distribution of Defendants’
              prescription opioids, including bills of lading, invoices, shipping records, reports
              and correspondence;

       i.     Documents for processing and receiving payment for prescription opioids;

       j.     Payments from the Distributors to the Marketing Defendants;

       k.     Rebates and chargebacks from the Marketing Defendants to the Distributors
              Defendants;

       l.     Payments to the RICO Supply Chain Defendants’ lobbyists through the PCF;

       m.     Payments to the Defendants’ trade organizations, like the HDA, for memberships
              and/or sponsorships;

       n.     Deposits of proceeds from the Defendants’ manufacture and distribution of
              prescription opioids; and

       o.     Other documents and things, including electronic communications.

       863.   The Defendants (and/or their agents), for the purpose of executing the illegal

scheme, sent and/or received (or caused to be sent and/or received) by mail or by private or

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interstate carrier, shipments of prescription opioids and related documents by mail or by private

carrier affecting interstate commerce.

        864.    Each of the Defendants identified manufactured, shipped, paid for and received

payment for the drugs identified above, throughout the United States.

        865.    The Defendants used the internet and other electronic facilities to carry out their

scheme and conceal the ongoing fraudulent activities. Specifically, the Defendants made

misrepresentations about their compliance with Federal and State laws requiring them to identify,

investigate and report suspicious orders of prescription opioids and/or diversion of the same into

the illicit market.

        866.    At the same time, the Defendants misrepresented the superior safety features of

their order monitoring programs, ability to detect suspicious orders, commitment to preventing

diversion of prescription opioids, and their compliance with all state and federal regulations

regarding the identification and reporting of suspicious orders of prescription opioids. The

Defendants utilized the internet and other electronic resources to exchange communications, to

exchange information regarding prescription opioid sales, and to transmit payments and

rebates/chargebacks.

        867.    The Defendants also communicated by U.S. Mail, by interstate facsimile, and by

interstate electronic mail with each other and with various other affiliates, regional offices,

regulators, distributors, and other third-party entities in furtherance of the scheme.

        868.    The mail and wire transmissions described herein were made in furtherance of the

Defendants’ scheme and common course of conduct to deceive regulators, the public and the

Plaintiffs that these Defendants were complying with their state and federal obligations to identify

and report suspicious orders of prescription opioids all while Defendants were knowingly allowing

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millions of doses of prescription opioids to divert into the illicit drug market. The Defendants’

scheme and common course of conduct was to increase or maintain high production quotas for

their prescription opioids from which they could profit.

       869.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

facilities have been deliberately hidden by Defendants and cannot be alleged without access to

Defendants’ books and records. However, Plaintiffs have described the types of, and in some

instances, occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

       870.    The Defendants did not undertake the practices described herein in isolation, but as

part of a common scheme. Various other persons, firms, and corporations, including third-party

entities and individuals not named as defendants in this Complaint, may have contributed to and/or

participated in the scheme with these Defendants in these offenses and have performed acts in

furtherance of the scheme to increase revenues, increase market share, and /or minimize the losses

for the Defendants.

       871.    The predicate acts constituted a variety of unlawful activities, each conducted with

the common purpose of obtaining significant monies and revenues from the sale of their highly

addictive and dangerous drugs. The predicate acts also had the same or similar results, participants,

victims, and methods of commission. The predicate acts were related and not isolated events.

       872.    The predicate acts all had the purpose of creating the opioid epidemic that

substantially injured Plaintiffs’ businesses and property, while simultaneously generating billion-

dollar revenue and profits for the Defendants. The predicate acts were committed or caused to be

committed by the Defendants through their participation in the False Narrative Enterprise and in

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furtherance of its fraudulent scheme.

       873.    As described above, the Defendants were repeatedly warned, fined, and found to

be in violation of applicable law and regulations, and yet they persisted. The sheer volume of

enforcement actions against the Defendants supports this conclusion that the Defendants operated

through a pattern and practice of willfully and intentionally omitting information from their

mandatory reports to the DEA as required by 21 C.F.R. § 1301.74.405

       874.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims. The Defendants calculated and intentionally crafted the diversion

scheme to increase and maintain profits from unlawful sales of opioids, without regard to the effect

such behavior would have on this jurisdiction, its citizens or the Plaintiffs. The Defendants were

aware that Plaintiffs and the citizens of this jurisdiction rely on these Defendants to maintain a

closed system of manufacturing and distribution to protect against the non-medical diversion and

use of their dangerously addictive opioid drugs.

       875.    By intentionally refusing to report and halt suspicious orders of their prescription

opioids, the Defendants engaged in a fraudulent scheme and unlawful course of conduct

constituting a pattern of racketeering activity.

VI.    CLAIMS AND PRAYER FOR RELIEF

                                  FIRST CLAIM FOR RELIEF

       Violation Of Rico, 18 U.S.C. 1961, et seq. – Opioid False Narrative Enterprise
                                 (Against All Defendants)


405
    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug
Enforcement         Administration’s     Adjudication of     Registrant   Actions      6     (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.

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       876.    Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein.

       877.     This Claim for relief alleges violations of Section 1962(c) and (d) of RICO, 18

U.S.C. §§ 1962(c) & (d).

       878.    At all relevant times, the Plaintiffs were entities capable of holding legal or

beneficial interests in property, which means that each Plaintiff was a “person” within the meaning

of Sections 1961(3) and 1962(c) of RICO, 18 U.S.C. §§ 1961(3) & 1962(c).

       879.    Name, Purposes and Membership. At all relevant times, there existed an

“enterprise,” within the meaning of Sections 1961(4) and 1962(c) of RICO, 18 U.S.C. §§ 1961(4)

& 1962(c) – to wit, an association-in-fact comprised of each of the Defendants - The False

Narrative Enterprise. The lawful purpose of the False Narrative Enterprise was the manufacture,

marketing and sale of pharmaceutical products in interstate and foreign commerce. The unlawful

purpose of the False Narrative Enterprise was to engage in and carry out an intentional scheme to

defraud purchasers, including doctors and hospitals, by propagating falsehoods about the safety

and benefits of opioids.

       880.    Continuity: The continuity of the False Narrative Enterprise was coterminous with

the period of time necessary to defraud Plaintiffs, other hospitals, physicians, other healthcare

providers, patients and their families, and the American public in general.

       881.    Effect on Commerce: The False Narrative Enterprise was engaged in, and its

activities affected, interstate and foreign commerce.

       882.    Predicate Acts: At all relevant times, Defendants, in violation of Section 1962(c)

of RICO, 18 U.S.C. § 1962(c), conducted (managed) or participated, directly or indirectly, in the

conduct (management) of the False Narrative Enterprise, through a pattern of racketeering activity,

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by engaging in multiple, repeated, and continuous violations of the federal wire fraud statute, 18

U.S.C. § 1343, and the federal mail fraud statute, 18 U.S.C. § 1341, and the Controlled Substances

Act, 21 U.S.C. 801, et seq. The Defendants transmitted communications through U.S. mail fraud

and interstate wire fraud, in interstate or foreign commerce, to designated persons for ostensibly

legitimate purposes, but with the actual, unlawful purpose of engaging in an intentional scheme to

defraud Plaintiffs, other hospitals, health care providers, patients and their families and, in general,

the American public.

        883.    Structure of the False Narrative Enterprise: The False Narrative Enterprise

consisted of several types of participants, not all of which were complicit, and not all of which are

named herein as Defendants:

        (A)     The Marketing Defendants. The Marketing Defendants are Purdue, Actavis,

                Cephalon, Janssen, Endo, Insys, and Mallinckrodt. The Marketing Defendants

                conceptualized and set in motion the falsehoods about opioids that created billions

                of dollars of artificial demand for these highly addictive and dangerous products.

        (B)     The Front Groups. The Marketing Defendants used the Front Groups, such as the

                American Pain Foundation, American Academy of Pain Medicine, the American

                Pain Society, the Federation of State Medical Boards, the Alliance for Patient

                Access, the U.S. Pain Foundation, the American Geriatrics Society, and the

                American Chronic Pain Association, not named as defendants herein and not all of

                which were fully complicit, to stoke demand for opioids by falsely creating the

                impression of independent third party authoritative validation of the false claims of

                the Marketing Defendants.



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       (C)    The KOLs. The Marketing Defendants used KOLs, such as Dr. Portenoy, Dr.

              Webster, Dr. Fine and Dr. Fishman, not named as defendants herein and who may

              not have been fully complicit, to provide ostensibly valid, third party, authoritative

              validation of the false claims of the Marketing Defendants.

       (D)    The Distributor Defendants.            The Distributor Defendants are Cardinal,

              McKesson, and AmerisourceBergen; they joined the False Narrative Enterprise

              with full awareness and complicity, and acted in concert with the Marketing

              Defendants to pool information about vulnerable targets and share the king size

              profits reaped from the sale of opioids to addicts, deliberately ignoring their

              obligations under the Controlled Substances Act.

       (E)    Corrupt Physicians and Pharmacies, a/k/a the Pill Mills. These participants, not

              named as defendants herein, prescribed opioids illegally and with no basis in

              legitimate medicine; and dispensed opioids illegally and in direct violation of their

              legal obligations.

       (F)    The National Retail Pharmacies. The National Retail Pharmacies are CVS,

              Walgreens, and Wal-Mart. Like the Distributor Defendants, they joined the False

              Narrative Enterprise with full awareness and complicity, and acted in concert with

              the Marketing Defendants to pool information about vulnerable targets and share

              the king size profits reaped from the sale of opioids to addicts, deliberately ignoring

              their obligations under the Controlled Substances Act.

       884.   In violation of Section 1962(d) of RICO, 18 U.S.C. § 1962(d), the Defendants, with

full knowledge and purpose, conspired to violate Section 1962(c) of RICO.

       885.   By reason of the above-referenced violations of Section 1962(c) and (d) of RICO,

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18 U.S.C. § 1962(c) & (d), each Plaintiff was injured in its business or property within 18 U.S.§

1964(c) of RICO, is entitled to assert this claim, and to recover threefold the damages each

sustained, as demonstrated at trial, and the cost of the suit, including reasonable attorneys’ fees, as

well as such other appropriate relief, as the Court may provide.

                                SECOND CLAIM FOR RELIEF

               Violation OF RICO (A violation of 18 U.S.C. § 1962 (d) and (a))
                                (Against All Defendants)

       886.    Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein.

       887.      This claim for relief alleges a violation of Section 1962 (d) and (a) of RICO, 18

U.S.C. § 1962 (a) & (d). It is asserted against each of the Defendants.

       888.    At all relevant times, each Plaintiff and Defendant in this Count was an “entity”

capable of holding a legal or beneficial interest in property, which means that each of them is a

“person” within the meaning of Sections 1961(3) and 1962(d) of RICO, 18 U.S.C. §§ 1961(3),

1962(d).

       889.     Each Defendant, as a “legal entity,” was an “enterprise” within the meaning of

Sections 1961(4) and 1962 (a) of RICO, 18 U.S.C. § §1961(4), 1962 (a) (d).

       890.     Each Defendant engaged in interstate or foreign commerce,

       891.    Each Defendant transmitted by U.S. mail and interstate wire communications, in

interstate or foreign commerce, communications or other matter to designated persons for

ostensibly legitimate purposes, but with the actual, unlawful purpose of facilitating an intentional

scheme to defraud Plaintiffs and other victims of vast sums of money.

       892.    Each Defendant engaged in a pattern of racketeering activity by engaging in

multiple, repeated, and continuous violations of the federal mail fraud statute, 18 U.S.C. § 1341,
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the federal wire fraud statute, 18 U.S.C. § 1343, and the Controlled Substances Act, 21 U.S.C. §

801 et seq.

        893.    In violation of Section 1962(a) of RICO, 18 U.S.C. § 1962(a), and through the

above-referenced pattern of racketeering activity, Defendants, having income derived, directly or

indirectly, from a pattern of racketeering, in which it participated as a principal within the meaning

of 18 U.S.C.§ 2, used or invested, directly or indirectly, part of such income in itself, an enterprise.

        894.    In violation of Section 1962(d) of RICO, 18 U.S.C. § 1962(d), Defendants, with

full knowledge and purpose, conspired to violate Section 1962 (a) of RICO.

        895.    By reason of the above-referenced violations of Section 1962 (d) and (a) of RICO,

18 U.S.C. §§ 1962 (a) & (d), each Plaintiff was injured in its business or property, within the

meaning of 18 U.S.§ 1964(c), 18 U.S.C. § 1964(c), through the above-referenced acts of

racketeering, is entitled to assert this claim, to recover threefold the damages each sustained, as

determined at trial, and the cost of the suit, including reasonable attorneys’ fees, and such other

appropriate relief, as the Court may determine.

                                  THIRD CLAIM FOR RELIEF

                            Deceptive and Unfair Trade Practices
                       Kentucky Consumer Protection Act, KRS 367.170
                                  (Against All Defendants)

        896.    Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein.

        897.    This cause of action is brought pursuant to KRS 367.110 through KRS 367.300,

which is known as the Kentucky Consumer Protection Act (“KCPA”).

        898.    As explained by the General Assembly, the public health, welfare and interest

require a strong and effective consumer protection program to protect the public interest and the

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well-being of both the consumer public and the ethical sellers of goods and services. KRS 367.120.

        899.   Pursuant to KRS 367.170:

        Unfair, false, misleading, or deceptive acts or practices in the conduct of any trade
        or commerce are hereby declared unlawful.

        900.   Plaintiffs are “persons” within the meaning of KRS 367.110.

        901.   All Defendants engaged in “trade or commerce” within the meaning of KRS

367.110.

        902.   During the relevant period and as detailed further herein, the Marketing

Defendants have each engaged in unfair and deceptive acts or practices in commerce in violation

of the KCPA by actively promoting and marketing the use of opioids for indications not federally

approved, circulating false and misleading information concerning opioids’ safety and efficacy,

and downplaying or omitting the risk of addiction arising from their use.

        903.   Each of the Defendants have engaged in unfair and/or deceptive trade practices

by omitting the material fact of its failure to design and operate a system to disclose suspicious

orders of controlled substances, as well as by failing to actually disclose such suspicious orders,

as required of “registrants” by the federal CSA, 21 C.F.R. § 1301.74(b). The CSA defines

“registrant” as any person who is registered pursuant to 21 U.S.C § 823. 21 C.F.R. § 1300.02(b).

Section 823(a)-(b) requires manufacturers and distributors of Schedule II controlled substances

to register.

        904.   Defendants’ unfair or deceptive acts or practices in violation of the KCPA offend

Kentucky’s public policy, are immoral, unethical, oppressive and unscrupulous, as well as

malicious, wanton and manifesting of ill will, and they caused substantial injury to Plaintiffs.

Plaintiffs risk irreparable injury as a result of the Marketing Defendants’, Distributor

Defendants’, and the National Retail Pharmacy Defendants’ and their agents’ acts,
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misrepresentations and omissions in violation of the KCPA, and these violations present a

continuing risk to Plaintiffs, as well as to the general public.

       905.    As a direct and proximate result of Defendants’ violations of the KCPA, Plaintiffs

have suffered and continue to suffer injury-in-fact and actual damages.

       906.    Defendants violated the KCPA because they engaged in false or misleading

statements about the efficacy and safety of opioid pharmaceuticals.

       907.    Defendants, individually and acting through their employees and agents, and in

concert with each other, knowingly made material misrepresentations and omissions of facts to

Plaintiffs to induce them to purchase, administer, and consume opioids as set forth in detail above.

       908.    Defendants knew at the time they made their misrepresentations and omissions that

they were false.

       909.    Defendants intended that Plaintiffs, physicians, patients, and/or others would rely

on their misrepresentations and omissions.

       910.    Plaintiffs, physicians, patients, and/or others reasonably relied upon Defendants’

misrepresentations and omissions.

       911.    In the alternate, Defendants recklessly disregarded the falsity of their

representations regarding opioids.

       912.    By reason of their reliance on Defendants’ misrepresentations and omissions of

material fact, Plaintiffs, physicians, patients, and/or others suffered actual pecuniary damage.

       913.    Defendants’ conduct was willful, wanton, and malicious and was directed at the

public generally.

       914.    Pursuant to KRS 367.170, Plaintiffs are entitled to costs, attorney’s fees, and

punitive damages, in addition to actual damages proven.
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                                 FOURTH CLAIM FOR RELIEF

               Breach of Implied Warranty of Fitness For a Particular Purpose
                                     (KRS 355.2-315)
                                  (Against All Defendants)

        915.    Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein.

        916.    Plaintiffs purchased opioid products from Defendants that were not suitable for

Plaintiffs’ use to appropriately treat Plaintiffs’ patients.

        917.    At the time of Plaintiffs’ purchases, Defendants knew or had reason to know that

Plaintiffs intended to use the opioids for a particular purpose, namely to provide pain relief in an

appropriate way that did not unnecessarily endanger its patients if the opioids were used as sold

and marketed by Defendants.

        918.    At the time of Plaintiffs’ purchases, Defendants knew or had reason to know that

Plaintiffs were purchasing the opioids for the particular purposes described above and were relying

on Defendants’ skill, judgment and narrative to provide opioids that were suitable.

        919.    Plaintiffs justifiably relied on Defendants.

        920.    The opioids that Plaintiffs purchased were not suitable for the particular purposes

for which Plaintiffs purchased them.

        921.    As a result, Plaintiffs have been damaged in an amount to be determined at trial.

                                   FIFTH CLAIM FOR RELIEF

                                            Negligence
                                      (Against All Defendants)

        922.    Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein.

        923.    To establish actionable negligence, one must show in addition to the existence of a
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duty, a breach of that duty, and loss or damage caused by the breach, and actual loss or damage to

another. All such essential elements exist here.

          924.   Each Defendant had a duty to exercise reasonable care in the manufacturing,

marketing, selling, and distributing of highly dangerous opioid drugs.

          925.   Each Defendant breached its aforesaid duties by its conduct previously specified

herein.

          926.   As a proximate result, Defendants have caused Plaintiffs’ injuries related to the

treatment of opioid-related conditions. Plaintiffs have incurred massive costs by providing

uncompensated care as a result of opioid related conditions.

          927.   Each Defendant owed its aforesaid duties to Plaintiffs because the injuries alleged

herein were foreseeable by the Defendants.

          928.   The injuries to Plaintiffs would not have happened in the ordinary course of events

had Defendants used due care commensurate to the dangers involved in the manufacture,

marketing, sale and distribution of opioids.

          929.   Plaintiffs seek compensatory damages for their monetary losses previously

specified herein, plus interest and the costs of this action.

                                   SIXTH CLAIM FOR RELIEF

                                        Wanton Negligence
                                     (Against All Defendants)

          930.   Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein.

          931.   Defendants conducted themselves with reckless indifference to the consequences

of their acts and omissions, in that they were conscious of their conduct and were aware, from their

knowledge of existing circumstances and conditions, that their conduct would inevitably or
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probably result in injury to others, specifically hospitals such as Plaintiffs, which would be

subjected to providing unreimbursed healthcare treatment to patients with opioid conditions.

       932.    As a proximate result of Defendants’ wanton negligence, Plaintiffs were monetarily

damaged as aforesaid.

       933.    Plaintiffs seek compensatory and punitive damages, plus the costs of this action.

                               SEVENTH CLAIM FOR RELIEF

                                        Negligence Per Se
                                     (Against All Defendants)

       934.    Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein.

       935.    Defendants violated requirements of the Controlled Substance Act, 21 U.S.C. §

801, et seq., by knowingly or intentionally furnishing false or fraudulent information in, and/or

omitting material information from documents filed with the DEA.

       936.    Defendants have a duty to comply with the Controlled Substances Act.

       937.    Failure to comply with the CSA constitutes negligence per se.

       938.    Defendants failed to comply with the CSA.

       939.    In the instant case, as detailed above, the CSA requires that the Defendants know

their customers, which includes, an awareness of the customer base, knowledge of the average

prescriptions filled each day, the percentage of controlled substances compared to overall

purchases, a description of how the dispenser fulfills its responsibility to ensure that prescriptions

filled are for legitimate medical purposes, and identification of physicians and bogus centers for

the alleged treatment of pain that are the dispenser’s most frequent prescribers.

       940.    Defendants have failed to diligently respond to the suspicious orders which

Defendants have filled.
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        941.    Defendants have failed to provide effective controls and procedures to guard

against diversion of controlled substances in contravention of federal law.

        942.    Defendants have willfully turned a blind eye towards the actual facts by regularly

distributing large quantities of controlled substances to retailers and dispensers who are serving a

customer base comprised of individuals who are themselves abusing and/or dealing prescription

medications, many of whom are addicted and all of whom can reasonably be expected to become

addicted.

        943.    Defendants negligently acted with others by dispensing controlled substances for

illegitimate medical purposes, operating bogus pain clinics which do little more than provide

prescriptions for controlled substances and thereby creating and continuing addictions to

prescription medications in this state.

        944.    Defendants have by their acts and omissions, proximately caused and substantially

contributed to damages to Plaintiffs by violating federal law, by creating conditions which

contribute to the violations of federal laws by others, and by their negligent and/or reckless

disregard of the customs, standards and practices within their own industry.

        945.    Plaintiffs have suffered and will continue to suffer enormous damages as the

proximate result of the failure by Defendants to comply with federal law.

        946.    Defendants’ acts and omissions imposed an unreasonable risk of harm to others

separately and/or combined with the negligent and/or criminal acts of third parties.

        947.    Defendants are in a class of a limited number of parties that can legally sell and

distribute opioids, which places it in a position of great trust.

        948.    The trust placed in Defendants by Plaintiffs through the license to distribute opioids

creates a duty on behalf of Defendants to prevent diversion of the medications it supplies to illegal

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purposes.

       949.    A negligent and/or intentional violation of this trust poses distinctive and

significant dangers to the Plaintiffs from the diversion of opioids for non-legitimate medical

purposes and addiction to the same by consumers.

       950.    Defendants were negligent in not acquiring and utilizing special knowledge and

special skills that relate to the dangerous activity in order to prevent and/or ameliorate such

distinctive and significant dangers.

       951.    Defendants are required to exercise a high degree of care and diligence to prevent

injury to the public from the diversion of opioids during distribution.

       952.    Defendants breached their duty to exercise the degree of care, prudence,

watchfulness, and vigilance commensurate to the dangers involved in the transaction of its

business.

       953.    Defendants are in exclusive control of the management of the opioids they have

distributed.

       954.    Plaintiffs are without fault, and the injuries to the Plaintiffs and their patients would

not have occurred in the ordinary course of events had Defendants used due care commensurate to

the dangers involved in the distribution of opioids.

       955.    Plaintiffs are within the class of persons the CSA was intended to protect.

       956.    The harm that has occurred is the type of harm that the CSA was intended to guard

against.

       957.    Defendants breached their duty by failing to take any action to prevent or reduce

the distribution of the opioids.

       958.    As a direct and proximate result of Defendants’ negligence per se, the Plaintiffs

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have suffered and continue to suffer injuries including, but not limited to, incurring excessive costs

related to: 1) diagnosis, treatment and cure of addiction to opioids; 2) diagnosis, treatment and

cure of opioid-related illnesses, diseases and injuries (including neonatal abstinence syndrome);

3) expenses associated with emergency room and other hospital visits by persons attempting to

obtain opioids from hospitals; and 4) all other expenses assumed by hospitals in response to the

defendants’ conduct, which would not have been incurred but for that conduct.

       959.    Defendants were negligent in failing to monitor and guard against third-party

misconduct and participated and enabled such misconduct.

       960.    Defendants were negligent in failing to monitor against diversion of opioid pain

medications.

       961.    Defendants’ violations constitute negligence per se.

       962.    Plaintiffs are entitled to recover damages caused by Defendants’ negligence in an

amount to be determined at trial.

                                EIGHTH CLAIM FOR RELIEF

                                     Negligent Marketing
                                (Against Marketing Defendants)

       963.    Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein

       964.    Defendants had a duty to exercise reasonable care in the marketing of opioids.

       965.    Defendants were aware of the potentially dangerous situation involving opioids.

       966.    Defendants marketed opioids in an improper manner by:

       a.      Overstating the benefits of chronic opioid therapy, promising improvement in
               patients’ function and quality of life, and failing to disclose the lack of evidence
               supporting long-term use;


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       b.      Trivializing or obscuring opioids’ serious risks and adverse outcomes, including
               the risk of addiction, overdose and death;

       c.      Overstating opioids’ superiority compared with other treatments, such as other non-
               opioid analgesics, physical therapy, and other alternatives;

       d.      Mischaracterizing the difficulty of withdrawal from opioids and the prevalence of
               withdrawal symptoms;

       e.      Marketing opioids for indications and benefits that were outside of the opioids’
               labels and not supported by substantial evidence.

       967.    It was Defendants’ marketing – and not any medical breakthrough – that

rationalized prescribing opioids for chronic pain and opened the floodgates of opioid use and

abuse. The result has been catastrophic.

       968.    Defendants disseminated many of their false, misleading, imbalanced, and

unsupported statements indirectly, through KOLs and Front Groups, and in unbranded marketing

materials. These KOLs and Front Groups were important elements of Defendants’ marketing

plans, which specifically contemplated their use, because they seemed independent and therefore

outside FDA oversight. Through unbranded materials, Defendants, with their own knowledge of

the risks, benefits and advantages of opioids, presented information and instructions concerning

opioids generally that were contrary to, or at best, inconsistent with information and instructions

listed on Defendants’ branded marketing materials and drug labels. Defendants did so knowing

that unbranded materials typically are not submitted to or reviewed by the FDA.

       969.    Defendants also marketed opioids through the following vehicles: (a) KOLs, who

could be counted upon to write favorable journal articles and deliver supportive CMEs; (b) a body

of biased and unsupported scientific literature; (c) treatment guidelines; (d) CMEs; (e) unbranded

patient education materials; and (f) Front Group patient-advocacy and professional organizations,

which exercised their influence both directly and through Defendant-controlled KOLs who served

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in leadership roles in those organizations.

       970.    Defendants knew or should have known that opioids were unreasonably dangerous

and could cause addiction.

       971.    Defendants have a duty to exercise reasonable care in the promotion and marketing

of opioids.

       972.    Defendants breached their duty by failing to exercise due care in promoting and

marketing these dangerous, addictive and deadly drugs honestly and carefully, with a full and

accurate disclosure of the risks involved.

       973.    Defendants’ marketing was a factor for physicians, patients, and others to prescribe

or purchase opioids.

       974.    As a direct and proximate result of Defendants’ negligence, Plaintiffs have suffered

and continue to suffer injuries including, but not limited to, excessive costs related to: 1) diagnosis,

treatment and cure of addiction to opioids; 2) diagnosis, treatment and cure of opioid-related

illnesses, diseases and injuries (including neonatal abstinence syndrome); 3) expenses associated

with emergency room and other hospital visits by persons attempting to obtain opioids from

hospitals; and 4) all other expenses assumed by hospitals in response to the defendants’ conduct,

which would not have been incurred but for that conduct.

       975.    Plaintiffs are entitled to recover damages caused by Defendants’ negligence in an

amount to be determined at trial.

                                  NINTH CLAIM FOR RELIEF

                                      Negligent Distribution
                                     (Against All Defendants)

       976.    Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein
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        977.     Defendants had a duty not to breach the standard of care established under

Kentucky law and the Controlled Substance Act (“CSA”) and implementing regulations and to

exercise reasonable care in the distribution of opioids.

        978.     Defendants were aware of the potentially dangerous situation involving opioids.

        979.     Defendants distributed opioids in an improper manner by:

        a.       Distributing and selling opioids in ways that facilitated and encouraged their flow
                 into the illegal, secondary market;

        b.       Distributing and selling opioids without maintaining effective controls against
                 diversion;

        c.       Choosing not to or failing to effectively monitor for suspicious orders;

        d.       Choosing not to or failing to report suspicious orders;

        e.       Choosing not to or failing to stop or suspend shipments of suspicious orders; and

        f.       Distributing and selling opioids prescribed by “pill mills” when Defendants knew
                 or should have known the opioids were being prescribed by “pill mills.”

        980.     Defendants’ negligent breach of their duties resulted in foreseeable harm and injury

to Plaintiffs.

        981.     As a direct and proximate result of Defendants’ negligence, Plaintiffs suffered and

will continue to suffer damages including costs related to uncompensated care and other costs

related to the distribution of opioids which never should have been sold.

        982.     Plaintiffs are entitled to recover damages caused by Defendants’ negligence in an

amount to be determined at trial.

                                  TENTH CLAIM FOR RELIEF

                                             Nuisance
                                      (Against All Defendants)

        983.     Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

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Paragraphs 1 through 872 of this Complaint, as though fully set forth herein.

       984.    The nuisance is the over-saturation of opioids in the patient population of Plaintiffs

and in the geographic area served by Plaintiffs for illegitimate purposes, as well as the adverse

social, economic, and human health outcomes associated with widespread illegal opioid use.

       985.    All Defendants substantially participated in nuisance-causing activities.

       986.    Defendants’ nuisance-causing activities include selling or facilitating the sale of

prescription opioids to the patients of Plaintiffs, as well as to unintended users, including children,

people at risk of overdose or suicide, and criminals.

       987.    Defendants’ nuisance-causing activities also include failing to implement effective

controls and procedures in their supply chains to guard against theft, diversion and misuse of

controlled substances, and their failure to adequately design and operate a system to detect, halt

and report suspicious orders of controlled substances.

       988.    Defendants’ activities unreasonably interfere with the economic rights of Plaintiffs.

       989.    The Defendants’ interference with these rights of Plaintiffs is unreasonable because

it:

       a.      Has harmed and will continue to harm the public health services of and public peace
               of Plaintiffs;

       b.      Has harmed and will continue to harm the communities and neighborhoods which
               Plaintiffs serve;

       c.      Is proscribed by statutes and regulation, including the CSA, pharmacy regulations,
               and the Kentucky Consumer Protection Act;

       d.      Is of a continuing nature and it has produced long-lasting effects;

       e.      Defendants have reason to know their conduct has a significant effect upon
               Plaintiffs; and

       f.      Has inflicted substantial costs on Plaintiffs.

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       990.    The nuisance undermines public health, quality of life, and safety. It has resulted in

high rates of addiction, overdoses, dysfunction, and despair within families and entire

communities. It has created a public health crisis.

       991.    The resources of Plaintiffs are being unreasonably consumed in efforts to address

the prescription drug abuse epidemic, thereby eliminating available resources needed in other

health care areas.

       992.    Defendants’ nuisance-causing activities are not outweighed by the utility of

Defendants’ behavior. In fact, their behavior is illegal and has no social utility whatsoever. There

is no legitimately recognized societal interest in facilitating widespread opioid addiction and

failing to identify, halt, and report suspicious opioid transactions.

       993.    At all times, all Defendants possessed the right and ability to control the nuisance

causing outflow of opioids from pharmacy locations or other points of sale. Distributor Defendants

had the power to shut off the supply of illicit opioids to Plaintiffs and to the general public in the

geographic areas served by Plaintiff hospitals.

       994.    As a direct and proximate result of the nuisance, Plaintiffs have sustained economic

harm by spending a substantial amount of money trying to remedy the harms caused by

Defendants' nuisance-causing activity, including, but not limited to, costs of hospital services and

healthcare. In short, the Defendants created a mess, leaving to the Plaintiffs and other hospitals

the costs of cleaning it up. This is a classic nuisance.

       995.    As a result of Defendants’ actions, Plaintiffs have suffered a special injury, different

from that suffered by the public at large by individual users and by governmental entities, namely

that Plaintiffs have provided uncompensated care for patients suffering from opioid related

conditions.

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       996.    The effects of the nuisance can be abated, and the further occurrence of such harm

and inconvenience can be prevented. All Defendants share in the responsibility for doing so.

       997.    Defendants should be required to pay the expenses Plaintiffs have incurred or will

incur in the future to fully abate the nuisance.

                              ELEVENTH CLAIM FOR RELIEF

                                       Unjust Enrichment
                                     (Against All Defendants)

       998.    Plaintiffs repeat, reallege, and incorporate by reference the allegations set forth in

Paragraphs 1 through 872 of this Complaint, as though fully set forth herein.

       999.    Plaintiffs provided unreimbursed healthcare treatment to patients with opioid

conditions that Defendants are responsible for creating. Plaintiffs thereby conferred a benefit on

Defendants because Defendants should bear the expense of treating these patients’ opioid

conditions. This is because Defendants created the opioid epidemic and the patients’ opioid

conditions, as described above.

       1000. Defendants appreciated and knew of this benefit because they knew their opioid

promotional and marketing policies would cause, and in fact did cause, hospitals throughout the

United States to provide unreimbursed healthcare treatment to patients with opioid conditions that

Defendants were responsible for creating.

       1001. The circumstances under which Defendants accepted or retained the benefit,

described above, were such as to make it inequitable for Defendants to retain the benefit without

payment of its value.

       1002. As described above, the benefit was received and retained under such

circumstances that it would be inequitable and unconscionable to permit Defendants to avoid

payment therefor.
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        1003. Defendants have therefore been unjustly enriched.

        1004. By reason of the foregoing, Defendants must disgorge their unjustly acquired

profits and other monetary benefits resulting from its unlawful conduct and provide restitution to

the Plaintiffs.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs ask that the Court:

        A.        Enter judgment against Defendants, jointly and severely, and in favor of Plaintiffs;

        B.        Award compensatory damages in amounts sufficient to fairly and completely
                  compensate Plaintiffs for all damages; treble damages; punitive damages; pre-
                  judgment and post-judgment interest as provided by law, and that such interest be
                  awarded at the highest legal rate; and such equitable relief against Defendants as
                  the Court should find appropriate, including disgorgement of illicit proceeds and
                  other orders as provided in 18 U.S.C. § 1964;

        C.        Award Plaintiffs their cost of suit, including reasonable attorneys’ fees as
                  provided by law; and

        D.        Award such further and additional relief as the Court may deem just and proper
                  under the circumstances.

VII.    JURY DEMAND

        Plaintiffs demand a trial by jury on all issues so triable.

        Dated: August 17, 2018


                                         Respectfully Submitted,

                                         DRESSMAN BENZINGER LAVELLE
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